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                           EXHIBIT A
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                 IN THE COMMON PLEAS COURT OF SUMMIT COUNTY, OHIO
                                 CRIMINAL DIVISION


  STATE OF OHIO,                          )   Case No. CR 2024-02-0473-B
                                          )
                            Plaintiff,    )   JUDGE SUSAN BAKER ROSS
                                          )
           vs.                            )
                                          )
  MICHAEL J. DOWLING,                     )
                                          )
                            Defendant.
                                          )
                                          )
                                          )
  STATE OF OHIO,                          )   Case No. CR 2024-02-0473-C
                                          )
                            Plaintiff,    )   JUDGE SUSAN BAKER ROSS
                                          )
           vs.                            )
                                          )
  CHARLES E. JONES,                       )
                                          )
                            Defendant.
                                          )
                                          )
                                          )
  STATE OF OHIO,                          )   Case No. CR 2024-02-0473-D
                                          )
                            Plaintiff,    )   JUDGE SUSAN BAKER ROSS
                                          )
           vs.                            )
                                          )
  IEU-OHIO ADMINISTRATION CO. LLC,        )
                                          )
                            Defendant.
                                          )
                                          )



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  STATE OF OHIO,                  )          Case No. CR 2024-02-0473-E
                                  )
                       Plaintiff, )          JUDGE SUSAN BAKER ROSS
                                  )
       vs.                        )
                                  )
  SUSTAINABILITY FUNDING ALLIANCE )
  OF OHIO, INC.,                  )
                                  )
                       Defendant.
                                  )
                                  )


      MOVANT-VICTIM’S MOTION AND BRIEF TO (1) CLARIFY OR, IN THE
   ALTERNATIVE, MODIFY APRIL 24, 2024 CONFIDENTIALITY AGREEMENT AND
         STIPULATED PROTECTIVE ORDER AND (2) SET TRIAL DATE




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  I.       INTRODUCTION

           Movant-Victim is the Lead Plaintiff prosecuting a securities action before Chief Judge

  Marbley in the United States District Court for the Southern District of Ohio (the “Civil Action”)

  that arises from Defendants’ criminal scheme, including the conduct that is at the center of this case.1

  Movant-Victim fully supports the State’s criminal prosecution. Movant-Victim is compelled to be

  heard in this case because Defendants are seeking to use the Civil Action to question the State’s

  criminal witnesses while also seeking to use this Court’s Protective Order to evade their discovery

  production obligations in the Civil Action to gain an unfair advantage over both the Movant-Victim

  and the State. Accordingly, Movant-Victim respectfully requests that the Court clarify and confirm

  that the Protective Order is limited to information or documents (i) reflecting Personally Identifiable

  Information (“PII”) or (ii) “obtained by the Defense Team through other litigation” in which they

  were designated confidential, as those are the only two categories of information for which the

  Court’s order found good cause to protect. Protective Order at 2.

           In the alternative, Movant-Victim respectfully requests that the Court modify the Protective

  Order to include the following language:

           Any Discovery Material that does not contain PII or was not received by the Defense
           Team through other litigation shall not be protected from production in the matter of
           In re FirstEnergy Corp. Securities Litigation, No. 2:20-cv-03785-ALM-KAJ
           (S.D.Ohio) at least 21 days prior to the deposition of any of the following
           individuals: Ebony Yeboah-Amankwah, Robert P. Reffner, Josh Rubin, Matthew
           Brakey, Steven Staub, and Bradley Bingaman. Production of Discovery Material
           shall be accompanied by a copy of this Amended Protective Order and an advisal that
           the handling of such Discovery Material is subject to its terms.


  1
          As discussed in more detail below, Lead Plaintiff is a victim in this case under Article I,
  Section 10(a) of the Ohio Constitution, commonly known as Marsy’s Law. See infra §III.A.
  Further, as used herein, “Protective Order” refers to the April 24, 2024 Confidentiality Agreement
  and Stipulated Protective Order; “Movant-Victim” is Lead Plaintiff Los Angeles County Employees
  Retirement Association; and “Defendants” are Michael Dowling and Charles Jones, collectively.
  Additionally, unless otherwise noted, all emphasis is added and citations omitted.


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  II.      RELEVANT BACKGROUND

           A.         The USAO, Movant-Victim, and the State Prosecute Defendants’
                      Corruption

           On July 21, 2020, the United States Attorney’s Office for the Southern District of Ohio (the

  “USAO”) moved to unseal an exceptionally detailed Criminal Complaint and accompanying

  affidavit, detailing what FirstEnergy Corp. (“FirstEnergy”) would later confess was a years-long

  criminal corruption scheme that it had financed and orchestrated through Defendants. See Ex. 1

  (ECF 192-2 - Criminal Complaint) at PageID 4344-424; Ex. 2 (ECF 259-5 - Deferred Prosecution

  Agreement (“DPA”)) at PageID 6013-43.2 Less than four months later, the Federal Bureau of

  Investigation searched the home of Public Utilities Commission of Ohio (“PUCO”) Chairman

  Samuel Randazzo, who resigned a few days later.3

           On February 26, 2021, Movant-Victim filed its Consolidated Complaint, alleging

  Defendants’ use of their massive corruption scheme, including the bribing of Larry Householder and

  Randazzo, to defraud investors. Ex. 3 (ECF 72 - Consolidated Complaint) at PageID 1545-674.

           On July 22, 2021, FirstEnergy confessed to having bribed Householder and Randazzo

  through Defendants. Ex. 2 (ECF 259-5 - DPA) at PageID 6016. Among other details, FirstEnergy

  confessed that Jones had thanked Randazzo for using his position with PUCO to take actions that

  boosted FirstEnergy’s share price – a prototypical example of why FirstEnergy and Defendants had

  bribed Randazzo. Id. at PageID 6041.



  2
         All references to Electronic Case Filing (“ECF”) are to the documents filed in the Civil
  Action. For clarification, Movant-Victim utilizes the Civil Action’s PageID references.
  3
         Mark Williams, Powerful Ohio utilities regulator steps down following FBI search of his
  home, The Columbus Dispatch (Nov. 20, 2020), available at https://www.dispatch.com/story
  /business/2020/11/20/ohio-utilities-regulator-resigns-following-fbi-search-his-home/6355499002/
  (accessed Oct. 29, 2024).


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           On March 9, 2023, a federal jury convicted Householder for his part in FirstEnergy and

  Defendants’ massive corruption scheme.4 Defendants’ names and crucial roles in the scheme

  figured prominently in Householder’s trial. Ex. 4 (ECF 444-1 - Defendants’ Mot. for Protective

  Order) at PageID 10074 (“The government focused significant and detailed attention on Jones and

  Dowling during the recent Householder trial, implicitly labeling them as co-conspirators and the

  alleged architects of the ‘Bailout Scheme’ that forms the basis for Plaintiffs’ claims in this case.”).

           On December 1, 2023, after the parties in the Civil Action had already taken 32 depositions,

  Chief Judge Marbley stayed fact discovery in the Civil Action pending resolution of FirstEnergy’s

  motion to stay discovery until after resolution of its interlocutory appeal of Chief Judge Marbley’s

  class-certification order. See Ex. 5 (ECF 578 - Order) at PageID 12722; Ex. 6 (ECF 657 - Plaintiffs’

  Accounting of Discovery) at PageID 14286-87.

           On December 4, 2023, the USAO indicted Randazzo.5

           On February 14, 2024, the State indicted Defendants and Randazzo.6

           On August 20, 2024, Chief Judge Marbley denied FirstEnergy’s motion to stay and lifted the

  stay of fact discovery in the Civil Action. In re FirstEnergy Corp. Securities Litigation, 2024 WL

  3872948, at *7 (S.D.Ohio Aug. 20, 2024) (“FirstEnergy II”).

  4
          DOJ, Jury convicts former Ohio House Speaker, former chair of Ohio Republican Party of
  participating in racketeering conspiracy (Mar. 9, 2023), available at https://www.justicegov/usao-
  sdoh/pr/jury-convicts-former-ohio-house-speaker-former-chair-ohio-republican-party (accessed Oct.
  29, 2024).
  5
          DOJ, Grand jury indicts former state public utilities chairman for federal bribery,
  embezzlement crimes (Dec. 4, 2023), available at https://www.justice.gov/usao-sdoh/pr/grand-jury-
  indicts-former-state-public-utilities-chairman-federal-bribery-embezzlement (accessed Oct. 29,
  2024).
  6
          Andrew J. Tobias, Read the indictment of former FirstEnergy execs Chuck Jones, Michael
  Dowling and state PUCO Chairman Sam Randazzo, cleveland.com (Feb. 14, 2024), available at
  https://www.cleveland.com/news/2024/02/read-the-indictment-of-former-firstenergy-execs-chuck-
  jones-michael-dowling-and-state-puco-chairman-sam-randazzo.html (accessed Oct. 29, 2024).


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            B.         Defendants Violate Federal Rule of Civil Procedure 26(e), Mislead the
                       Federal District Court, and the State Exposes Their Deception

                       1.    Defendants’ Continuing Production Obligation

            On June 14, 2021, Chief Judge Marbley issued an Order allowing Movant-Victim to serve on

   Defendants, and others, two requests for the production of documents. See In re FirstEnergy Corp.

   Securities Litigation, 2021 WL 2414763 (S.D.Ohio June 14, 2021) (the “June 2021 Order”); Ex. 7

   (ECF 691-3 - requests) at PageID 14670-80. Request for Production No. 2 (“RFP No. 2”) seeks the

   following:

                    All documents that the Defendants have produced or provided to, or received
            from, any regulatory or government agency, federal or state law enforcement agency,
            or legislative body or representative in connection with the HB6 bribery scheme,
            including any deposition testimony.

   Id. at PageID 14679. Chief Judge Marbley found that without such documents Movant-Victim

   would “face[] unique undue prejudice without having access to documents that have already been

   produced in other [governmental] proceedings.” FirstEnergy, 2021 WL 2414763, at *6 (June 2021

   Order). He further explained that, “without allowing access to already-produced discovery,

   [Movant-Victim] could find itself in a significantly different position from most of the other litigants

   related to this matter.” Id.

            On June 28, 2021, Movant-Victim served its requests for the production of documents on

   Defendants, which reminded Defendants that Federal Rule of Civil Procedure 26(e) requires them to

   supplement their productions. See Ex. 7 (ECF 691-3 - requests) at PageID 14675 (“you shall

   supplement your responses as required by Federal Rule of Civil Procedure 26(e)”). Subject to

   several irrelevant boilerplate objections, Defendants agreed to produce all non-privileged, non-

   duplicative documents responsive to RFP No. 2. Ex. 8 (ECF 691-4 - Jones’ responses and

   objections) at PageID 14690-91; Ex. 9 (ECF 691-5 - Dowling’s responses and objections) at PageID

   14702-03. Nearly a year later, defendant Jones’ counsel acknowledged Jones’ ongoing production

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   obligation in response to RFP No. 2: “We will produce to Lead Plaintiff any additional documents

   received from or provided to the government under our continuing discovery obligations in this

   case.” Ex. 10 (ECF 691-6 - 5/31/2022 R. Israel letter) at PageID 14708.

            Nearly three years later, on April 24, 2024, this Court entered the Protective Order pursuant

   to an agreement between the parties. At the time the Protective Order was entered, Defendants were

   already subject to Chief Judge Marbley’s June 2021 Order, requiring them to produce any

   documents received from any state law enforcement agency, including the State. Accordingly,

   Defendants could not override their existing production obligations in the Civil Action by agreeing

   to terms for entry of a Protective Order in this case. Further, as discussed in more detail below, it

   was highly improper for them to even attempt to do so without fully informing this Court of their

   existing production obligations related to the materials that had already been, and would continue to

   be, produced by the State in this matter.

                       2.   The Withheld Documents

            On April 24, 2024, a protective order was entered in this matter “to [1] prevent the

   dissemination of personally identifiable information (‘PII’) and [2] preserve the Confidential status

   of documents obtained by the Defense Team through other litigation.” Protective Order at 2. The

   dockets in this case reflect Defendants’ receipt of the “Withheld Documents” (including recorded

   audio statements, proffer statements, reports of interviews, etc.), which concern, among other

   witnesses relevant to both cases, Ebony Yeboah-Amankwah, Robert P. Reffner, Josh Rubin,

   Matthew Brakey, Steven Staub, and Bradley Bingaman (the “Six State Witnesses”). Ex. 11 (ECF

   691-10 - discovery identified on the dockets in this case as of September 30, 2024) at PageID 14805-

   27. The State’s filings acknowledge that nearly all these documents are not confidential. Id.

   Throughout months and multiple filings, that status remained the same, including when Chief Judge

   Marbley lifted the stay of fact discovery in the Civil Action on August 20, 2024. FirstEnergy II,

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   2024 WL 3872948, at *7. But instead of promptly producing these responsive documents to

   Movant-Victim in the Civil Action pursuant to Federal Rule of Civil Procedure 26(e), Defendants

   withheld them and proceeded to schedule the depositions of the Six State Witnesses.

                       3.   Defendants Acknowledge Their “Imminent” Production
                            “Obligation” and Belatedly Concoct a Plan to Avoid It

            On September 27, 2024, Movant-Victim’s counsel emailed counsel for Defendants to remind

   them of their obligation to produce the Withheld Documents, as the charges and issues in this matter

   explicitly relate to the HB6 (Ohio House Bill 6) bribery scheme. See Ex. 12 (ECF 691-11 -

   9/27/2024 J. Forge email) at PageID 14829. Rather than produce the Withheld Documents or

   respond to Movant-Victim, on September 30, 2024, Defendants pleaded with the State to help them

   avoid their “imminent” “obligation,” even though the Withheld Documents did not contain PII and

   had not been obtained by the defense team through other litigation. Indeed, their counsel

   acknowledged that the only way to avoid their “imminent” “obligation” in the Civil Action would be

   “if the State retroactively designated the Discovery Materials as Confidential Discovery Materials

   under the terms of an April 24, 2024 Protective Order in the state criminal case, [as] that designation

   would allow them to refuse to turn over the discovery that they have received in the State criminal

   case.” Ex. 13 (ECF 694 - State’s Stay Mot.) at PageID 14864.

            On October 1, 2024, the State acceded to Defendants’ plan and “retroactively” designated as

   “confidential” the very same Withheld Documents that the State had, for months, acknowledged

   were not confidential. Ex. 14 (ECF 691-12 - 10/1/24 State’s letter) at PageID 14831. Later that day,

   Defendants’ counsel argued to Movant-Victim and the Special Master in the Civil Action that the




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   Withheld Documents could not be “produced without violating the existing Order issued by Summit

   County Common Pleas Judge Susan Baker Ross.” Ex. 15 (10/1/24 C. Rendon email) at 1.7

   III.     ARGUMENT

            A.         Movant-Victim, a FirstEnergy Shareholder, Is Entitled to the
                       Constitutional Right and Protections of Marsy’s Law

            Article I, Section 10(a) of the Ohio Constitution, provides certain rights to victims of

   criminal offenses, commonly known as Marsy’s Law.8 Marsy’s Law defines a victim as “a person

   against whom the criminal offense or delinquent act is directly and proximately harmed by the

   commission of the offense or act.” Ohio Const., art. I, §10a(D). Specifically, Marsy’s Law provides

   that “a victim shall have the following rights, which shall be protected in a manner no less vigorous

   than the rights afforded to the accused:” (i) “to be heard in any public proceeding . . . in which a

   right of the victim is implicated”; (ii) “to full and timely restitution”; and (iii) “to proceedings free

   from unreasonable delay and a prompt conclusion of the case.” Ohio Const., art. I, §10a(A)(3),(7),

   (8). Further, all Marsy’s Law victims may appear through counsel “in any proceeding involving the

   criminal offense or delinquent act against the victim or in which the victim’s rights are implicated,

   may assert the rights enumerated in this section and any other right afforded to the victim by law.”

   Ohio Const., art. I, §10a(B).

            In February 2024, the Summit County Grand Jury indicted Defendants on several felony

   counts, including aggravated theft of $1,500,000 or more in Count Five, a violation of Section

   7
          On September 30, 2024, Movant-Victim served subpoenas for the Withheld Documents on
   Sustainability Funding Alliance of Ohio, Inc. (“SFAO”) and IEU-Ohio Administration LLC (“IEU-
   Ohio Admin.”). Ex. 16 (SFAO subpoena), Ex. 17 (IEU-Ohio Admin subpoena). On October 11,
   2024, SFAO and IEU-Ohio Admin. objected to their production on the grounds that the Withheld
   Documents had been designated confidential under the Protective Order. Ex. 18 (SFAO responses
   and objections); Ex. 19 (IEU-Ohio Admin. responses and objections).
   8
           Supreme Court of Ohio, Marsy’s Law and Crime Victim Rights, available at
   https://www.supremecourt.ohio.gov/marsy-s-law-and-crime-victim-rights/ (accessed Oct. 29, 2024).


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   2913.02 of the Ohio Revised Code. See Indictment filed on February 9, 2024; see also Supplemental

   Indictment filed on September 11, 2024. The grand jurors specifically found probable cause that

   FirstEnergy and/or its shareholders were victims when they determined that Defendants “did with

   purpose to deprive the owner, FirstEnergy Corp., a publicly traded corporation, and/or the

   shareholders of FirstEnergy Corp., a publicly traded corporation,” to obtain or exert control “of

   property or services, to wit: cash, to wit: $4,333,333.00.” Indictment at 15; Supplemental

   Indictment at 15.9 To be sure, the State’s Indictment and Supplemental Indictment expressly

   acknowledged that FirstEnergy’s shareholders, including Movant-Victim, are victims in this matter.

   Accordingly, Movant-Victim is entitled to the full extent of rights and privileges afforded under

   Marsy’s Law.10

            B.         Movant-Victim’s Rights Are Being Violated and Defendants Are
                       Victimizing Them Again by Delaying This Matter and Using This
                       Court’s Protective Order to Gain an Advantage in the Civil Case

            As set forth above, Defendants have scheduled the depositions of the Six State Witnesses in

   the Civil Action while simultaneously withholding the Withheld Documents on the grounds that they

   are precluded from producing them under this Court’s Protective Order to gain an unfair advantage

   in this case and the Civil Action. Movant-Victim will be prejudiced if the depositions were to

   proceed when Defendants have the deponents’ proffers, statements, reports, etc. while Movant-

   Victim did not. See, e.g., DR Distribs., LLC v. 21 Century Smoking, Inc., 513 F. Supp. 3d 839, 973

   9
         Indeed, the purpose of Defendants’ entire scheme, which included bribing Randazzo, was to
   unlawfully inflate FirstEnergy’s share price which came crashing down with their subterfuge
   exposed. See Ex. 2 (ECF 259-5 - DPA) at PageID 6041.
   10
           The State has vigorously opposed Defendants’ attempts to de-designate FirstEnergy as a
   victim in this case. State’s Brief in Opposition to Joint Motion to Overrule State’s Designation of
   FirstEnergy as a Victim Under Marsy’s Law filed on May 2, 2024 at 1. While FirstEnergy’s status
   as a victim is inconsistent with its confession to conspiring with Defendants to bribe Randazzo with
   $4,333,333, it is indisputable that FirstEnergy’s shareholders, including the Movant-Victim, did not
   consent to this taking and are victims of Defendants’ criminal scheme.


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   (N.D.Ill. 2021) (“Parties incur prejudice because they do ‘not have the benefit of the documents

   while selecting deponents, taking depositions, conducting third party discovery, and preparing

   [their] trial strategy and pre-trial documents.’”) (Bracketed text in original.); United States ex rel.

   Landis v. Tailwind Sports Corp., 303 F.R.D. 419, 425-26 (D.D.C. 2014) (“[S]tatements given to FBI

   agents and other criminal investigators . . . are critical sources of evidence for both sides . . . fairness

   dictates that both sides have equal access to relevant witness statements.”) (Emphasis in original.).

   Chief Judge Marbley echoed these holdings in the Civil Action by ordering production to avoid the

   very kind of prejudice Defendants seek to inflict through trying to hide behind this Court’s

   Protective Order: “[W]ithout allowing access to already-produced discovery, [Movant-Victim] could

   find itself in a significantly different position from most of the other litigants related to this matter.”

   FirstEnergy, 2021 WL 2414763, at *6 (June 2021 Order).

            While Movant-Victim supports the State’s motion in the Civil Action to stay the depositions

   of the Six State Witnesses until after February 1, 2025 (Ex. 20 (ECF 704 - Plaintiffs’ Response to

   State’s Stay Mot.) at PageID 15302), there is no guarantee that the State’s motion will be granted or

   that an order granting the motion will withstand an objection. Thus, as discussed in more detail

   below, to avoid the prejudice that would result from Defendants deposing the Six State Witnesses

   while still withholding the Withheld Documents, Movant-Victim respectfully requests that the Court

   either: (1) clarify that the Protective Order is limited to the two categories of information it was

   explicitly meant to protect (i.e., PII and confidential documents Defendants obtain through other

   litigation); or (2) amend the Protective Order so as to permit Defendants to produce the Withheld

   Documents to Movant-Victim prior to deposing any of the Six State Witnesses.




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                       1.   The Court Should Clarify that the Protective Order Is Limited
                            to the Two Listed Categories

            Rule 16 of the Ohio Rules of Criminal Procedure prescribes a strictly limited list of reasons

   upon which a prosecuting attorney may rely to certify information for nondisclosure to a criminal

   defendant. Crim.R. 16(D) (“If the prosecuting attorney does not disclose materials or portions of

   materials under this rule, the prosecuting attorney shall certify to the court that the prosecuting

   attorney is not disclosing material or portions of material otherwise subject to disclosure under this

   rule for one or more of the following reasons.”). Once information has been produced to a criminal

   defendant, however, Ohio Rule of Criminal Procedure 16 contains no provision authorizing

   protective orders to shield information provided to a criminal defendant from discovery in a pre-

   existing related matter. Put simply, the Ohio Rules of Criminal Procedure do not include an analog

   to Rule 26(C) of the Ohio Rules of Civil Procedure. Civ.R. 26(C). This is essential because even if

   it did, the Court found very limited good cause for the Protective Order here: “the Court finds that

   good case exists for the entry of a protective order in this case to [1] prevent the dissemination of

   personally identifiable information (‘PII’) and [2] preserve the Confidential status of documents

   obtained by the Defense Team through other litigation.” Protective Order at 2. In other words,

   because there are no other categories of information for which this Court found good cause to

   support a protective order, the Protective Order did not give the parties a freehand to designate as

   confidential anything they want whenever they want and then invoke this Court’s authority to

   prejudice others, especially victims, in related litigation. Even the Court may not issue a protective

   order without finding good cause to do so. “““The burden of establishing good cause for a

   protective order rests with the movant.””” Coon v. OhioHealth Corp., 2023-Ohio-492, ¶31 (3d

   Dist.), appeal not allowed, 2023-Ohio-1979. “‘Merely claiming the information is confidential is

   insufficient to sustain the burden.’” Id. at ¶32.


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            Because the Withheld Documents do not contain PII or include confidential “documents

   obtained by the Defense Team through other litigation,” they do not fall within the Protective Order.

   Protective Order at 2. Nevertheless, Defendants have misconstrued this Court’s Protective Order to

   evade their discovery obligations in the Civil Action and gain an improper advantage over the State

   in the criminal case. To prevent such abuse and any further gamesmanship, Movant-Victim

   respectfully requests that the Court clarify and confirm that the Protective Order is limited to the two

   categories      of        information/documents   the   Court   found   good   cause   to   protect   (i)

   information/documents reflecting PII, and (ii) information/documents “obtained by the Defense

   Team through other litigation” in which they were designated confidential. Id. at 2

                        2.       In the Alternative, Movant-Victim Requests that the Court
                                 Amend the Protective Order to Permit Production of the
                                 Withheld Information Prior to Defendants Deposing the Six
                                 State Witnesses

            As set forth above, Movant-Victim would be prejudiced if Defendants are still withholding

   the Withheld Documents when they depose the Six State Witnesses. If the federal court allows these

   depositions to proceed in the Civil Action, there is good cause to amend the Protective Order in this

   case to avoid this prejudice. See, e.g., Behrens v. Behrens, 2024-Ohio-1121, ¶12 (“‘As a general

   rule, “good cause” means a [s]ubstantial reason, one that affords legal excuse.’”) (Bracketed text in

   original.). If the Court determines that the existing Protective Order shields from production to the

   Movant-Victim the retroactively bulk-designated Withheld Documents, then to preserve the rights

   enumerated under Marsy’s Law and avoid prejudicing Movant-Victim, the Court should amend the

   Protective Order. Specifically, Movant-Victim requests that the Court add the following language to

   the Protective Order:

            Any Discovery Material that does not contain PII or was not received by the Defense
            Team through other litigation shall not be protected from production in the matter of
            In re FirstEnergy Corp. Securities Litigation, No. 2:20-cv-03785-ALM-KAJ
            (S.D.Ohio) at least 21 days prior to the deposition of any of the following

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            individuals: Ebony Yeboah-Amankwah, Robert P. Reffner, Josh Rubin, Matthew
            Brakey, Steven Staub, and Bradley Bingaman. Production of Discovery Material
            shall be accompanied by a copy of this Amended Protective Order and an advisal that
            the handling of such Discovery Material is subject to its terms.

   Critically, this Court previously ordered Defendants to produce documents designated confidential

   under the protective order in the Civil Action (Order Requiring Disclosure filed on September 26,

   2024), which confirms the complete overlap in relevance between the Civil Action and state criminal

   cases and significantly tempers Movant-Victim’s request, which simply seeks a parallel order from

   this Court.

            C.         Movant-Victim Urges the Court to Set a Trial Date to Allow for a
                       Conclusion of This Matter

            As set forth above, the Ohio Constitution provides a right to the Movant-Victim “to

   proceedings free from unreasonable delay and a prompt conclusion of the case” and that this right

   “shall be protected in a manner no less vigorous than the rights afforded to the accused.” Ohio

   Const., art. I, §10a(A), (8). Likewise, Section 2945.71 of the Ohio Revised Code requires

   Defendants be brought trial within 270 days of their February 12, 2024 arrests.                    R.C.

   §2945.71(C)(2). A timely conclusion of the criminal prosecution could alleviate most of the issues

   and prejudice addressed in this Motion, as the State has already indicated that it will not consider any

   of the Withheld Documents to be confidential after trial or resolution of this case. If the Court were

   to set this matter for a trial commencing by February 1, 2025, sufficient time would be left in the

   Civil Action to allow for both the production of the Withheld Documents and the depositions of the

   Six State Witnesses to proceed following the conclusion of the criminal trial and prior to the

   conclusion of Civil Action’s discovery deadline. Indeed, this provides the clearest path to protect the

   legitimate interests of all the parties involved including Movant-Victim, the State, and Defendants.

   Accordingly, Movant-Victim respectfully requests that the Court set this matter for a trial on or

   before February 1, 2025.

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   IV.      REQUEST FOR ORAL ARGUMENT

            Pursuant to Summit County Court of Common Pleas General Division, Local Rule 7.14(B),

   Movant-Victim requests oral argument on this Motion and respectfully requests that the Court

   schedule it for November 15, 2024 at the same time the Court is currently scheduled to hold a

   hearing on other related motions in this matter.

   DATED: October 30, 2024


                                                      s/ Joseph F. Murray
                                                      Joseph F. Murray (0063373)
                                                      Brian K. Murphy (0070654)
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                                                      murphy@mmmb.com
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                                                      Jason A. Forge (pro hac vice forthcoming)
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                                                      Telephone: 619/231-1058
                                                      jforge@rgrdlaw.com
                                                      619/231-7423 (fax)




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                                     CERTIFICATE OF SERVICE

            I hereby certify that on October 30, 2024, I electronically filed the foregoing with the

   Clerk of the Court by using the e-Filing system, which will send a notice of electronic filing to

   all counsel of record in this case.



                                                                   /s/ Joseph F. Murray
                                                                     Joseph F. Murray




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                            EXHIBIT 1
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AO 91 (Rev. 08/09) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Southern District of Ohio

                  United States of America                           )
                               V.                                    )
                                                                     )     Case No. 1:20-MJ-00526
                       Matthew Borges
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)


                                                        CRIMINAL COMPLAINT

         I, the-complainant in this case, state that the following is U11e to the best of my knowledge and belief.
On or about the date{s) of                     July 16, 2020               in the county of                Hamilton         in the
     Southern          Dist:lict of              Ohio            . the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. § 1962(d)                              Conspiracy to Participate, Directry or Indirectly, in the Conduct of an
                                                 Enterprise's Affairs through a Pattern of Racketeering Activity




         This criminal complaint is based on these facts:
                   See Affidavit




         'ill Continued on the attached sheet.

                                                                                                Complai11anc's/s!g11ature

                                                                                      Blane J. Wetzel, Special Agent, FBI
                                                                                                 Printed name and title

Sworn to before me and signed in my presence. via Facetime Video.

             Jul17, 2020
Date:
                                                                                                   Judge 's signature

City and state:                           Cincinnati Ohio                    Hon. Stephanie K. Bowman, U.S. Magistrate Judge
                                                                                                 Printed name and title
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   DQG HQWLWLHV DVVRFLDWHG LQ IDFW +RXVHKROGHU¶V (QWHUSULVH FRQVWLWXWHG DQ RQJRLQJ RUJDQL]DWLRQ
   ZKRVH PHPEHUV IXQFWLRQHG DV D FRQWLQXLQJ XQLW IRU D FRPPRQ SXUSRVH RI DFKLHYLQJ WKH REMHFWLYHV
   RI WKH HQWHUSULVH DQG WKH HQWHUSULVH HQJDJHG LQ DQG LWV DFWLYLWLHV DIIHFWHG LQWHUVWDWH FRPPHUFH
   $V GHVFULEHG EHORZ WKHUH LV SUREDEOH FDXVH WR EHOLHYH WKDW WKH QDPHG GHIHQGDQWV FRQVSLUHG WR
   FRQGXFW DQG SDUWLFLSDWH LQ WKH FRQGXFW RI WKH DIIDLUV RI +RXVHKROGHU¶V (QWHUSULVH WKURXJK D SDWWHUQ
   RI UDFNHWHHULQJ DFWLYLW\




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                 7R VXPPDUL]H IURP 0DUFK  WR 0DUFK  +RXVHKROGHU¶V (QWHUSULVH
   UHFHLYHG DSSUR[LPDWHO\  PLOOLRQ IURP &RPSDQ\ $ HQWLWLHV SDLG WKURXJK *HQHUDWLRQ 1RZ DQG
   FRQWUROOHG E\ +RXVHKROGHU DQG WKH (QWHUSULVH ,Q H[FKDQJH IRU SD\PHQWV IURP &RPSDQ\ $
   +RXVHKROGHU¶V (QWHUSULVH KHOSHG SDVV +RXVH %LOO  OHJLVODWLRQ GHVFULEHG E\ DQ (QWHUSULVH PHPEHU
   DV D ELOOLRQGROODU ³EDLORXW´ WKDW VDYHG IURP FORVXUH WZR IDLOLQJ QXFOHDU SRZHU SODQWV LQ 2KLR
   DIILOLDWHG ZLWK &RPSDQ\ $ 7KH (QWHUSULVH WKHQ ZRUNHG WR FRUUXSWO\ HQVXUH WKDW +%  ZHQW LQWR
   HIIHFW E\ GHIHDWLQJ D EDOORW LQLWLDWLYH 7R DFKLHYH WKHVH HQGV DQG WR FRQFHDO WKH VFKHPH
   +RXVHKROGHU¶V (QWHUSULVH SDVVHG PRQH\ UHFHLYHG IURP &RPSDQ\ $ &RUS DIILOLDWHV WKURXJK
   PXOWLSOH HQWLWLHV WKDW LW FRQWUROOHG +RXVHKROGHU¶V (QWHUSULVH WKHQ XVHG WKH EULEH SD\PHQWV WR
   IXUWKHU WKH JRDOV RI WKH (QWHUSULVH ZKLFK LQFOXGH  REWDLQLQJ SUHVHUYLQJ DQG H[SDQGLQJ
   +RXVHKROGHU¶V SROLWLFDO SRZHU LQ WKH 6WDWH RI 2KLR WKURXJK WKH UHFHLSW DQG XVH RI VHFUHW SD\PHQWV
     HQULFKLQJ DQG EHQHILWWLQJ WKH HQWHUSULVH LWV PHPEHUV DQG DVVRFLDWHV DQG  SURPRWLQJ
   FRQFHDOLQJ DQG SURWHFWLQJ SXUSRVHV  DQG  IURP SXEOLF H[SRVXUH DQG SRVVLEOH FULPLQDO
   SURVHFXWLRQ


       ,       %DFNJURXQG

                  ,Q  &RPSDQ\ $ &RUS¶V QXFOHDU JHQHUDWLRQ IXWXUH ORRNHG JULP &RPSDQ\ $
   &RUS LV GHVFULEHG IXUWKHU EHORZ ,Q LWV 1RYHPEHU  $QQXDO 5HSRUW WR 6KDUHKROGHUV 2KLR
   EDVHG &RPSDQ\ $ &RUS DQG LWV DIILOLDWHV UHSRUWHG D ZHDN HQHUJ\ PDUNHW SRRU IRUHFDVW GHPDQGV
   DQG KXQGUHGV RI PLOOLRQV RI GROODUV LQ ORVVHV SDUWLFXODUO\ IURP LWV QXFOHDU HQHUJ\ DIILOLDWH
   &RPSDQ\ $ *LYHQ WKLV EDFNGURS &RPSDQ\ $ DQQRXQFHG IXWXUH RSWLRQV IRU LWV JHQHUDWLRQ
   SRUWIROLR DV IROORZV ³OHJLVODWLYH DQG UHJXODWRU\ VROXWLRQV IRU JHQHUDWLRQ DVVHWV´ DVVHW VDOHV DQG
   SODQW GHDFWLYDWLRQV UHVWUXFWXULQJ GHEW DQGRU VHHNLQJ SURWHFWLRQ XQGHU 86 EDQNUXSWF\ ODZV IRU
   LWV DIILOLDWHV LQYROYHG LQ QXFOHDU JHQHUDWLRQ

                &RQVLVWHQW ZLWK WKLV IRUHFDVW &RPSDQ\ $ DFWLYHO\ VRXJKW D ³OHJLVODWLYH VROXWLRQ´
   IRU LWV WZR DIILOLDWHG QXFOHDU SRZHU SODQWV LQ 2KLR )RU H[DPSOH GXULQJ &RPSDQ\ $¶V IRXUWK
   TXDUWHU  HDUQLQJV FRQIHUHQFH FDOO &RPSDQ\ $ &RUS 3UHVLGHQW DQG &(2 VWDWHG

                    In Ohio, we have had meaningful dialogue with our fellow utilities
                    and with legislators on solutions that can help ensure Ohio's future
                    energy security. Our top priority is the preservation of our two
                    nuclear plants in the state and legislation for a zero emission
                    nuclear program is expected to be introduced soon. The ZEN
                    program is intended to give state lawmakers greater control and
                    flexibility to preserve valuable nuclear generation. We believe this

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     , KDYH XVHG SVHXGRQ\PV IRU DOO SHRSOH DQG HQWLWLHV H[FHSW IRU WKH 'HIHQGDQWV DQG WKH HQWLWLHV UHJLVWHUHG E\ WKH
   'HIHQGDQWV RU IRU ZKLFK WKH\ DUH VLJQDWRULHV RQ EDQN DFFRXQWV
   
     $V GHVFULEHG LQ WKLV DIILGDYLW ³&RPSDQ\ $´ UHIHUV FROOHFWLYHO\ WR &RPSDQ\ $ &RUS &RPSDQ\ $ DQG &RPSDQ\
   $ 6HUYLFH &R DOO RI ZKLFK DUH GHILQHG EHORZ 3ULRU WR )HEUXDU\  &RPSDQ\ $ DQG &RPSDQ\ $ 6HUYLFH &R
   ZHUH ERWK ZKROO\RZQHG VXEVLGLDULHV RI &RPSDQ\ $ &RUS &RPSDQ\ $ DQG LWV DIILOLDWHV ILOHG IRU EDQNUXSWF\ LQ
    DQG ZHUH GLYHVWHG IURP &RPSDQ\ $ &RUS LQ )HEUXDU\  1RWDEO\ DOO WKUHH HQWLWLHV VKDUH D FRPPRQ ILUVW
   QDPH DQG (QWHUSULVH PHPEHUV DQG DVVRFLDWHV RIWHQ MXVW UHIHUUHG JHQHULFDOO\ WR WKH ³FRPSDQ\´ RU XVHG WKH FRPPRQ
   ILUVW QDPH LQ FRPPXQLFDWLRQV DV TXRWHG EHORZ

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                   legislation would preserve not only zero emission assets but jobs,
                   economic growth, fuel diversity, price stability, and reliability and
                   grid security for the region.

                   We are advocating for Ohio's support for its two nuclear plants,
                   even though the likely outcome is that [Company A] won't be the
                   long-term owner of these assets. We are optimistic, given these
                   discussions we have had so far and we will keep you posted as this
                   process unfolds

               +RZHYHU DWWHPSWV WR REWDLQ D OHJLVODWLYH VROXWLRQ KDG IDLOHG WR SDVV LQFOXGLQJ WKH
   =(1 =HUR(PLVVLRQV 1XFOHDU 5HVRXUFH 3URJUDP HQHUJ\ SURSRVDOV RXWOLQHG LQ +RXVH %LOO 
   6HQDWH %LOO  DQG +RXVH %LOO  LQ 

               :KLOH &RPSDQ\ $ ZDV LQ VHDUFK RI D VROXWLRQ WR LWV QXFOHDU HQHUJ\ SUREOHP
   +RXVHKROGHU ZDV UHHQWHULQJ SROLWLFV ZLQQLQJ EDFN KLV 6WDWH +RXVH VHDW LQ 3HUU\ &RXQW\ 2KLR
   ZLWK WKH JRDO RI ZLQQLQJ EDFN WKH 6SHDNHUVKLS LQ -DQXDU\  )ROORZLQJ KLV -DQXDU\  WULS
   RQ &RPSDQ\ $¶V SULYDWH MHW LQ 0DUFK  +RXVHKROGHU EHJDQ UHFHLYLQJ TXDUWHUO\ 
   SD\PHQWV IURP &RPSDQ\ $ LQWR D EDQN DFFRXQW LQ WKH QDPH RI D  F  HQWLW\ VHFUHWO\
   FRQWUROOHG E\ +RXVHKROGHU FDOOHG *HQHUDWLRQ 1RZ ,Q  DQG  +RXVHKROGHU¶V (QWHUSULVH
   UHFHLYHG LQWR *HQHUDWLRQ 1RZ DQG WKH HQWLWLHV LW FRQWUROOHG RYHU  PLOOLRQ IURP &RPSDQ\ $
   0HPEHUV RI +RXVHKROGHU¶V (QWHUSULVH XVHG &RPSDQ\ $¶V SD\PHQWV IRU WKHLU RZQ SHUVRQDO EHQHILW
   DQG WR JDLQ VXSSRUW IRU +RXVHKROGHU¶V SROLWLFDO ELG WR EHFRPH 6SHDNHU ,Q WKH VSULQJ DQG IDOO RI
    WKH (QWHUSULVH VSHQW PLOOLRQV LQ &RPSDQ\ $ PRQH\ WR VXSSRUW +RXVH FDQGLGDWHV LQYROYHG
   LQ SULPDU\ DQG JHQHUDO HOHFWLRQV ZKRP WKH (QWHUSULVH EHOLHYHG ERWK ZRXOG YRWH IRU +RXVHKROGHU
   DV 6SHDNHU DQG XOWLPDWHO\ ZRXOG IROORZ KLV OHDG DV 6SHDNHU DQG YRWH IRU EDLORXW OHJLVODWLRQ IRU
   &RPSDQ\ $

                7KH LQYHVWLJDWLRQ VKRZV WKDW WKH SODQ ZRUNHG +RXVHKROGHUEDFNHG FDQGLGDWHV WKDW
   EHQHILWWHG IURP &RPSDQ\ $ PRQH\ UHFHLYHG E\ *HQHUDWLRQ 1RZ GHVFULEHG WKURXJKRXW WKLV
   DIILGDYLW DV ³&RPSDQ\ $WR*HQHUDWLRQ1RZ´ SD\PHQWV KHOSHG HOHFW +RXVHKROGHU DV WKH 2KLR
   6SHDNHU RI WKH +RXVH LQ -DQXDU\  $QG +RXVHKROGHU IXOILOOHG KLV HQG RI WKH FRUUXSW EDUJDLQ
   VKRUWO\ WKHUHDIWHU 7KUHH PRQWKV LQWR KLV WHUP DV 6SHDNHU +%  ZDV LQWURGXFHG WR VDYH IURP
   FORVXUH &RPSDQ\ $¶V WZR IDLOLQJ QXFOHDU SRZHU SODQWV 6SHFLILFDOO\ +%  VXEVLGL]HG QXFOHDU
   HQHUJ\ RSHUDWLRQV LQ 2KLR WKURXJK D PRQWKO\ FKDUJH RQ DOO 2KLRDQ¶V HQHUJ\ ELOOV 1HLO &ODUN
   GHVFULEHG WKH OHJLVODWLRQ DV D ³EDLORXW´ IRU &RPSDQ\ $¶V QXFOHDU DVVHWV ZRUWK  ELOOLRQ WR
   &RPSDQ\ $

               $IWHU WKH LQWURGXFWLRQ RI WKH EDLORXW OHJLVODWLRQ &RPSDQ\ $ EHJDQ LQFUHDVLQJ LWV
   SD\PHQWV LQWR *HQHUDWLRQ 1RZ IRU WKH EHQHILW RI WKH (QWHUSULVH 2Q $SULO   URXJKO\ WZR
   ZHHNV DIWHU LQWURGXFWLRQ RI WKH OHJLVODWLRQ &RPSDQ\ $ ZLUHG  PLOOLRQ WR *HQHUDWLRQ 1RZ ,Q
   WKH PRQWK RI 0D\  ZKLOH WKH FRQWURYHUVLDO OHJLVODWLRQ ZDV SHQGLQJ EHIRUH ODZPDNHUV
   &RPSDQ\ $ ZLUHG IRXU DGGLWLRQDO SD\PHQWV WRWDOLQJ  PLOOLRQ 7KH (QWHUSULVH XVHG VRPH RI WKDW
   
    ³&RPSDQ\ $WR*HQHUDWLRQ1RZ´ SD\PHQWV LV DQ LQFOXVLYH ODEHO GHVFULELQJ SD\PHQWV IURP DFFRXQWV FRQWUROOHG E\
   &RPSDQ\ $ 6HUYLFH &R &RPSDQ\ $ DQG (QHUJ\ 3DVV7KURXJK ZKLFK DV VHW IRUWK EHORZ LV IXQGHG VROHO\ E\
   ZLUHV IURP &RPSDQ\ $ 6HUYLFH &R

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   money for mailers and media advertisements to pressure members to suppo1i the legislation; the
   Enterprise also used Company A money for their personal benefit, as described below. In the same
   month that the Ente1prise received $8 million from Company A, Householder and other Ente1prise
   members pressured House members to vote for HB 6, and instmcted at least one representative to
   destroy text messages from Householder after Householder attempt to gain suppo1i for HB 6 from
   the representative.

            16.    On May 29, 2019, HB 6 passed the House, and after Ente1prise members exe1ied
   pressure on the Senate, the legislation was passed and was signed into law by the Governor. That
   process took about two months. However, the law would not go into effect until October 22, 2019.
   Shortly after the Governor signed the legislation, a campaign began to organize a statewide ballot-
   initiative referendum ("Ballot Campaign") to ove1iurn the legislation. This required Ballot
   Campaign organizers to collect the signatures of registered voters in order to put the referendum
   ofHB 6 on the 2020 ballot. And so, Company A's and the Ente1prise 's fight continued.

           17.    In response, from July 24 to October 22, 2019, Company A-controlled accounts
   wired over $38 million into Generation Now to defeat the ballot initiative so HB 6 would go into
   effect. The Ente1prise funneled the money to various accounts and entities controlled by the
   Ente1prise to purchase media ads and mailers against the ballot initiative, to conflict out signature-
   collection finns, and to pay off and bribe signature collectors suppo1iing the referendum. The
   members and associates of the Ente1prise also used the Company A money to emich the1I1Selves
   and fmi her their personal interests.

          18.     Company A entities paid Householder 's Ente1prise $60,886,835.86 in secret
  payments4 over the approximately three-year period in exchange for the billion-dollar-bailout. The
  Ente1prise concealed the payments by using a 501(c)(4) to receive the bribe money, and then
  transfening the payments internally to a web of related entities and accounts. The millions paid
  into the entity are akin to bags of cash-unlike campaign or PAC contributions, they were not
  regulated, not repo1ied, not subject to public scmtiny-and the Ente1prise freely spent the bribe
  payments to fmi her the Ente1prise's political interests and to enrich the1I1Selves. As Defendant
  Neil Clark stated in a 2019 recorded conversation,5 Company A operated as the Ente1prise 's
  "Bank"- Clark explained, "Generation Now is the Speaker's (c)(4)," and Company A's "deep
  pockets," and the money to the Ente1prise through Generation Now was "unlimited." Defendant
  Matthew Borges similarly described Company A 's payments to the Ente1prise as "Monopoly
  money."

            19.    The Ente1prise used some of the Company A money to help enact the bailout
   legislation. Additionally, the Ente1prise used millions of dollars of Company A bribe money to
   fmiher Householder 's political ambitions by funding his own campaign, and the campaigns of
   members and candidates who would eventually suppo1i Householder's election for Speaker. The
   Company A payments funded the operating costs of the Ente1prise and paid for Householder 's
   political and campaign staff. The Defendants also paid themselves personally millions of dollars

                                ents into Generation Now and other Ente rise-controlled entities.




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   WKH (QWHUSULVH 7KLV LQFOXGHV DOORZLQJ IRU WKH SD\PHQW RI DW OHDVW  LQ ZKDW DSSHDUV WR EH
   SHUVRQDO EHQHILWV WR +RXVHKROGHU WKDW ZDV SDVVHG WKURXJK /RQJVWUHWK FRQWUROOHG DFFRXQWV ,Q
   DGGLWLRQ WKH (QWHUSULVH KDG RYHU  PLOOLRQ RI &RPSDQ\ $ PRQH\ LQ WKHLU FRQWUROOHG DFFRXQWV DW
   WKH HQG RI  ZKLFK UHSUHVHQWV IXUWKHU SURILW WR (QWHUSULVH PHPEHUV

      $ 7KH 'HIHQGDQWV DQG +RXVHKROGHU¶V (QWHUSULVH

                 /DUU\ +RXVHKROGHU LV WKH FXUUHQW 6SHDNHU RI WKH 2KLR +RXVH RI 5HSUHVHQWDWLYHV
   +H SUHYLRXVO\ VHUYHG DV D +RXVH PHPEHU UHSUHVHQWLQJ 2KLR¶V QG 'LVWULFW IURP  WR 
   LQFOXGLQJ DV 2KLR 6SHDNHU RI WKH +RXVH IURP  WR  ,Q  +RXVHKROGHU UHVLJQHG IURP
   RIILFH DIWHU UHSRUWV RI DOOHJHG FRUUXSW DFWLYLW\ VXUIDFHG LQ WKH PHGLD DQG ZHUH SXEOLFDOO\ UHIHUUHG
   WR WKH )%, +H ZDV QHYHU FKDUJHG +RXVHKROGHU ZRQ KLV +RXVH VHDW EDFN LQ WKH IDOO RI  +H
   ZDV HOHFWHG 6SHDNHU DJDLQ LQ -DQXDU\  DIWHU ZKDW WKH PHGLD GHVFULEHG DV D ELWWHU OHDGHUVKLS
   EDWWOH WKDW ODVWHG QHDUO\ D \HDU

                +RXVHKROGHU¶V SDWK WR 6SHDNHUVKLS ZDV XQXVXDO +RXVHKROGHU DQG WKHQ+RXVH
   PHPEHU 5HSUHVHQWDWLYH  ERWK RI ZKRP DUH 5HSXEOLFDQV ZHUH ERWK FDQGLGDWHV WR EH 6SHDNHU RI
   WKH +RXVH RI 5HSUHVHQWDWLYHV IRU WKH UG *HQHUDO $VVHPEO\ $IWHU WKH WKHQ6SHDNHU¶V
   UHVLJQDWLRQ LQ 0D\  D SURWUDFWHG FRQIOLFW ODVWLQJ HLJKW ZHHNV EHJDQ WR VHOHFW D 6SHDNHU IRU
   WKH UHPDLQGHU RI WKH QG *HQHUDO $VVHPEO\ 8OWLPDWHO\ 5HSUHVHQWDWLYH  EHFDPH 6SHDNHU
   SHQGLQJ WKH XSFRPLQJ  HOHFWLRQ DIWHU WKH XQSUHFHGHQWHG FRQIOLFW WKDW ZDV UHVROYHG XVLQJ D
   +RXVH UXOH WKDW FRXOG RQO\ EH HPSOR\HG DIWHU WHQ IDLOHG DWWHPSWV WR VHOHFW D 6SHDNHU 'HVSLWH
   5HSUHVHQWDWLYH ¶V VHOHFWLRQ LQ PLG IRU WKH UHPDLQGHU RI WKH QG *HQHUDO $VVHPEO\
   +RXVHKROGHU DJJUHVVLYHO\ VRXJKW VXSSRUW IRU KLV FDQGLGDF\ IRU 6SHDNHU +H GLG VR LQ D QXPEHU RI
   ZD\V LQFOXGLQJ E\ SURYLGLQJ ILQDQFLDO VXSSRUW SDLG IRU LQ ODUJH SDUW E\ &RPSDQ\ $ IRU FHUWDLQ
   FDQGLGDWHV UXQQLQJ IRU +RXVH VHDWV LQ WKH VSULQJ  SULPDU\ DQG WKH 1RYHPEHU  JHQHUDO
   HOHFWLRQ ,Q WKH HQG KLV VWUDWHJ\ ZDV VXFFHVVIXO DV KH ZRQ WKH 6SHDNHUVKLS GHVSLWH 5HSUHVHQWDWLYH
    VHUYLQJ LQ WKDW UROH SULRU WR WKH HOHFWLRQ

                +RXVHKROGHU¶V (QWHUSULVH KDV VHYHUDO SXUSRVHV RQH RI ZKLFK LV WR LQFUHDVH
   +RXVHKROGHU¶V SROLWLFDO SRZHU WKURXJK FRUUXSW PHDQV ,Q KLV UROH +RXVHKROGHU VROLFLWHG DQG
   DFFHSWHG SD\PHQWV IURP &RPSDQ\ $ LQWR KLV  F  DFFRXQW KH XVHG WKH EULEH SD\PHQWV WR
   IXUWKHU KLV SROLWLFDO LQWHUHVWV HQULFK KLPVHOI DQG RWKHU PHPEHUV DQG DVVRFLDWHV RI WKH (QWHUSULVH
   DQG WR DVVLVW LQ SDVVLQJ DQG SUHVHUYLQJ WKH EDLORXW OHJLVODWLRQ DQG LQ UHWXUQ IRU WKH EHQHILWV
   UHFHLYHG KH FRRUGLQDWHG SDVVDJH RI +%  DQG DWWHPSWHG WR LQIOXHQFH OHJLVODWRUV WR VXSSRUW WKH
   EDLORXW DPRQJ RWKHU WKLQJV

                +RXVHKROGHU EHQHILWWHG SHUVRQDOO\ WKURXJK WKH (QWHUSULVH )RU H[DPSOH ZKLOH
   IXQGHG E\ &RPSDQ\ $WR*HQHUDWLRQ1RZ EULEH PRQH\ DW OHDVW  SDVVHG WKURXJK DQG
   IXQGHG DFFRXQWV FRQWUROOHG E\ -HII /RQJVWUHWK ZKLFK WKH (QWHUSULVH XVHG WR SD\ OHJDO IHHV DQG
   VHWWOH D ODZVXLW DJDLQVW +RXVHKROGHU 2YHU  RI WKH &RPSDQ\ $WR*HQHUDWLRQ1RZ EULEH
   PRQH\ ZDV SDVVHG WKURXJK /RQJVWUHWKFRQWUROOHG DFFRXQWV DQG XVHG WR SD\ FRVWV DVVRFLDWHG ZLWK
   +RXVHKROGHU¶V )ORULGD KRPH ,Q DGGLWLRQ DW OHDVW  RI WKH &RPSDQ\ $WR*HQHUDWLRQ1RZ
   EULEH PRQH\ ZDV XVHG WR SD\ H[SHQVHV IRU +RXVHKROGHU¶V  +RXVH FDPSDLJQ



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  &ODUN LGHQWLILHG /RQJVWUHWK DV +RXVHKROGHU¶V ³political guy´ KLV ³implementer´ DQG RQH RI KLV
  ³closest advisors´ ZKR ZDV LQVWUXPHQWDO WR WKH (QWHUSULVH¶V HIIRUWV WR SDVV +% 

               7KH LQYHVWLJDWLRQ FRUURERUDWHV &ODUN¶V VWDWHPHQWV $OWKRXJK /RQJVWUHWK LV QRW
  HPSOR\HG E\ WKH 6WDWH RI 2KLR KH LV +RXVHKROGHU¶V FKLHI SROLWLFDO VWUDWHJLVW /RQJVWUHWK UXQV
  +RXVHKROGHU¶V SROLWLFDO FDPSDLJQ DQG WKH LQYHVWLJDWLRQ VKRZV WKDW KH DQG KLV VWDII PDQDJHG WKH
   FDPSDLJQV IRU WKH (QWHUSULVHEDFNHG FDQGLGDWHV DW WLPHV LQWHUQDOO\ UHIHUUHG WR E\ WKH
  (QWHUSULVH DV ³7HDP +RXVHKROGHU´ FDQGLGDWHV  +RXVHKROGHU DQG /RQJVWUHWK HYHQ VKDUHG RIILFH
  VSDFH UHQWHG IURP WKHLU 3ROLWLFDO $GYHUWLVLQJ $JHQF\ ,Q DGGLWLRQ /RQJVWUHWK OHG WKH PHVVDJLQJ
  HIIRUWV ERWK LQ WKH FDPSDLJQ WR SDVV +%  DQG WR GHIHDW WKH UHIHUHQGXP DQG ZDV D SRLQW RI FRQWDFW
  IRU &RPSDQ\ $ 3KRQH UHFRUGV VKRZ WKDW +RXVHKROGHU DQG /RQJVWUHWK KDYH FRPPXQLFDWHG RQ D
  UHJXODU EDVLV IRU \HDUV

               /RQJVWUHWK DOVR SOD\V D FULWLFDO UROH ZLWK UHVSHFW WR WKH (QWHUSULVH¶V ILQDQFHV +H LV
  D VLJQDWRU\ RQ ERWK RI WKH *HQHUDWLRQ 1RZ EDQN DFFRXQWV DQG WKH SHUVRQ ZKR WUDQVIHUV PRQH\ RXW
  RI WKH DFFRXQWV WR RWKHU HQWLWLHV WR IXUWKHU WKH (QWHUSULVH /RQJVWUHWK DOVR FRQWUROV HQWLWLHV WKDW
  UHFHLYH &RPSDQ\ $WKURXJK*HQHUDWLRQ1RZ SD\PHQWV WR IXUWKHU WKH (QWHUSULVH $PRQJ WKHVH
  /RQJVWUHWK RZQV DQG RSHUDWHV -3/         $VVRFLDWHV 7KURXJKRXW WKH UHOHYDQW SHULRG /RQJVWUHWK
  WUDQVIHUUHG RYHU  PLOOLRQ RI &RPSDQ\ $¶V EULEH SD\PHQWV GLUHFWO\ IURP *HQHUDWLRQ 1RZ¶V
  SULPDU\ EDQN DFFRXQW WR -3/         $VVRFLDWHV¶ SULPDU\ EDQN DFFRXQW ,Q DGGLWLRQ /RQJVWUHWK
  UHFHLYHG LQGLUHFWO\ DQRWKHU  PLOOLRQ ZKLFK ZDV WUDQVIHUUHG IURP WKH *HQHUDWLRQ 1RZ DFFRXQW
  WKURXJK DQRWKHU HQWLW\ )URQW &RPSDQ\ GHVFULEHG EHORZ DQG WKHQ LQWR DFFRXQWV WKDW KH
  FRQWUROOHG /RQJVWUHWK WKHQ XVHG &RPSDQ\ $ SD\PHQWV IXQQHOHG WKURXJK *HQHUDWLRQ 1RZ WR
  IXUWKHU +RXVHKROGHU¶V DQG &RPSDQ\ $¶V LQWHUHVWV DQG WR SD\ SHUVRQDO EHQHILWV WR PHPEHUV DQG
  DVVRFLDWHV RI WKH (QWHUSULVH /RQJVWUHWK EHQHILWWHG SHUVRQDOO\ WKURXJK WKH FRQVSLUDF\¶V DFWLRQV
  UHFHLYLQJ RYHU  PLOOLRQ LQ &RPSDQ\ $WR*HQHUDWLRQ1RZ PRQH\ GXULQJ WKH UHOHYDQW SHULRG
  LQFOXGLQJ DW OHDVW  PLOOLRQ ZKLFK KH WUDQVIHUUHG WR KLV EURNHUDJH DFFRXQW LQ -DQXDU\ 

              1HLO &ODUN RZQV DQG RSHUDWHV *UDQW 6WUHHW &RQVXOWDQWV DQ 2KLREDVHG OREE\LQJ
  ILUP WKDW IRFXVHV RQ OHJLVODWLYH UHJXODWRU\ DQG SURFXUHPHQW OREE\LQJ DW WKH 2KLR 6WDWHKRXVH
  3ULRU WR EHFRPLQJ D OREE\LVW &ODUN VHUYHG DV D EXGJHW GLUHFWRU IRU WKH 2KLR 6HQDWH 5HSXEOLFDQ
  &DXFXV 'XULQJ WKH UHOHYDQW SHULRG &ODUN ZRUNHG DV D OREE\LVW IRU YDULRXV LQWHUHVW JURXSV

              $ORQJ ZLWK /RQJVWUHWK &ODUN LV LQ KLV RZQ ZRUGV RQH RI +RXVHKROGHU¶V ³closest
  advisors´ $FFRUGLQJ WR &ODUN GXULQJ UHFRUGHG FRQYHUVDWLRQV LQ  &ODUN VHUYHG DV
  +RXVHKROGHU¶V ³proxy´ LQ WKH (QWHUSULVH¶V HIIRUWV WR IXUWKHU WKH HQDFWPHQW RI +%  DQG HQVXUH +%
   ZHQW LQWR HIIHFW LQ 2FWREHU  E\ GHIHDWLQJ WKH VXEVHTXHQW EDOORWLQLWLDWLYH FKDOOHQJH &ODUN
  DOVR FRPPXQLFDWHG GLUHFWO\ ZLWK +RXVH PHPEHUV WR IXUWKHU WKH (QWHUSULVH ,Q  &ODUN
  GHVFULEHG KLPVHOI LQ UHFRUGHG FRPPXQLFDWLRQV DV +RXVHKROGHU¶V ³hit man´ ZKR ZLOO GR WKH ³dirty
  shit´ &ODUN VWDWHG ³when [Householder’s] busy, I get complete say. When we’re working on
  stuff, if he says, ‘I’m busy,’ everyone knows, Neil has the final say, not Jeff. Jeff is his
  implementer´ %RUJHV FRQILUPHG &ODUN¶V UROH DQG VLPLODUO\ GHVFULEHG &ODUN DV +RXVHKROGHU¶V
  ³proxy´ UHODWLQJ WR &RPSDQ\ $¶V PDWWHUV LQ D UHFRUGHG FRQYHUVDWLRQ ZLWK &+6  &ODUN EHQHILWWHG
  SHUVRQDOO\ IURP &RPSDQ\ $¶V SD\PHQWV WR WKH (QWHUSULVH UHFHLYLQJ DW OHDVW  LQ &RPSDQ\
  $WR*HQHUDWLRQ1RZ PRQH\

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Case:2:20-cv-04287-ALM-KAJ
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                0DWWKHZ %RUJHV LV D UHJLVWHUHG OREE\LVW IRU &RPSDQ\ $ D VXEVLGLDU\ RI
  &RPSDQ\ $ $V GHVFULEHG EHORZ WKH LQYHVWLJDWLRQ KDV VKRZQ WKDW %RUJHV ZDV D NH\ PLGGOHPDQ
  DQG ZDV DW WKH FHQWHU RI WKH HIIRUW WR WKZDUW WKH UHIHUHQGXP WR VWRS +%  IURP WDNLQJ HIIHFW WKURXJK
  D EDOORWLQLWLDWLYH GULYH 2Q $XJXVW   VKRUWO\ DIWHU WKH %DOORW &DPSDLJQ ZDV DQQRXQFHG
  %RUJHV LQFRUSRUDWHG  &RQVXOWLQJ *URXS 7ZR GD\V ODWHU %RUJHV RSHQHG D EDQN DFFRXQW IRU 
  &RQVXOWLQJ *URXS DQG WKDW VDPH GD\ *HQHUDWLRQ 1RZ ZLUHG  LQWR WKH DFFRXQW 2YHU WKH
  QH[W IHZ PRQWKV *HQHUDWLRQ 1RZ ZLUHG D WRWDO RI  PLOOLRQ LQWR WKH DFFRXQW

              7KHUH LV SUREDEOH FDXVH WR EHOLHYH WKDW DSSUR[LPDWHO\ D PRQWK DIWHU *HQHUDWLRQ
  1RZ EHJDQ ZLULQJ PRQH\ LQWR %RUJHV¶  &RQVXOWLQJ DFFRXQW %RUJHV SDLG  WR &+6  LQ
  H[FKDQJH IRU LQVLGH LQIRUPDWLRQ DERXW WKH %DOORW &DPSDLJQ ZKLFK %RUJHV ZRXOG XVH WR KHOS GHIHDW
  WKH %DOORW &DPSDLJQ %DQN DFFRXQW UHFRUGV VKRZ WKDW WKH  SDLG WR &+6  FDPH IURP WKH
   &RQVXOWLQJ *URXS DFFRXQW ZKLFK ZDV IXQGHG E\ *HQHUDWLRQ 1RZ ZLUHV %RUJHV DOVR SDLG
  DQRWKHU FRFRQVSLUDWRU -XDQ &HVSHGHV  RI *HQHUDWLRQ 1RZ PRQH\ IURP KLV DFFRXQW
  :LWK WKH PRQH\ ZLUHG IURP *HQHUDWLRQ 1RZ %RUJHV DOVR SDLG D SULYDWH LQYHVWLJDWRU GXULQJ WKLV
  SHULRG ZKLFK DV GHVFULEHG EHORZ LV FRQVLVWHQW ZLWK WKH (QWHUSULVH¶V VWUDWHJ\ RI LQYHVWLJDWLQJ WKH
  VLJQDWXUH FROOHFWRUV WKDW ZRUNHG IRU WKH %DOORW &DPSDLJQ

              7ROO UHFRUGV VKRZ %RUJHV KDG FRQWDFW ZLWK +RXVHKROGHU LQ -DQXDU\  DQG $SULO
  ²NH\ WLPHSHULRGV DV GHVFULEHG EHORZ LQYROYLQJ RIILFLDO DFWLRQ E\ +RXVHKROGHU %RUJHV
  EHQHILWWHG GLUHFWO\ IURP WKH  PLOOLRQ IURP *HQHUDWLRQ 1RZ ZLUHV 6SHFLILFDOO\ KH SDLG
  KLPVHOI RYHU  IURP &RPSDQ\ $WR*HQHUDWLRQ1RZ SURFHHGV

               -XDQ &HVSHGHV VHUYHG DV D NH\ PLGGOHPDQ SDUWLFLSDWLQJ LQ VWUDWHJ\ PHHWLQJV DQG
  FRPPXQLFDWLQJ ZLWK (QWHUSULVH PHPEHUV DQG DVVRFLDWHV UHJDUGLQJ VWUDWHJLF GHFLVLRQV &HVSHGHV
  LV D PXOWLFOLHQW OREE\LVW ZKRVH VHUYLFHV ZHUH UHWDLQHG E\ &RPSDQ\ $ +H ZDV FHQWUDO WR
  &RPSDQ\ $¶V HIIRUWV WR JHW WKH EDLORXW OHJLVODWLRQ SDVVHG LQ 2KLR $V H[SODLQHG EHORZ D FRQWUDFW
  EHWZHHQ &RPSDQ\ $ DQG &HVSHGHV¶V OREE\LQJ FRPSDQ\ WKH 2[OH\ *URXS VKRZV &RPSDQ\ $
   KLUHG &HVSHGHV WR SXUVXH WKH EDLORXW OHJLVODWLRQ VWDUWLQJ LQ WKH VSULQJ RI  &RQVLVWHQW ZLWK
  WKLV UHFRUGV VKRZ WKDW &HVSHGHV ZDV WKH ³OHDG FRQVXOWDQW´ UHODWLQJ WR &RPSDQ\ $¶V DWWHPSWV
  WR SXUVXH OHJLVODWLRQ WKDW ZRXOG VDYH LWV IDLOLQJ QXFOHDU SRZHU SODQWV ,Q LQWHUQDO GRFXPHQWV
  &HVSHGHV WUDFNHG ³+RXVHKROGHU FDPS´ FDQGLGDWHV ZKR ODWHU UHFHLYHG &RPSDQ\ $WR*HQHDUWLRQ
  1RZ PRQH\ DQG KH DGYLVHG WKDW LI +RXVHKROGHU EHFRPHV 6SHDNHU WKH QXFOHDU HQHUJ\ EDLORXW ³ZLOO
  OLNHO\ EH OHG IURP KLV &KDPEHU´

             +H ZDV SDLG E\ ERWK UHFHLYLQJ DSSUR[LPDWHO\  IURP WKH (QWHUSULVH DQG
   IURP &RPSDQ\ $ LQ  +H DOVR ZDV LQ UHJXODU FRQWDFW ZLWK ERWK &RPSDQ\ $ DQG
  (QWHUSULVH PHPEHUV GXULQJ WKH UHOHYDQW SHULRG $V VHW IRUWK EHORZ &HVSHGHV DQG /RQJVWUHWK
  FRPPXQLFDWHG UHJXODUO\ WKURXJK WH[W PHVVDJHV GLVFXVVLQJ WKH FRRUGLQDWLRQ RI PLOOLRQV RI GROODUV
  LQ &RPSDQ\ $ SD\PHQWV WR WKH (QWHUSULVH DWWDLQLQJ SXEOLF RIILFLDOV¶ VXSSRUW IRU WKH EDLORXW
  VHQGLQJ PHGLD DQG PDLOHUV VXSSRUWLQJ WKH EDLORXW OHJLVODWLRQ DQG KLULQJ VLJQDWXUH ILUPV WR GHIHDW
  WKH EDOORW FDPSDLJQ DPRQJ RWKHU WKLQJV ,Q RQH WHOOLQJ H[FKDQJH ZKLFK LV VXSSRUWHG E\ WROO

  
    7KH  SDLG WR &HVSHGHV ZDV SDVVHG WKURXJK WKH  &RQVXOWLQJ *URXS EDQN DFFRXQW ZKLFK ZDV IXQGHG
  H[FOXVLYHO\ E\ *HQHUDWLRQ 1RZ

                                                     
Case:
Case:2:20-cv-04287-ALM-KAJ
      2:20-cv-03785-ALM-KAJDoc
                           Doc#:
                               #:378-1
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  UHFRUGV DQG VHDUFK ZDUUDQW UHWXUQV &HVSHGHV FRRUGLQDWHG WKH WLPHO\ SD\PHQW RI  PLOOLRQ IURP
  &RPSDQ\ $ WR *HQHUDWLRQ 1RZ

               *HQHUDWLRQ 1RZ ,QF UHFHLYHG DSSUR[LPDWHO\  PLOOLRQ IURP &RPSDQ\ $
  HQWLWLHV GXULQJ WKH UHOHYDQW SHULRG $V VHW IRUWK PRUH IXOO\ EHORZ *HQHUDWLRQ 1RZ UHJLVWHUHG ZLWK
  WKH ,56 DV D  F   ZKLFK LV DQ ,56 GHVLJQDWLRQ IRU D WD[H[HPSW VRFLDO ZHOIDUH RUJDQL]DWLRQ
  3XUVXDQW WR IHGHUDO ODZ WKH QDPHV DQG DGGUHVVHV RI FRQWULEXWRUV WR  F  V DUH QRW PDGH
  DYDLODEOH IRU SXEOLF LQVSHFWLRQ 7KH (QWHUSULVH FRQFHDOHG WKH EULEHU\ VFKHPH E\ IXQQHOLQJ WKH
  PRQH\ WKURXJK *HQHUDWLRQ 1RZ ZKLFK KLG WKH SD\PHQWV DQG WKH VFKHPH IURP SXEOLF VFUXWLQ\
  *HQHUDWLRQ 1RZ¶V DFFRXQWV KDG D FRPELQHG EDODQFH RI DSSUR[LPDWHO\  PLOOLRQ DV RI -DQXDU\
    PRQH\ WKDW LV D GLUHFW EHQHILW WR WKH (QWHUSULVH $V GHVFULEHG EHORZ DIWHU PDNLQJ ZLUH
  WUDQVIHUV WR &RDOLWLRQ LQ HDUO\  WKH *HQHUDWLRQ 1RZ DFFRXQWV ZHUH UHSOHQLVKHG E\ D  PLOOLRQ
  ZLUH IURP (QHUJ\ 3DVV7KURXJK LQ 0DUFK  EULQJLQJ WKH FRPELQHG EDODQFH RI WKH DFFRXQWV WR
  DSSUR[LPDWHO\  PLOOLRQ DJDLQ PRQH\ WKDW LV D GLUHFW EHQHILW WR WKH (QWHUSULVH

     %   5HODWHG (QWLWLHV &RQWUROOHG E\ WKH (QWHUSULVH

               7KH (QWHUSULVH XVHG DQG UHOLHG RQ D QXPEHU RI GLIIHUHQW HQWLWLHV WR IXUWKHU WKH
  FRQVSLUDF\ 7KH IROORZLQJ HQWLWLHV ZHUH FRQWUROOHG E\ ZRUNHG GLUHFWO\ ZLWK RU IXQQHOHG SD\PHQWV
  IRU WKH EHQHILW RI WKH (QWHUSULVH

                  D      -3/       $VVRFLDWHV //& LV FRQWUROOHG E\ /RQJVWUHWK /RQJVWUHWK LV WKH
  VLJQRU RQ ILYH GLIIHUHQW EDQN DFFRXQWV WKDW KDYH UHFHLYHG PRQH\ GLUHFWO\ IURP *HQHUDWLRQ 1RZ
  LQFOXGLQJ WZR -3/ EXVLQHVV DFFRXQWV RQH SHUVRQDO DFFRXQW DQG WZR DFFRXQWV QDPHG ³&RQVWDQW
  &RQWHQW´ %DQN UHFRUGV VKRZ QXPHURXV LQWHUQDO PRQH\ WUDQVIHUV RI *HQHUDWLRQ 1RZ PRQH\
  DPRQJ /RQJVWUHWKFRQWUROOHG DFFRXQWV ,Q WRWDO -3/¶V PDLQ EXVLQHVV DFFRXQW UHFHLYHG RYHU 
  PLOOLRQ LQ &RPSDQ\ $±WR*HQHUDWLRQ1RZ ZLUHV GXULQJ WKH UHOHYDQW SHULRG ZKLFK /RQJVWUHWK
  WKHQ WUDQVIHUUHG LQWHUQDOO\ WR KLV RWKHU DFFRXQWV /RQJVWUHWK DOVR UHFHLYHG LQGLUHFWO\  PLOOLRQ
  ZKLFK KDG EHHQ IXQQHOHG IURP *HQHUDWLRQ 1RZ WKURXJK DQRWKHU HQWLW\ ³)URQW &RPSDQ\´
  GLVFXVVHG EHORZ DQG LQWR /RQJVWUHWK¶V &RQVWDQW &RQWHQW DFFRXQWV $QDO\VLV RI WKH DFFRXQWV
  VKRZV WKDW WKH PRQH\ ZDV XVHG WR SD\ EHQHILWV GLUHFWO\ WR (QWHUSULVH PHPEHUV DQG WR IXUWKHU WKH
  (QWHUSULVH¶V LQWHUHVWV E\ SD\LQJ FDPSDLJQ VWDII IRU SUHIHUUHG +RXVHKROGHU FDQGLGDWHV DPRQJ RWKHU
  WKLQJV $IWHU WKH EDOORW LQLWLDWLYH FDPSDLJQ IDLOHG DQG +%  EHFDPH ODZ IRU WKH EHQHILW RI &RPSDQ\
  $ /RQJVWUHWK FRQVROLGDWHG PRVW RI WKH (QWHUSULVH IXQGLQJ LQWR -3/FRQWUROOHG DFFRXQWV $V RI
  -DQXDU\   WKDW WRWDO EDODQFHV ZLWKLQ -3/FRQWUROOHG DFFRXQWV H[FHHGHG  PLOOLRQ 7KLV
  PRQH\ LV D GLUHFW EHQHILW WR WKH (QWHUSULVH

                E      ³3$&´ LV D IHGHUDO 3$& WKURXJK ZKLFK *HQHUDWLRQ 1RZ IXQQHOHG
  &RPSDQ\ $ SD\PHQWV LQ IXUWKHUDQFH RI WKH FRQVSLUDF\ 7KH (QWHUSULVH SULPDULO\ XVHG WKH 3$&
  GXULQJ WKH 0D\  SULPDU\ DV D ZD\ WR FRQFHDO WKH VRXUFH RI PHGLD EX\V IRU 7HDP +RXVHKROGHU
  FDQGLGDWHV 7KH DWWRUQH\ ZKR LV OLVWHG DV WKH WUHDVXUHU IRU *HQHUDWLRQ 1RZ DQG ZKR LV D VLJQRU RQ
  WKH *HQHUDWLRQ 1RZ DFFRXQWV DORQJ ZLWK /RQJVUHWK LV WKH WUHDVXUHU DQG D VLJQRU RI WKH 3$&

                 F      $OWKRXJK /RQJVWUHWK ZDV QRW D VLJQRU RQ WKH 3$& EDQN DFFRXQW GRFXPHQWV
  REWDLQHG YLD D VHDUFK ZDUUDQW  FRQILUP /RQJVWUHWK¶V FRQWURO RYHU WKH 3$& )RU H[DPSOH D :RUG
  GRFXPHQW WLWOHG ³&OLHQW ,QIRUPDWLRQ 5HTXHVW )RUP´ ODVW PRGLILHG E\ /RQJVWUHWK LQ 2FWREHU 

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Case:
Case:2:20-cv-04287-ALM-KAJ
      2:20-cv-03785-ALM-KAJDoc
                           Doc#:
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  listed Longstreth as the "Executive Director or President" of the PAC. 7 In addition, Longstreth's
  resume, created by Longstreth in November 2016, states that Longstreth oversees political
  activities for the PAC. Contribution fonns for the PAC list Longstreth as the "Contact" and include
  Longstreth's email and phone number. Toll records co1Toborate Longstreth's role, showing
  frequent contact with the attorney when Generation Now needed to move money to and from PAC.

                  d.    In early 2018, the PAC bank account was funded almost entirely by a
  $250,000 wire and a $750,000 wire from Generation Now, on April 2 and April 12, 2018,
  respectively. 8 By April 30, 2018, nearly all of the million dollars was paid to two media services
  finns, which spent the money on media buys and other effo1is to benefit Householder candidates,
  including Householder himself, in advance of the May 8, 2018 Ohio primaiy election.

                 e.      The account was unused until Generation Now wired an additional $50,000
  to the account in September 2018, in advance of the fa ll 2018 election. Close to $40,000 of that
  wire was paid to a political strategy group within weeks of the wire. Aside from payments to the
  attorney's law fnm, the balance remained in the account.

                  f.    The account remained largely inactive from October 2018 until Januaiy-
  Febrnaiy 2020, when the Enterprise wired $1,010,000 of money from Company A to the
  "Coalition," (described below), which passed through to PAC roughly the same amount of money
  over the next two months. Expenditures from the PAC in FEC filings, along with media purchased
  by PAC, show that the Enterprise used the Company A money funneled to the PAC to benefit
  Tearn Householder candidates for the 2020 primaiy election.

                  g.      "Coalition" is another 501(c)(4) non-profit entity for which the attorney
  who is treasurer and signor for the PAC is the signor on the Coalition's bank account. The attorney
  inco1porated the Coalition in Delawai·e one day after he inco1porated PAC. Longstreth's resume
  states that he oversees political activities for the Coalition. Seai·ch wan ant returns indicate that
  Longstreth possessed a copy of the W-9 taxpayer identification form for the Coalition. He also
  saved Word documents characterized as "scripts" to use when soliciting money from donors to the
  Coalition.

                 h.     For calendar years 2017 through 2019 the Coalition was funded almost
  exclusively through: A) $90,000 from Company A, B) $300,000 from "Energy Pass-Through" (a
  Company A pass-through, as set fo1i h below), and C) $200,000 from an interest group that was
  funded exclusively by $13 million from another energy company that suppo1ied HB 6 and
  separately paid $150,000 to Generation Now during the relevant period. Outgoing payments from
  the Coalition account were over $100,000 in two wires to JPL & Associates; $54,000 wired to
  Generation Now; $191,000 wired to Media Placement Company 1; and $200,000 wired to a public
  relations fnm.




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Case:
Case:2:20-cv-04287-ALM-KAJ
      2:20-cv-03785-ALM-KAJDoc
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                 L      7KH &RDOLWLRQ DFFRXQW ZDV ODUJHO\ XQXVHG IURP $XJXVW  XQWLO -DQXDU\
   ZKHQ DV GHVFULEHG GLUHFWO\ DERYH WKH (QWHUSULVH XVHG WKH &RDOLWLRQ DV D SDVVWKURXJK IRU
  &RPSDQ\ $WR*HQHUDWLRQ1RZ PRQH\ WR 3$& ZKLFK WKH (QWHUSULVH WKHQ XVHG WR VXSSRUW
  +RXVHKROGHUEDFNHG FDQGLGDWHV LQ WKH  SULPDU\ HOHFWLRQ 7KH EHQHILW RI SDVVLQJ WKH PRQH\
  WKURXJK WKH &RDOLWLRQ ILUVW ZDV WKDW WKH 3$& OLVWHG WKH &RDOLWLRQ DV WKH VRXUFH RI WKH 
  PLOOLRQ LQ )(& ILOLQJV QRW *HQHUDWLRQ 1RZ 7KH (QWHUSULVH VRXJKW WR FRQFHDO *HQHUDWLRQ 1RZ DV
  WKH VRXUFH RI 3$& IXQGV LQ  IRU QXPHURXV UHDVRQV LQFOXGLQJ DV H[SODLQHG EHORZ *HQHUDWLRQ
  1RZ KDG JHQHUDWHG QHJDWLYH PHGLD SXEOLFLW\ LQ  DQG FDQGLGDWHV H[SUHVVHG FRQFHUQ WR
  +RXVHKROGHU DERXW WKHLU DVVRFLDWLRQ ZLWK LW

                M      7KXV WKLV DFFRXQW LV D PHFKDQLVP IRU *HQHUDWLRQ 1RZ WR VSHQG VHFUHW
  PRQH\ IRU WKH EHQHILW RI +RXVHKROGHU DQG WKH (QWHUSULVH

                 N      ³'DUN 0RQH\ *URXS ´ LV DQ HQWLW\ XVHG E\ WKH (QWHUSULVH WR FRQFHDO WKH
  VRXUFH RI PHGLD EX\V GXULQJ WKH  JHQHUDO HOHFWLRQ VLPLODU WR WKH ZD\ WKH (QWHUSULVH XVHG 3$&
  IRU WKH SULPDULHV LQ  DQG  $Q 2KLR OREE\LVW LQFRUSRUDWHG 'DUN 0RQH\ *URXS  LQ 2KLR
  RQ 6HSWHPEHU   DQG RSHQHG LWV EDQN DFFRXQW RQ 6HSWHPEHU  

                 O      7KH PDMRULW\ RI DFWLYLW\ LQ WKH DFFRXQW RFFXUUHG URXJKO\ D PRQWK ODWHU
  EHWZHHQ 2FWREHU  DQG (OHFWLRQ 'D\ RQ 1RYHPEHU   )URP 2FWREHU  WR 2FWREHU 
   *HQHUDWLRQ 1RZ ZLUHG  LQWR WKH DFFRXQW &RPSDQ\ $ ZLUHG  LQWR WKH
  DFFRXQW DQG RWKHU FRUSRUDWH LQWHUHVWV ZLUHG  LQWR WKH DFFRXQW WRWDOLQJ  )URP
  2FWREHU  WR 1RYHPEHU   0HGLD 3ODFHPHQW &RPSDQ\  WKHQ VSHQW  RQ PHGLD
  EX\V IRU DGV SDLG IRU E\ 'DUN 0RQH\ *URXS  WKDW JHQHUDOO\ WDUJHWHG ULYDOV RI FDQGLGDWHV DOLJQHG
  ZLWK +RXVHKROGHU 6LQFH (OHFWLRQ 'D\ LQ  WKH DFFRXQW KDV EHHQ ODUJHO\ XQXVHG

                 P     ³)URQW &RPSDQ\´ LV D SDVVWKURXJK HQWLW\ XVHG E\ WKH (QWHUSULVH WR IXQG
  WKH FDPSDLJQ DJDLQVW WKH UHIHUHQGXP LQ IXUWKHUDQFH RI WKH FRQVSLUDF\ 7KH IRUSURILW HQWLW\ ZDV
  RUJDQL]HG LQ 2KLR RQ -XO\   MXVW GD\V DIWHU WKH %DOORW &DPSDLJQ WR RYHUWXUQ +%  EHJDQ
  ³$VVRFLDWH ´ DQG ³$VVRFLDWH ´ RI /RQJVWUHWK DQG +RXVHKROGHU DUH VLJQHUV RQ LWV EDQN DFFRXQW

                Q     )URP $XJXVW   WKURXJK 2FWREHU  &RPSDQ\ $FRQWUROOHG
  DFFRXQWV ZLUHG *HQHUDWLRQ 1RZ  PLOOLRQ *HQHUDWLRQ 1RZ WKHQ ZLUHG  PLOOLRQ IURP WKRVH
  SD\PHQWV WR )URQW &RPSDQ\ WKH YDVW PDMRULW\ RI ZKLFK ZDV XVHG WR SD\ VLJQDWXUH FROOHFWLRQ ILUPV
  WR ILJKW DJDLQVW WKH %DOORW &DPSDLJQ DQG WR SD\ IRU PHGLD RSSRVLQJ WKH %DOORW &DPSDLJQ
  *HQHUDWLRQ 1RZ ZDV WKH VROH VRXUFH RI PRQH\ GHSRVLWHG LQWR WKH )URQW &RPSDQ\ DFFRXQW %\
  1RYHPEHU  OHVV WKDQ  UHPDLQHG LQ WKH )URQW &RPSDQ\ DFFRXQW


     & &RPSDQ\ $ DQG ,WV $IILOLDWHV

              &RPSDQ\ $ &RUS ,QFRUSRUDWHG LQ 2KLR &RPSDQ\ $ &RUS LV D SXEOLF XWLOLW\
  KROGLQJ FRPSDQ\ IRU LWV VXEVLGLDULHV $V D KROGLQJ FRPSDQ\ &RPSDQ\ $ &RUS GLUHFWV DQG
  FRQWUROV WKH YDULRXV VXEVLGLDU\ HQWLWLHV ZLWKLQ &RPSDQ\ $ &RUS 3HU 8QLWHG 6WDWHV 6HFXULWLHV DQG
  ([FKDQJH &RPPLVVLRQ GRFXPHQWV &RPSDQ\ $ 6HUYLFH &R LV D SULQFLSOH VXEVLGLDU\ DQG

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  Company A-1 is a wholly-owned subsidiaiy of Company A Co1p. Company A Co1p. and its
  subsidiaries ai·e involved in the generation, transmission, and distribution of electricity.

          37.    Company A Service Co. "provides legal, financial and other c01p orate suppo1t
  services at cost, in accordance with its cost allocation manual, to affiliated [Company A]
  companies." Company A Service Co. is under the management of Company A Co1p.'s leadership
  team. The Service Co. does not have its own CEO or boai·d of directors. Among the shared services
  Company A Service Co. provides to Company A 's affiliated companies, including Company A-1 ,
  are "external affairs," including "co1porate contributions"; "Federal/State/Local Regulat01y
  Affairs"; and "advocacy at the Federal, State, and Local levels." According to Company A's SEC
  Fo1m 10-K, Company A Service Co. provided: $112 million in shai·ed services for Company A-
  l and other debtors from April 1, 2018 to December 31, 201 8; and $152 million in shared services
  to these entities from Januaiy 1, 2019 to December 31, 2019. Pursuant to Company A-1 's
  governmental affairs contract with Cespedes relating to its efforts to pass legislation to save
  Company A 's failing nuclear power plants, explained in detail below, Company A Service Co.
  acted as "the authorized agent of[Company A-1Jfor purposes ofexecuting and administering this
  Agreement and is acting in each such case solely in its capacity as authorized agent." As set forth
  below, Company A Service Co. was the Company A affiliated entity that wired the bulk of the
  millions of dollars to Generation Now for the benefit of Company A-1 .

           38.    Company A-1 "provides energy-related products and services to retail and
  wholesale customers." Company A-1 owns and operates nucleai· generating fa cilities through
  affiliates, one of which owns two nuclear power plants in Ohio and sells the entire output from
  these plants to Company A-1. Another affiliate, by agreement, operates the nuclear generation
  plants. During most of the relevant period, Company A Co1p. was the parent company for each
  of these entities.

          39.   On Mai·ch 28, 2018, Company A-1 announced that Company A-1 was closing the
  two power plants by 2021. Three days later, Company A-1 and other Company A affiliates, filed
  Chapter 11 bankrnptcy. Company A Co1p. and Company A Service Co. did not seek bankrnptcy
  protection. Pursuant to the bankrnptcy plan, Company A Co1p. proposed sepai·ating from
  Company A-1, its nucleai· generation aim.9

          40.     Records obtained by the FBI indicate that, on June 4, 2018, a few months after
  filing Chapter 11 bankrnptcy, Company A-1 entered a contract with Oxley Group LLC, which
  listed Cespedes as the "supplier contact." 10 The te1m of the contract was from May 1, 2018 to
   April 30, 2019. Under scope of services, Cespedes was contracted to perfo1m "Government
   Relations" for Company A-1 , which included "assist{ing} [Company A-1} in attaining necessary
  funding through government action to allow for the financial stability/sustainability of its two
   nuclear power plants." In other words, Cespedes's j ob was to help Company A-1 attain


  9 In February 2020, Company A-1 emerged from bankruptcy under a new name and Company A Co1p . divested its
         '   .     .




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  JRYHUQPHQW IXQGLQJ²i.e., OHJLVODWLYH KHOS²WR VDYH LWV WZR QXFOHDU SRZHU SODQWV IURP FORVXUH
  3XUVXDQW WR WKH FRQWUDFW DPRQJ RWKHU WKLQJV &RPSDQ\ $ ZDV DFWLYHO\ VHHNLQJ VSHFLILF
  OHJLVODWLYH KHOS WR VDYH WKH WZR QXFOHDU SODQWV LQFOXGLQJ ³getting a resolution´ SDVVHG ³making
  our issue a campaign priority for incoming elected officials to achieve a solution in the first quarter
  of 2019´ DQG UHFHLYLQJ ³consistent updates on the pending House Speaker race´ D UHIHUHQFH WR
  WKH 6SHDNHUVKLS UDFH EHWZHHQ +RXVHKROGHU DQG 5HSUHVHQWDWLYH 

              7KHVH SULRULWLHV EHFDPH UHDOLW\ $V GHVFULEHG EHORZ RQ $SULO   MXVW WKUHH
  PRQWKV DIWHU +RXVHKROGHU EHFDPH 6SHDNHU ZLWK WKH KHOS RI &RPSDQ\ $ EULEH SD\PHQWV +% 
  ZDV LQWURGXFHG E\ WZR IUHVKPDQ ³7HDP +RXVHKROGHU´ UHSUHVHQWDWLYHV +%  FUHDWHG D QHZ 2KLR
  &OHDQ $LU SURJUDP WR VXEVLGL]H SRZHU SODQWV IXHOHG E\ QXFOHDU DQG VRODU SRZHU ZKLFK KDG WKH
  HIIHFW RI VDYLQJ &RPSDQ\ $¶V QXFOHDU SODQWV IURP FORVXUH ZLWK RYHU  ELOOLRQ LQ VXEVLGLHV IRU
  QXFOHDU HQHUJ\

              ³(QHUJ\ 3DVV7KURXJK´ LV D QRQSURILW  F  WKDW ZDV LQFRUSRUDWHG LQ 2KLR
  RQ )HEUXDU\  ²WZR GD\V DIWHU *HQHUDWLRQ 1RZ ZDV LQFRUSRUDWHG LQ 'HODZDUH $ ZHHN
  ODWHU RQ )HEUXDU\   &RPSDQ\ $ ZLUHG  PLOOLRQ LQWR WKH (QHUJ\ 3DVV7KURXJK EDQN
  DFFRXQW²WKH ILUVW WUDQVDFWLRQ LQ WKH DFFRXQW 7KH DFFRXQW ZDV WKXV IXQGHG VROHO\ E\ WKH LQLWLDO 
  PLOOLRQ ZLUH IURP &RPSDQ\ $ 7KH (QHUJ\ 3DVV7KURXJK DFFRXQW WKHQ PDGH WKH IROORZLQJ
  WUDQVDFWLRQV


     x      ZLUH WR *HQHUDWLRQ 1RZ RQ 0DUFK   ZHHNV EHIRUH &RPSDQ\ $ ILOHG IRU
           EDQNUXSWF\ 
     x      ZLUH WR &RDOLWLRQ RQ 0D\  
     x      ZLUH WR *HQHUDWLRQ 1RZ RQ 0D\   DQG
     x      ZLUH WR *HQHUDWLRQ 1RZ RQ $XJXVW  


              $VLGH IURP WKH LQLWLDO  PLOOLRQ VHHG PRQH\ WKH DFFRXQW UHFHLYHG QR RWKHU GHSRVLWV
  XQWLO 2FWREHU   2Q WKDW GDWH &RPSDQ\ $ ZLUHG  PLOOLRQ WR LWV (QHUJ\ 3DVV7KURXJK
  DFFRXQW 7KDW VDPH GD\ (QHUJ\ 3DVV7KURXJK ZLUHG  PLOOLRQ WR *HQHUDWLRQ 1RZ 6LPLODUO\
  RQ 2FWREHU   &RPSDQ\ $ ZLUHG DQRWKHU  PLOOLRQ WR (QHUJ\ 3DVV7KURXJK 2Q 2FWREHU
    WKH GD\ WKH EDOORW LQLWLDWLYH IDLOHG DQG +%  RIILFLDOO\ EHFDPH ODZ (QHUJ\ 3DVV7KURXJK
  ZLUHG  PLOOLRQ WR *HQHUDWLRQ 1RZ DQG ZURWH D  FDVKLHU¶V FKHFN WR *HQHUDWLRQ 1RZ
  2Q 0DUFK   (QHUJ\ 3DVV7KURXJK ZLUHG DQRWKHU  PLOOLRQ WR *HQHUDWLRQ 1RZ %DVHG RQ
  P\ WUDLQLQJ DQG H[SHULHQFH WKHUH LV SUREDEOH FDXVH WR EHOLHYH WKDW WKLV DFFRXQW ZDV XVHG DV D SDVV
  WKURXJK IURP &RPSDQ\ $ WR WKH (QWHUSULVH

     ,,      (QWHUSULVH &UHDWHV DQG 8VHV *HQHUDWLRQ 1RZ WR 5HFHLYH %ULEH 3D\PHQWV

     $ &UHDWLRQ RI *HQHUDWLRQ 1RZ

             2Q RU DERXW )HEUXDU\   *HQHUDWLRQ 1RZ ,QF ZDV LQFRUSRUDWHG LQ 'HODZDUH
  DQG WZR EDQN DFFRXQWV ZHUH RSHQHG DW )LIWK 7KLUG %DQN [ DQG [  6XESRHQDHG EDQN
  UHFRUGV VKRZ WKDW DQ DWWRUQH\ DQG -HII /RQJVWUHWK ZHUH VLJQDWRULHV RQ ERWK DFFRXQWV 2Q RU DERXW

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  July 26, 2017, Generation Now registered with the Ohio Secreta1y of State as a foreign nonprofit
  corporation "organized exclusively for the promotion of social welfare and economic. development
  purposes within the meaning of Section 50l(c)(4) of the Internal Revenue Code ('the Code'), or
  the coITesponding section of any future federal tax code." The attorney, signed the application as
  the treasurer of Generation Now.

           45.    Although Householder was not listed on registration documents or in account
  records for Generation Now, the Ente1prise used Generation Now to receive secret payments for
  Householder. Recorded conversations indicate that the Ente1prise intended to use Generation Now,
  a 50l(c)(4), in this way. For example, in a recorded call, Clark discussed with Householder, the
  use of a 50l(c)(4), controlled by Householder, to receive payments: "what 's interesting is that
  there 's a newer solution that didn't occur in, 13 years ago, is that they can give as much or more
  to the (c)(4) and nobody would ever know. So you don 't have to be afraid of anyone because
  there 's a mechanism to change it." Clark believed that Householder should utilize his 50l (c)(4)
  to gain political support in his campaign for Speaker against Representative 1 because repo1table-
  hai·d dollars will cause industry groups to give to both sides, the implication being that Householder
  would obtain larger amounts of cash through a (c)(4).11

         46.     Similarly, in a recorded conversation in mid-2019, Clark summed up the benefit of
  50l(c)(4)s to Householder as follows: "it's secret, a (c)(4) is secret. Nobodv knows the monev
  goes to the Speaker's account, it is controlled by his people, one of his people, and it's not
  recorded. A (c)(4) is non-recorded." 12

     B. Use of Generation Now to Receive Millions in Secret Payments from Company A


          4 7.   At the time it was aggressively lobbying for legislative action to save its two nuclear
  power plants, Company A was paying millions in secret payments to the Enterp1ise through
  Generation Now. Table I lists each Company A payment received by Generation Now during the
  relevant period, sta1ting from March 2017 (sho1tly after Company A staited its ZEN energy
  legislative campaign and Householder won his House seat back) until March 2020:

              Table 1: Company A Payments to Generation Now Bank Account x3310

        Date            Amount              Method                           Source
     3/16/2017         $250,000              Wire          Company A Service Co.
     5/17/2017         $250,000              Wire          Company A Service Co.
     8/10/2017         $250,000              Wire          Company A Service Co.
     12/8/2017         $250,000              Wire          Company A Service Co.
     3/15/2018         $300,000              Wire          Energy Pass-Through
      5/4/2018         $100,000              Wire          Ener~ Pass-Through
     8/16/2018         $500,000              Wire          Enern:v Pass-Through




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       Date            Amount            Method                          Source
    10/16/2018        $400,000            Check         Company A Service Co.
    10/29/2018        $100,000            Check         Company A Service Co.
    4/30/2019        $1,500,000            Wire         Company A Service Co.
     5/7/2019        $1,500,000            Wire         Company A Service Co.
    5/15/2019        $2,500,000            Wu·e         Company A Service Co.
    5/22/2019        $2,500,000            Wu·e         Company A Service Co.
    5/29/2019        $1,500,000            Wire         Company A Service Co.
     6/5/2019        $2,000,000            Wire         Company A Service Co.
    6/13/2019        $L36L899              Wu·e         Comoanv A Service Co.
    6/20/2019        $2,116,899            Wu·e         Company A Service Co.
     7/5/2019        $1,879,457            Wire         Company A-1 Corp.
     8/2/2019         $734,250             Wire         Company A Service Co.
     8/7/2019        $4,390,000            Wu·e         Company A Service Co.
    8/22/2019         $653,000             Wu·e         Company A Service Co.
    8/29/2019        $2,003,000            Wu·e         Company A Service Co.
     9/5/2019        $2,403,000            Wu·e         Company A Service Co.
    9/12/2019        $2,403,000            Wu·e         Company A Service Co.
    9/19/2019        $4,695,000            Wu·e         Company A Service Co.
    9/26/2019        $2,445,000            Wu·e         Company A Service Co.
     10/3/2019       $4,160,000            Wu·e         Company A Service Co.
     10/8/2019       $1,600,000            Wu·e         Comoanv A Service Co.
    10/10/2019      $10,000,000            Wu·e         Energy Pass-Through
    10/17/2019        $248,000             Wire         Company A Service Co.
    10/22/2019       $3,000,000            Wu·e
                      $4,330.86        Cashier Check    Enenzv Pass-Thromzh
     3/3/2020        $2,000,000            Wire         Enenzv Pass-Through
          Total:   $59,996,835.86

          48.   In addition to the $59,996,835.86 that Company A paid du·ectly to Generation Now,
  Company A made $890,000 in other timely payments to the Ente1p rise, to include: Company A
  payments of $500,000 to Dark Money Group 1 and $90,000 to Coalition, and an Energy Pass-
  Through payment of $300,000 to Coalition, all of which are detailed below. These payments bring
  the total amount of direct payments from Company A to the Enteiprise during the relevant period
  as $60,886,835.86. During the time of the conspu·acy, other entities besides Company A deposited
  money into Generation Now; the amounts of those deposits, howeve1·, are dwarfed by the Company
  A payments.




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                              Generation Now Deposits (2017-2020)
   Fundin2 Entity                         Total                                          Percenta2e
   Company A & Energy Pass-Through        $59,996,835.86                                 93%
   Energy Interested Parties              $1 500,000.00                                  2%
   Other                                  $2,853,319.82                                  5%
                        Total            $64,350,155.68

      C. Householder's Control of Generation Now


          49.    Although Householder's name is not on Generation Now's paperwork,
  Householder's statements, Clark's statements, and a review of documentation obtained pursuant
  to search warrants and grand jury subpoenas shows that Householder controls Generation Now to
  ftuther the Enterprise's goals.

         50.      Clark stated expressly in multiple recorded conversations in 2019 that Generation
  Now is Householder's entity. 13 In a 2019 recorded meeting, Clark discussed making "soft money"
  payments to Householder relating to the passage of unrelated legislation. Clark stated that the
  Speaker would have to see the check before it goes to Generation Now. Clark explained that they
  could write a check- a "noticeable number . .. $15-20-25, 000 "- to "Gen Now and hand deliver
  the check to the Speaker." Clark then made clear: "Generation Now is the Speaker's (c)(4 ), that 's
  the one I work for."

         51.     The next day, Clark again referenced "Gen Now" as a (c)(4) that works like a PAC
  but there' s "no reporting." Clark stated that he was "not on any documents" connected to
  Generation Now, but they call him "the overseer" of Generation Now, explaining ftuther, "I'm the
  Speaker's appointed guy to do that. Okay, so, it 's like having him in the room." Clark then
  explained an upcoming Generation Now meeting that will be attended by Householder:

                 When I, so like, we have a meeting on Friday, he 's going to be in the
                 room, so I'll be just like eve1y one else, I'll be, I'll be anotherfucking
                 staffer. When he 's out of the room, I'm the guy.

  Later in the conversation, Clark indicated again that "Gen Now" "is the Speaker 's (c)(4)," that
  Householder created for himself. Clark stated that he spent $450,000 out of the Generation Now
  account that ve1y day; and Clark ftuther stated that he "spent close to $20 million in the last eight
  weeks." Bank records coIToborate both statements. When asked how much money was in
  Generation Now, Clark said, "it's unlimited."




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               /DWHU WKDW GD\ &ODUN H[SODLQHG WKDW WKH  SDLG RXW RI *HQHUDWLRQ 1RZ ZHQW
  WR SD\ RII ILIWHHQ VLJQDWXUH FROOHFWLRQ ILUPV QDWLRQZLGH VR WKDW WKH\ ZRXOG EH FRQIOLFWHG RXW IURP
  ZRUNLQJ RQ EHKDOI RI WKH %DOORW &DPSDLJQ ZKLFK EDQN UHFRUGV FRQILUP DV GHVFULEHG EHORZ

              ,Q VXEVHTXHQW UHFRUGHG FDOOV DQG PHHWLQJV &ODUN GLVFXVVHG +RXVHKROGHU¶V
  FRQQHFWLRQ WR *HQHUDWLRQ 1RZ )RU H[DPSOH LQ D UHFRUGHG FDOO RQ $XJXVW   &ODUN VWDWHG
  WKDW -HII /RQJVWUHWK ZDV +RXVHKROGHU¶V ³political guy´ ZKR ³could influence the Speaker´ +H
  VLPLODUO\ H[SODLQHG ODWHU LQ WKH FDOO /RQJVWUHWK LV +RXVHKROGHU¶V ³political guy, he’s the guy that
  does, remember that Committee I work for, Generation Now, I’ve been talking about´

              &ODUN DOVR GLVFXVVHG WKH LQGLYLGXDOV PDNLQJ D SD\PHQW WR +RXVHKROGHU LQWR
  *HQHUDWLRQ 1RZ 'XULQJ D FDOO RQ $XJXVW   &ODUN GLVFXVVHG WDNLQJ D WULS ZLWK
  +RXVHKROGHU RU KLV DGYLVRUV WR IXUWKHU WKH XQUHODWHG OHJLVODWLRQ 'XULQJ WKH FDOO &ODUN VWDWHG
  ³>Longstreth] and I are the two principal advisors to the Speaker.´ $FFRUGLQJ WR &ODUN ³Jeff
  actually runs all the races and selects people, etc´ &ODUN DOVR VWDWHG WKDW WKH LQGLYLGXDOV ³might
  write a check to the (c)(4)´ RI WKH 6SHDNHU WRWDOLQJ  &ODUN VDLG LW ZRXOG EH LGHDO LI WKH\
  FRXOG KDQG WKH FKHFN WR +RXVHKROGHU SHUVRQDOO\²DV &ODUN H[SODLQHG ³it’s his (c)(4)´²WKRXJK
  &ODUN H[SODLQHG WKDW W\SLFDOO\ WKH F  PRQH\ LV ZLUHG LQWR WKH DFFRXQW %DQN UHFRUGV FRUURERUDWH
  &ODUN¶V DVVHUWLRQ WKDW PRQH\ LQWR *HQHUDWLRQ 1RZ LV XVXDOO\ ZLUHG LQWR WKH DFFRXQW

               5HFRUGHG VWDWHPHQWV E\ %RUJHV WR &+6  DOVR VKRZ +RXVHKROGHU¶V XVH RI
  *HQHUDWLRQ 1RZ DQG IXUWKHU FRQILUP &ODUN¶V VWDWHPHQWV $V H[SODLQHG IXOO\ EHORZ LQ $XJXVW
   %RUJHV UHFHLYHG  PLOOLRQ LQ ZLUH WUDQVIHUV IURP *HQHUDWLRQ 1RZ DQG WKHQ XVHG D
  SRUWLRQ RI WKDW PRQH\ WR DWWHPSW WR EULEH &+6  WR KHOS GHIHDW WKH EDOORW LQLWLDWLYH 2Q 6HSWHPEHU
    GXULQJ D UHFRUGHG FRQYHUVDWLRQ %RUJHV GLVFXVVHG WKH GLYLGH EHWZHHQ WKH EDOORW LQLWLDWLYH
  VXSSRUWHUV WR LQFOXGH WKH &+6  DQG WKH VXSSRUWHUV RI +%  DQG VWDWHG ³The only people on my
  side is this fucking company´ ZKLFK %RUJHV FRQILUPHG ZDV ³>&RPSDQ\ $@´ %RUJHV GHVFULEHG
  WKH UHODWLRQVKLS EHWZHHQ &RPSDQ\ $ DQG +RXVHKROGHU WR &+6  DV IROORZV

                 And, and Larry also, you know, so it’s this unholy alliance between
                 Larry and [Company A] and [Borges’ firm]    [Borges’ firm]
                 doesn’t care about Larry; he’s helping with the issue our single
                 largest client cares a lot about and [] unless you are somehow
                 affiliated directly to [Company A] or work for one of their interests
                 or you just want to suck up to Larry, you’re on your side (as to
                 whether to overturn HB 6)

            %RUJHV DOVR GLVFXVVHG +RXVHKROGHU¶V GLUHFW LQYROYHPHQW LQ PDQDJLQJ *HQHUDWLRQ
  1RZ 6SHFLILFDOO\ RQ 6HSWHPEHU   KH VWDWHG WKH IROORZLQJ DERXW $VVRFLDWH  ZKR LV
  *HQHUDWLRQ 1RZ¶V SXEOLF UHODWLRQV VSRNHVSHUVRQ

                 Like [Associate 3] who has to, who has to, answer to the press
                 obviously, he wants to quit so bad ‘cause he’s like “this is my

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                 reputation now” you know . . . but he can’t because the Speaker
                 won’t let him, but he god he hates this shit.

              :KHQ &+6  DVNHG ZKHWKHU +RXVHKROGHU ZDV ³putting the squeeze on [Associate
  3]´ %RUJHV UHVSRQGHG WKDW ³Larry thinks that this stuff is good for us´ :KHQ &+6  DVNHG %RUJHV
  ZK\ +RXVHKROGHU GRHV QRW MXVW UHWLUH %RUJHV UHVSRQGHG ³No. That’s just not how he’s wired´
  %RUJHV LQGLFDWHG KH ZDV QRW DZDUH RI ZKDW +RXVHKROGHU ZDV PDNLQJ RII WKH UHODWLRQVKLS ZLWK
  &RPSDQ\ $ EXW %RUJHV VWDWHG LW ZDV ³insane´ ZKDW ³Jeff and those guys´ DUH PDNLQJ RII WKH
  UHODWLRQVKLS

               %RUJHV DOVR UHLQIRUFHG &ODUN¶V UROH LQ WKH (QWHUSULVH VSHFLILFDOO\ KLV UROH DV
  +RXVHKROGHU¶V SUR[\ WR *HQHUDWLRQ 1RZ ³Neil sits in meetings and he’ll say ‘I’m the proxy for
  the Speaker in this meeting . . . so anything you tell me’ and you kind of think it’s typical Neil
  bullshit stuff except it is not; he’s really acting as his proxy´ 7KLV FRUURERUDWHV &ODUN¶V RZQ
  VWDWHPHQWV WKDW KH ZDV DFWLQJ DV +RXVHKROGHU¶V SUR[\ IRU SXUSRVHV RI SDVVDJH RI +%  DQG WKH
  HIIRUW WR GHIHDW WKH EDOORW LQLWLDWLYH WKURXJK WKH XVH RI *HQHUDWLRQ 1RZ

             +RXVHKROGHU¶V DGPLVVLRQV FRQILUP &ODUN¶V DQG %RUJHV¶ VWDWHPHQWV WKDW
  +RXVHKROGHU FRQWUROV *HQHUDWLRQ 1RZ ,Q D -DQXDU\   UHFRUGHG FDOO ZLWK &ODUN
  +RXVHKROGHU GLVFXVVHG ILQDQFLDO FRQWULEXWLRQV IURP YDULRXV LQGXVWULHV LQFOXGLQJ SD\GD\ OHQGHUV
  DQG QXUVLQJ KRPHV WZR LQGXVWULHV IRU ZKLFK &ODUN LV D OREE\LVW 'XULQJ WKH FDOO WKH IROORZLQJ
  FRQYHUVDWLRQ RFFXUUHG

             /+ ³Now switching gears. So we are looking at the payday lenders And we are
             expecting big things in (c)(4) money from payday lenders....

             1& Right. Right

             /+ ³So far, I think we are what, fifty? I think >VSHDNLQJ WR VRPHRQH HOVH LQ WKH URRP@

             1& Are you, you’re checking now with Jeff right?

             /+ Right.

             1& You should have gotten twenty-five or fifty from [owner of firm], correct"

             /+ Yes.
             

             /+ >$IWHU FRQILUPLQJ ZLWK VRPHRQH LQ WKH EDFNJURXQG@ Twenty five total . . . Twenty-
             five total is what we’ve got´




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          60.      Generation Now's bank records match the description of the checks discussed
  durin~                     Subpoenaed bank records from Generation Now's account show, indeed,
  that at~                 ll, a check for $25,000 from payday lending company (written on October
  18, 2017) had been deposited into the Generation Now account. Clark's reference to "[the owner
  of the fnm]" was a reference to resident of the company, which wrote the $25,000 check. The
  reference to "Jeff' durin the                is likely a reference to Jeff Longstreth. During another
  po1i ion of the same              , Householder and Clark discussed another industry's "501 (c)(4)."
  Householder confnme to C ar during the call that this entity gave 30,000 to "the (c)(4)." Again,
  Generation Now's bank account revealed a $30,000 check (written on ~                    01 7) from the
  entity that was deposited into the Generation Now account prior to the- -

           61.   Householder 's connection to Generation Now was further clarified during a call on
  Febrnaiy 5, 2018 between Householder and Clai·k, during which Householder again inquired about
  "(c)(4) money." Specifically, Householder stated, "I'm sitting here with {Associate 2} . . . we're
  talking about (c)(4) money, and we 're hying to figure out where the payday lenders were going to
  be at. Can you help me with that?" Associate 2 is the Finance Director for Householder 's
  campaign; text communications show that he/she solicited and collected money for Generation
  Now, and he/she was paid out of the Generation Now account. This call is consistent with the
  Januaiy 10, 2018 call with Clai·k where Householder was seeking 501 (c)(4) money from Clark's
  clients.

          62.     Text message communications between Householder and Longsti·eth also show that
  Householder conti-olled Generation Now. For example, in a June 12, 2019 text message,
  Householder asked Longsti-eth, "When does the Gen Now TV message change? I think it is burnt
  in - well burnt in." Longsti·eth responded, "They are working on a draft now. Polling shows it's
  working." Similarly, on June 23, 2019, Householder texted to Longsti-eth that "Gen Now has had
  issues," explaining that "I've had several members - including members ofHouse leadership come
  in privately and discuss their concern over next years [sic} House campaigns based on HB 6
  messaging, mail, TV and radio." In addition, Householder sent messages to Longsti·eth asking
  about "running positive radio" for a member, explaining, "[g}ot to protect the troops - especially
  make sure they believe we are protecting them." These text messages show that Householder is
  involved in Generation Now media buys to fini her HB 6. They also show that the pressure the
  Enterprise was putting on House members through Generation Now media effo1is to fini her HB 6
  created political problems for some House members, and those members went directly to
  Householder to voice their "concern" about Generation Now's activities.

          63.      Finally, search wanant returns also confnm that Householder is involved directly
  in Generation Now. For example, a Word document originally created by Longsti·eth on Febrnaiy
  5, 201 7 and titled "Friends of LH Meeting Template," listed a meeting agenda for the Friends of
  Lany Householder campaign, and on the same page of the Word document and directly below, a
  meeting agenda for Generation Now. According to the template, the Friends of Householder
  campaign listed Associate 1, Householder, and Staffer16 as "Attendees" of a Monday meeting that
  lasted from "11-12:00pm" (highlights in original)17 :


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                                                             eholder in writing as "SLH."

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       F1iends of LH Staff Meeting Template


       11-12:00 PM on Mon days a t 25. Attendees- -        . SLH

       Goal - recap the previous week and set goals and expectations for the following week.



         64.    The meeting involved discussion about fundraising and member recrnitment,
  among other things. The Generation Now meeting~etailed directly below on the same, two-
  page Word document-listed Householder, Longstreth, and Associate 1 as "Attendeesn of that
  meeting, which was scheduled one hour later from " 12:00-1:00":


      Generation Now- Monday Staff Meeting

      12:00-1:00 Mond ays at 2 5
      Lu nch ~ll Qll lie.i;::i::ild p rom p tly at noon.
      Attendees- SLH, JPL, _

      Goal: r ecap the previous wee k and set goals and expectations for t b e following week.




         65.      The format of the Generation Now meeting was the same as the Friends of
               18
  Householder meeting and involved discussion about fundraising, messaging, budget, and
  campaigns, among other things. This document shows that, immediately after he met with his
  campaign staff, H ouseholder met personally with his Ente1prise members and associates about
  their collective efforts involving Generation Now, further showing Householder's direct
  involvement and connection with Generation Now.


      ill.      Enterprise Used Company A Payments to Increase Householder's Political
                Power

         66.    The Householder' s Ente1prise benefitted from Company A's money by spending
  Company A-to-Generation Now funds to back Householder-selected candidates who would help
  elect Householder as Speaker. The Ente1prise also used the money to pay for pa1i ofHouseholder's
  own campaign.

      A. Building Tearn Householder


          67.     Members of the Ohio House of Representatives se1ve two-year terms, and are
  limited to four, consecutive, two-year elected tenns. At the end of 2018, the then-cunent Speaker
  would be te1m-limited and the legislature would elect a new Speaker to begin the 2019 legislative
  session. The investigation shows that by the end of 2016, the Ente1prise implemented a strategy
  for Householder to take over the Speakership in 2019.

  18 "Friends of Householder" is the name of Householder's public campaign committee.


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         68.    The Enterprise's strategy included raising money through a "C4" and recmiting
  candidates who, if elected, would suppo1t Householder for Speaker. Documents such as "Game
  plan 2018," possessed by Longstreth illustrate this point:


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          Man ~cw•,..,.. over by S.ptenill<>r of che olf )'t.11



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          69.    That this document was created in October 2016, a few months before Longstreth
  opened the Generation Now account in Febmaiy 2017, shows that the Enterprise followed this
  strategy and its level of commitment in so doing. The question "who is our [redacted]" is a
  reference to the wealthy, financial backer of the then-cmTent Speaker; and thus, the Enterprise is
  asking in its "Game plan 2018" document, "who will be our financial backer?" Longstreth 's
  proposed option, "[redacted]?" is the CEO of Company C, which is a company whose interests
  align with Company A.

          70.    To implement the two-fold strategy of recruitment and fundraising, the Enterprise
  needed to recmit a team of electable candidates who would supp01t Householder's bid for
  speakership. A combination of financial records, documents recovered from search wanants,
  media repoits, legislative records, and witness interviews show that the Enterprise selected a group
  of candidates to nm for open seats in the primaiy against suppo1iers of Householder 's rival,
  Representative 1, who was backed by the then-cmTent Speaker. The Enterprise managed the
  selected candidates' campaigns, paid to staff them, and designed and paid for their mailers and
  commercials. The Enterprise spent Generation Now money on approximately 21 different
  candidates - 15 (including Householder) in the prirna1y, and six additional candidates in the
  general election.19 Most of these candidates won the 2018 general election. All who won voted
  for Householder as Speaker; and all but two, voted for the legislative bailout for Company A. 20




  19
     Some of the candidates supported in the primary election were not supported in the general election, which based
  on my training and experience is likely because the candidates were in safe dist1·icts and would prevail without
  spendino resomces on the cam aign.
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              $GGLWLRQDOO\ +RXVHKROGHU¶V SROLWLFDO FDPSDLJQ EHQHILWHG IURP &RPSDQ\ $WR
  *HQHUDWLRQ 1RZ PRQH\ GLUHFWO\ LQ WZR ZD\V )LUVW &RPSDQ\ $WR*HQHUDWLRQ 1RZ PRQH\ ZDV
  XVHG WR SD\ IRU VWDII ZKLFK ZRXOG RWKHUZLVH KDYH EHHQ SDLG E\ +RXVHKROGHU¶V FDQGLGDWH
  FRPPLWWHH )ULHQGV RI /DUU\ +RXVHKROGHU 1RW KDYLQJ WR SD\ VWDII VDODULHV XVLQJ FDPSDLJQ GROODUV
  JDYH +RXVHKROGHU D FRPSHWLWLYH DGYDQWDJH DJDLQVW KLV RSSRQHQWV 6HFRQGO\ +RXVHKROGHU
  EHQHILWHG EHFDXVH &RPSDQ\ $WR*HQHUDWLRQ 1RZ PRQH\ ZKLFK SDVVHG WKURXJK WKH 3$&
  SXUFKDVHG DGYHUWLVHPHQWV IRU +RXVHKROGHU¶V UDFH IRU WKH QG GLVWULFW ,Q WRWDO DW OHDVW  ZDV
  VSHQW E\ WKH (QWHUSULVH RQ 2KLR KRXVH GLVWULFW  EHWZHHQ $SULO WK DQG $SULO WK WR SXUFKDVH
  GLUHFW PDLO DQG UDGLR DGYHUWLVHPHQWV

              'RFXPHQWV UHFRYHUHG IURP /RQJVWUHWK VKRZ WKH (QWHUSULVH¶V SODQQLQJ DQG
  SUHSDUDWLRQ LQ EXLOGLQJ 7HDP +RXVHKROGHU )RU H[DPSOH D GRFXPHQW HQWLWOHG ³7HDP 6NLOOV´
  ZKLFK ZDV ODVW PRGLILHG LQ )HEUXDU\  SURSRVHG D OLVW RI LQGLYLGXDOV IRU D OHDGHUVKLS WHDP IRU
   LQFOXGLQJ 6SHDNHU RI WKH +RXVH 6SHDNHU 3UR 7HPSRUH 0DMRULW\ )ORRU /HDGHU $VVLVWDQW
  0DMRULW\ /HDGHU 0DMRULW\ :KLS DQG $VVLVWDQW 0DMRULW\ :KLS $IWHU +RXVHKROGHU ZDV HOHFWHG
  6SHDNHU LQ  DOO RI WKH LQGLYLGXDOV H[FHSW IRU RQH EHFDPH SDUW RI +RXVHKROGHU¶V OHDGHUVKLS
  WHDP 7KH H[FHSWLRQ ZDV D UHSUHVHQWDWLYH ZKR GLG QRW VXSSRUW +RXVHKROGHU IRU 6SHDNHU 

              ,Q WHUPV RI WKH DFWXDO FDQGLGDWHV VHOHFWHG WR EH SDUW RI +RXVHKROGHU¶V WHDP DJHQWV
  UHFRYHUHG QXPHURXV GRFXPHQWV IURP /RQJVWUHWK ZKLFK OLVWHG ODUJHO\ WKH VDPH VHOHFW JURXS RI
  FDQGLGDWHV VXFK DV RQH HQWLWOHG ³ 2IILFLDO 3ULPDU\ 0DWFKXSV´ WKDW SURYLGH HYLGHQFH RI WKH
  UHFUXLWPHQW DQG YHWWLQJ SURFHVV $JHQWV UHFRYHUHG GR]HQV RI VLPLODU GRFXPHQWV ZKLFK UHIHUUHG
  WR WKLV JURXS RI FDQGLGDWHV DV ³UHFUXLWPHQW XSGDWHV´ ³RXU WHDP´ RU ³7HDP +RXVHKROGHU´
  5HJDUGOHVV RI WKH QDPH KRZHYHU LW LV FOHDU WKH (QWHUSULVH FRQVLGHUHG WKH HOHFWLRQ RI WKHVH
  FDQGLGDWHV DQ LQWHJUDO SDUW RI LWV VWUDWHJ\ IRU D +RXVHKROGHU 6SHDNHUVKLS

              1RWDEO\ /RQJVWUHWK¶V OLVW PLUURUHG +RXVH PHPEHUV WKDW &RPSDQ\ $ LQWHQGHG WR
  VXSSRUW LQ WKH  HOHFWLRQ )RU H[DPSOH D :RUG GRFXPHQW LQ &HVSHGHV¶ SRVVHVVLRQ WLWOHG
  ³+RXVHKROGHU´ DQG FUHDWHG 0D\   DW SP²DIWHU SROOV FORVHG WKH QLJKW RI WKH 2KLR
  3ULPDU\²OLVWHG WKH +RXVHKROGHU FDQGLGDWHV YHUVXV WKH 5HSUHVHQWDWLYH  FDQGLGDWHV


       % )XQGLQJ ³7HDP +RXVHKROGHU´

              %DVHG RQ P\ WUDLQLQJ DQG H[SHULHQFH , NQRZ WKDW LQ RUGHU WR H[HFXWH LWV VWUDWHJ\ RI
  HOHFWLQJ 7HDP +RXVHKROGHU FDQGLGDWHV WKH (QWHUSULVH QHHGHG WR UDLVH D VXEVWDQWLDO DPRXQW RI
  PRQH\ 7KH +RXVH¶V WKHQFXUUHQW 6SHDNHU KDG SLFNHG 5HSUHVHQWDWLYH  QRW +RXVHKROGHU WR EH
  KLV VXFFHVVRU $V &HVSHGHV H[SODLQHG LQ D GRFXPHQW FUHDWHG 0DUFK   ³>5HGDFWHG@ LV D
  ODPH GXFN 6SHDNHU EXW LV KHDYLO\ LQYROYHG LQ WKH FDPSDLJQ WR HOHFW >5HSUHVHQWDWLYH @ DV WKH QH[W
  2KLR 6SHDNHU´ 7KLV PHDQW WKDW WKH ZDU FKHVW RI WKH WKHQFXUUHQW 6SHDNHU KDG DFFXPXODWHG WKURXJK
  WKH 2KLR +RXVH 5HSXEOLFDQ 2UJDQL]DWLRQDO &RPPLWWHH 2+52& ZRXOG EH VSHQW RQ
  6SHDNHU5HSUHVHQWDWLYH EDFNHG FDQGLGDWHV %DVHG RQ P\ WUDLQLQJ H[SHULHQFH DQG WKH

  
    0HGLD UHSRUWV LQGLFDWH WKDW WKH WKHQFXUUHQW 6SHDNHU FRQWUROOHG 2+52& DQG GHWHUPLQHG KRZ IXQGV ZHUH GLVSHUVHG
  E.g. KWWSVZZZGLVSDWFKFRPQHZV 2KRXVHKROGHUIOH[HVPXVFOHVZLWKLQRKLRKRXVHJRS %DQN UHFRUGV
  VKRZ IXQGV FRQWUROOHG E\ UHSUHVHQWDWLYHV ZHUH GHSRVLWHG LQWR 2+52& DQG WKDW FRUSRUDWH FRQWULEXWLRQV DOVR ZHUH
  GHSRVLWHG LQWR WKH IXQG

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  LQYHVWLJDWLRQ WR EHDW WKH 2+52&EDFNHG FDQGLGDWHV LQ WKH SULPDULHV WKH (QWHUSULVH QHHGHG WR
  RXWIXQGUDLVH WKHP DQG H[HFXWH VXFFHVVIXO FDPSDLJQ PHVVDJLQJ IRU WKH ³7HDP +RXVHKROGHU´
  FDQGLGDWHV

              $Q H[FHO VSUHDGVKHHW UHFRYHUHG IURP /RQJVWUHWK WLWOHG ³&DPSDLJQ %XGJHW 
  ´ DQG ODVW HGLWHG LQ 6HSWHPEHU  VKRZV WKDW WKH (QWHUSULVH HVWLPDWHG WKH DPRXQW QHHGHG WR
  LPSOHPHQW LWV VWUDWHJ\ ZDV PRUH WKDQ  PLOOLRQ


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    CreatMTeam             s 71,000.00                        IND                          1                    1 s      72,000.00
    F1eld/Grassroots Di~ctc S    80,000.00                    Fl                        1.7                  I.ZS s     170,000.00
    Digital Media Team     s    300,000.00                    Fl                        1.7                  I.ZS s 637,SOO,OO
    MmmistralM             s 4"2,000.00                       Fl                        1.7                  I.ZS s      89,250.00
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              6LPLODUO\ GXULQJ D -DQXDU\   UHFRUGHG FRQYHUVDWLRQ &ODUN DQG +RXVHKROGHU
  GLVFXVVHG WKHLU SODQ WR ³orchestrate (c)(4) checks´ WR KHOS +RXVHKROGHU IXQG FDPSDLJQV IRU KLV
  EHQHILW 6SHFLILFDOO\ &ODUN HVWLPDWHG WKDW +RXVHKROGHU ZRXOG ³need a hundred and twenty
  thousand per race´ WR ZKLFK +RXVHKROGHU UHVSRQGHG ³I’d say one fifty, but yeah, you’re in the
  ballpark´ 7KH\ WKHQ GLVFXVVHG KRZ WR UDLVH WKH DPRXQW WKH\ QHHG LQ  F  FKHFNV WR IXQG
  FDQGLGDWH FDPSDLJQV &ODUN DOVR PHQWLRQHG WKDW ³some people decided to help [Representative
  1]´ IRU 6SHDNHU WR ZKLFK +RXVHKROGHU UHVSRQGHG ³yeah, we can fuck them over later´

              8OWLPDWHO\ WKH (QWHUSULVH IXQGHG DSSUR[LPDWHO\ WZHQW\RQH FDQGLGDWH FDPSDLJQV
  ZKLFK XVLQJ WKH PHWULF GLVFXVVHG E\ &ODUN DQG +RXVHKROGHU LQ WKH -DQXDU\  FDOO PHDQW WKDW
  +RXVHKROGHU ZRXOG QHHG WR UDLVH EHWZHHQ URXJKO\  PLOOLRQ DQG  PLOOLRQ WR IXQG WKH
  FDPSDLJQV


        & 9ROXPH DQG 7LPLQJ RI &RPSDQ\ $ 3D\PHQWV WR (QWHUSULVH GXULQJ  (OHFWLRQ
           &\FOH


              $W WKH VDPH WLPH WKH (QWHUSULVH ZRUNHG RQ D ³JDPH SODQ´ WR VHFXUH +RXVHKROGHU¶V
  DVFHQVLRQ WR 6SHDNHUVKLS &RPSDQ\ $ QHHGHG D VROXWLRQ IRU LWV 2KLR QXFOHDU SODQWV 7KH
  LQYHVWLJDWLRQ VKRZV WKDW WKH (QWHUSULVH DQG &RPSDQ\ $ IRUPHG ZKDW &RPSDQ\ $ OREE\LVW


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  %RUJHV FDOOHG ³DQ XQKRO\ DOOLDQFH´ &RPSDQ\ $ IXQGHG +RXVHKROGHU¶V 6SHDNHUVKLS ELG LQ
  H[FKDQJH IRU D OHJLVODWLYH IL[ IRU LWV QXFOHDU SRZHU SODQWV

             7KH YROXPH RI &RPSDQ\ $¶V SD\PHQWV WKH WLPLQJ RI WKHVH SD\PHQWV
  FRPPXQLFDWLRQV DQG FRRUGLQDWLRQ DPRQJVW FRFRQVSLUDWRUV DQG &RPSDQ\ $ WKH RIILFLDO DFWLRQ
  WDNHQ E\ +RXVHKROGHU DQG WKH DFWLRQV WR PDLQWDLQ WKH RIILFLDO DFWLRQ VKRZ WKH FRUUXSW DUUDQJHPHQW
  ZDV &RPSDQ\ $ IXQGLQJ +RXVHKROGHU¶V VSHDNHUVKLS ELG LQ H[FKDQJH IRU D OHJLVODWLYH IL[

              $V GHVFULEHG DERYH WKH YHKLFOH WR FROOHFW WKH YDVW DPRXQWV RI PRQH\ QHHGHG IRU
  +RXVHKROGHU¶V 6SHDNHUVKLS ELG ZDV *HQHUDWLRQ 1RZ )URP WKH WLPH WKH *HQHUDWLRQ 1RZ EDQN
  DFFRXQWV ZHUH RSHQHG LQ  WKURXJK WKH 1RYHPEHU  JHQHUDO HOHFWLRQ WKH (QWHUSULVH
  UHFHLYHG DSSUR[LPDWHO\  PLOOLRQ LQWR *HQHUDWLRQ 1RZ 0RUH WKDQ KDOI RI WKDW PRQH\ FDPH
  IURP &RPSDQ\ $ RU WKH (QHUJ\ 3DVV7KURXJK IXOO\ IXQGHG E\ &RPSDQ\ $ 0RUH WKDQ D KDOI
  PLOOLRQ RI WKH UHPDLQLQJ PRQH\ FDPH IURP HQHUJ\UHODWHG HQWLWLHV WKDW HLWKHU KDG D UHODWLRQVKLS
  ZLWK &RPSDQ\ $ RU DQ LQWHUHVW LQ WKH EDLORXW OHJLVODWLRQ 7KH UHPDLQLQJ DPRXQW RI PRQH\
   DSSUR[LPDWHO\  PLOOLRQ FDPH IURP DSSUR[LPDWHO\  RWKHU LQWHUHVW JURXSV

              7KH LQYHVWLJDWLRQ VKRZV &RPSDQ\ $ PDGH UHJXODU TXDUWHUO\ SD\PHQWV RI 
  LQWR *HQHUDWLRQ 1RZ¶V PDLQ EDQN DFFRXQW DOPRVW LPPHGLDWHO\ DIWHU /RQJVWUHWK RSHQHG LW LQ 
  %XW LQ 0DUFK  DSSUR[LPDWHO\ WZR ZHHNV EHIRUH &RPSDQ\ $¶V &RUS DIILOLDWHV ILOHG IRU
  EDQNUXSWF\ &RPSDQ\ $ EHJDQ IXQQHOLQJ SD\PHQWV WR *HQHUDWLRQ 1RZ WKURXJK (QHUJ\ 3DVV
  7KURXJK 7KH SD\PHQWV ZLUHG IURP &RPSDQ\ $ 6HUYLFH &R LQWR WKH (QHUJ\ 3DVV7KURXJK
  RULJLQDWHG IURP DFFRXQW [ WKH VDPH DFFRXQW XVHG WR ZLUH SD\PHQWV GLUHFWO\ IURP &RPSDQ\
  $ 6HUYLFH &R LQWR *HQHUDWLRQ 1RZ ,Q WKH ILQDO PRQWK EHIRUH WKH  JHQHUDO HOHFWLRQ &RPSDQ\
  $ GURSSHG DQRWKHU  LQWR WKH *HQHUDWLRQ 1RZ DFFRXQW 7KLV WLPH WKH PRQH\ ZDV SDLG E\
  FKHFN IURP DFFRXQW [ 7KH SD\PHQWV IURP &RPSDQ\ $ IURP  DUH VXPPDUL]HG
  EHORZ




  
   %DQN UHFRUGV LQGLFDWH WKDW [ LV DOVR D &RPSDQ\ $ 6HUYLFH &R DFFRXQW )RU H[DPSOH WKH FKHFNV WR *HQHUDWLRQ
  1RZ IURP [ ZHUH VLJQHG E\ WKH 6HQLRU 93 DQG &)2 IRU &RPSDQ\ $ 6HUYLFH &R ZKR LV QRZ WKH 3UHVLGHQW RI
  &RPSDQ\ $ &RUS

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        March 16, 2017              $250,000         wue   Company A Service Co (x6496)
        May 17, 2017                $250,000         wire  Company A Service Co (x6496)
        August 10, 2017             $250,000         wire  Company A Service Co (x6496)
        December 8, 2017            $250,000         wrre  Company A Service Co (x6496)
        March 15, 2018              $300,000         Wife  Energy Pass-Through (originally from Co. A
                                                           Service Co. x6496)
        May 4, 2018                 $100,000         wue Energy Pass-Through (originally from Co. A
                                                           Service Co. x6496)
         August 8, 2018             $54,000          wrre Coalition (originally from Co. A Se1vice Co.
                                                           x6496 through Energy Pass-Through)
        August 16, 2018             $500,000         wire  Energy Pass-Through (originally from Co. A
                                                           Se1vice Co. x6496)
         October 9, 2018            $400,000         check Company A Service Co. (x4788)
         October 29. 2018           $100,000         check Com12any A Service Co. (x4788)
         Total:                     $2,454,000

         83.     In addition, Company A Service Co. paid the Enterprise an additional $500,000 to
  Dark Money Group 1 on October 29, 2018, bringing the total that Company A paid to the
  Enterprise through Generation Now in 2017-2018 as $2,954,000.23

        84.      Toll records conoborate the close coordination between the Enterprise and
  Company A during the 2018 primaiy, even though the payments were sent via Energy Pass-
  Through . For example, several days before a $300,000 payment through Energy Pass-Through on
  March 15, 2018, multiple communications between Householder and Company A occuned:

   Date                Time       Caller                          Called Partv                       Duration
   March 12,           14:03      Householder                     Sr. VP of External Affairs         24 seconds
   2018                                                           for Company A Service
                                                                  Co.
   March 12,           15:06      Sr. VP of External              Householder                        3:03
   2018                           Affairs for Company A                                              minutes
                                  Se1vice Co.
   March 12,           15:11      Sr. VP of External              Householder                        9 seconds
   2018                           Affairs for Company A
                                  Se1vice Co.
   March 12,           16:59      Householder                     Ohio Director of State             11:34
   2018                                                           Affairs, Company A                 minutes
                                                                  Corp.24



  23 This number does not include $90.000 that Company A paid to the Coalition on March 21. 2017 and $300.000 that




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   Date             Time    Caller                    Called Partv                Duration
   March 12,        17:45   Ohio Director of State    Householder                 0 seconds
   2018                     Affairs, Company A
                            Corp.
   March 12,        17:45   Ohio Director of State    Householder                 13 seconds
   2018                     Affairs, Company A
                            Corp.
   March 12,        19:55   Householder               Ohio Director of State      11:17
   2018                                               Affairs, Company A Corp.    minutes
   March 13,        17:22   Sr. VP of External        Householder                 1:32
   2018                     Affairs for Company A                                 minutes
                            Service Co.
   March 13,        17:24 Sr. VP of External          Householder                 56 seconds
   2018                     Affairs for Company A
                            Service Co.
   March 15,        Energy Pass-Through Payment for $300,000
   2018

         85.   A similar pattern occmTed with respect to the May 4, 2018 payment of $100,000
  through Energy Pass-Through, just days before the May primruy, this time between Longstreth
  and Company A:

   Date             Time    Caller                   Called Partv             Duration
   April 27, 2018   10:49   Sr. VP of External       Longstreth               0 seconds
                            Affairs for Company A
                            Service Co.
   April 27, 2018   10:49   Sr. VP of External       Longstreth               3 seconds
                            Affairs for Company A
                            Service Co.
   April 27, 2018   10:55   Longstreth               Sr. VP of External       2:47 minutes
                                                     Affairs for Company A
                                                     Se1vice Co.
   April 27, 2018   13:37   Longstreth               Sr. VP of External       2:56 minutes
                                                     Affairs for Company A
                                                     Service Co.
   April 28, 2018   10:38   Sr. VP of External       Longstreth               1:30 minutes
                            Affairs for Company A
                            Service Co.
   April 28, 2018   11:40   Longstreth               Sr. VP of External       2: 14 minutes
                                                     Affairs for Company A
                                                     Service Co.
   April 30, 2018   9: 11   Longstreth               Sr. VP of External       2: 11 minutes
                                                     Affairs for Company A
                                                     Service Co.


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   Date              Time    Caller                     Called Party               Duration
   May I , 2018      18:41   Ohio Director of State     Longstreth                 15:49 minutes
                             Affairs, Company A
                             Com.
   May 3, 2018       22:09   Ohio Director of State     Longstreth                  Text
                             Affairs, Company A
                             Corp.
   May 4, 2018       6:10    Longstreth                 Ohio Director of State      Text
                                                        Affairs, Company A
                                                        Corp.
   May 4, 2018       6:18    Ohio Director of State     Longstreth                  Text
                             Affairs, Company A
                             Corp.
   May 4, 2018       6:25    Longstreth               Ohio Director of State        14:12 minutes
                                                      Affairs, Company A
                                                      Corp.
   Mav 4. 201 8      Energy Pass-Thromtli Payment for $100,000

        86.     Toll records around this period do not othe1w ise show regular contact between
  Householder and Company A employees or Longstreth and Company A employees, fmiher
  demonstrating the significance of these calls.

     D. Enterprise Spendin.g Company A Money on Spring 2018 Election

           87.    Not only was the volume of the Company A payments critical to the Enterprise 's
  effo1is, but the timing was also significant. As noted above, during the 2018 election, the then-
  cmTent Speaker was a lame duck Speaker, who had picked Representative 1 to be his successor.
  Thus, the Enterprise needed a substantial amount of money to beat the Representative I candidates
  in the May primary election. Company A came through, paying the Enterprise $1. 4 million before
  the May 8, 2018 primary date.

         88.    But the Enterprise's ability to capitalize on an unexpected opportunity that arose a
  month before the primary election date also demonstrates how critical the volume and timing of
  payments from Company A was. On April 12, 2018, about a month before the primary, the then-
  cmTent Speaker abmptly resigned. The Enterprise seized upon this oppo1iunity.

          89.    Because of the money accumulated in the Generation Now war chest, the majority
  of which came from Company A, the Enterprise was able to move close to $1 million in the three
  weeks before the prima1y. In fact, the same day that the Speaker resigned, bank records reveal
  that the Ente1prise wired $750,000 to the PAC. (That wire followed a $250,000 wire Generation
  Now sent to the PAC in early April.) The majo1ity of the $ 1 million from Generation Now was
  wired to a media se1vices company and a political strntegy firm for media buys and mailers for
  Team Householder candidates. In addition, Generation Now wired $234,450 to JPL in three
  increments between April 12 and May 7, adding to the already $775,054 it wired to JPL in the first
  quarter of 2018. This money also was mostly spent on the campaign to elect Team Householder


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  FDQGLGDWHV 7KH GLVEXUVHPHQWV IURP *HQHUDWLRQ 1RZ DQG WKHLU UHODWLYH GLVWULEXWLRQ GDWHV WR WKH
  3$& DQG -3/ OHDGLQJ XS WR WKH SULPDU\ ZHUH DV IROORZV

        -DQ               *HQHUDWLRQ 1RZ            ZLUH            -3/
        -DQ               *HQHUDWLRQ 1RZ            ZLUH             -3/
        )HE               *HQHUDWLRQ 1RZ            ZLUH            -3/
        0DU               *HQHUDWLRQ 1RZ            ZLUH            -3/
        0DU               *HQHUDWLRQ 1RZ            ZLUH            -3/
        $SULO               *HQHUDWLRQ 1RZ            ZLUH            3$&
        $SULO               *HQHUDWLRQ 1RZ            ZLUH            -3/
        $SULO              6SHDNHU UHVLJQV
        $SULO              *HQHUDWLRQ 1RZ            ZLUH            3$&
        $SULO              *HQHUDWLRQ 1RZ            ZLUH            -3/
        $SULO              *HQHUDWLRQ 1RZ            ZLUH             -3/
        0D\                 *HQHUDWLRQ 1RZ            ZLUH             -3/
        0D\                 2KLR SULPDU\

        7RWDO RYHU  PLOOLRQ

               3KRQH UHFRUGV FRUURERUDWH WKH IDFW WKDW WKH 6SHDNHU¶V UHVLJQDWLRQ PDUNHG D
  VLJQLILFDQW PRPHQW RI PRELOL]DWLRQ IRU WKH (QWHUSULVH ZKLFK ZDV PDGH SRVVLEOH EHFDXVH RI WKH
  SD\PHQWV IURP &RPSDQ\ $ 2Q WKH GD\ RI WKH 6SHDNHU¶V UHVLJQDWLRQ +RXVHKROGHU DQG /RQJVWUHWK
  KDG D PLQXWH FDOO 6KRUWO\ WKHUHDIWHU WKH\ ERWK EHJDQ PDNLQJ WKH URXQGV +RXVHKROGHU
  FRQWDFWHG &RPSDQ\ $ 6HUYLFH &R¶V 6U 9LFH 3UHVLGHQW RI ([WHUQDO $IIDLUV DQG SURFHHGHG WR KDYH
  D PLQXWH SKRQH FDOO /RQJVWUHWK FRPPXQLFDWHG ZLWK &RPSDQ\ $ &RUS¶V 2KLR 'LUHFWRU RI 6WDWH
  $IIDLUV DQG IROORZHG LPPHGLDWHO\ ZLWK D FDOO WR WKH DWWRUQH\ IRU WKH 3$& DQG WKHQ FRPPXQLFDWLRQ
  ZLWK DQ H[HFXWLYH RI 3ROLWLFDO 6WUDWHJ\ )LUP  /RQJVWUHWK DQG +RXVHKROGHU WKHQ FRPPXQLFDWHG
  ZLWK PDQ\ 7HDP +RXVHKROGHU FDQGLGDWHV WKURXJKRXW WKH GD\

               $OO WROG *HQHUDWLRQ 1RZ VSHQW PRUH WKDQ  PLOOLRQ RQ WKH 6SULQJ  SULPDU\
  UDFHV²ODUJHO\ E\ IXQQHOLQJ WKH &RPSDQ\ $WR*HQHUDWLRQ1RZ PRQH\ WKURXJK WKH 3$& 7KH
  VSHFLILF XVH RI WKH PRQH\ LV FRQILUPHG E\ VXESRHQDHG UHFRUGV )RU H[DPSOH QHDUO\ DOO RI WKH
  *HQHUDWLRQ 1RZ PRQH\ ZLUHG LQWR WKH 3$& ZDV VHQW WR HLWKHU WR 0HGLD 6HUYLFHV &RPSDQ\  RU
  WKH 3ROLWLFDO 6WUDWHJ\ )LUP  &KHFNV ZHUH LVVXHG IURP 0HGLD 6HUYLFHV &RPSDQ\  WR YDULRXV
  UDGLR VWDWLRQV IRU PHGLD EX\V 0DQ\ RI WKHVH FKHFNV QRWH WKH +RXVH GLVWULFW UDFH UHODWHG WR WKH
  EX\ DQG WKH GLVWULFW UDFHV GHQRWHG RQ WKRVH FKHFNV FRUUHVSRQG ZLWK /RQJVWUHWK¶V OLVWV RI 7HDP
  +RXVHKROGHU FDQGLGDWHV

               1RW RQO\ GLG *HQHUDWLRQ 1RZ VSHQG  PLOOLRQ RQ 7HDP +RXVHKROGHU FDQGLGDWHV
  EXW DW OHDVW  RI WKDW PRQH\ IXQGHG FDPSDLJQ H[SHQVHV IRU +RXVHKROGHU¶V RZQ FDPSDLJQ
  WKXV EHQHILWWLQJ KLP SHUVRQDOO\ RXWVLGH WKH FRQWH[W RI KLV SXEOLF FDPSDLJQ IXQG



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    7KLV ILJXUH H[FOXGHV SD\PHQWV WR $VVRFLDWH  IRU VDODU\ DQG *HQHUDWLRQ 1RZ UHQW SD\PHQWV WR WKH 3ROLWLFDO
  $GYHUWLVLQJ $JHQF\ GXULQJ WKH VDPH WLPH IUDPH

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               ,Q DGGLWLRQ WR EDQN UHFRUGV WKH 3$& ILOHG DQ )(& PLG\HDU UHSRUW LQ 
  RXWOLQLQJ LWV H[SHQGLWXUHV LQ WKH SULPDU\ $OWKRXJK WKH UHSRUW IDLOHG WR OLVW FDQGLGDWHV E\ QDPH²
  DQG WKRVH FDQGLGDWHV GLG QRW UHSRUW LQNLQG JLIWV RU FRQWULEXWLRQV IURP WKH 3$&²WKH UHSRUW GLG OLVW
  H[SHQGLWXUHV LQ FRQQHFWLRQ ZLWK FHUWDLQ 2KLR +RXVH GLVWULFWV $QG WKRVH +RXVH 'LVWULFWV DJDLQ
  FRUUHVSRQGHG ZLWK WKH (QWHUSULVH¶V FDQGLGDWHV 7KH DPRXQWV OLVWHG LQ WKH 3$&¶V )(& UHSRUW
  ZKLFK FRUUHVSRQG WR SDUWLFXODU +RXVH 'LVWULFWV WRWDO PRUH WKDQ 

               :KLOH WKH LQYHVWLJDWLRQV VKRZV WKDW WKH 3$& SDLG 0HGLD 6HUYLFHV &RPSDQ\  DQG
  3ROLWLFDO 6WUDWHJ\ )LUP  QHDUO\ WKH HQWLUH PLOOLRQ GROODUV LW KDG UHFHLYHG EHIRUH WKH 6SULQJ 
  SULPDU\ EDQN UHFRUGV IURP -3/ [ VKRZ WKDW /RQJVWUHWK DOVR GLVSHUVHG DSSUR[LPDWHO\ 
  PLOOLRQ RI WKH PRQH\ KH UHFHLYHG IURP *HQHUDWLRQ 1RZ WR PHGLD FRPPXQLFDWLRQ DQG VWUDWHJ\
  FRQVXOWLQJ FRPSDQLHV LQ VXSSRUW RI WKH (QWHUSULVH¶V SULPDU\ HIIRUWV IURP -DQXDU\ WR 0D\ 

               7KH WLPLQJ RI WKHVH SD\PHQWV DOVR HYLGHQFH PRQH\ ODXQGHULQJ E\ WKH (QWHUSULVH LQ
  IXUWKHUDQFH RI LWV SXUSRVHV ZLWK WKH SD\PHQWV IURP &RPSDQ\ $ )RU H[DPSOH RQ 0DUFK  
  *HQHUDWLRQ 1RZ ZLUHG WKH -3/ [ DFFRXQW  IRU ³DGYHUWLVLQJ´ 7KH QH[W GD\ -3/
  [ ZLUHG  WR (OHFWLRQ 0DUNHWLQJ &RPSDQ\  %HWZHHQ $SULO  DQG  
  *HQHUDWLRQ 1RZ ZLUHG D WRWDO RI  WR -3/ [ ZKLFK WKHQ ZLUHG 'LUHFW 0DLO &RPSDQ\
    EHWZHHQ $SULO  DQG $SULO   7KH HYLGHQFH RI PRQH\ ODXQGHULQJ LV HYHQ
  VWURQJHU FRQVLGHULQJ WKDW /RQJVWUHWK LV D VLJQDWRU\ RQ WKH *HQHUDWLRQ 1RZ DQG [ DFFRXQWV
  GHPRQVWUDWLQJ WKDW KH XVHG WKH -3/ DFFRXQW DV D SDVVWKURXJK WR SD\ WKH FRPSDQLHV

              8OWLPDWHO\ WKH (QWHUSULVH¶V HIIRUWV ZHUH VXFFHVVIXO ZLWK PRVW 7HDP +RXVHKROGHU
  FDQGLGDWHV ZLQQLQJ WKHLU SULPDULHV 2Q RU DERXW -XO\   D IHZ PRQWKV DIWHU WKH SULPDULHV
   ZDV ZLUHG IURP /RQJVWUHWKFRQWUROOHG DFFRXQWV WR VHWWOH D SHUVRQDO ODZVXLW DJDLQVW
  +RXVHKROGHU 2Q $XJXVW   WKH VDPH GD\ WKDW +RXVHKROGHU ZDV PHHWLQJ ZLWK &RPSDQ\ $
  H[HFXWLYHV LQ &ROXPEXV DFFRUGLQJ WR GRFXPHQWV LQ &HVSHGHV¶ SRVVHVVLRQ D FRXUW ILOLQJ LQ
  )UDQNOLQ &RXQW\ &RXUW ³UHOHDVHG DQG IRUHYHU GLVFKDUJHG´ WKH MXGJPHQW DJDLQVW +RXVHKROGHU DQG
  +RXVHKROGHU /WG 7KH PDLQ -3/ DFFRXQW ZDV IXQGHG ZLWK ZLUH WUDQVIHUV IURP *HQHUDWLRQ 1RZ
  ZKLFK ZDV IXQGHG LQ ODUJH SDUW E\ &RPSDQ\ $ ZLUHV ,Q DGGLWLRQ EDQN UHFRUGV VKRZ WKDW -3/¶V
  PDLQ DFFRXQW DOVR SDLG +RXVHKROGHU¶V DWWRUQH\V LQYROYHG LQ WKH ODZVXLW LQ 0D\  YLD WZR
  FKHFNV WRWDOLQJ  $W WKH WLPH -3/ PDGH WKRVH SD\PHQWV LW KDG UHFHLYHG PRUH WKDQ 
  IURP *HQHUDWLRQ 1RZ ZKLFK KDG EHHQ IXQGHG VROHO\ E\ D  ZLUH IURP &RPSDQ\ $ D
   GHSRVLW IURP WKH &(2 RI &RPSDQ\ & DQG  GHSRVLW IURP /RQJVWUHWK RQ WKH GDWH KH
  RSHQHG WKH DFFRXQW  -3/ DOVR SDLG WKH VDPH ODZ ILUP DGGLWLRQDO IHHV WRWDOLQJ  LQ 


         ( )DOO  (OHFWLRQ

               7KH LQYHVWLJDWLRQ VKRZV WKDW DIWHU WKH SULPDULHV WKH (QWHUSULVH UHIRFXVHG LWV HIIRUWV
  RQ HQVXULQJ WKH 7HDP +RXVHKROGHU FDQGLGDWHV ZRQ WKH JHQHUDO HOHFWLRQ LQ 1RYHPEHU $V VHW IRUWK
  EHORZ WKH (QWHUSULVH XVHG D QHZ FRUSRUDWH HQWLW\ 'DUN 0RQH\ *URXS  WR IXUWKHU LWV SXUSRVHV
  ZKLFK ZDV IXQGHG E\ &RPSDQ\ $ *HQHUDWLRQ 1RZ DV IXQGHG E\ &RPSDQ\ $  DQG UHODWHG
  LQWHUHVWV DQG WKHQ XVHG DOPRVW DOO RI WKRVH IXQGV WR IXUWKHU WKH FDPSDLJQV RI 7HDP +RXVHKROGHU
  FDQGLGDWHV

  
       $V VHW IRUWK DERYH &RPSDQ\ & KDV LQWHUHVWV DOLJQHG ZLWK &RPSDQ\ $

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              )LUVW IRU LWV SDUW IURP $XJXVW WR 2FWREHU  &RPSDQ\ $ SDLG DQ DGGLWLRQDO 
  PLOOLRQ LQWR WKH *HQHUDWLRQ 1RZ ZDU FKHVW $V GHWDLOHG LQ WKH FKDUW DERYH WKH SD\PHQWV IURP
  &RPSDQ\ $ FDPH LQ WKH IRUP RI FKHFNV RU YLD (QHUJ\ 3DVV7KURXJK 3ULRU WR WKHVH SD\PHQWV WKH
  (QWHUSULVH QHHGHG PRQH\²*HQHUDWLRQ 1RZ KDG OHVV WKDQ  LQ LWV DFFRXQW MXVW SULRU WR DQ
  (QHUJ\ 3DVV7KURXJK  ZLUH LQ $XJXVW  -XVW OLNH LQ WKH SULPDU\ VHDVRQ *HQHUDWLRQ
  1RZ IXQQHOHG D VXEVWDQWLDO DPRXQW RI LWV &RPSDQ\ $ PRQH\ WKURXJK D VHSDUDWH HQWLW\²WKLV WLPH
  'DUN 0RQH\ *URXS ²WR UXQ QHJDWLYH DGV DJDLQVW 7HDP +RXVHKROGHU RSSRQHQWV

             :LWKLQ GD\V RI LWV LQFRUSRUDWLRQ LQ 6HSWHPEHU  'DUN 0RQH\ *URXS  RSHQHG
  D EDQN DFFRXQW DW +XQWLQJWRQ %DQN WKH VDPH EDQN XVHG E\ /RQJVWUHWK $ IHZ ZHHNV ODWHU
  *HQHUDWLRQ 1RZ ZLUHG D WRWDO RI  %DQN UHFRUGV VKRZ WKDW WKH RQO\ GHSRVLWV LQ WKH DFFRXQW
  ZHUH DV IROORZV

         2FWREHU                              ZLUH                  *HQHUDWLRQ 1RZ
         2FWREHU                              ZLUH                  *HQHUDWLRQ 1RZ
         2FWREHU                              ZLUH                  &RPSDQ\ %
         2FWREHU                              ()7                   &RPSDQ\ $ 6HUYLFH
         2FWREHU                              ZLUH                  *HQHUDWLRQ 1RZ
         2FWREHU                              FKHFN                 &(2 RI &RPSDQ\ &
         2FWREHU                              FKHFN                 ,QGLYLGXDO 
                 7RWDO                         PLOOLRQ

          1R RWKHU PRQH\ ZDV SDLG LQWR 'DUN 0RQH\ *URXS ¶V DFFRXQW $JDLQ WKH YROXPH
  DQG WLPLQJ RI WKH SD\PHQWV IURP &RPSDQ\ $ SURYHG FUXFLDO WR WKH (QWHUSULVH¶V VXFFHVV )XQQHOHG
  WKURXJK (QHUJ\ 3DVV7KURXJK WR *HQHUDWLRQ 1RZ &RPSDQ\ $ LQIXVHG RYHU D PLOOLRQ GROODUV LQWR
  'DUN 0RQH\ *URXS  LQ WKH IDOO RI  DORQH ZKLFK DOORZHG WKH (QWHUSULVH WR IORRG WKH DLUZD\V
  ZLWK QHJDWLYH DGV DJDLQVW LWV RSSRQHQWV LQ WKH ILQDO GD\V EHIRUH WKH HOHFWLRQ

           6SHFLILFDOO\ EDQN UHFRUGV VKRZ WKDW RXW RI WKH  PLOOLRQ GHSRVLWHG LQWR WKH
  'DUN 0RQH\ *URXS  DFFRXQW 'DUN 0RQH\ *URXS  SDLG PRUH WKDQ  PLOOLRQ WR 0HGLD
  3ODFHPHQW &RPSDQ\  D ILUP WKDW ERXJKW WHOHYLVLRQ DQG UDGLR DGV LQ 'DUN 0RQH\ *URXS ¶V QDPH
  )HGHUDO &RPPXQLFDWLRQV &RPPLVVLRQ )&& UHFRUGV FRQILUP WKH H[SHQGLWXUHV 6SHFLILFDOO\
  SXEOLF GRFXPHQWV ILOHG ZLWK WKH )&& VKRZ 0HGLD 3ODFHPHQW &RPSDQ\  SXUFKDVHG PRUH WKDQ
   PLOOLRQ ZRUWK RI DGYHUWLVHPHQWV IRU 'DUN 0RQH\ *URXS  LQ WKH WHQ GD\V EHIRUH WKH HOHFWLRQ
  %DVHG RQ WKH WHOHYLVLRQ DQG UDGLR VWDWLRQV WDUJHWHG WKH EXON RI WKH PHGLD EX\V ZHUH VSHQW RQ DGV
  LQ WKH GLVWULFWV RI 7HDP +RXVHKROGHU FDQGLGDWHV LQ WLJKW UDFHV

         7KH VWUDWHJ\ ZRUNHG 7KH FOHDUHVW H[DPSOH FRPHV IURP RQH KLJKO\ FRQWHVWHG
  +RXVH 'LVWULFW UDFH $OWKRXJK WKH (QWHUSULVH LQLWLDOO\ EDFNHG &DQGLGDWH  LQ WKH SULPDU\
  &DQGLGDWH  ORVW LQ WKH 6SULQJ  SULPDU\ EHDW E\ 5HSUHVHQWDWLYH  ,Q WKH JHQHUDO HOHFWLRQ
  5HSUHVHQWDWLYH  IDFHG D WLJKW UDFH DJDLQVW WKH RSSRVLQJ SDUW\¶V FDQGLGDWH +RZHYHU

  
     &RPSDQ\ % LV DQ HQHUJ\ FRPSDQ\ ZLWK LQWHUHVWV DOLJQHG ZLWK &RPSDQ\ $
  
     &RPSDQ\ & KDV LQWHUHVWV DOLJQHG ZLWK &RPSDQ\ $
  
     ,QGLYLGXDO  GRHV QRW DSSHDU WR EH UHODWHG WR &RPSDQ\ $ RU KDYH DOLJQLQJ LQWHUHVWV

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      2:20-cv-03785-ALM-KAJDoc
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  5HSUHVHQWDWLYH  XOWLPDWHO\ SUHYDLOHG E\  YRWHV 5HSUHVHQWDWLYH ¶V YLFWRU\ ZDV FUHGLWHG WR D
  QHJDWLYH DG UXQ E\ 'DUN 0RQH\ *URXS  ZKLFK VKRZHG WKH RSSRVLQJ FDQGLGDWH WDNLQJ D ILHOG
  VREULHW\ WHVW \HW RQO\ UHFHLYLQJ D VSHHGLQJ WLFNHW 7KH DG HVVHQWLDOO\ DFFXVHG WKH FDQGLGDWH RI
  PLVXVLQJ KLV DXWKRULW\ $OWKRXJK WKH FDQGLGDWH DQG WKH SROLFH XQLRQ FRQGHPQHG WKH DG WKH
  GDPDJH ZDV GRQH²WKH RSSRVLQJ FDQGLGDWH ZKR UHSRUWHGO\ KDG D SRLQW OHDG EHIRUH WKH DG DLUHG
  ORVW WKH HOHFWLRQ 0HGLD UHSRUWV FUHGLWHG WKH 'DUN 0RQH\ *URXS  DG ZLWK WLSSLQJ WKH VFDOHV

           $IWHU WKH HOHFWLRQ +RXVHKROGHU WRRN FUHGLW IRU WKH DG DJDLQVW WKH RSSRVLQJ
  FDQGLGDWH UHPDUNLQJ WR ,QGLYLGXDO  WKDW KH +RXVHKROGHU KDG SXW  LQWR WKDW UDFH LQ WKH
  ILQDO ZHHNV +RXVHKROGHU¶V FRPPHQW ZDV PDGH GXULQJ D PHHWLQJ DIWHU WKH HOHFWLRQ LQ 1RYHPEHU
   ZKHUH ,QGLYLGXDO  ZKR ZDV D SURVSHFWLYH 7HDP +RXVHKROGHU FDQGLGDWH IRU WKH 
  HOHFWLRQ ZDV EHLQJ LQWHUYLHZHG E\ +RXVHKROGHU %DVHG RQ WKLV GLVFXVVLRQ ,QGLYLGXDO 
  XQGHUVWRRG IURP +RXVHKROGHU WKDW LI KHVKH ZHUH VHOHFWHG KHVKH ZRXOG KDYH +RXVHKROGHU¶V
  ILQDQFLDO EDFNLQJ MXVW OLNH 5HSUHVHQWDWLYH  7KLV VKRZHG +RXVHKROGHU¶V FRQWURO RYHU 'DUN
  0RQH\ *URXS  IXQGV ,QGLYLGXDO  KDV SURYLGHG RWKHU LQIRUPDWLRQ UHOHYDQW WR WKH LQYHVWLJDWLRQ
  WKDW KDV EHHQ LQGHSHQGHQWO\ FRUURERUDWHG

           $ FRS\ RI WKH YLGHR DG UXQ DJDLQVW WKH RSSRVLQJ FDQGLGDWH ZDV UHFRYHUHG E\ DJHQWV
  IURP /RQJVWUHWK 1RWDEO\ WKH YLGHR LQ /RQJVWUHWK¶V SRVVHVVLRQ DSSHDUV WR EH D ³GUDIW´ RU ³URXJK
  FXW´ RI WKH 'DUN 0RQH\ *URXS  DG HYLGHQFHG E\ WKH ILOH QDPH RI WKH YLGHR ZKLFK DSSHDUV LQ WKH
  OHIWKDQG FRUQHU RI WKH UHFRYHUHG YLGHR 7KH IDFW WKDW WKLV YLGHR ZDV UHFRYHUHG IURP /RQJVWUHWK
  DOVR GHPRQVWUDWHV WKH (QWHUSULVH¶V FRQWURO RYHU 'DUN 0RQH\ *URXS  DQG KRZ WKH SD\PHQWV IURP
  &RPSDQ\ $ ZHUH VSHQW

           5HSUHVHQWDWLYH ¶V UDFH H[HPSOLILHV WKH EHQHILW &RPSDQ\ $ SURYLGHG WR WKH
  (QWHUSULVH E\ ZD\ RI LWV WLPHO\ SD\PHQWV GXULQJ HOHFWLRQ VHDVRQV +RZHYHU WKH EHQHILW WR WKH
  (QWHUSULVH ZDV QRW OLPLWHG WR WKH FDVK LQIXVHG WR 'DUN 0RQH\ *URXS  *HQHUDWLRQ 1RZ SDLG
  /RQJVWUHWK DQRWKHU  EHWZHHQ WKH WLPH RI WKH 0D\ SULPDU\ DQG 1RYHPEHU HOHFWLRQ
  7KURXJK -3/ /RQJVWUHWK SDLG KLPVHOI KLV DVVRFLDWHV DQG D QXPEHU RI FDPSDLJQ PDQDJHUV
  ZRUNLQJ RQ WKH FDPSDLJQV RI 7HDP +RXVHKROGHU FDQGLGDWHV ,QGHHG &+6  ZKR KDV SURYLGHG
  UHOLDEOH DQG FUHGLEOH LQIRUPDWLRQ FRUURERUDWHG E\ WKH LQYHVWLJDWLRQ DGYLVHG WKDW KHVKH ZDV
  ZRUNLQJ RQ WKH FDPSDLJQ RI D 7HDP +RXVHKROGHU FDQGLGDWH GXULQJ WKH IDOO  JHQHUDO HOHFWLRQ
  EXW WKDW &+6  ZDV SDLG E\ /RQJVWUHWK 6XESRHQDHG UHFRUGV FRQILUP WKH PDLQ -3/ DFFRXQW
  ZKLFK KDG UHFHLYHG PRQH\ IURP *HQHUDWLRQ 1RZ SDLG WKH &+6 7KLV VKRZV WKDW &RPSDQ\ $
  WR*HQHUDWLRQ1RZ PRQH\ ZDV XVHG E\ WKH (QWHUSULVH WR EHQHILW 7HDP +RXVHKROGHU FDQGLGDWHV²
  WKXV SURYLGLQJ D EHQHILW WR +RXVHKROGHU KLPVHOI /RQJVWUHWK DOVR SDLG VHYHUDO PHGLD
  FRPPXQLFDWLRQV VWUDWHJ\ DQG GLUHFW PDLO JURXSV %HVLGHV 'DUN 0RQH\ *URXS  DQG -3/
  *HQHUDWLRQ 1RZ DOVR SDLG UHQW WR 3ROLWLFDO $GYHUWLVLQJ $JHQF\ DQG  D PRQWK WR $VVRFLDWH
   IRU ³IXQGUDLVLQJ´

           8OWLPDWHO\ WKH (QWHUSULVH¶V ³*DPH SODQ ´ ZRUNHG %\ FRRUGLQDWLQJ DQG
  ILQDQFLDOO\ EDFNLQJ WKH 7HDP +RXVHKROGHU FDQGLGDWHV XVLQJ &RPSDQ\ $ PRQH\ WKH (QWHUSULVH
  KHOSHG HOHFW D JURXS RI UHSUHVHQWDWLYHV OR\DO WR +RXVHKROGHU $OO RI WKH FDQGLGDWHV ZKR ZHUH
  ILQDQFLDOO\ VXSSRUWHG E\ WKH (QWHUSULVH DQG ZRQ LQ WKH  JHQHUDO HOHFWLRQ YRWHG WR PDNH
  +RXVHKROGHU LQVWHDG RI 5HSUHVHQWDWLYH  6SHDNHU :LWK WKHLU YRWHV +RXVHKROGHU VHFXUHG WKH



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      2:20-cv-03785-ALM-KAJDoc
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  6SHDNHUVKLS LQ  $QG DV GHVFULEHG LQ WKH QH[W VHFWLRQ WZR RI WKH 7HDP +RXVHKROGHU
  FDQGLGDWHV FDUULHG WKH &RPSDQ\ $ OHJLVODWLYH EDLORXW IRU KLP


       ,,    7KH %DLORXW (QWHUSULVH 3DVVHV /HJLVODWLRQ IRU &RPSDQ\ $


           +DYLQJ VHFXUHG +RXVHKROGHU¶V SRZHU DV 6SHDNHU WKH (QWHUSULVH WUDQVLWLRQHG
  TXLFNO\ WR IXOILOOLQJ LWV HQG RI WKH FRUUXSW EDUJDLQ ZLWK &RPSDQ\ $²SDVVLQJ QXFOHDU EDLORXW
  OHJLVODWLRQ ,Q IDFW RQ -DQXDU\   WKH GD\ KH ZDV HOHFWHG 6SHDNHU +RXVHKROGHU SOHGJHG WR
  FUHDWH D VWDQGLQJ VXEFRPPLWWHH RQ HQHUJ\ JHQHUDWLRQ +RXVHKROGHU WKHQ IROORZHG WKURXJK
  VKRUWO\ DIWHU KLV HOHFWLRQ DV 6SHDNHU E\ SDVVLQJ WKH +%  OHJLVODWLRQ DQG GHIHQGLQJ WKH ELOO DJDLQVW
  WKH EDOORW LQLWLDWLYH FKDOOHQJH

            7KH (QWHUSULVH¶V HIIRUWV WR SDVV WKH OHJLVODWLRQ DQG SUHVHUYH LW DJDLQVW WKH %DOORW
  &DPSDLJQ FKDOOHQJH ZHUH IXQGHG HQWLUHO\ E\ &RPSDQ\ $ WKURXJK SD\PHQWV WR *HQHUDWLRQ 1RZ
  :KLOH +%  ZDV SHQGLQJ LQ WKH +RXVH &RPSDQ\ $ ZLUHG *HQHUDWLRQ 1RZ  :KHQ
  WKH ELOO ZDV SHQGLQJ LQ WKH 6HQDWH &RPSDQ\ $ ZLUHG *HQHUDWLRQ 1RZ  $QG WR IXQG
  LWV HIIRUWV WR GHIHDW WKH %DOORW &DPSDLJQ &RPSDQ\ $ ZLUHG DQ DGGLWLRQDO  WR
  *HQHUDWLRQ 1RZ 7KH YROXPH DQG IUHTXHQF\ RI WKHVH SD\PHQWV SURYLGH IXUWKHU HYLGHQFH RI WKH
  (QWHUSULVH¶V FRUUXSW DUUDQJHPHQW ZLWK &RPSDQ\ $ 7KHVH IDFWV LQFOXGLQJ WKH (QWHUSULVH¶V
  SDVVDJH RI +%  LWV HIIRUWV WR GHIHDW WKH VXEVHTXHQW %DOORW &DPSDLJQ DQG &RPSDQ\ $¶V
  LQYROYHPHQW DQG FRRUGLQDWLRQ IXQGLQJ WKHVH HIIRUWV DUH VHW IRUWK IXOO\ EHORZ


       $ +RXVH %LOO 

            &RQVLVWHQW ZLWK WKHLU DJUHHPHQW WKH (QWHUSULVH LPSOHPHQWHG D VWUDWHJ\ WR SDVV D
  OHJLVODWLYH IL[ IRU &RPSDQ\ $ VKRUWO\ DIWHU +RXVHKROGHU ZDV VHOHFWHG 6SHDNHU 7KH VWUDWHJ\
  LQYROYHG UDPPLQJ D VZHHSLQJ SLHFH RI OHJLVODWLRQ²+% ²WKURXJK WKH +RXVH DQG SXVKLQJ WKH
  6HQDWH WR DJUHH )LUVW +RXVHKROGHU SLFNHG IUHVKPDQ UHSUHVHQWDWLYHV ZKLFK +RXVHKROGHU KHOSHG
  HOHFW E\ XVLQJ &RPSDQ\ $WR*HQHUDWLRQ1RZ GROODUV IRU WKHLU EHQHILW LQ WKH  HOHFWLRQ WR
  VSRQVRU WKH ELOO WKDW KH KHOSHG GUDIW 6HFRQG +RXVHKROGHU FUHDWHG D QHZ VXEFRPPLWWHH WR KHDU
  WKH ELOO ZKLFK ZDV FRPSULVHG PRVWO\ RI +RXVHKROGHU VXSSRUWHUV 7KLUG WKH (QWHUSULVH HQJDJHG
  LQ DQ H[SHQVLYH PHGLD EOLW] IXQGHG E\ &RPSDQ\ $WR*HQHUDWLRQ1RZ SD\PHQWV WR SUHVVXUH
  SXEOLF RIILFLDOV WR VXSSRUW WKH ELOO )RXUWK +RXVHKROGHU VWURQJDUPHG +RXVH PHPEHUV
  SDUWLFXODUO\ RSSRQHQWV RI WKH ELOO )LQDOO\ +RXVHKROGHU DQG WKH (QWHUSULVH SUHVVXUHG 6HQDWRUV WR
  SDVV WKH OHJLVODWLRQ 7KH H[SHGLHQF\ DQG IXQGLQJ RI WKLV OHJLVODWLYH HIIRUW DQG WKH WDFWLFV XVHG E\
  WKH (QWHUSULVH²DORQJ ZLWK WLPHO\ FRPPXQLFDWLRQV EHWZHHQ (QWHUSULVH PHPEHUV DQG DJHQWV RI
  &RPSDQ\ $²DUH IXUWKHU HYLGHQFH RI WKH DJUHHPHQW EHWZHHQ +RXVHKROGHU DQG &RPSDQ\ $

          7KLV LV SUHFLVHO\ ZKDW (QWHUSULVHPHPEHUDQG&RPSDQ\ $OREE\LVW -XDQ &HVSHGHV
  SODQQHG ,Q D :RUG GRFXPHQW DJHQWV UHFRYHUHG IURP &HVSHGHV WLWOHG ³2KLR /HJLVODWRU
  %DFNJURXQG´ DQG DXWKRUHG 0D\   &HVSHGHV UHIHUHQFHG +RXVHKROGHU DV D ³current

  
    KWWSVZZZGD\WRQGDLO\QHZVFRPQHZVVWDWHUHJLRQDOJRYWSROLWLFVODUU\KRXVHKROGHUHOHFWHGQHZRKLRKRXVH
  VSHDNHUDOW.['$PM7+7GYU':.

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  candidate for Ohio Speaker´ DQG QRWHG WKDW ³he is willing to work on energy legislation.
  Traditionally close to Company A´ ,Q DQRWKHU GRFXPHQW WLWOHG ³2KLR )XQGUDLVLQJ 6XJJHVWLRQV´
  DQG FUHDWHG RQ 6HSWHPEHU   &HVSHGHV VXJJHVWHG WKDW &RPSDQ\ $ VKRXOG FRQWLQXH WR VXSSRUW
  WKH ³/DUU\ +RXVHKROGHU &DXFXV´ ILQDQFLDOO\ EHFDXVH ³Householder has a history of favorably
  rewarding those who provide both early and late money into his efforts´ &HVSHGHV PHQWLRQHG LQ
  WKH GRFXPHQW WKDW &RPSDQ\ $¶V &(2 KDG D FRQYHUVDWLRQ ZLWK +RXVHKROGHU ³where [CEO]
  suggested that we would/should independently support him as Company A-1´ &HVSHGHV DOVR ODLG
  RXW &RPSDQ\ $¶V DVSLUDWLRQV IRU WKH EDLORXW OHJLVODWLRQ LQ D GRFXPHQW WLWOHG ³>&RPSDQ\ $@ 2KLR
  VW 'UDIW 7LPHOLQH´ DQG DXWKRUHG E\ &HVSHGHV RQ 1RYHPEHU   ,Q WKLV GRFXPHQW &HVSHGHV
  ZURWH WKDW DOWKRXJK WKH QH[W 6SHDNHU UHPDLQV XQFOHDU WKHUH VKRXOG EH ³6SHDNHU¶V UDFH FODULW\ PLG
  'HFHPEHU´  DQG ³[i]f Householder is successful the effort will likely be led from his
  Chamber´ ZLWK ³potential legislative introduction´ IRU >&RPSDQ\ $@ LQ HDUO\ 


                 L   +RXVH %LOO  %DFNJURXQG


           2Q $SULO   URXJKO\ WKUHH PRQWKV DIWHU +RXVHKROGHU EHFDPH 6SHDNHU +% 
  ZDV LQWURGXFHG $OWKRXJK WLWOHG ³2KLR &OHDQ $LU 3URJUDP´ WKH LQYHVWLJDWLRQ VKRZV WKDW +% 
  HVVHQWLDOO\ ZDV FUHDWHG WR SUHYHQW WKH VKXWGRZQ RI &RPSDQ\ $¶V QXFOHDU SODQWV +%  FUHDWHV WKH
  2KLR &OHDQ $LU 3URJUDP ZKLFK DOORZV QXFOHDU RU VRODU FOHDQ DLU UHVRXUFHV WR DSSO\ WR EH FHUWLILHG
  FOHDQ DLU UHVRXUFHV DQG WKHUHIRUH HOLJLEOH IRU D VXEVLG\ RI  SHU PHJDZDWW KRXU SURGXFHG ,Q
  RUGHU WR SD\ IRU WKH VXEVLG\ WKH 2KLR $LU 4XDOLW\ 'HYHORSPHQW $XWKRULW\ ZKLFK LV WDVNHG ZLWK
  DGPLQLVWHULQJ WKH 2KLR &OHDQ $LU 3URJUDP ZLOO LQVWLWXWH DQG FROOHFW D PRQWKO\ IL[HG FKDUJH WR DOO
  UHVLGHQWLDO FRPPHUFLDO LQGXVWULDO DQG ODUJH FRQVXPHUV 7KH IL[HG IHH LV SURMHFWHG WR SURGXFH
   PLOOLRQ DQQXDOO\ IRU WKH ILUVW \HDU WKHQ  PLOOLRQ DQQXDOO\ WKHUHDIWHU

           2KLR FXUUHQWO\ KDV VL[ VRODU IDFLOLWLHV RYHU  PHJDZDWWV RI QDPHSODWH FDSDFLW\
  ZKLFK VHUYHV DV WKH PLQLPXP WKUHVKROG QHFHVVDU\ WR DSSO\ WR UHFHLYH WKH VXEVLG\ 7KH\ SURGXFH
  D FRPELQHG  PHJDZDWWV RI SRZHU )RU FRPSDULVRQ WKH &RPSDQ\ $ QXFOHDU SODQWV SURGXFHG
  D FRPELQHG  PHJDZDWWV LQ  *LYHQ WKH SRZHU SURGXFHG &RPSDQ\ $ ZRXOG
  FROOHFW DSSUR[LPDWHO\  RI WKH VXEVLG\ ZKLFK WRWDO PRUH WKDQ  PLOOLRQ DQQXDOO\
  1HZVSDSHU UHSRUWLQJ WKURXJKRXW WKH VWDWH FKDUDFWHUL]HG +%  DV D ³EDLORXW´ IRU WKH EHQHILW RI
  &RPSDQ\ $ VSHFLILFDOO\ &ODUN DOVR FKDUDFWHUL]HG +%  DV D EDLORXW IRU &RPSDQ\ $

          8QGHU +%  WKH VXEVLG\ ZLOO EH GLVSHUVHG DW WKH GLUHFWLRQ RI WKH 2KLR $LU 4XDOLW\
  'HYHORSPHQW $XWKRULW\ $V SDVVHG +%  ZLOO DGG VL[ QHZ PHPEHUV WR WKH 2KLR $LU 4XDOLW\
  'HYHORSPHQW $XWKRULW\ LQFUHDVLQJ WKH WRWDO IURP VHYHQ WR WKLUWHHQ 3XUVXDQW WR +%  WKUHH RI
  WKRVH QHZ DSSRLQWHHV ZLOO EH VHOHFWHG E\ WKH 6SHDNHU RI WKH +RXVH




  
    See KWWSVZZZFLQFLQQDWLFRPVWRU\QHZVSROLWLFVRKLRKRXVHSDVVHVQXFOHDUSODQWEDLORXW
   KWWSVZZZWROHGREODGHFRPORFDOHQYLURQPHQW3URWHVWHUVRSSRVH+RXVH%LOO
  VWRULHV

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Case:2:20-cv-04287-ALM-KAJ
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                   LL   +RXVHKROGHU ³&UDIWV´ +%  DQG &UHDWHV 6XEFRPPLWWHH IRU +% 


          )UHVKPDQ UHSUHVHQWDWLYHV 5HSUHVHQWDWLYHV  DQG  ZKR ZHUH HOHFWHG LQ 1RYHPEHU
   VSRQVRUHG +%  %RWK ZHUH ³+RXVHKROGHU´ FDQGLGDWHV DQG *HQHUDWLRQ 1RZ VSHQW PRQH\
  VXSSRUWLQJ ERWK E\ SD\LQJ IRU DGYHUWLVLQJ FDPSDLJQ VWUDWHJ\ DQG VWDIILQJ $OWKRXJK
  +RXVHKROGHU ZDV QRW D OLVWHG VSRQVRU RI WKH OHJLVODWLRQ RQ WKH GD\ RI WKH LQWURGXFWLRQ KH SXEOLFDOO\
  VXSSRUWHG WKH OHJLVODWLRQ DQG JDYH D SUHVV FRQIHUHQFH WR H[SODLQ KRZ LW ZRXOG DIIHFW 2KLR 'XULQJ
  WKH UHFRUGHG SUHVV FRQIHUHQFH +RXVHKROGHU FKDUDFWHUL]HG +%  DV ³the mysterious energy bill
  we’ve been working on for quite a while in the House of Representatives´

           +RXVHKROGHU IXUWKHU DGPLWWHG GXULQJ WKH $SULO   SUHVV FRQIHUHQFH WKDW KH
  ³crafted´ WKH OHJLVODWLRQ ZLWK WKH IUHVKPDQ UHSUHVHQWDWLYHV 6SHFLILFDOO\ ZKHQ +RXVHKROGHU ZDV
  DVNHG ZKHUH WKH DPRXQW RI WKH VXEVLG\ FDPH IURP +RXVHKROGHU UHVSRQGHG ³it’s based on our
  brains. For me, I look back, for two years I’ve had this in my head, and I’ve had various versions
  on that white board over the last several months. And as I talked with [the freshman
  representatives], we were able to define it even closer´ $V GHVFULEHG DERYH +RXVHKROGHU UHFHLYHG
  KLV ILUVW  SD\PHQW IURP &RPSDQ\ $ LQ 0DUFK  URXJKO\ WZR \HDUV SULRU WR
  LQWURGXFWLRQ RI WKH ELOO

          +%  ZDV UHIHUUHG WR WKH +RXVH (QHUJ\ DQG 1DWXUDO 5HVRXUFHV &RPPLWWHH DIWHU
  LQWURGXFWLRQ %XW GXULQJ WKH &RPPLWWHH¶V ILUVW PHHWLQJ +%  ZDV WKHQ UHIHUUHG WR D QHZO\ FUHDWHG
  VXEFRPPLWWHH WKH +RXVH (QHUJ\ DQG 1DWXUDO 5HVRXUFHV 6XEFRPPLWWHH RQ (QHUJ\ *HQHUDWLRQ WKH
  ³(QHUJ\ *HQHUDWLRQ 6XEFRPPLWWHH´  +RXVHKROGHU SXEOLFDOO\ DQQRXQFHG WKDW KH ZRXOG IRUP D
  VXEFRPPLWWHH RQ HQHUJ\ JHQHUDWLRQ RQ )HEUXDU\   LQ FRQMXQFWLRQ ZLWK D SUHVV UHOHDVH DERXW
  +RXVH UXOHV IRU WKH UG *HQHUDO $VVHPEO\ 7ZR GD\V ODWHU +RXVHKROGHU IRUPDOL]HG WKH (QHUJ\
  *HQHUDWLRQ 6XEFRPPLWWHH LQ D SUHVV UHOHDVH DQQRXQFLQJ WKH FRPPLWWHH DVVLJQPHQWV RI +RXVH
  PHPEHUV 6LQFH LWV LQFHSWLRQ WKH VXEFRPPLWWHH RQO\ KDV EHHQ DVVLJQHG RQH ELOO²+%  $W WKH
  $SULO   SUHVV FRQIHUHQFH +RXVHKROGHU DGPLWWHG WKDW +%  ³is why that Subcommittee was
  created´

           (LJKW +RXVH PHPEHUV ZHUH DVVLJQHG WR WKH (QHUJ\ *HQHUDWLRQ 6XEFRPPLWWHH 6L[
  RI WKH HLJKW PHPEHUV KDG YRWHG IRU +RXVHKROGHU IRU 6SHDNHU 7KH WZR PHPEHUV ZKR GLG QRW
  UHFRUG YRWHV IRU +RXVHKROGHU VLJQHG RQ WR EH FRVSRQVRUV RI +%  ,Q WKH HQG DOO EXW WZR PHPEHUV
  RI WKH VXEFRPPLWWHH YRWHG WR SDVV +% 

           7KH VXEFRPPLWWHH KHOG IRXU PHHWLQJV RQ WKH OHJLVODWLRQ EHIRUH UHIHUULQJ WKH ELOO
  EDFN WR WKH IXOO +RXVH (QHUJ\ DQG 1DWXUDO 5HVRXUFHV &RPPLWWHH RQ 0D\   ZLWK D
  VXEVWLWXWLRQ +%  WKHQ KDG PXOWLSOH FRPPLWWHH PHHWLQJV ZLWKLQ WKH +RXVH (QHUJ\ DQG 1DWXUDO
  5HVRXUFHV &RPPLWWHH DQG ZDV DPHQGHG IXUWKHU EHIRUH EHLQJ UHIHUUHG EDFN WR WKH +RXVH IORRU OHVV
  WKDQ D PRQWK ODWHU RQ RU DERXW 0D\  

           $IWHU +%  ZDV UHIHUUHG IURP FRPPLWWHH RQ 0D\   LW ZDV VXEVHTXHQWO\
  UHIHUUHG WR DQRWKHU FRPPLWWHH IRU D VXEVWLWXWLRQ²WKH 5XOHV DQG 5HIHUHQFH &RPPLWWHH ZKLFK LV
  UXQ E\ +RXVHKROGHU *HQHUDOO\ HYHU\ ELOO JRLQJ IURP D VXEVWDQWLYH FRPPLWWHH WR D IORRU YRWH

  
       5HSUHVHQWDWLYH  DOVR UHFHLYHG  LQ GLUHFW FRQWULEXWLRQV WR KLV FDPSDLJQ DFFRXQW IURP &RPSDQ\ $

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Case:2:20-cv-04287-ALM-KAJ
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  SDVVHV WKURXJK WKH +RXVH 5XOHV DQG 5HIHUHQFH &RPPLWWHH WR UHFHLYH D GDWH IRU D IORRU YRWH
  +RZHYHU LW LV XQXVXDO IRU D ELOO WR EH DPHQGHG GXULQJ VXFK SDVVDJH %DVHG XSRQ P\ WUDLQLQJ DQG
  H[SHULHQFH RQFH D ELOO KDV EHHQ YHWWHG E\ FRPPLWWHH DQG UHFRPPHQGHG IRU SDVVDJH LW LV
  XQFRPPRQ IRU LW EH DPHQGHG LQ DQRWKHU FRPPLWWHH )RU FRQWH[W WKH +RXVH (QHUJ\ DQG 1DWXUDO
  5HVRXUFHV &RPPLWWHH DQG (QHUJ\ *HQHUDWLRQ 6XEFRPPLWWHH KHOG WHQ FRPPLWWHH PHHWLQJV DQG
  KHDUG WHVWLPRQ\ IURP GR]HQV RI VWDNHKROGHU JURXSV EHIRUH DPHQGLQJ WKH OHJLVODWLRQ D SURFHVV
  ODVWLQJ MXVW XQGHU VL[W\ GD\V %XW RQ 0D\   +%  ZDV UHIHUUHG WR WKH 5XOHV DQG 5HIHUHQFH
  FRPPLWWHH DQG ZDV DPHQGHG WKURXJK WKH LQWURGXFWLRQ RI D VXEVWLWXWH ELOO

            $PRQJ RWKHU WKLQJV WKH VXEVWLWXWH ELOO DGGHG D SURYLVLRQ SHUPLWWLQJ DQ HOHFWULF
  FRPSDQ\ ZLWK WD[DEOH SURSHUW\ WKDW LV IXHOHG E\ QXFOHDU SRZHU D FRPSDQ\ VXFK DV &RPSDQ\ $
  WR ILOH D SHWLWLRQ IRU D UHGXFWLRQ LQ WD[DEOH SURSHUW\ YDOXH 7KLV SURYLVLRQ ZDV DQ DGGHG EHQHILW WR
  &RPSDQ\ $ &RUS

            $IWHU LWV ILQDO VHW RI VXEVWLWXWLRQV +%  UHWXUQHG WR WKH +RXVH IORRU²WKH VDPH GD\
  WKDW +%  ZDV DPHQGHG E\ WKH 5XOHV DQG 5HIHUHQFH +RXVH &RPPLWWHH FKDLUHG E\ +RXVHKROGHU²
  ZKHUH LW ZDV VFKHGXOHG WR EH YRWHG RXW RQ 0D\   :KHQ D YRWH ZDV FDOOHG WKH +RXVH
  HOHFWHG WR LQIRUPDOO\ SDVV ZKLFK EDVHG RQ P\ WUDLQLQJ DQG H[SHULHQFH , NQRZ LV D SURFHGXUH XVHG
  E\ 6SHDNHUV WR UHVFKHGXOH OHJLVODWLRQ WKDW ZRXOG KDYH IDLOHG WR SDVV LI D YRWH ZHUH WDNHQ DW WKH WLPH
  RI UROO FDOO :KHQ DQ LQIRUPDO SDVV LV WDNHQ IXUWKHU QHJRWLDWLRQV DQG FRPSURPLVHV DUH QHFHVVDU\
  IRU WKH 6SHDNHU WR DFTXLUH WKH QHFHVVDU\ YRWHV IRU WKH ELOO WR SDVV $IWHU WKH LQIRUPDO SDVV ZDV
  WDNHQ WKH +RXVH VWRRG DW UHFHVV %DVHG RQ P\ WUDLQLQJ DQG H[SHULHQFH WKLV VKRZV WKDW
  +RXVHKROGHU GLG QRW KDYH VXSSRUW IRU SDVVDJH RI WKH ELOO LQ WKH +RXVH DW WKDW WLPH

           7KH 6SHDNHU JDLQHG VXSSRUW IRU SDVVDJH ODWHU WKDW GD\ OLNHO\ WKURXJK WKH SUHVVXUH
  WDFWLFV GHVFULEHG EHORZ 8SRQ UHWXUQLQJ IURP WKH DIRUHPHQWLRQHG SDVV +%  ZDV DPHQGHG IRXU
  DGGLWLRQDO WLPHV $IWHU WKRVH DPHQGPHQWV +%  ZDV FDOOHG WR YRWH E\ WKH 6SHDNHU DQG SDVVHG 
  
               LLL *HQHUDWLRQ 1RZ 0HGLD %OLW] WR 3URYLGH ³&RYHU´


            7KH XQFHUWDLQ SDWK WR SDVVDJH LV VLJQLILFDQW 7R PHPEHUV RI WKH (QWHUSULVH WKHUH
  ZDV D UHDO SRVVLELOLW\ XS XQWLO WKH ILQDO YRWH WKDW +%  ZRXOG QRW SDVV 7KH LQYHVWLJDWLRQ VKRZV
  WKDW GXULQJ WKLV WLPH WKH (QWHUSULVH FUHDWHG D PHGLD FDPSDLJQ FRVWLQJ DSSUR[LPDWHO\  PLOOLRQ
  GROODUV

           7KH (QWHSULVH¶V PHGLD FDPSDLJQ GHPRQVWUDWHV WKH VLJQLILFDQFH RI +%  WR WKH
  (QWHUSULVH DQG WKXV SURYLGHV IXUWKHU HYLGHQFH RI WKH FRUUXSW DUUDQJHPHQW ZLWK &RPSDQ\ $
  'RFXPHQWV SRVVHVVHG E\ /RQJVWUHWK VKRZ WKDW WKH (QWHUSULVH KDG EXGJHWHG IRU DQ ZHHN
  FDPSDLJQ ZKHUH WKH ³RYHUDOO EXGJHW ZRXOG EH P IRU D IXOO EXUQ´ 7KH PHGLD FDPSDLJQ ZDV
  GHVLJQHG WR SUHVVXUH OHJLVODWRUV WR YRWH IRU +%  E\ WDUJHWLQJ WKHLU FRQVWLWXHQWV 7KH PHGLD
  FDPSDLJQ XUJHG 2KLRDQV WR FRQWDFW WKHLU UHSUHVHQWDWLYHV WR VDYH MREV LQ 2KLR DQG SURWHFW WKHLU
  FRPPXQLWLHV IURP ³ELJ RLO´ 7KH FDPSDLJQ SURYLGHG FRYHU IRU WKRVH UHSUHVHQWDWLYHV ZKR ZHUH
  YRWLQJ IRU +%  DQG DSSOLHG FRQVWLWXHQW SUHVVXUH WR XQVXSSRUWLYH +RXVH PHPEHUV DQG WKRVH ZKR
  ZHUH XQGHFLGHG



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Case:2:20-cv-04287-ALM-KAJ
      2:20-cv-03785-ALM-KAJDoc
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        125. Bank records and text messages between Longstreth and Cespedes show that
  Company A funded the entire campaign. For just the House portion of the media blitz, Company
  A wired approximately $9.5 million into the main Generation Now account between April and
  May 2019:

         April 30, 2019       $1,500,000    wue     Company A Service Co
         May 7, 2019          $1,500,000    wue     Company A Service Co
         May 15, 2019         $2,500,000    wue     Company A Service Co
         May 22, 2019         $2,500,000    wue     Company A Service Co
         May 29, 2019         $1,500,000    wue     Company A Service Co
         Total:               $9,500,000



          126. Text messages recovered from Longstreth show communications with Cespedes
  about the $15 million budget:




          127. The money from Company funded a media blitz- television ads, radio ads, mailers,
  and digital media- with all of the Company A money rnnning through the Enterprise, which got
  paid for the work.


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Case:
Case:2:20-cv-04287-ALM-KAJ
      2:20-cv-03785-ALM-KAJDoc
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           %DVHG RQ P\ WUDLQLQJ DQG H[SHULHQFH WKH IDFW WKDW *HQHUDWLRQ 1RZ WKH 6SHDNHU¶V
   F  HQWLW\ FRQGXFWHG WKH PHGLD FDPSDLJQ LV VLJQLILFDQW )LUVW LW LV IXUWKHU HYLGHQFH RI WKH
  FRUUXSW UHODWLRQVKLS ZLWK &RPSDQ\ $²WKH (QWHUSULVH OLNHO\ ZRXOG QRW EH VSHQGLQJ PLOOLRQV RI
  GROODUV IURP &RPSDQ\ $ WKDW ZDV SDVVHG WKURXJK D  F  DFFRXQW IRU WKH EHQHILW RI &RPSDQ\
  $¶V PDLQ OHJLVODWLYH SULRULW\ DEVHQW DQ DJUHHPHQW ZLWK &RPSDQ\ $ 6HFRQG LW DOORZHG WKH
  (QWHUSULVH WR FRQWURO WKH PHVVDJLQJ LQ D ZD\ WKDW ZRXOG EHQHILW WKH (QWHUSULVH DQG SURYLGHG WKH
  DXWRQRP\ WR VSHQG WKH PRQH\ KRZ LW GHHPHG DSSURSULDWH 7KLUG EDVHG RQ P\ WUDLQLQJ DQG
  H[SHULHQFH LW VROLGLILHG +RXVHKROGHU¶V SROLWLFDO SRZHU E\ VKRZLQJ PHPEHUV WKH VWUHQJWK DQG UHDFK
  RI KLV SROLWLFDO RSHUDWLRQ )LQDOO\ WKH PHPEHUV RI WKH (QWHUSULVH ILQDQFLDOO\ EHQHILWHG IURP WKLV
  DUUDQJHPHQW

           7KH PHVVDJLQJ RI WKH PHGLD FDPSDLJQ IRFXVHG RQ WKH ORVV RI MREV LI +%  GLG QRW
  SDVV DQG XUJHG FRQVWLWXHQWV WR FRQWDFW WKHLU UHSUHVHQWDWLYHV WR VXSSRUW +%  7KH PHGLD FDPSDLJQ
  DOVR FODLPHG WKDW QRW SDVVLQJ +%  ZRXOG DOORZ ³ELJ RLO´ WR KDUP FRQVWLWXHQWV¶ FRPPXQLWLHV ,Q
  WKH VHDUFK ZDUUDQW UHWXUQ IURP /RQJVWUHWK¶V SRVVHVVLRQ WKH )%, UHFRYHUHG D GUDIW VFULSW IRU D
  *HQHUDWLRQ 1RZ +%  FRPPHUFLDO WR UXQ LQ WKH GLVWULFWV RI WZR UHSUHVHQWDWLYHV IURP WKH &LQFLQQDWL
  DUHD KLJKOLJKWV LQ RULJLQDO 


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        Female Vofceovor.
        We can 91Ve our chKdren a srrong economy and a dean erw1ronmefll

        The future is 1n our hands

          fair and re,.ponstie enerov reform for 1odav and tomorrow

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        By modernizing our environment.al goals we eneot1rage the grow1h of Ohio.- made energ')!
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        Aod by investing at home, not ,n other state.4, we will create ne-W JObs and a belier c-conomy
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        Pald fot by Gf!.n«ation Now, Inc..




          7KH GUDIW WUDQVFULSW ZDV ZULWWHQ RQ WKH OHWWHUKHDG RI 3ROLWLFDO $GYHUWLVLQJ $JHQF\
   ZKLFK LV FRQVLVWHQW ZLWK SXEOLFO\ ILOHG )&& GRFXPHQWV VKRZLQJ WHOHYLVLRQ DG WLPH SXUFKDVHG

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Case:
Case:2:20-cv-04287-ALM-KAJ
      2:20-cv-03785-ALM-KAJDoc
                           Doc#:
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                                       Filed:10/30/24
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  by the Political Adve1tising Agency or its sister company, Media Placement Company 1 during
  this timeframe. For example, Media Placement Company I purchased $63,105 of aiitime on
  Generation Now's behalf, from WK.RC Channel 12 in Cincinnati, beginning on May 24, 2019.
  WK.RC airs in the representatives' districts. The content shows Householder and the Ente1prise
  influencing public officials through the ad buys.

          131. The media campaign was successful and provided "cover" for Householder
  suppo1ters to vote in favor of a bailout they othe1wise may not support. In fact, Representative 3,
  a freshman sponsor of the bill, texted Longstreth after the vote and celebration about "the cover":




        Source txtrac6o1r
        Legacy (&)



                                     +161437£!1 !07 ,Id! I nngstreth
                                    ll was great fun Inge, lhi!! team togethu and ceil!!brate a victnryl It's super important to
                                    havl!! this win on a big issue for the Freshrrien so early in mosi of thi!!ir careers II will gl'lle
                                    them confidence to cfo brg things in the future: Everyonl!! went up to SLH and said, "whaf,i
                                    nextl'

                                    Can't tell you haw much we all apprecrete your hard work and leadership. I Knew how much
                                    time and effort you put in . Couldn t have done. it without you!

                                    Stat111; S !!!!!il l

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         132. Likewise, Householder himself acknowledged the importance of "protecting" the
  representatives who had voted in favor of HB 6. A little more than two weeks following HB 6's
  passage from the House, Householder texted Longstreth to inquire as to whether ''we" were
  running positive adve1tisements for Representative 5, who had voted "yes":




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         133. The exchange about the representative is pa1ticularly interesting given that
  Representative 5 voted against Householder for Speaker, but supported HB 6. Thus,
  Householder's message appears to convey a newfound allegiance for a representative who voted
  for HB 6, thus showing HB 6's significance to Householder. The exchange also showed
  Householder' s direct involvement in the Enterprise's messaging and media campaign and
  Householder's understanding that public officials know that Householder is behind Generation
  Now messaging.

          134. The media campaign was effective in using constituents to pressme the targeted
  representative. For example, even mailers that unexpectedly an·ived after the vote prompted
  constituents of "no" voters to call and complain. For example, Representative 6, angrily contacted
  Longstreth about a mailer that an-ived in his district after the vote, urging Representative 6 to have
  the "courage" to save jobs and vote for HB 6.




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         135. The text exchange also shows that Representative 6 knew exactly who to contact
  about the Generation Now ads. The same day, after receiving Representative 6's angiy texts,

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  Longstreth texted Householder to warn him about what had happened in Representative 6's
  district.




  This further shows Householder' s involvement in using Generation Now money for mailers
  targeting public. officials to support HB 6.

              iv. Householder Attempts to Gain Votes for Bailout

          136. The investigation provides probable cause to believe that Householder and the
  Enterprise attempted to influence and provide advice to legislators in an eff01t to pass HB 6 after
  receiving millions of dollars from Company A.

          137. Representative 7 was one such legislator who was contacted directly by
  Householder to gain suppo1t for HB 6. On or about Tuesday, May 28, 2019- the same day that
  HB 6 was sent to the Rules and Reference House Committee chaired by Householder-I
  interviewed Representative 7, a cunent member of the Ohio House of Representatives.
  Representative 7 advised that HB 6 had been handled unlike any legislation that Representative 7
  had seen before. Representative 7 advised that Householder had been attempting to secure yes
  votes for HB 6 for several weeks. According to Representative 7, despite his eff01ts, Householder
  did not have enough votes to pass HB 6. Representative 7 was aware of fomteen Republican
  Caucus members who had committed to be no votes and was aware of only two Democratic
  members who would vote yes. Representative 7 felt the bill would not pass unless something
  drastic changed.

           138. Representative 7 also explained that he was in frequent contact with Clark, at the
  direction of Householder. Representative 7 explained that Clark is a close advisor of Householder,
  and was working with Representative 7 extensively on a piece of legislation unrelated to HB 6.
  Representative 7 felt it was unusual and odd that Clark was assigned by Householder to work with
  a member on legislation, instead of House policy staff, but complied with Householder's request.
  Clark and Representative 7 had daily contact, and Representative 7 felt that they had become
  friends.

           139. On the day before the meeting with Representative 7, Clark had spoken with
  Representative 7. According to Representative 7, Clark warned him not to vote against HB 6.
  Clark told Representative 7 that people who vote against Householder lose a lot, including
  committee chairmanships, caucus financial aid, and that their legislation may not continue to
  legislatively progress. Representative 7 relayed that he was unsure if the inf01m ation from Clark

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    (8
                           Larry
     -          1really need you to vote
         yes on HB 6, it means a lot to
         me. Can I count on you ?


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  UHLWHUDWLQJ 5HSUHVHQWDWLYH ¶V FRQWUDU\ SRVLWLRQ +RXVHKROGHU LPPHGLDWHO\ UHVSRQGHG ³I just want
  you to remember – when I needed you – you weren’t there. twice.´ 7KHVH PHVVDJHV VKRZ WKDW
  +RXVHKROGHU ZDV DWWHPSWLQJ WR JDLQ OHJLVODWLYH VXSSRUW YRWH IRU +% 

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  )%, DJHQWV GXULQJ WKH LQWHUYLHZ ,Q DGGLWLRQ 5HSUHVHQWDWLYH  SURYLGHG D VFUHHQ VKRW RI WKH VWRUHG
  FRQWDFW LQIRUPDWLRQ IRU WKH VHQGHU RI WKH WH[W PHVVDJHV +RXVHKROGHU 7KDW FRQWDFW LQIRUPDWLRQ
  FRQWDLQV +RXVHKROGHU¶V QDPH DQG SKRQH QXPEHU

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   'XULQJ WKH FDOO &ODUN ILUVW FRQILUPHG WKDW WKH ³FOHDQ DLU ELOO´ ZDV UHDOO\ ³D QXFOHDU SODQW
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  5HSUHVHQWDWLYH  WKUHH RU IRXU WLPHV DERXW WKH YRWH DQG WKDW &ODUN WKHQ KDG WR PHHW ZLWK
  5HSUHVHQWDWLYH  DERXW WKH YRWH &ODUN UHOD\HG WKDW KH WROG 5HSUHVHQWDWLYH  WKDW +RXVHKROGHU
  ZRXOG QRW OHW 5HSUHVHQWDWLYH  FDUU\ VHSDUDWH OHJLVODWLRQ XQOHVV KH YRWHG IRU WKH HQHUJ\ ELOO &ODUN
  WKHQ VWDWHG WKDW 5HSUHVHQWDWLYH  GHFLGHG WR YRWH DJDLQVW WKH ELOO DQG +RXVHKROGHU ZDV YHU\ DQJU\

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  WKDW +RXVHKROGHU KDG WROG KLP &ODUN WKDW &ODUN ZDV JRLQJ WR KDYH WR JHW 5HSUHVHQWDWLYH ¶V YRWH
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  IXUWKHU H[SODLQHG WKDW 5HSUHVHQWDWLYH  WULHG WR FDOO +RXVHKROGHU D IHZ GD\V ODWHU DQG WULHG WR
  QHJRWLDWH ZLWK KLP +RXVHKROGHU DVNHG &ODUN ZKDW KH VKRXOG GR DQG &ODUN WROG +RXVHKROGHU WR
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  LQVWUXFWHG WR GHOHWH FHUWDLQ PHVVDJHV VHQW WR KLP E\ +RXVHKROGHU 7KLV PHVVDJH ZDV GHOLYHUHG WR
  5HSUHVHQWDWLYH  WKURXJK D WKLUG SDUW\
  ,QGLYLGXDO  ZKR FRPPXQLFDWHG D PHVVDJH IURP -HII /RQJVWUHWK 5HSUHVHQWDWLYH  WROG PH WKDW
  /RQJVWUHWK ZDV FKDUJHG ZLWK PDQDJLQJ +RXVHKROGHU¶V FDPSDLJQ RSHUDWLRQV 7KDW LQFOXGHG ERWK
  KLV LQGLYLGXDO FDPSDLJQ DQG WKH FDPSDLJQV RI DOO 5HSXEOLFDQ FDQGLGDWHV WKURXJKRXW WKH VWDWH
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  WR LQVWUXFW 5HSUHVHQWDWLYH  WR GHOHWH WKH WH[W PHVVDJHV WKDW KH UHFHLYHG DERXW +%  IURP
  +RXVHKROGHU ,I 5HSUHVHQWDWLYH  FRPSOLHG ZLWK WKLV LQVWUXFWLRQ DOO ZRXOG EH IRUJLYHQ LQ WHUPV RI
  KLV YRWH DJDLQVW +%  ,QGLYLGXDO  WKHQ UHOD\HG WKH PHVVDJH WR 5HSUHVHQWDWLYH  8SRQ UHFHLYLQJ
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  5HSUHVHQWDWLYH  UHOD\HG WKH PHVVDJH GHOLYHUHG E\ ,QGLYLGXDO 


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  ZKLFK ,QGLYLGXDO  FRQWDFWHG 5HSUHVHQWDWLYH  7KDW FDOO ODVWHG IRU QHDUO\  PLQXWHV
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  +RXVHKROGHU UHQDPHG WKH +RXVH 5HSXEOLFDQ &DPSDLJQ &RPPLWWHH +5&&  $V RXWOLQHG LQ WKLV
  DIILGDYLW +RXVHKROGHU¶V (QWHUSULVH VHOHFWV SROLWLFDO FDQGLGDWHV DQG VXSSRUWV WKHLU HOHFWLRQ HIIRUWV
  7KDW VXSSRUW FRPHV LQ D YDULHW\ RI IRUPV LQFOXGLQJ LQGLYLGXDO FDPSDLJQ FRQWULEXWLRQV PRQH\ DQG
  VWDIILQJ IURP +5&& DQG GDUN PRQH\ UHVRXUFHV SURYLGHG E\ WKH (QWHUSULVH 2YHUZKHOPLQJO\ WKH
  FDQGLGDWHV VHOHFWHG E\ WKH (QWHUSULVH DUH VXFFHVVIXO LQ WKHLU HOHFWLRQ RU UHHOHFWLRQ HIIRUWV
  7KHUHIRUH EDVHG RQ P\ WUDLQLQJ DQG H[SHULHQFH QRW FRPSO\LQJ ZLWK D FRPPDQG IURP
  +RXVHKROGHU DQG DV D UHVXOW ORVLQJ \RXU VXSSRUW RU ZRUVH KDYLQJ DQ RSSRQHQW VXSSRUWHG ZRXOG
  GHFUHDVH WKH FKDQFHV RI UHHOHFWLRQ


               Y 7KH (QWHUSULVH 3UHVVXUHV 6HQDWRUV WR 3DVV +% 

           +%  SDVVHG WKH +RXVH RQ 0D\   ,Q UHIHUHQFH WR +%  &RPSDQ\ $
  UHOHDVHG D VWDWHPHQW RQ 0D\   ³This bill provides an effective legislative solution to keep
  [Company A-1’s] nuclear power plants open for many years to come, while preserving 4,300
  highly-skilled jobs and an important revenue source´ 7KH VWDWHPHQW ZHQW RQ ³Until the Senate
  vote, [Company A-1] will continue to engage in a constructive dialogue with legislators about the
  need to protect 90% of the state's zero-emissions electricity and provide the majority of Ohioans
  considerable savings on their electricity bills´



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         150. Tue day after Company A-1 's press release, HB 6 was introduced to the Ohio
  Senate. Although HB 6 passing the House helped the Enterprise maintain its agreement with
  Company A, it did not fulfill the agreement. Rather, the Enterprise needed to ensure HB 6 passed
  the Senate and was signed into law.

         151. Sho1tly after the bill was introduced in the Senate, the Enterprise began pressuring
  for Senate passage. To fund the effo1t, Company A wired more than $7 million into Generation
  Now, which records show used the money, in prut, for polls, media buys, and mailers:

            June 5, 2019                          $2,000,000    wire from Company A Service Co.
            Jtme 13, 2019                         $1,361 ,899   wire from Company A Se1vice Co.
            Jtme 20, 2019                         $2,116,899    wire from Company A Se1vice Co.
            July 5, 2019                          $1,879,457    wire from Company A-1.
            Total:                                $7,358,255

         152. Text messages from Longstreth recovered during the investigation show that
  Company A had budgeted for, and was paying for the costs associated with the campaign to pass
  HB 6 through Senate.

          153. The Enterprise' s eff01ts regarding the Senate began a few days after HB 6' s House
  passage. On June 3, 2019, Longstreth pulled the "whole HB 6 team" together for a strategy
  session. This meeting appears to have been prutially prompted by Householder's response to the
  negative press the passage of HB received.


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           154. Following the above message and phone call from Householder, Longstreth texted
  Company A-I lobbyist Cespedes: "Speak.er has asked me to pull together the whole HB 6 team
  on Monday. Are you available?" Longstreth added, the "Speak.er is 011 a rampage." Cespedes
  responded, "Understood. Just let me know what I should be prepared for. I want to mak.e sure I
  have answers and do not want the speaker's rage directed at me fol." After Longstreth stated that
  Householder "was pissed'' about a newspaper article, Cespedes replied, "Aw fuck. Sony to hear
  that. I've got your back. You have been great. Let's ;ust regroup and get the rest ofthe deal done."
  Consistent with the investigation, the context of these messages indicates that the Longstreth and
  Householder's "win" is the same ('deal" referenced by Company A-lobbyist Cespedes-successful
  passage of HB 6.

         155. Based on text messages recovered during the investigation, the meeting went
  forward as planned, and Associate 1 drafted meeting minutes, which were sent to Longstreth and
  were recovered by agents. Portions of the minutes are excerpted below.




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                                       Generation Now, Inc. Meeting
                                          Monday, June 3, 2019

         I.   Recap HB 6 strategy for Hpuse
                 A. Member feedback: what worked, what didn't
                        1. What didn't work: our calls, the TV was weak (didn't mention the
                            members' names) - new strat egy needs to be t arget ed cable mentioning
                            t he names.
                        2. What didn't work: the bill repeatedly changing, which meant the message
                            repeatedly changed.
                        3. What did work: ca lls for "on the fence" mem~                       relayed
                            she was feeling t he heat from calls, talked to~                  as feeling
                            an influence by proxy).
                        4. What did work: their names. Anything that ment ioned their names, t hey
                            got lots of feedback from friends, fam ily, district people: radio, mail.




       II.    Senate st rat egy
                 A. Senator-by-Senator game plan : hyper local
                 B. Change in media/ digit al approach
                 C. Timeline
                          1. Hard stop June 30 (based off refueling for the Nukes)



       Need to dev elop a 10-day plan to ded de w hat w e're doing going forward. If w e' re not
       successful in the next 10 days, t he Nukes need to be stripped out and put into the budget. Have
       10 days to ru n t hrough a media strategy and see where we are.
       • Sub bill l ntro<luced June 10-11
       • Conference committee will begin June 15

       Run through a d irect mall piece (named), direct cable (named), direct radio (named), continue
       our broadcast strategy




         156. These meeting minutes not only outline the Senate campaign, but confmn what
  Generation Now did during the House's consideration of the bill. The investigation showed that
  the Enterprise followed the steps outlined in the notes, and that Householder remained engaged
  during the process. For example, the same day as the June 3, 2019 meeting, Householder and
  Longstreth had the following exchange:




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       What did you guys come up with today regarding HB6 ?

       Status: Read
       Read: 6/3/2019 9:51 :42 PM(UTC+0)

                                                   6/3/20199:51:41 PM(UTC+0)


     Source Extraclion:
     Legacy (5)




                                           + 16143781107 Jeff Longstreth

                                           Met with all the HB6 team from 1:30-4:30. It was good to get them all at 1 table.

                                           Standby by for several texts to follow ...

                                           Status:. Senl
                                           DetlYIKlld: 6/312019 9 52:51 PM(UTC+o)

                                                                                                               6/312019 9:52:49 PM(UTC+O)




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          You can call if you want

        Stitus: Read
        React 613/2019 9 53.13 PM(VTC+o)

                                                6/3/2019 9:53:09 PM(UTC+0)




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          7KHVH H[FKDQJHV VKRZ +RXVHKROGHU GLUHFWO\ LQYROYHG LQ WKH (QWHUSULVH¶V HIIRUWV WR
  SHUVXDGH 2KLR VHQDWRUV WR SDVV +% 

          7KH PHVVDJHV DOVR VKRZ WKDW +RXVHKROGHU ZDV FKLHI GHFLVLRQ PDNHU UHJDUGLQJ
  *HQHUDWLRQ 1RZ HYHQ SURYLGLQJ GLUHFWLRQ ZLWK UHVSHFW WR WKH *HQHUDWLRQ 1RZ DGV 2Q -XQH 
   DERXW D ZHHN DIWHU WKH +%  WHDP PHHWLQJ +RXVHKROGHU UHDFKHG RXW WR /RQJVWUHWK UHJDUGLQJ
  WKH *HQHUDWLRQ 1RZ WHOHYLVLRQ DGV HVVHQWLDOO\ WHOOLQJ /RQJVWUHWK WR FKDQJH WKHP 0RUHRYHU
  /RQJVWUHWK DFTXLHVFHG WR +RXVHKROGHU LQGLFDWLQJ WKDW KH ZRXOG FKDQJH WKHP WKH IROORZLQJ ZHHN
  WKXV GHPRQVWUDWLQJ WKDW +RXVHKROGHU KDG WKH ILQDO ZRUG DV WR *HQHUDWLRQ 1RZ PHVVDJLQJ

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                +17407077500 SLH

                When does the Gen Now TV message change ?

               Sllltuo: Read
               Read: 611.1'2019 10 14 37 AU(UTC-Hl)

                                                        6112/2019 10:M:2f> AM(UlC+O)


             sourCG EXtract>On:
             Legacy (51



                +1f~0707~00SLH

                I think it is bum~ in - we\1 burnt i.ri •

               si-M: RPai;!
               Rud: 61121201910:15:03 AM(UTC•O)
                                                       611:>12019 10:15:02 AM(UTCtO)


             Souroe Ex1raction:
             Leoacy {51



                                                                                 • 1614.~781107 ,Jeff I Ofl!J."trelh
                                                                                They are working on a draft now. Polling shows it's working.

                                                                                Slaw• Sent
                                                                                OIIIM rw t 5112/2019 10 15--70 A.M(UTC+0}

                                                                                                                               6/12/201910: 15: 19 AMi\JTC+O)




       +1 7407072500 SLH

      I agree - its funny though - in district the number one question is - just what the hell is this
      House Bill 6 ?

      St.WS: Rt>...ad
      React 6/12/2010 10:16:38 AM(U rc♦oJ
                                                                                    R/1?1?01!1 10:16:31 AM(Ul-C•O)


    Source Extraction.:
    LOC'lcy(Sl



       +17407077500 SLH

       Nobody knows what it is or what it does including the Senate

      Si.ru.: Re.id
      Road'. 6/12/2010 lU_17112 AM(U IC+OJ
                                                               &' 1mtl1810:1I:01 AM{U JC •Ol


    5-0urce~ction:
    l.el,ocy/61




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        +17407072500 SLH

       Of course.

       Status: Read
       React 6/12/2019 10:19:66 AM(UTC+o)

                                            6/12/2019 10:19:43 AM(UTC+O)


     Source Extraction:
     Legacy (5)



        + 17407072500 SLH

       I'm just sick of seeing that poor sum bitch drive that pickup truck down the road and cry
       about losing his job. Which means it's burnt in

       Status: Read
       Read: 6/12/2019 10:21:03 AM(UTC+O)

                                                                                   6.112/2019 10:20:46 AM(lJTC+O


     Source Extraction:




                                                                 +16143781107 Jeff Longstreth

                                                                 Yeah, it'll change out later this week.

                                                                Sta1us: Sent
                                                                Deliver-ad: 6/12/2019 10:21:4;JAM(UTC+0)
                                                                                                           61121201910:21:41 AM(UTC+O)



                                                              source Extraction:
                                                              I P.Oar.V(fi\

           +RXVHKROGHU¶V PHQWLRQ RI WKH ³poor sum bitch´ GULYLQJ KLV SLFNXS WUXFN DQG FU\LQJ
  DERXW ORVLQJ KLV MRE LV OLNHO\ D UHIHUHQFH WR DQ +%  DGYHUWLVHPHQW SDLG IRU E\ *HQHUDWLRQ 1RZ
  ZKLFK GHSLFWV DQ HPSOR\HH DW RQH RI &RPSDQ\ $¶V QXFOHDU SRZHU SODQWV GHVFULELQJ MRE ORVVHV LI
  WKH SODQW FORVHV ZKLOH KH GULYHV KLV SLFNXS WUXFN GRZQ D URDG 7KLV IXUWKHU VKRZV +RXVHKROGHU¶V
  LQYROYHPHQW LQ WKH *HQHUDWLRQ 1RZ PHGLD EX\V VXSSRUWLQJ WKH &RPSDQ\ $ EDLORXW

          &RQVLVWHQW ZLWK WKH VWUDWHJ\ RXWOLQHG LQ WKH -XQH  WHDP PHHWLQJ QXPHURXV
  FRPPHUFLDOV ³paid for by Generation Now´ EHJDQ DLULQJ ZKLOH +%  ZDV LQ WKH 6HQDWH XQGHU
  FRQVLGHUDWLRQ 7KHVH FRPPHUFLDOV IHDWXUHG WKH VDPH DFWRUV GHSLFWHG LQ WKH 0D\ FRPPHUFLDOV
  KRZHYHU FRQVLVWHQW ZLWK WKH -XQH UG PHHWLQJ QRWHV WKH FRPPHUFLDOV WDUJHWHG SDUWLFXODU VHQDWRUV
  DQG XUJHG YRWHUV WR FDOO WKH SDUWLFXODU VHQDWRU DQG XUJH WKHP WR VXSSRUW +%  VR WKRXVDQGV RI
  2KLRDQV ZLOO QRW ORVH WKHLU MREV )RU H[DPSOH RQH DG WDUJHWHG 6HQDWRU  7KH DG VWDWHV LQ SDUW
  ³Senator [1] can save our jobs in Ohio for Ohio . . . Senator [1], Ohio families need your help
  before June 30... ask Senator [1] to pass HB 6 before summer break . . . more jobs, lower bills, for
  Ohio´ 7KH FRPPHUFLDO HQGV ZLWK ³Paid for by Generation Now, Inc´

           $ GRFXPHQW UHFRYHUHG E\ DJHQWV IURP /RQJVWUHWK¶V SRVVHVVLRQ DSSHDUV WR EH D GUDIW
  VFULSW FRPSOHWH ZLWK UHGOLQLQJ DQG KLJKOLJKWV IRU D VHW RI FRPPHUFLDOV WDUJHWLQJ VHQDWRUV
  LQFOXGLQJ 6HQDWRU  7KH WH[W LV VLPLODU WR WKH FRPPHUFLDO GHVFULEHG DERYH 6HQDWRU  DQG WKH

                                                                       
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  other senators on the draft transcript, were the same senators identified in the June 3rd meeting
  minutes as senators to target with messaging. Direct mail pieces were recovered from Longstreth' s
  possession that targeted other senators identified in the June 3rd meeting minutes. For example,
  Senator 2 was identified as a senator to target with a message of saving jobs and money and to
  convey a sense of urgency. Messages recovered from Longstreth state that the Enterprise was
  spending $68,000 per week in Senator 2's district.

         164. Mock mailers targeting Senator 2 's district were also recovered from Longstreth' s
  possession, consistent with the messages discussed at the meeting:




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          165. In addition to the draft mailers copied above, budget documents recovered from
  Longstreth that track Generation Now' s spending per week of 20 senators, including Senator 2,
  con oborate Longstreth's statement that he was spending $68,000 in Senator 2's district. For
  example, the following excel spreadsheet entitled "HB 6 Paid Media Week 6 June 2019" (copied
  below), shows that the Enterprise spent approximately $45,780 on radio, social, and mail
  advertisements during that week. The $45,780 does not include the amount spent on television
  ads, which the spreadsheet depicts as $500,000 for all 20 senators. If that $500,000 amount were
  divided equally amongst the 20 senators, $25,000 would be added to Senator 2's amount, totaling
  $70,780-which is close to what Longstreth approximated in his text message.

                                                        Week 6 June 7·14
                                 CALLS      CABLE       RADIO       SOCIAL               MAIL       NOTES
                                                      $ 7,177 $          5,500 $           30,000
                                                      $ 16,279 $         5,500 $           30,000
                                                      s  12,805 $        5,500 $           30,000
                                                      $ 10,525     s     5,500 $           30,000
                                                      s  16,304 $        5,500       s     30,000
                                                      s  16,304 $        5,500 $           30,000
                                                      $ 7,425 $          5,500 $           30,000
                                                      $ 8,260 $          5,500 $           30,000
                                                      $ 13,127     s     5,500       s     30,000
                                                      s  10,280    s     5,500 $           30,000
                                                      s  18,417 $        5,500 $           30,000
                                                      $ 7,400 $          5,500       s     30,000
                                                      $ 19,417 $         5,500 $           30,000
                                                      s  19,318 $        5,500 $           30,000
                                   ~
                                   QJ                 $ 9,081 $          5,500 $           30,000
                                   .c
                                   Ill
                                   ~
                                                      s   7,870 $        5,500 $           30,000
                                   e                  $ 7,212      s     5,500 $           30,000
                                   "'                 $ 8,938 $          5,500 $           30,000
                                   i
                                   Ill
                                   QJ                 $ 7,600 $          5,500 $           30,000
                                   ~                  $ 9,800 $          5,500 $           30,000
                                $ 66,160 $ 500, 000   $ 233,539 $      110,000 $          600,000

                                         Jsurve~            so I
         Columbus    $134,400                GRAND TOTAL:          $   1,961,899 1
         Cleveland   $195,300
         TOTAL       $452,200




         166. Like the media campaign during the House' s consideration of HB 6, the costly
  media campaign targeting Senators provides fini her evidence of the cormpt arrangement.

         167. In addition to a media blitz, Householder continued to use his Team-Householder-
  candidate-hlmed-sponsor-of-HB 6, Representative 3, to support the bill thrnugh the Senate. On
  June 10, 2019, Longstreth and Householder had the following exchange:




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         168. Consistent with this exchange, Representative 3 testified before the Senate Energy
  and Public Utilities Committee as a proponent of HB 6 the next day. This shows Householder
  working with "the team" to coordinate support for passage of HB 6 by using Tearn Householder
  candidates to influence public officials in the Senate.

          169. While in the Senate, HB 6 was fmiher amended. Those amendments included a
  provision that gave an electric distribution utility, such as Company A Corp., the ability to
  decouple its energy rates. Decoupling is the dissociation of annual revenue from volume of energy
  sales. The decoupling mechanism was based upon the baseline revenue the company received in
  2018. Therefore, if a given year's annual revenue is less than it was in 2018, the company may
  charge retail customers a rider, or surcharge, to compensate for the lost revenue. Company A
  Cmp. 's CEO referred to this provision, in a call with investors on November 4 2019, as addressing
  company risk. In response to an investor question, the CEO stated "[decoupling} fixes our base
  revenues and essentially it takes about one-third of our company and I think makes it somewhat
  recession-proof So, I get a question a lot about where I'm worried about a future recession. It 's
  2 million customers in Ohio that this is going to help make sure that that doesn't impact us." This
  addition was a further benefit to Company A Corp., and, based on my training, experience, and
  the investigation in this matter, likely came as a result of the successful influence campaign waged
  by Company A and the Enterprise.




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          7KH (QWHUSULVH¶V VWUDWHJ\ IXQGHG E\ &RPSDQ\ $ ZRUNHG 7KH 6HQDWH SDVVHG +%
   DSSUR[LPDWHO\ D PRQWK DQG KDOI DIWHU LW ZDV LQWURGXFHG 7KH +RXVH ZKLFK FRQFXUUHG LQ WKH
  6HQDWH¶V DPHQGPHQWV DGRSWHG WKH 6HQDWH¶V YHUVLRQ RI +%  RQ -XO\   ,W ZDV VLJQHG E\
  WKH JRYHUQRU ODWHU WKDW VDPH GD\ -XO\   

           ,Q D SUHVV UHOHDVH WKH QH[W GD\ &RPSDQ\ $ VWDWHG WKDW LW ³applauded the
  enactment of House Bill 6 into law, a monumental step in helping to avoid the premature closure
  of the company’s two nuclear plants in Ohio´ &RPSDQ\ $ &(2 FRPPHQGHG WKH OHJLVODWXUH IRU
  ³drafting a bill that preserves the state's nuclear assets´ DQG VWDWHG VSHFLILFDOO\ WKDW &RPSDQ\ $
   ZDV ³thankful for the support and commitment by Speaker Householder and Senate President
  [Redacted].´

            $V H[SODLQHG LQ GHWDLO EHORZ D FDPSDLJQ WR RYHUWXUQ WKH OHJLVODWLRQ WKURXJK D EDOORW
  LQLWLDWLYH EHJDQ LPPHGLDWHO\ DIWHU SDVVDJH DQG FRQWLQXHG XQWLO WKH FDPSDLJQ WR RYHUWXUQ +% 
  IDLOHG RQ 2FWREHU   DW ZKLFK SRLQW WKH EDLORXW OHJLVODWLRQ EHFDPH ODZ VDYLQJ WKH WZR
  QXFOHDU SRZHU SODQWV IURP FORVXUH


              YL   7KH (QWHUSULVH DQG &RPSDQ\ $¶V &RRUGLQDWLRQ


           (QWHUSULVH PHPEHUV DQG DVVRFLDWHV FRRUGLQDWHG ZLWK &RPSDQ\ $ H[HFXWLYHV DQG
  OREE\LVWV ZKLOH LW ZDV UHFHLYLQJ PLOOLRQV RI VHFUHW GROODUV IURP &RPSDQ\ $ DQG SUHVVXULQJ SXEOLF
  RIILFLDOV WR VXSSRUW WKH EDLORXW

           $FFRUGLQJ WR D UHYLHZ RI WH[W PHVVDJHV DQG WROO UHFRUGV &HVSHGHV ZDV LQ UHJXODU
  FRQWDFW ZLWK &RPSDQ\ $ DQG VHUYHG DV D FRQGXLW EHWZHHQ &RPSDQ\ $ DQG RWKHU PHPEHUV DQG
  DVVRFLDWHV RI WKH (QWHUSULVH ZKLOH WKH (QWHUSULVH SXVKHG IRU SDVVDJH RI +%  )RU H[DPSOH WKH
  DIRUHPHQWLRQHG H[FKDQJH EHWZHHQ &HVSHGHV DQG /RQJVWUHWK ZKHUH LQ WKH FRQWH[W RI SODQQLQJ DQ
  +%  WHDP PHHWLQJ &HVSHGHV WROG /RQJVWHWK ³Let’s just regroup and get the rest of the deal
  done>@´ LOOXVWUDWHV WKLV SRLQW 7KHVH PHVVDJHV ZKLFK ZHUH SUHPLVHG RQ WKH 6SHDNHU¶V ³rampage´
  DOVR VKRZ +RXVHKROGHU¶V GLUHFW LQYROYHPHQW LQ &RPSDQ\ $¶V DQG *HQHUDWLRQ 1RZ¶V HIIRUWV WR JHW
  WKH ³the rest of the deal done´²VSHFLILFDOO\ SDVVDJH RI +% 

            /RQJVWUHWK DQG &HVSHGHV DOVR GLVFXVVHG *HQHUDWLRQ 1RZ PDLOHUV VXSSRUWLQJ +% 
  2Q -XQH   &HVSHGHV WH[WHG ³gen now mail is still dropping. We are getting reports that’s
  [sic] it’s been hitting late,´ WR ZKLFK /RQJVWUHWK UHVSRQGHG WKDW ³90% was delivered by the vote´
  DQG ³Members like seeing the mail because voters don’t know when the vote was´ 6HYHUDO GD\V
  ODWHU &HVSHGHV WROG /RQJVWUHWK ³Mail and radio looks good to me´ 7KHVH FRPPXQLFDWLRQV VKRZ
  WKDW &RPSDQ\ $²WKURXJK &HVSHGHV²ZDV LQYROYHG GLUHFWO\ LQ *HQHUDWLRQ 1RZ¶V PHGLD VWUDWHJ\
  WR SURPRWH PHPEHU VXSSRUW RI +% 

           ,Q DGGLWLRQ /RQJVWUHWK DQG &HVSHGHV GLVFXVVHG FRRUGLQDWLQJ &RPSDQ\ $ SD\PHQWV
  WR *HQHUDWLRQ 1RZ 2Q -XQH   &HVSHGHV WH[WHG WR /RQJVWUHWK ³Text me the # I need an
  invoice for $2M´ /RQJVWUHWK UHVSRQGHG ³working on it now´ 2Q -XQH   &HVSHGHV WH[WHG
  ³Make sure I get the invoice for this week as early as possible, please. Thanks´ /RQJVWUHWK


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  UHVSRQGHG ³Yeah, I’m thinking it will be lower this week. Probably 1.3 ish´ &HVSGHGHV UHSOLHG
  ³Ok, thanks. I appreciate everything that you are doing. Let’s keeping pushing this group´

            2Q -XQH  &HVSHGHV DQG /RQJVWUHWK KDG WKH IROORZLQJ H[FKDQJH




            7ZR GD\V ODWHU &HVSHGHV IROORZHG XS




                                                
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     Ull;IIICY ,.:-,




         179. One minute later, Longstreth texted the Chief Operating Officer of Political
  Adve1tising Company, to check on Company A 's media spend, as requested by Cespedes:




        180. After sending the message to COO, Longstreth immediately resumed his text
  exchange with Cespedes:




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           $IWHU IXUWKHU GLVFXVVLRQ EHWZHHQ &HVSHGHV DQG /RQJVWUHWK LQ WKH IROORZLQJ GD\V
  DERXW FRRUGLQDWLQJ SD\PHQW SXEOLF RIILFLDOV¶ VXSSRUW IRU WKH EDLORXW KLULQJ VLJQDWXUH ILUPV WR
  GHIHDW WKH %DOORW &DPSDLJQ DQG PHGLD DQG PDLOHUV /RQJVWUHWK DQG &HVSHGHV DJDLQ GLVFXVVHG
  &RPSDQ\ $ SD\PHQWV WR *HQHUDWLRQ 1RZ )RU H[DPSOH RQ -XQH   &HVSHGHV WR
  /RQJVWUHWK ³I think we have to shave off the 33k, but I’ll check´ DQG ³Just confirmed to round
  down to $16M even´




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           7KH FRPELQDWLRQ RI SKRQH UHFRUGV EDQN UHFRUGV DQG WH[W PHVVDJHV SDLQW D FOHDU
  SLFWXUH RI WKH SDUWQHUVKLS EHWZHHQ WKH (QWHUSULVH DQG &RPSDQ\ $ LQ ZRUNLQJ WRZDUGV WKHLU
  DJUHHPHQW ,QGHHG NH\ (QWHUSULVH PHPEHUV KDG UHJXODU DQG WLPHO\ SKRQH FRQWDFW ZLWK &RPSDQ\
  $ H[HFXWLYHV DV +RXVHKROGHU ZDV WDNLQJ RIILFLDO DFWLRQ RQ &RPSDQ\ $¶V EHKDOI ZKLOH WKH
  (QWHUSULVH UHFHLYHG PLOOLRQV IURP &RPSDQ\ $ )RU H[DPSOH WROO UHFRUGV VKRZ WKDW +RXVHKROGHU
  KDG  SKRQH FRQWDFWV ZLWK &RPSDQ\ $ &RUS¶V &(2 IURP -DQXDU\  WR -XO\ ²WKH SHULRG
  IURP ZKHQ +RXVHKROGHU EHFDPH 6SHDNHU XQWLO +%  ZDV LQWURGXFHG DQG VLJQHG LQWR ODZ 7KLV
  LQFOXGHV D SKRQH FDOO RQ -DQXDU\   WKH GD\ +RXVHKROGHU ZDV HOHFWHG 6SHDNHU DQG PXOWLSOH
  OHQJWK\ SKRQH FDOOV LQ WKH ZHHNV OHDGLQJ XS WR LQWURGXFWLRQ RI +%  DQG VKRUWO\ DIWHU SDVVDJH RI
  WKH ELOO ,QGHHG RYHU WKH SHULRG IURP )HEUXDU\  WR -XO\  +RXVHKROGHU KDG  SKRQH
  FRQWDFWV ZLWK WKH &RPSDQ\ $ &RUS¶V &(2  SKRQH FRQWDFWV ZLWK &RPSDQ\ $ 6HUYLFH &R¶V 93
  RI ([WHUQDO $IIDLUV DQG  FRQWDFWV ZLWK &RPSDQ\ $ &RUS¶V 2KLR 'LUHFWRU RI 6WDWH $IIDLUV
  6LPLODUO\ /RQJVWUHWK KDG WLPHO\ SKRQH FRQWDFW LQ WKH ILUVW KDOI RI  ZLWK &RPSDQ\ $ 6HUYLFH
  &R¶V 93 RI ([WHUQDO $IIDLUV DQG &RPSDQ\ $¶V 93 RI *RYHUQPHQW $IIDLUV /RQJVWUHWK¶V FRQWDFW
  ZLWK &RPSDQ\ $ H[FHHGHG HYHQ +RXVHKROGHU¶V RYHU WKH FRXUVH RI WKH FRQVSLUDF\ WR LQFOXGH
  VLJQLILFDQW SKRQH FRQWDFWV ZLWK &RPSDQ\ $ H[HFXWLYHV GXULQJ WKH SHULRG IURP )HEUXDU\  WR
  2FWREHU 

           &ODUN GHVFULEHG +RXVHKROGHU¶V FRUUXSW DUUDQJHPHQW ZLWK &RPSDQ\ $ GXULQJ D
  UHFRUGHG PHHWLQJ LQ -XQH  &ODUN ILUVW GHVFULEHG KRZ DQRWKHU 2KLR SXEOLF RIILFLDO UHFHLYHG
  PRQH\ IURP &RPSDQ\ $ LQWR WKDW SXEOLF RIILFLDO¶V  F  EXW GLG QRW FRPH WKURXJK IRU
  &RPSDQ\ $ ZKHQ WKH\ QHHGHG KHOS SDVVLQJ +%  &ODUN VWDWHG ZKHQ WKDW SXEOLF RIILFLDO ³knew
  that Larry did not have his votes, ran away from him´ &ODUN WKHQ VWDWHG WKDW +RXVHKROGHU RQ WKH
  RWKHU KDQG WRRN PLOOLRQV IURP &RPSDQ\ $ ³but he went to war for them´ &ODUN FRQFOXGHG WKDW
  KH ZDQWHG WR EH DURXQG SROLWLFLDQV OLNH +RXVHKROGHU ZKR ³will go to the wall, but those guys that
  go to the wall can only do it once a year because if they do it all the time everybody knows they’re
  pay to play´ &ODUN H[SODLQHG WKDW WKH ZD\ SROLWLFLDQV JHW H[SRVHG IRU ³SD\ WR SOD\´ LV WKURXJK
  ³VWXSLGLW\´ RU ³SHRSOH ZKR JHW DJJULHYHG OHDN LW´

           +RXVHKROGHU DGPLWWHG KLV RIILFLDO DFWLRQ IRU WKH EHQHILW RI &RPSDQ\ $ LQ WH[W
  PHVVDJHV ZLWK /RQJVWUHWK ,Q D -XQH   H[FKDQJH /RQJVWUHWK WROG +RXVHKROGHU WKDW RQH RI
  WKH ³biggest issues we’ve heard from the Senate´ ZDV ³Does [Company A-1] really need the
  money"´ +RXVHKROGHU UHVSRQGHG IRU WKH &RPSDQ\ $ ³VXEVLG\´ ³we only put in what they
  need´²VKRZLQJ +RXVHKROGHU DQG WKH (QWHUSULVH GUDIWHG WKH ELOO IRU &RPSDQ\ $¶V EHQHILW DQG
  ZLWK &RPSDQ\ $¶V VSHFLILF LQWHUHVWV LQ PLQG 6LPLODUO\ LQ D -XQH   H[FKDQJH DIWHU
  /RQJVWUHWK UHIHUHQFHG WKH SRWHQWLDO EDOORW UHIHUHQGXP WKDW FRXOG RYHUWXUQ +%  +RXVHKROGHU
  VWDWHG ³Stay on the good side of [Company A-1] and we’ll do the defend´ RI WKH UHIHUHQGXP
  H[DFWO\ ZKDW WKH (QWHUSULVH GLG

          %HFDXVH &RPSDQ\ $ DSSHDUHG WR SURYLGH ZKDWHYHU WKH (QWHUSULVH QHHGHG WR
  DFKLHYH LWV JRDOV WKH (QWHUSULVH PHPEHUV UHIHUUHG WR &RPSDQ\ $ DV WKHLU ³%DQN´ IRU WKH EHQHILW

  
     7KHVH WROO UHFRUGV OLNHO\ XQGHUUHSUHVHQW WKH WRWDO YROXPH RI SKRQH FRQWDFWV EHWZHHQ WKH (QWHUSULVH DQG &RPSDQ\ $
  EHFDXVH PHVVDJHV IURP L3KRQH WR L3KRQH DUH QRW FDSWXUHG LQ WROO UHFRUGV GXH WR HQGWRHQG HQFU\SWLRQ )RU H[DPSOH
  PRVW WH[W PHVVDJHV EHWZHHQ &HVSHGHV DQG /RQJVWUHWK WKH FRQWHQW RI ZKLFK DUH FDSWXUHG LQ VHDUFK ZDUUDQW UHWXUQV
  DUH QRW FRQWDLQHG LQ WROO UHFRUGV EHFDXVH WKH\ DUH ERWK L3KRQH XVHUV
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  of the Ente1prise. As Clark stated in a recorded conversation35 in July 2019: " We call Company
  A 'the Bank ' because they can do, they can do, they can fund these things for 20 years ifthey want
  to . .. . They've got too much money, too much power." Later in the conversation, Clark discussed
  the individuals giving a $15,000 to $25,000 check to Householder's 501(c)(4), relative to other
  contributions into Generation Now, specifically payments by Company A. Clark stated, ''you 'll
  walk in with your check and you 'll be respectful, and they'll remember it as that number.
  Remember, he gets checks from 'the Bank'; remember, I told you what the 'the Bank' is, you know,
  $1.5 million dollars, $2 million dollars." 36

           186. Indeed, according to Clark, the amount of money from Company A to the
  Ente1p rise was "unlimited." As he later explained, "on HB 6, Company got $1 .3 billion in
  subsidies, free payments, .. . so what do they care about putting in $20 million a year for this
  thing, they don 't give a shit." Clark went on: "[Company A} is deep pockets. Clark explained: I
  did this campaign. All we cared about was getting the subsidy ." In other words, Company A paid
  the Ente1p rise millions of dollars in exchange for the Ente1prise's effo1ts to pass HB 6 because it
  received "$1.3 billion in subsidies" in return-the essence of the conupt exchange.

     III.    The Enterprise Fights the Ballot Campaign to Ensure HB 6 Goes Into Effect

          187. Immediately after passage of HB 6, "Ballot Campaign" mobilized to repeal HB 6
  through a ballot referendum. Under Ohio law, in order to place a referendum on the ballot, a group
  must collect 1,000 certified signatures and submit proposed ballot language to the Ohio Attorney
  General for approval.37 The approval ensures that the description of the referendum meets the
  "fair and tmthful" standard outlined in the Ohio Revised Code.

          188. After the Ohio Attorney General approves the language, and the Ohio Secretaiy of
  State ce1tifies the signatures collected, the proponents of the ballot referendum must collect
  signatures from registered voters totaling six percent of the voters who paiticipated in the last
  gubernatorial election. In this case, six percent equals approximately 265,000 signatures. Those
  signatures also must be validated by the Ohio Secretaiy of State. If the requisite number of
  signatures are collected and validated, the referendum appears on the ballot for a populai· vote by
  the residents of Ohio.


     A. The Enterprise Fights Back

          189. Ballot Campaign 's original ballot proposal language was submitted on July 29,
  2019 and rejected by the Ohio Attorney General on August 12, 2019. A revised petition was filed
  on August 16, 201 9, and subsequently approved by the Ohio Attorney General on August 29, 2019.
  After approval, the Ballot Campaign had until October 21, 201 9 to collect the requisite number of
  signatures.




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            (YHQ EHIRUH WKH *RYHUQRU VLJQHG +%  LQWR ODZ DQG WKH %DOORW &DPSDLJQ
  RUJDQL]HG WKH (QWHUSULVH ZDV PRELOL]LQJ WR GHIHDW D EDOORW LQLWLDWLYH LQ -XQH  2Q -XQH 
   &HVSHGHV ZURWH WR /RQJVWUHWK ³Borges mentioned this morning that the opposition has
  engaged signature gatherers. Not sure who or if it’s real. Just want u to be aware´ /RQJVWUHWK
  UHVSRQGHG ³7KDQNV IRU OHWWLQJ PH NQRZ´ 7KHQ RQ -XQH   &HVSHGHV ZURWH /RQJVWUHWK
  ³Let’s just get all of the signature firms hired tomorrow´ /RQJVWUHWK UHVSRQGHG ³We can hire the
  good ones. We can’t hire them all´ 7R ZKLFK &HVSHGHV UHSOLHG ³Yeah, let’s get all the good
  ones? If I need to up the budget, I will´ &HVSHGHV ODWHU WH[WHG KLV LQWHQW ZLWK UHJDUGV WR WKH EDOORW
  LQLWLDWLYH ³I was hoping that we could take out all the big players and limit their chances. It’s
  impossible to referendum proof imo. We can make it tougher´ 7KLV VKRZV &RPSDQ\ $ DFWLYHO\
  ZRUNLQJ ZLWK WKH (QWHUSULVH WR SUHVHUYH WKH +%  EDLORXW

            %XW WKH LQYHVWLJDWLRQ LQGLFDWHV WKDW WKH (QWHUSULVH ZDV FRQFHUQHG WKDW D EDOORW
  LQLWLDWLYH ZRXOG EORFN +%  IURP WDNLQJ HIIHFW )RU H[DPSOH RQ -XO\   WKH GD\ EHIRUH WKH
  ELOO SDVVHG WKH 6HQDWH &ODUN GLVFXVVHG D SRWHQWLDO UHIHUHQGXP GXULQJ D UHFRUGHG FRQYHUVDWLRQ
  +H H[SODLQHG WKDW LW ZRXOG ³piss off the Speaker´ DQG LI WKH RSSRVLWLRQ VXFFHHGHG LQ JHWWLQJ LW RQ
  WKH EDOORW LQ  WKH ELOO ZRXOG EH ³VWD\HG´ XQWLO WKHQ &ODUN IXUWKHU H[SODLQHG WKDW KH ZDV LQ
  FKDUJH RI WKH HIIRUW WR NLOO WKH VLJQDWXUH FROOHFWLRQ HIIRUW IRU WKH 6SHDNHU DQG HVWLPDWHG WKDW LW KDG
  D  VXFFHVV UDWH

         % *HQHUDWLRQ 1RZ 7DNHV +HDW LQ WKH 0HGLD IRU )XQGLQJ +%  $GV

           $W WKH VDPH WLPH GLVFXVVLRQ RI D EDOORW LQLWLDWLYH ZDV UDPSLQJ XS WKH PHGLD ZDV
  UHSRUWLQJ WKDW *HQHUDWLRQ 1RZ ZDV WKH VRXUFH RI GDUN PRQH\ EHKLQG WKH SDVVDJH RI +%  7KH
  &LQFLQQDWL (QTXLUHU DQG 'D\WRQ 'DLO\ 1HZV UHSRUWHG WKDW PLOOLRQV RI GROODUV LQ GDUN PRQH\ IURP
  *HQHUDWLRQ 1RZ IORRGHG WKH DLUZD\V ZLWK WHOHYLVLRQ DQG UDGLR DGV VXSSRUWLQJ +%  $OWKRXJK
  VRPH DUWLFOHV WLHG *HQHUDWLRQ 1RZ WR -HII /RQJVWUHWK QRQH PDGH WKH OLQN WR +RXVHKROGHU RU
  XQGHUVWRRG WKDW &RPSDQ\ $ ZDV IXQGLQJ *HQHUDWLRQ 1RZ ,Q IDFW WKH QHZV UHSRUWV DW WKDW WLPH
  DWWULEXWHG &RPSDQ\ $ DV IXQGLQJ DQ DOOLDQFH ZKLFK KDG VSHQW DERXW  RQ +%  DGV ,Q
  ZKDW DSSHDUV WR EH DQ HIIRUW WR GHIOHFW DWWHQWLRQ +RXVHKROGHU ZDV TXRWHG LQ WKH PHGLD DV VD\LQJ

                     It's a priority bill for me because I've always cared about
                     the energy in the state of Ohio. I'll tell you who's paying for these
                     ads: it's working men and women from Ohio, who want to save their
                     jobs and it's Ohio corporations, headquartered in Ohio, that want
                     to stay here. That's who's paying for it

         +RXVHKROGHU ZDV DOVR UHFHLYLQJ SUHVVXUH IURP +RXVH PHPEHUV DERXW KLV XVH RI
  *HQHUDWLRQ 1RZ WR IXUWKHU +%  DV +RXVHKROGHU WROG /RQJVWUHWK LQ D WH[W H[FKDQJH




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           194. In addition to showing Householder's knowledge that Generation Now was taking
  a hit in the media, the message also shows that some public officials knew that Householder was
  behind the Generation Now campaign to pressure members to supp01t HB 6, pruticularly relevant
  given the millions of dollars Householder's Enterprise spent on media buys and ads urging Ohio
  citizens to pressure public officials to suppo1t House Bill 6.

          195. In the wake of the negative press and pressure from House leadership relating to
  Generation Now media buys supporting HB 6, the Enterprise used "Front Company," which was
  controlled by the Enterprise, to conceal their effo1ts to combat the referendum. As described
  below, the Enterprise pumped $23,000,000 of Company A-to-Generation-Now money into Front
  Company and used the organization to fund criminal acts to defeat the referendum.

     C. The Enterprise Used Front Company to Defeat Ballot Campaign

           196. HB 6 was imp01tant to the Householder's Ente1prise because it received millions
  of dollars into Generation Now from Company A in exchange for enactment of the bailout
  legislation. And, thus, the repeal ofHB 6, which would prevent HB 6 from taking effect in October
  2019, was viewed as a threat to Householder 's Enterprise. But, the Enterprise also viewed the
  Ballot Campaign as a threat to its power and territory generally.

            197. For example, at the dinner club meeting on September 23, 2019, in the context of a
  discussion about the Ballot Campaign, Householder told Clark in a recorded meeting41 : "It is so
  important, it is so important, that they are not successful, because when the legislature votes on
  something it needs to stay law." Staffer followed up, "it's the beginning ofyour Speakership; it
  sets a bad precedent for the next s;x years, what we need to make them rea/;ze ;s that you
  (Householde1) can't be fucked with." Clark then agreed, "it sends the message to eve1yone else .
  . . . if you attack a member, we 're going to fucking rip your dick off" Ente1prise members thus
  made clear that preserving their legislative victo1y was necessaiy to proving the strength of the
  Enterprise going forward.

         198. As set f01th above, Front Company--organized and registered under Ohio law on
  July 30, 201 9, less than a week after the bill was signed by the governor-is a pass-through entity
  through which the Ente1prise funneled Company A-to-Generation-Now money to further the
  conspiracy. Associate 1, along with Associate 4-who had hundreds of phone contacts with
  Enterprise members from July to October 2019, including regulai· calls with Clark, Longstreth,



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  and Borges~pened the Fifth-Third Bank checking account for the Front Company on August
  12, 2019. Between August 1, 2019 and October 31, 2019, over $23 million was deposited into
  Front Company's account. Subpoenaed bank records show that eve,y penny of that $23 million
  came from Generation Now via Company A entities- specifical~v, Company A Service Co. and
  Energy Pass-Through- wired approximately $38 million to Generation Now.

           199. The Ente1prise :fonneled the Company A payments through the Front Company
  account to defeat the Ballot Campaign. One of the clearest examples, again, comes from
  Longstreth. On September 26, 2019, Company A wired $2,445,000 to Generation Now
  (Longstreth-controlled), which wired a total of $2.1 million to Front Company (Associate 1-
  controlled) (over the next several days), which wired $2.2 million on September 30, 2019 to
  Constant Content (Longstreth-controlled), which wired $1.22 million to Direct Mail Company the
  same day. The Ente1prise passed the remaining $21 million through Front Company to pay Media
  Placement Company 1 and the Political Adve1tising Agency for television collllllercials42
  (approximately $6.9 million), Petition Signature Services Co 1 (approximately $11 million) and
  Petition Signature Services Co 2 ($688,000) for ballot petition signature se1vices, Billboard Co for
  billboai·ds ($150,000), and approximately $3,500 for t-shi1is. Front Company also funneled
  another $2.2 million to a different Constant Content account controlled by Longstreth.

         200. In terms of collllllercials and fliers, the Company A money wired from Generation
  Now to Front Company funded a media blitz of collllllercials and fliers orchestrated by the
  Ente1prise. Again, the media campaign against the ballot initiative is indicative of the conupt
  exchange with Company A.

         201.   These adve1iisements intended to invoke feai· by asse1iing that China was invading
  Ohio's energy grid, ai1d that signing the petition equated with ceding control of Ohio energy to
  China. For example, Front Company mailed the following fliers to hundreds of thousands of
  Ohioans:

                                                                                 Prff:oittd

                                                                                   ,. .
                                                                                 Sl.villml
                                                                                U:Sl'CS:1":0:!




  42 Public filings on the FCC website show that Media Placement Company 1 bought television ads for Front Company

  between August 2019 and October 2019.

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  These above fliers were mailed to voters throughout the state of Ohio.

          202. During the September 23, 2019 recorded dinner-party, in which Householder also
   was present, Clark relayed the st01y behind the second flier, which Clark and Householder thought
  was hilarious. Through laughter, Clark described what he te1med "the direct mail piece" as "so
  fucking cold-blooded." He stated that Jeff designed it. He explained that because 15 out of the
   150 signature collectors hired by the opposition had prior aITests, they were technically criminals
   under the law. When Representative 8 (another representative of the Ohio House of
   Representatives, who is not known to be pari of the Enterprise asked how they knew the signature
  collectors had prior anests, Householder explained, "they have to sign up and when they sign up,
  we nm a background check." 43 Clark went on to explain, "[s]o Jeff, of course, designs a piece
  going 'they're coming to your house, criminals . .. don't answer the door . .. decline to sign."'
   As Clar·k explained, he later had to explain the cfu-ect mail piece to Associate 4-that they were
  mailing 4.9 million pieces explaining that the people coming to your house for signatures are
  criminals, and Associate 4 refused to put his name on it. Clark played har·dball with Associate 4,
  and told him that he (Clar·k) had to get off the phone now and tell his boss (presumably
   Householder) that Associate 4 didn't want to do it. Clark explained that eventually, Associate 4
  agreed on a softer piece.

         203. The investigation later revealed that payment for the postage on these same fliers
  was ultimately paid for by Generation Now, but had been funneled through at least three bank
  accounts. Specifically, the fliers were sent "preso1ted standard US Postage PAID Columbus OH
  Permit 6871." According to U.S. Postal records, a Digital & Print Marketing Group is the account
  holder of Pe1mit 6871, and the customer reference ID lists a company related to DiI·ect Mail
  Company 2. Subpoenaed bank records show that the Digital & Print Marketing Group received
  approximately $3.5 million from DiI·ect Mail Group 2 in October 2019, which received
  approximately $3.6 million combined from LongstI·eth's Constant Content bank accounts, which
  received a combined $4.4 million from Front Company- all of which originally came from

  43 Householder was likely refe1ring to Ohio Secretary of State Form 15, which Ohio law requires to be filed by people

  working being compensated for working on behalf of a statewide ballot petition. See Ohio Rev. Code 3501.381.

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  &RPSDQ\ $ WKURXJK *HQHUDWLRQ 1RZ ,Q RWKHU ZRUGV WKH (QWHUSULVH IXQQHOHG &RPSDQ\ $ PRQH\
  WKURXJK WKUHH GLIIHUHQW (QWHUSULVHFRQWUROOHG DFFRXQWV EHIRUH SXUFKDVLQJ WKH IOLHUV WKURXJK WKLUG
  SDUWLHV 7KH HIIRUWV PDGH E\ (QWHUSULVH PHPEHUV LQ WKLV UHJDUG DUH IXUWKHU HYLGHQFH RI WKHLU LQWHQW
  DQG WKH FRUUXSW H[FKDQJH ZLWK &RPSDQ\ $

          *HQHUDWLRQ 1RZ PRQH\ DOVR IXQGHG WHOHYLVLRQ FRPPHUFLDOV SXUSRUWHGO\ VSRQVRUHG
  E\ )URQW &RPSDQ\ ZKLFK FRQWLQXHG WKH VDPH WKHPH IURP WKH IOLHUV 7KHVH DGV DVVHUWHG WKDW &KLQD
  ZDV WDNLQJ RYHU 2KLR¶V HQHUJ\ LJQLWLQJ IHDU WKDW WKH &KLQHVH JRYHUQPHQW LV EHKLQG WKH GULYH WR
  UHSHDO +%  DQG ZDQWLQJ WR WDNH 2KLR HQHUJ\ MREV 7KH DGV SURSRVLWLRQ 2KLRDQV WR FKRRVH
  EHWZHHQ VXSSRUWLQJ +%  RU KDQGLQJ RYHU 2KLR¶V HQHUJ\ WR WKH &KLQHVH *RYHUQPHQW

          )RU H[DPSOH RQH DG DLUHG LQ &LQFLQQDWL FODLPHG

                   They took our manufacturing jobs. They shuttered our factories.
                   Now they are coming for our energy jobs. The Chinese government
                   is quietly invading the American electric grid, intertwining them
                   financially in our energy infrastructure. Now a special interest
                   group boosting Chinese financial interests is targeting Ohio energy,
                   taking Ohio money, exporting Ohio jobs, even risking our national
                   security. They are meddling in our elections. In the coming weeks
                   you may be approached on the street or at your door to sign a
                   petition to defund U.S. jobs and energy. They will ask for your name,
                   your address, your signature. Tell them no. Don’t sign your name
                   to a plan that kills Ohio jobs, harms Ohio communities, and
                   endangers our energy independence. China turned off the power on
                   Ohio manufacturing. Don’t let them do it to you. Don’t sign the
                   petition allowing China to control Ohio’s power

  'XULQJ WKH FRPPHUFLDO LPDJHV RI WKH &KLQHVH JRYHUQPHQW DQG OHDGHUVKLS ZHUH GLVSOD\HG




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   KWWSVZZZFLQFLQQDWLFRPVWRU\QHZVSROLWLFVDGVFODLPIRUHLJQHQWLWLHVDUHLQYDGLQJRKLRVHQHUJ\
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  7KH DG HQGHG ZLWK D SOHD WR QRW VLJQ WKH SHWLWLRQ EHFDXVH GRLQJ VR ZRXOG DOORZ &KLQD WR WDNH
  FRQWURO RYHU 2KLR¶V SRZHU




            7KXV DOWKRXJK WKH IOLHUV DQG DGV FODLPHG WKH\ ZHUH SDLG IRU E\ )URQW &RPSDQ\ LQ
  UHDOLW\ WKH (QWHUSULVH SDLG IRU WKHP DQG FRQFHDOHG WKDW IDFW E\ ZLULQJ PRQH\ IURP *HQHUDWLRQ
  1RZ WR )URQW &RPSDQ\ %\ XVLQJ )URQW &RPSDQ\ IRU WKH PHGLD FDPSDLJQ WKH (QWHUSULVH IXUWKHU
  FRQFHDOHG LWV FRUUXSW DUUDQJHPHQW ZLWK &RPSDQ\ $

           2WKHU HYLGHQFH GHPRQVWUDWHV WKDW WKH (QWHUSULVH XVHG )URQW &RPSDQ\ DV D IURQW IRU
  *HQHUDWLRQ 1RZ )RU H[DPSOH SXEOLF ILOLQJV RQ WKH )&& ZHEVLWH VKRZ WKDW 0HGLD 3ODFHPHQW
  &RPSDQ\  ZKLFK UHFHLYHG DSSUR[LPDWHO\  PLOOLRQ IURP )URQW &RPSDQ\ EDQN DFFRXQW
  ERXJKW WHOHYLVLRQ DLUWLPH EHWZHHQ $XJXVW  DQG 2FWREHU  DFURVV 2KLR IRU )URQW &RPSDQ\
  )RU LQVWDQFH IRU WKH ZHHN RI 6HSWHPEHU   WR 6HSWHPEHU   UHFRUGV VKRZ WKDW 0HGLD
  3ODFHPHQW &RPSDQ\  ERXJKW DSSUR[LPDWHO\  LQ WHOHYLVLRQ VSRWV IURP :.5& &LQFLQQDWL
  IRU )URQW &RPSDQ\ 0HGLD 3ODFHPHQW &RPSDQ\  KDG SXUFKDVHG DLUWLPH VORWV IRU *HQHUDWLRQ
  1RZ LQ WKH SDVW LQFOXGLQJ DGYHUWLVHPHQWV WKDW VXSSRUWHG FDQGLGDWHV DVVRFLDWHG ZLWK +RXVHKROGHU
  GXULQJ WKH  HOHFWLRQ F\FOH

           7KH )&& ILOLQJV DOVR PDWFK WKH FRPPHUFLDOV¶ FRQWHQW ,Q RQH GLVFORVXUH VWDWHPHQW
  WKDW ZDV ILOHG ZLWK WKH )&& )URQW &RPSDQ\ VWDWHG WKDW WKH LVVXH DGGUHVVHG E\ WKH DGYHUWLVHPHQWV
  ZDV ³&KLQHVH LQIOXHQFH RI 2KLR (QHUJ\´ 7KLV GHVFULSWLRQ WLHV ERWK WKH IOLHUV DQG FRPPHUFLDO
  FRQWHQW EDFN WR )URQW &RPSDQ\ $GGLWLRQDOO\ WKH FRQWHQW RI WKH FRPPHUFLDOV WKHPVHOYHV FRQWDLQ
  D FOXH DV WR WKHLU RULJLQ DQG IXQGLQJ VRXUFH W\LQJ WKH (QWHUSULVH WR )URQW &RPSDQ\ 6SHFLILFDOO\
  00 SLFWXUHG EHORZ ZKR VHUYHG DV SURMHFW PDQDJHU DW RQH RI WKH &RPSDQ\ $ QXFOHDU SRZHU
  SODQWV DSSHDUHG ERWK LQ *HQHUDWLRQ 1RZ DGYHUWLVHPHQWV LQ VXSSRUW RI WKH SDVVDJH RI +%  LQ WKH

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  spring of 2019, as well as the aforementioned commercial by Front Company opposing the
  referendum, which ail:ed in the fall of 2019.


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         208. The Generation Now money also was used to buy t-shu.ts for Front Company. Bank
  records, subpoena returns, and photos from social media provide the confinnation.

     D. The Enterprise Conflicts Out Signature Firms

           209. Besides paying for advertisements, mailers and t-shilts, Generation Now subverted
  the Ballot Campaign by hiring signature collection fums in an effo1t to conflict them from working
  for the Ballot Campaign. Bank records show that between July 23, 2019 and July 30, 2019,
  Generation Now spent over $549,250 retaining the services of national signature collection fums
  to defeat the ballot initiative. The retention of signature collection fums is in keeping with practices
  outlined by Clark in multiple recorded conversations. In those instances, Clark advised his clients
  that if they would retain as many of the signature collection fums as possible, then those fums
  could not work for their opposition, which would decrease the likelihood that the referendum
  would collect the requisite number of signatures for a ballot initiative.

         210. For example, in a meeting on July 24, 2019, which was recorded,45 Clark stated that
  he wired about $450,000 today hiring signature collections people to not work. He repeated that



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  KH KDG ³hired them not to work´ &ODUN FRQWLQXHG H[SODLQLQJ WKDW KH KDG KLUHG  FRPSDQLHV
  QDWLRQZLGH²QLQH RI WKH ELJJHVW RQHV²DQG VHQW WKHP DOO FKHFNV UDQJLQJ  WR  WR
  QRW WR ZRUN DQG  SD\PHQWV WR WKH VPDOOHU ILUPV &ODUN VWDWHG WKDW WKHVH SHRSOH RQ WKH
  SKRQH ³they are all full of shit. I have been a lobbyist for 39 years, been around a long time. It
  always goes circular to someone going well we’ll give you a kickback´ &ODUN ODWHU FRQILUPHG
  GXULQJ WKH VDPH FRQYHUVDWLRQ WKDW WKH  XVHG WR SD\ WKH FROOHFWLRQ ILUPV FDPH IURP
  *HQHUDWLRQ 1RZ

           $ VSUHDGVKHHW WUDFNLQJ WKH KLULQJ DQG SD\PHQW RI VLJQDWXUH ILUPV LQ -XO\  ZDV
  UHFRYHUHG IURP &HVSHGHV¶ SRVVHVVLRQ 7KH GRFXPHQW¶V SURSHUWLHV UHYHDO WKDW $VVRFLDWH  FUHDWHG
  WKH VSUHDGVKHHW RQ -XO\  ²WZR GD\V DIWHU &ODUN¶V VWDWHPHQWV GHWDLOHG GLUHFWO\ DERYH 7KDW
  LW ZDV UHFRYHUHG IURP &HVSHGHV¶ SRVVHVVLRQ GHPRQVWUDWHV WKH FORVH FRRUGLQDWLRQ EHWZHHQ
  PHPEHUV DQG DVVRFLDWHV RI WKH (QWHUSULVH DQG &RPSDQ\ $ 7KH GRFXPHQW VKRZV WKH VLJQDWXUH
  ILUPV WKDW WKH (QWHUSULVH UHWDLQHG ZKHWKHU WKH ILUPV DUH XQGHU FRQWUDFW WKH FRQWUDFW SULFH DQG WKH
  VWDWXV RI SD\PHQWV ZKLFK UHIOHFWHG SD\PHQWV RI  E\ -XO\  

            $ UHYLHZ RI *HQHUDWLRQ 1RZ¶V VXESRHQDHG EDQN UHFRUGV DQG &ODUN¶V WROO UHFRUGV
  FRUURERUDWH KLV VWDWHPHQWV DQG WKH FRQWHQWV RI WKH VSUHDGVKHHW *HQHUDWLRQ 1RZ EDQN UHFRUGV
  FRQILUP WKDW SD\PHQWV ZHUH PDGH IURP WKH *HQHUDWLRQ 1RZ EDQN DFFRXQWV 7KH UHFRUGV IXUWKHU
  VKRZ WKDW VRPH RI WKHVH ILUPV DORQJ ZLWK RWKHU SHWLWLRQ ILUPV UHFHLYHG DGGLWLRQDO SD\PHQWV LQ WKH
  IDOO RI 

          )XUWKHU &ODUN¶V WROO UHFRUGV VKRZ FRQWDFW ZLWK VRPH RI WKHVH ILUPV DURXQG WKH VDPH
  WLPH SHULRG )RU H[DPSOH RQ -XO\   WKH VDPH GD\ WKDW *HQHUDWLRQ 1RZ ZLUHG RQH ILUP
   &ODUN¶V WROO UHFRUGV VKRZ KH KDG PXOWLSOH FRQWDFWV ZLWK D IRXQGLQJ PHPEHU RI WKH ILUP
  6LPLODUO\ &ODUN SODFHG FDOOV WR DQ H[HFXWLYH RI 3HWLWLRQHU 6LJQDWXUH 6HUYLFHV &R  RQ -XO\  DQG
    LQ FORVH SUR[LPLW\ WR *HQHUDWLRQ 1RZ¶V ZLUH RI 

           7KHVH ZLUHV DOVR DUH FRQVLVWHQW ZLWK WH[W PHVVDJH H[FKDQJHV UHFRYHUHG GXULQJ WKH
  LQYHVWLJDWLRQ 2Q -XQH   ZKLOH +%  ZDV VWLOO SHQGLQJ LQ WKH 2KLR 6HQDWH &HVSHGHV WROG
  /RQJVWUHWK WKDW ³Borges mentioned this morning that opposition has engaged signature gathers.
  Not sure who or if it’s real. Just want you to be aware.´ $V H[SODLQHG DERYH DERXW D ZHHN ODWHU
  RQ -XQH   ZKLOH +% ZDV VWLOO SHQGLQJ LQ WKH 6HQDWH &HVSHGHV DQG /RQJVWUHWK GLVFXVVHG
  WKH QHHG WR KLUH VLJQDWXUH ILUPV DQG WKDW &HVSHGHV ZRXOG ³XS´ WKH EXGJHW LI QHFHVVDU\




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     3HWLWLRQ 6LJQDWXUH 6HUYLFHV &R  UHFHLYHG DSSUR[LPDWHO\  IURP *HQHUDWLRQ 1RZ EHWZHHQ -XO\  DQG
  2FWREHU  3KRQH UHFRUGV DOVR VKRZ -HII /RQJVWUHWK KDG SKRQH FRQWDFW ZLWK WKH VDPH H[HFXWLYH GXULQJ WKH VDPH
  WLPH SHULRG

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         215. Less than an hour later, Clark sent Longstreth a message stating, "I have a new list
  to send you." Clark then texted Longstreth an excel spreadsheet listing various petition gathering
  fmns, which included fmns that received wires from Generation Now a month later as indicated
  by Clark on the recording.

     E. The Enterprise Bribes an Employee of Ballot Initiative for Inside Information

          216. Based on my training, experience, and the investigation in this case, in order defeat
  the Ballot Campaign and ensure HB 6 went into effect in October 2019, the Enteiprise would
  benefit from real-time information about how successful the signature collection effort was in
  order to best allocate their resources. However, the investigation revealed that the Enterprise 's
  own daily, internal estimates about the signature collection were not adding up to the numbers
  claimed by the ballot initiative proponents.

          217. Indeed, during the September 23, 2019 recorded dinner party, Clark explained, in
  the presence of Householder, how the Enterprise was addressing the ballot campaign:

                  Every day we send out a crew of 235 people and we survey about
                  2600 sites ... and we stay there to see if they have people there ...
                  so tl,en we do eve,y day do a report estimating how many signatures
                  they've done . . . [they now have about 80 people collecting
                  signatures} . . . how many signatures do you think you can collect in
                  an hour,· how many can you collect in a shift; they were worA"ing in
                  the first few weeks 10 hours shifts, most people just working 6; so
                  in all the math that was done, they weren't getting where they were,
                  so we kept saying it wasn't right, until last week they started
                  advertising they needed more people; they went to some ofour subs,
                  they couldn't get any of our A class subs .. .

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  $V WKLV FRQYHUVDWLRQ VKRZV XQWLO WKH SUHYLRXV ZHHN WKH (QWHUSULVH FRXOG QRW GHWHUPLQH WKH UHDVRQ
  IRU WKH GLVFUHSDQF\ EHWZHHQ WKHLU QXPEHUV DQG WKH QXPEHUV FODLPHG E\ WKH VLJQDWXUH JDWKHUHUV
  7KXV WKH\ QHHGHG LQVLGH LQIRUPDWLRQ DERXW WKH EDOORW LQLWLDWLYH

            7KH (QWHUSULVH DWWHPSWHG WR REWDLQ VXFK LQIRUPDWLRQ E\ XWLOL]LQJ %RUJHV WR EULEH
  &+6  ZKR ZDV DVVRFLDWHG ZLWK WKH %DOORW &DPSDLJQ &+6  ZDV HPSOR\HG E\ %DOORW &DPSDLJQ
  LQ LWV HIIRUWV WR UHSHDO +%  WKURXJK D EDOORW LQLWLDWLYH &+6  KDV SURYLGHG UHOLDEOH LQIRUPDWLRQ
  SURYHQ FUHGLEOH WKURXJK PXOWLSOH VRXUFHV &+6  PDQDJHG VLJQDWXUH FROOHFWRUV $V GHVFULEHG
  EHORZ %RUJHV RIIHUHG WR DQG GLG SD\ &+6  WR SURYLGH LQVLGH LQIRUPDWLRQ DERXW WKH %DOORW
  &DPSDLJQ VXFK DV WKH QXPEHU RI VLJQDWXUHV FROOHFWHG WKH QXPEHU RI FROOHFWRUV DQG JHRJUDSKLF
  IRFXV RI FROOHFWLRQ HIIRUWV &+6  ZDV XSVHW DERXW %RUJHV¶ VROLFLWDWLRQ DQG FRQWDFWHG WKH )%, DIWHU
  PHHWLQJ ZLWK %RUJHV LQ HDUO\ 6HSWHPEHU 7KHUHDIWHU &+6  UHFRUGHG KLV FRQYHUVDWLRQV ZLWK
  %RUJHV LQFOXGLQJ %RUJHV¶ SD\PHQW RI  WR KLP

            2Q RU DERXW 6HSWHPEHU   %RUJHV FRQWDFWHG &+6  DQG GXULQJ D PHHWLQJ WKH
  QH[W GD\ RIIHUHG D VXEVWDQWLDO DPRXQW RI PRQH\ IRU LQVLGH LQIRUPDWLRQ WKDW %RUJHV ZRXOG XVH IRU
  KLV FOLHQW WR GHIHDW WKH UHIHUHQGXP FDPSDLJQ 6SHFLILFDOO\ DFFRUGLQJ WR &+6  %RUJHV RIIHUHG
  WKDW LI &+6  SURYLGHG LQVLGH LQIRUPDWLRQ %RUJHV ZRXOG SURYLGH &+6  ZLWK PRQHWDU\ SD\PHQWV
  D MRE RU DJUHH WR SD\ &+6¶V GHEWV %RUJHV IXUWKHU LQGLFDWHG WKDW RWKHUV DUH JHWWLQJ ³IDW´ RII WKH
  +%  LVVXH VR WKH\ PLJKW DV ZHOO EHQHILW WRR 7KHQ %RUJHV DVNHG &+6  WR WKLQN DERXW WKH RIIHU
  DQG JHW EDFN WR KLP %RUJHV LQLWLDOO\ UHDFKHG RXW WR &+6  MXVW WZR GD\V DIWHU WKH 2KLR $WWRUQH\
  *HQHUDO DSSURYHG WKH EDOORW ODQJXDJH DQG MXVW ZHHNV DIWHU *HQHUDWLRQ 1RZ ZLUHG RYHU D PLOOLRQ
  GROODUV RI &RPSDQ\ $ PRQH\ WR %RUJHV¶ //&  &RQVXOWLQJ

           ,Q D WH[W PHVVDJH IROORZLQJ WKH PHHWLQJ &+6  WROG %RUJHV KH FRXOG QRW DFFHSW
  WKH EULEH SD\PHQW 7KHVH WH[W PHVVDJHV ZHUH SURYLGHG WR PH 6SHFLILFDOO\ &+6  WROG %RUJHV
  ³I’ve thought about it. I don’t need overnight´ &+6  ZHQW RQ ³At the beginning of this I thought
  I could walk my information into Larry’s office and sell it for enough to retire on.¶´ &+6 
  FRQWLQXHG KH ³would LOVE to have those wiped out, to be debt free, and not to have to worry…
  but, I can’t put a price tag on my integrity or my word´ &+6  H[SODLQHG WKDW KH FRXOG QRW ³sell
  this team down the river´ FRQFOXGLQJ ³So. It may not land me in the car, house, job, or financial
  situation I want to be in – but I couldn’t face myself if I did anything but work for this and do it
  honestly´ %RUJHV UHVSRQGHG WKDW KH XQGHUVWRRG EXW PDGH FOHDU KLV LQWHQW ³No matter what –
  don’t ever tell anyone about our conversation from earlier´

               $W WKH GLUHFWLRQ RI WKH )%, &+6  UHFRQQHFWHG ZLWK %RUJHV DQG H[SUHVVHG LQWHUHVW
  LQ %RUJHV¶ RIIHU 'XULQJ WHOHSKRQLF FRQWDFW EHWZHHQ WKH WZR %RUJHV DGYLVHG &+6  WKDW KH ZRXOG
  QHHG WR HYDOXDWH KRZ WR PRYH IRUZDUG %RUJHV IROORZHG XS DVNLQJ IRU &+6¶V HPSOR\PHQW FRQWUDFW
  DQG VWDWLQJ ³I’ll make an offer to buy you out. It will be substantial´ 2SHUDWLQJ DW WKH GLUHFWLRQ
  RI DJHQWV &+6  UHVSRQGHG ³What will a buyout entail? Like. . . what would I be doing, work-
  wise?” %RUJHV UHVSRQGHG VLPSO\, “Give me a day or two to figure this out.” %RUJHV WKHQ VWDUWHG
  VROLFLWLQJ &+6  IRU LQVLGH LQIRUPDWLRQ DERXW %DOORW &DPSDLJQ )RU H[DPSOH %RUJHV WH[WHG
  ³Have you guys started door to door"´ %RUJHV DQG &+6  WKHQ KDG WKH IROORZLQJ H[FKDQJH




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                        Nfce. Any Idea what lhe count
                        looks like at thTs poi nt? Just
                        w ant t o n ail d own t he
                        o ppo rtu nity we d iscusse d .
                        Thanks.




                        Yep. I can get t hls done . They
                        just want to know t hey have t h e
                        right source. So a data point
                        here will help me g et rt
                        finalized.



  CHS 1 then provided a limited amount of inside information-the "ballpark" vote count for one
  region in the state. Borges responded, " Got it. I'll get this done."
         222. These messages indicate that the substantial "buy out" Borges previously offered
  was tied to sensitive inf01mation the CHS 1 would provide about the Ballot Campaign. Borges
  made clear that he was working on behalf of a group of individuals, and that Borges needed inside
  infonnation-the signature count, for example-to "nail down the opportunity" because "thev just
  want to know they have the right source."

         223. A series of text message exchanges followed, dming which Borges and CHS 1 set
  a time to meet in person. In one of those messages Borges stated, "I've gotten more clarity.
  Protects you." In another, Borges texted, "I promise this will be worth your while."

         224. CHS 1 eventually met with Borges on September 10, 2019 to discuss the deal. The
  meeting was recorded. Borges framed the exchange as a private transaction between the two of
  them that no one would know-despite the prior solicitation and text messages, which made clear
  that Borges was working on behalf of others. But Borges ' true motivations became clear, and
  demonstrate how much Borges and the Enterprise wanted inside information about the Ballot
  Campaign. For example, when CHS 1 asked how the deal would work, Borges told CHS 1 that it
  would help to know locations in advance and they "really need to know how many signatures you
  have." Borges then asked CHS 1 whether he had access to the statewide numbers or only his
  region. Borges also stated that he and his firm were working for Company A on the ballot project,
  and that Householder, Company A, and Borges ' firm fo1med an "unholy alliance."

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   D  FKHFN IXQGHG HQWLUHO\ E\ &RPSDQ\ $WR*HQHUDWLRQ1RZ PRQH\ $OWKRXJK LQ LQLWLDO
  FRQYHUVDWLRQV %RUJHV KDG LQGLFDWHG WKDW WKH PRQH\ ZDV DQ DGYDQFH IRU LQVLGHU LQIRUPDWLRQ WR
  GHIHDW %DOORW &DPSDLJQ ZKHQ %RUJHV KDQGHG WKH FKHFN WR &+6  KH VDLG WKDW LW ZDV %RUJHV¶V
  RZQ PRQH\ WKDW QR RQH NQHZ DERXW WKH WUDQVDFWLRQ DQG WKDW LW ZDV IRU WKH &+6 ¶V KHOS LQ
  SODQQLQJ D UHXQLRQ DPRQJVW IRUPHU VWDIIHUV 7KLV FRQWUDGLFWHG ZKDW %RUJHV KDG SUHYLRXVO\ VWDWHG
  6KRZLQJ KLV FRUUXSW LQWHQW %RUJHV DOVR WROG WKH &+6 WKDW LI WKLV WUDQVDFWLRQ FDPH WR OLJKW LW ZRXOG
  EH EDG IRU ERWK &+6  DQG %RUJHV²LQ IDFW %RUJHV WROG &+6  KH ZRXOG ³EORZ XS´ WKH &+6¶V
  KRXVH LI WKH LQIRUPDWLRQ JRW RXW D WKUHDW WKDW &+6  WUHDWHG DV D MRNH %RUJHV WKHQ SURFHHGHG WR
  DVN &+6  DERXW WKH QXPEHU RI VLJQDWXUH FROOHFWRUV ZRUNLQJ RQ EHKDOI RI WKH EDOORW FDPSDLJQ
  %RUJHV DOVR PDGH QXPHURXV VWDWHPHQWV DERXW WKH (QWHUSULVH LQFOXGLQJ LGHQWLI\LQJ +RXVHKROGHU
  &ODUN DQG /RQJVWUHWK DV EHLQJ LQYROYHG )RU H[DPSOH %RUJHV VWDWHG ³Larry was putting the
  squeeze´ RQ $VVRFLDWH  *HQHUDWLRQ 1RZ¶V VSRNHVSHUVRQ DQG ZRXOG QRW DOORZ $VVRFLDWH  WR
  TXLW &ODUN ZDV VHUYLQJ DV +RXVHKROGHU¶V SUR[\ DQG WKDW LW ZDV ³insane´ KRZ PXFK (QWHUSULVH
  PHPEHUV ZHUH PDNLQJ RII &RPSDQ\ $ %RUJHV DOVR GHVFULEHG EHLQJ SUHVHQW ZKHQ (QWHUSULVH
  PHPEHUV PHW ZLWK &RPSDQ\ $ H[HFXWLYHV WR ORRN DW DGYHUWLVHPHQWV DQG GULYLQJ WKH &RPSDQ\ $
  &(2 WR VHH VLJQDWXUH FROOHFWRUV ZKR ZHUH ZRUNLQJ RQ EHKDOI RI WKH %DOORW &DPSDLJQ

          2Q PXOWLSOH RFFDVLRQV IROORZLQJ WKH PHHWLQJ %RUJHV UHDFKHG RXW LQ UHFRUGHG
  SKRQH FDOOV DQG WH[W PHVVDJHV WR &+6  WR UHFHLYH WKH VDPH W\SH RI LQVLGHU LQIRUPDWLRQ UHODWLQJ WR
  VLJQDWXUH FROOHFWLRQ WR UHSHDO +%  WKDW %RUJHV RIIHUHG SD\PHQW IRU GXULQJ WKHLU FRQYHUVDWLRQ RQ
  6HSWHPEHU  )RU H[DPSOH %RUJHV VHQW &+6  WKH IROORZLQJ PHVVDJHV DPRQJ RWKHUV


              We were- told you guys had
              120,000 signatures. Any Idea If
              that's right?

              Any idea how many total
              signatures you guys have? We
              were told 80,000 today.

              Any Intel you have woulcl make
              me a hero. Thanks.

  $QG GHVSLWH UHSHDWHGO\ DVNLQJ IRU LQVLGH LQIRUPDWLRQ DIWHU SD\LQJ WKH &+6   LQ &RPSDQ\
  $WR*HQHUDWLRQ1RZ PRQH\ %RUJHV QHYHU DJDLQ PHQWLRQHG &+6  SHUIRUPLQJ DQ\ VSHFLILF ZRUN
  XQUHODWHG WR WKH %DOORW &DPSDLJQ

           2WKHU HYLGHQFH FRUURERUDWHV WKDW %RUJHV¶ DFWLRQV ZHUH LQ IXUWKHUDQFH RI WKH
  (QWHUSULVH¶V HIIRUWV WR GHIHDW WKH %DOORW &DPSDLJQ 6LJQLILFDQWO\ DURXQG WKH VDPH WLPH WKDW %RUJHV
  ZDV LQ FRQWDFW ZLWK WKH &+6  %RUJHV ZDV LQ FRQWDFW ZLWK &HVSHGHV 6SHFLILFDOO\ RQ 6HSWHPEHU
    %RUJHV¶ FHOOSKRQH FRQWDFWHG &HVSHGHV¶ FHOOSKRQH DURXQG 30 7KDW FDOO ODVWHG IRU
  DSSUR[LPDWHO\  PLQXWHV /HVV WKDQ WHQ PLQXWHV DIWHU WKDW FDOO %RUJHV FDOOHG &+6  DQG VSRNH
  WR WKH &+6 IRU QLQH PLQXWHV :LWKLQ RQH PLQXWH RI WKH FRPSOHWLRQ RI WKH FDOO ZLWK &+6  %RUJHV
  DWWHPSWHG WR FDOO &HVSHGHV ZKR GLG QRW DQVZHU 7KH\ HYHQWXDOO\ FRQQHFWHG  PLQXWHV ODWHU DQG
  WROO UHFRUGV VKRZ WKH FDOO ODVWHG IRU  PLQXWHV DQG  VHFRQGV :LWKLQ RQH PLQXWH RI WKH


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  FRPSOHWLRQ RI WKDW FDOO %RUJHV WKHQ FDOOHG $VVRFLDWH  RI )URQW &RPSDQ\ 7ROO UHFRUGV DOVR
  VKRZ WKDW %RUJHV ZDV LQ UHJXODU FRQWDFW ZLWK &ODUN /RQJVWUHWK DQG &HSHGHV GXULQJ WKLV SHULRG

           0RUHRYHU DV VHW IRUWK DERYH EDQN UHFRUGV REWDLQHG YLD JUDQG MXU\ VXESRHQD VKRZ
  WKDW WKH  FDPH IURP *HQHUDWLRQ 1RZ E\ ZD\ RI DQ DFFRXQW %RUJHV RSHQHG LQ $XJXVW 
  XQGHU WKH QDPH RI  &RQVXOWLQJ *URXS //& %RUJHV UHJLVWHUHG ³ &RQVXOWLQJ *URXS //&´ ZLWK
  WKH 2KLR 6HFUHWDU\ RI 6WDWH RQ $XJXVW   7ZR GD\V ODWHU %RUJHV RSHQHG D EDQN DFFRXQW
  XQGHU WKH QDPH ³ &RQVXOWLQJ *URXS //&´ %DQN UHFRUGV LQGLFDWHG WKDW %RUJHV LV WKH RQO\
  VLJQDWRU\ RQ WKH DFFRXQW DQG RSHQHG WKH DFFRXQW DV 3UHVLGHQW2ZQHU&(2 RI  &RQVXOWLQJ *URXS
  //& $ GD\ DIWHU %RUJHV RSHQHG WKH DFFRXQW *HQHUDWLRQ 1RZ ZLUHG  LQWR WKH DFFRXQW
  ,Q IDFW *HQHUDWLRQ 1RZ ZLUHG D WRWDO RI  PLOOLRQ LQWR WKH DFFRXQW EHWZHHQ $XJXVW  
  WKH GD\ WKH DFFRXQW ZDV RSHQHG DQG 6HSWHPEHU   WKH GD\ &+6  ZDV JLYHQ WKH
  DIRUHPHQWLRQHG  FKHFN 'XULQJ WKDW SHULRG DVLGH IURP  %RUJHV GHSRVLWHG ZKHQ KH
  RSHQHG WKH DFFRXQW *HQHUDWLRQ 1RZ ZDV WKH VROH VRXUFH RI GHSRVLWV ,Q DGGLWLRQ WR WKH 
  FKHFN WR &+6  WKH EDQN UHFRUGV VKRZ WKDW RQ 6HSWHPEHU   WKUHH GD\V DIWHU WKH 
  FKHFN ZDV JLYHQ WR &+6  D FKHFN IRU  ZDV ZULWWHQ WR  VROXWLRQV //& ZKLFK LV DQ
  2KLR EXVLQHVV UHJLVWHUHG WR -XDQ 3 &HVSHGHV

       ) 7KH (QWHUSULVH %ULEHV 6LJQDWXUH &ROOHFWRUV

           ,Q DGGLWLRQ WR DWWHPSWLQJ WR EULEH &+6  WKH (QWHUSULVH WULHG WR VXEYHUW WKH %DOORW
  &DPSDLJQ¶V HIIRUWV E\ EULELQJ VLJQDWXUH FROOHFWRUV ZRUNLQJ RQ EHKDOI RI WKH %DOORW &DPSDLJQ 
  6SHFLILFDOO\ WKURXJK LQWHUPHGLDULHV WKH (QWHUSULVH RIIHUHG %DOORW &DPSDLJQ VLJQDWXUH FROOHFWRUV
  DSSUR[LPDWHO\  DQG SODQH IDUH WR VWRS FROOHFWLQJ VLJQDWXUHV DQG SURYLGH LQVLGH LQIRUPDWLRQ
  UHODWLQJ WR WKH %DOORW &DPSDLJQ¶V +%  UHIHUHQGXP HIIRUWV 7KH SD\PHQW ZDV VSOLW LQWR WZR
  VHJPHQWV²KDOI XSRQ VLJQLQJ D FRQWUDFW ZLWK )URQW &RPSDQ\ DQG KDOI XSRQ SURRI WKH SODQH IDUH
  ZDV XVHG WR IO\ KRPH DZD\ IURP 2KLR 7KH (QWHUSULVH EHOLHYHG WKDW LI LW FRXOG UHGXFH WKH QXPEHU
  RI SHRSOH FROOHFWLQJ VLJQDWXUHV IRU WKH %DOORW &DPSDLJQ WKH\ FRXOG HQVXUH WKH %DOORW &DPSDLJQ
  ZRXOG IDLO WR FROOHFW WKH UHTXLVLWH QXPEHU RI VLJQDWXUHV

           &ODUN RXWOLQHG WKLV YHU\ VWUDWHJ\ GXULQJ WKH UHFRUGHG GLQQHU FRQYHUVDWLRQ RQ
  6HSWHPEHU   &RQFHUQHG WKDW WKH %DOORW &DPSDLJQ ZRXOG FROOHFW HQRXJK VLJQDWXUHV &ODUN
  H[SODLQHG ³so we have to go out on the corners and buy out their people every day. We started
  doing that today and everybody’s having a fucking shit fit´ :KHQ TXHVWLRQHG DERXW WKH ORJLVWLFV
  RI WKH RSHUDWLRQ &ODUN ZDV YHU\ FR\ EXW H[SODLQHG WKDW WKH\ KDYH  VSRWWHUV LQ WKH ILHOG DQG WKDW
  WKH VSRWWHUV FDOO DQG VD\ SHRSOH DUH KHUH DQG WKHQ RWKHUV JR EX\ WKHP RII &ODUN FRQWLQXHG ³if we
  knock off 25 people, collecting signatures, it virtually wipes them out in next 20 days; this ends the
  whole fucking thing, ends in, that’s how hard it is, in addition to the TV, the direct mail, and
  everything else   ´ ,W ZDV DW WKLV SRLQW LQ WKH FRQYHUVDWLRQ ZKHQ +RXVHKROGHU LQWHUUXSWHG DV
  H[SODLQHG DERYH DQG VDLG ³It is so important, it is so important, that they are not successful,
  because when the legislature votes on something it needs to stay law´

          7ROO UHFRUGV VKRZ WKDW &ODUN ZDV QRW H[DJJHUDWLQJ GXULQJ WKH GLQQHU )ROORZLQJ
  WKH GLQQHU &ODUN KDG  FRQWDFWV ZLWK &RQWUDFWRU  D SULQFLSDO RI 3HWLWLRQ 6LJQDWXUH 6HUYLFHV &R
   ZKR PDUNHWV KLPVHOIKHUVHOI DV D OHDGLQJ H[SHUW LQ EDOORW LQLWLDWLYH DFFHVV DQG VWUDWHJ\ 7KH

  
       KWWSVZZZGLVSDWFKFRPQHZVQXFOHDUEDLORXWVXSSRUWHUVFU\FKLQHVHFRQVSLUDF\EXWJHWIXQGLQJ
  IURPVDPHEDQN

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  FRQWDFWV RFFXUUHG LQ 2FWREHU  ZKHQ DV H[SODLQHG EHORZ ³0HJKDQ´ DQG ³0DUFXV´ ZHUH
  FRQWDFWLQJ DQG WU\LQJ WR EULEH VLJQDWXUH FROOHFWRUV ZRUNLQJ IRU WKH EDOORW LQLWLDWLYH

           :LWK WKH PRQH\ ZLUHG IURP *HQHUDWLRQ 1RZ WR )URQW &RPSDQ\ WKH (QWHUSULVH SDLG
  WKH 3HWLWLRQ 6LJQDWXUH 6HUYLFHV &R  RYHU  LQ 2FWREHU  7KH VDPH GD\ DV WKH ILUVW
  ZLUH WUDQVIHU IURP )URQW &RPSDQ\ WR WKH 3HWLWLRQ 6LJQDWXUH 6HUYLFHV &R  6LJQDWXUH &ROOHFWRU 
  IRU WKH %DOORW &DPSDLJQ UHFHLYHG WKH IROORZLQJ XQVROLFLWHG WH[W PHVVDJH IURP ³0HJKDQ´ ZKLFK
  WROO UHFRUGV LGHQWLI\ DV &RQWUDFWRU 

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                                                                                   [Front
                                                                                   c«r,per,yJ
     Hello! Are you sttll
     working on OH? If so-I
                                                                               -                From another petitioner
                                               I would love to speak
     would like to offer you a                 with you at your earliest
     deal of $2,500 to sign                    convenience
     on with our team today.                                                                    If you aren't interested in
                                                                                                my offer- no worries.
                                                                                                Thank you
                                               Would you be interested
                                  (FtOt4       in a quick phone call?                                        rm more concerned
                                  ~I                                                                         about your ethics
                                               We issue contracts and
     corrently I'd Er contract-                wires very quickly                                        What you are doing Isn't
     I would love to speak                                                                               lcgal ...l'm not a
     with you at your earhest                                  How did you get my                        petitioner...l'm upper
     convenience                                               number?                                   management for
                                                                                                         and we wlll be repc:,rtlng
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          7KH IROORZLQJ GD\ ³0DUFXV´ SXUSRUWHGO\ IURP )URQW &RPSDQ\ FRQWDFWHG
  6LJQDWXUH &ROOHFWRU  6LJQDWXUH &ROOHFWRU  DQG 6LJQDWXUH &ROOHFWRU  YLD WH[W FRSLHG EHORZ
  DQG VHYHUDO RWKHU VLJQDWXUH FROOHFWRUV 7KH VXEVFULEHU UHFRUGV IRU ³0DUFXV¶V´ WHOHSKRQH QXPEHU
  VKRZ FRQWDFW ZLWK WKHVH VLJQDWXUH FROOHFWRUV RQ WKH GDWH DQG WLPH LQ TXHVWLRQ 0RUHRYHU ³0DUFXV´
  KDG FRQWDFW ZLWK &RQWUDFWRU  DURXQG WKH VDPH WLPH




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           MltC\is· · · · ·~                                             Marcus. and rmwith _
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                                         Hey-            Mynamels        In OH? If so, I might havo an
                                         Marcus.and rm l'lilh-           opportunity that would intetest
                                                            Att you      vou.
                                         a.rrently ll OH" Uso. I might
                                         have an opportunity ll\3t
                   lodoy34lB4            would tnterest you

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       YOU' Info 111 on flle wtth                                        Mf}'thing~fltl .
       the Sea'etary od State's
       from lhe Rlnn 415 that            l'moflenng$$$$. CanlgiVe
       you completed.,,.,                you a bf.el bun?
       cbfng yot.w training.
                                                                         We Just spoke ~bout 15 mins ago.
                                    0                                    Ate you interested ~ rrtf otter?


           7KH WH[W PHVVDJHV FRSLHG DERYH ZHUH DWWDFKHG DV H[KLELWV WR WKH VZRUQ VWDWHPHQWV
  RI 6LJQDWXUH &ROOHFWRUV   DQG  LQ D ODZVXLW ILOHG E\ SURSRQHQWV RI WKH %DOORW &DPSDLJQ
  FODLPLQJ DPRQJ RWKHU WKLQJV LQWHUIHUHQFH E\ )URQW &RPSDQ\ :KLOH ZRUNLQJ IRU WKH %DOORW
  &DPSDLJQ 6LJQDWXUH &ROOHFWRU  H[SODLQHG LQ KLVKHU DIILGDYLW WKDW DIWHU KHVKH UHFHLYHG WKH WH[W
  PHVVDJH KHVKH VSRNH WR ³0DUFXV´ EULHIO\ EXW KXQJ XS EHIRUH KH JDYH WKH GHWDLOV RI WKH RIIHU
  6LJQDWXUH &ROOHFWRU ¶V VZRUQ DIILGDYLW VWDWHV WKDW DIWHU KHVKH UHFHLYHG WKH WH[W ³0DUFXV´ FDOOHG
  KLPKHU DQG RIIHUHG KLPKHU D SODQH WLFNHW KRPH DQG  VSOLW LQWR WZR SDUWV 7KUHH RWKHU
  DIILGDYLWV ZHUH ILOHG LQ VXSSRUW RI WKH ODZVXLW GHPRQVWUDWLQJ VLPLODU FRPPXQLFDWLRQV ZLWK
  ³0DUFXV´ ZKR LGHQWLILHG KLPVHOI DV ZRUNLQJ RQ EHKDOI RI )URQW &RPSDQ\ RQH RI ZKLFK ZDV
  DFFRPSDQLHG E\ D UHFRUGLQJ RI WKH FDOO GHVFULEHG WKH VDPH RIIHU DV 6LJQDWXUH &ROOHFWRU  DQG
  LQFOXGHG D SURSRVHG FRQWUDFW GHVFULEHG EHORZ WKDW ³0DUFXV´ VHQW

           7KH FRQWUDFW DWWDFKHG WR RQH RI WKH DIILGDYLWV GHVFULEHG WKH ³VHUYLFHV´ WR EH
  SURYLGHG DV IROORZV ³provide statewide ballot issue advice and expert consultation on Ohio
  statewide ballot measures and the associated petition circulation and signature collection matters
  related to the referendum of HB 6 related issues, which occurs within a 90 day period upon
  enactment HB 6´ 7KLV VKRZV WKDW WKH (QWHUSULVH ZDV DJDLQ SD\LQJ DJHQWV RI WKH EDOORW FDPSDLJQ
  IRU LQVLGH LQIRUPDWLRQ UHODWLQJ WR WKH %DOORW &DPSDLJQ WR KXUW WKH FDPSDLJQ¶V HIIRUWV

            (DFK DIILGDYLW GLVFORVHG WKDW WKH VLJQDWXUH JDWKHUHU KDG FRPSOHWHG DQ 2KLR
  6HFUHWDU\ RI 6WDWH ³)RUP ´ DV UHTXLUHG E\ 2KLR ODZ ZKLFK LQFOXGHG WKHLU QDPH DQG WHOHSKRQH
  QXPEHU 7KHVH IRUPV ZHUH ILOHG ZLWK WKH 2KLR 6HFUHWDU\ RI 6WDWH 6LJQLILFDQWO\ WKH LQYHVWLJDWLRQ
  VKRZV WKDW WKH (QWHUSULVH OLNHO\ KDG DFFHVV WR WKRVH IRUPV 'XULQJ WKH UHFRUGHG FRQYHUVDWLRQ RQ
  6HSWHPEHU   ZKLFK SUHFHGHG WKH DERYH WH[W PHVVDJHV IURP ³0HJKDQ´ DQG ³0DUFXV´
  &ODUN DQG +RXVHKROGHU UHIHUUHG WKH IRUPV ,Q WKH FRQWH[W RI H[SODLQLQJ WKH PDLOHU ZKLFK DOOHJHG
  WKH VLJQDWXUH JDWKHUHUV ZHUH FULPLQDOV 5HSUHVHQWDWLYH  DVNHG ³how do you know they have
  arrests"´ +RXVHKROGHU UHVSRQGHG WKDW ³they have to sign up and when they sign up we run a
  background check´ %DVHG RQ P\ WUDLQLQJ DQG H[SHULHQFH DQG WKH LQYHVWLJDWLRQ WR GDWH ³VLJQ XS´
  LV OLNHO\ D UHIHUHQFH WR WKH )RUP 

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            7KH (QWHUSULVH KDYLQJ DFFHVV WR WKH )RUP V LV FRQVLVWHQW ZLWK VXESRHQDHG
   UHFRUGV %DQN UHFRUGV IRU %RUJHV¶  &RQVXOWLQJ DFFRXQW VKRZ WKDW KH SDLG D SULYDWH LQYHVWLJDWLRQV
   ILUP RYHU  EHWZHHQ 6HSWHPEHU  DQG 2FWREHU   7KH ODVW FKHFN %RUJHV SDLG WR
   WKH LQYHVWLJDWLRQ ILUP LQGLFDWHG WKDW LW ZDV IRU ³´ ZKLFK LV WKH VDPH GDWH RI &RQWUDFWRU ¶V
   WH[WV WR RQH RI WKH DERYH VLJQDWXUH FROOHFWRUV 7KLV LQIRUPDWLRQ LV FRQVLVWHQW ZLWK ZKDW
   +RXVHKROGHU¶V VWDWHPHQWV RQ 6HSWHPEHU  

           0RUHRYHU DQ\ DPELJXLW\ DV WR 0DUFXV¶ DIILOLDWLRQ ZKHQ KH DWWHPSWHG WR EULEH WKH
   VLJQDWXUH FROOHFWRUV LV UHVROYHG E\ RQH RI WKH DIILGDYLWV ILOHG LQ IHGHUDO FRXUW ZKLFK LQFOXGHG D
   FRS\ RI WKH FRQWUDFW VHQW E\ ³0DUFXV´ WR WKH VLJQDWXUH FROOHFWRUV 7KH FRQWUDFW FRQILUPHG WKDW WKH
   FRQWUDFWLQJ SDUW\ ZDV )URQW &RPSDQ\ DQG FRQILUPHG WKH FDVK EX\RXW LQ WKH DIILGDYLWV  VSOLW
   LQWR WZR SD\PHQWV 2QH KDOI  LPPHGLDWHO\ XSRQ H[HFXWLRQ RI WKLV $JUHHPHQW DQG 2QH KDOI
     immediately following the fulfillment of initial instructions shared with you through
   additional conversations with a representative from [Front Company]..´ 7KH FRQWUDFW ZDV VLJQHG
   E\ /RQJVWUHWK RQ EHKDOI RI )URQW &RPSDQ\ DQG IXUWKHU UHTXLUHG WKDW QRWLFHV EH VHQW WR

   *HQHUDWLRQ 1RZ
   FR -HII /RQJVWUHWK
   &ROXPEXV 2+
   MHIIORQJVWUHWK#JPDLOFRP

            7KH FRQWUDFW IXUWKHU KDG D FRQILGHQWLDOLW\ UHTXLUHPHQW DLPHG DW FRQFHDOLQJ ERWK
   *HQHUDWLRQ 1RZ DQG WKH DJUHHPHQW LWVHOI VKRZLQJ WKH (QWHUSULVH¶V UROH LQ EULELQJ WKH VLJQDWXUH
   FROOHFWRUV 7KH FRQILGHQWLDOLW\ SURYLVLRQ SURKLELWHG WKH VLJQDWXUH FROOHFWRU IURP GLVFORVLQJ ³ D)
   the identity of GenNow E WKDW >QDPH@ KDV EHHQ HQJDJHG E\ WKH >)URQW &RPSDQ\@ WR SHUIRUP WKH
   6HUYLFHV GHVFULEHG KHUHLQ RU F WKH H[LVWHQFH WHUPV SURYLVLRQV RU FRQGLWLRQV RI WKLV $JUHHPHQW
   RU WKH DJUHHPHQW ZLWK >)URQW &RPSDQ\@´ $JDLQ WKH ³6HUYLFHV´ LQFOXGHG SURYLGLQJ LQVLGH
   LQIRUPDWLRQ UHODWLQJ WR WKH FDPSDLJQ WR RYHUWXUQ +% 

           /LNH WKH (QWHUSULVH¶V HIIRUWV WR SDVV +%  WKH (QWHUSULVH ZDV ZRUNLQJ FORVHO\ ZLWK
   &RPSDQ\ $ WR GHIHDW WKH EDOORW LQLWLDWLYH )RU H[DPSOH LQ 6HSWHPEHU  ZKLOH WKH (QWHUSULVH
   ZDV VSHQGLQJ PLOOLRQV WU\LQJ WR GHIHDW WKH %DOORW &DPSDLJQ (QWHUSULVH0HPEHUDQG&RPSDQ\ $
   /REE\LVW %RUJHV UHIHUHQFHG D PHHWLQJ EHWZHHQ PHPEHUV RI WKH (QWHUSULVH DQG &RPSDQ\ $
   H[HFXWLYHV LQFOXGLQJ ³WKH &(2 RI WKH FRPSDQ\´ D IHZ GD\V HDUOLHU

                     I was driving those guys back to the airport and they were like we
                     want to stop and see somebody (a signature gatherer). Well . . . I
                     know for sure there will be one at the Worthington library because
                     there’s one there every day. So we stopped and for sure there was
                     one there . . . the guy wants to get out and talk to him. . . . It was the
                     CEO of the company    


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        (PSKDVLV DGGHG

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            /DWHU GXULQJ WKH FRQYHUVDWLRQ %RUJHV DJDLQ UHIHUHQFHG WKH PHHWLQJ ZLWK &RPSDQ\
   $ VWDWLQJ ³I had the Company brass there – and they were up at [redacted] looking at ads, I
   mean, Dispatch calls our ads a lie today.´ $JDLQ DV VHW IRUWK DERYH LQ D SULRU FRQYHUVDWLRQ
   %RUJHV GHVFULEHG +RXVHKROGHU¶V LQWHUHVW LQ WKH EDLORXW DQG KLV ILUP¶V UHODWLRQVKLS ZLWK &RPSDQ\
   $ DV ³an unholy alliance´ 7KLV VKRZV WKH (QWHUSULVH ZRUNLQJ ZLWK &RPSDQ\ $ WR GLVFXVV VWUDWHJ\
   IRU GHIHDWLQJ WKH EDOORW LQLWLDWLYH WR LQFOXGH EULELQJ DQG SD\LQJ RII HPSOR\HHV DQG VLJQDWXUH
   FROOHFWRUV IRU WKH EDOORW FDPSDLJQ

           7ROO UHFRUGV DOVR VKRZ IUHTXHQW DQG FORVH FRQWDFW EHWZHHQ WKH (QWHUSULVH DQG
   &RPSDQ\ $ GXULQJ WKLV SHULRG LQ ZKLFK &RPSDQ\ $ SDLG WKH (QWHUSULVH RYHU  PLOOLRQ )RU
   H[DPSOH RQ 2FWREHU   /RQJVWUHWK KDG PXOWLSOH SKRQH FRQWDFWV ZLWK D SHUVRQ DVVRFLDWHG
   ZLWK (QHUJ\ 3DVV7KURXJK WKH VDPH GD\ WKDW &RPSDQ\ $ 6HUYLFH &R ZLUHG  PLOOLRQ WR (QHUJ\
   3DVV7KURXJK ZKLFK WKHQ ZLUHG  PLOOLRQ WR *HQHUDWLRQ 1RZ

            7KH (QWHUSULVH¶V HIIRUWV ZHUH D VXFFHVV RQ 2FWREHU   WKH %DOORW &DPSDLJQ
   IDLOHG WR FROOHFW HQRXJK VLJQDWXUHV DQG +%  ZHQW LQWR HIIHFW +RXVHKROGHU FHOHEUDWHG HQDFWPHQW
   RI WKH ODZ WKURXJK DQ 2FWREHU   SUHVV UHOHDVH LQ ZKLFK KH QRWHG H[SUHVVO\ WKDW WKH QHZ
   ODZ ZRXOG EDLORXW &RPSDQ\ $¶V IDLOHG QXFOHDU SRZHU SODQWV 6SHFLILFDOO\ +RXVHKROGHU VWDWHG ³I
   am pleased that House Bill 6 will go into effect at midnight tonight and am confident it will produce
   positive results for Ohio.´ $PRQJ WKH EHQHILWV RI WKH ELOO +RXVHKROGHU KLJKOLJKWHG “First, HB 6
   will save the operation of two Ohio nuclear power plants´ (PSKDVLV DGGHG

            7KH QH[W GD\ (QHUJ\ 3DVV7KURXJK ZLUHG  PLOOLRQ WR *HQHUDWLRQ 1RZ ZKLFK
   ZLUHG  WR -3/¶V PDLQ DFFRXQW WZR GD\V ODWHU 7KDW PRQH\ DQG VRPH RI WKH &RPSDQ\
   $WR*HQHUDWLRQ 1RZ PRQH\ UHPDLQLQJ LQ RWKHU DFFRXQWV ZHUH FRQVROLGDWHG LQWR /RQJVWUHWK
   FRQWUROOHG DFFRXQWV ZKLFK SHUVRQDOO\ EHQHILWWHG /RQJVWUHWK DQG +RXVHKROGHU )RU H[DPSOH RQ
   RU DERXW -DQXDU\   /RQJVWUHWK ZLUHG  PLOOLRQ WR KLV EURNHUDJH DFFRXQW $IWHU WKH
   WUDQVIHU RYHU  PLOOLRQ UHPDLQHG LQ /RQJVWUHWKFRQWUROOHG DFFRXQWV

            6LPLODUO\ EHWZHHQ 6HSWHPEHU DQG 'HFHPEHU +RXVHKROGHU XVHG  LQ
   &RPSDQ\ $WR*HQHUDWLRQ 1RZ SD\PHQWV IXQQHOHG WKURXJK /RQJVWUHWKFRQWUROOHG DFFRXQWV WR
   SD\ IRU FRVWV DVVRFLDWHG ZLWK KLV UHVLGHQFH LQ )ORULGD 7KLV ZDV LQ DGGLWLRQ WR SD\PHQWV PDGH WR
   VHWWOH +RXVHKROGHU¶V SHUVRQDO ODZVXLW LQ  DQG  DQG WR SD\ RII DSSUR[LPDWHO\  LQ
   FUHGLW FDUG GHEW RZHG E\ +RXVHKROGHU LQ 

             2Q -DQXDU\   DQG )HEUXDU\   *HQHUDWLRQ 1RZ ZLUHG WR WKH &RDOLWLRQ
   D WRWDO RI  ZKLFK WKHQ WUDQVIHUUHG WKH PRQH\ WR 3$& $FFRUGLQJ WR )(& ILOLQJV 3$&
   VSHQW  EHWZHHQ )HEUXDU\ DQG 0DUFK RQ OHJDO VHUYLFHV EDQN IHHV SROOLQJ UHVHDUFK
   GLUHFW PDLO VHUYLFHV DGYHUWLVLQJ YLD 79 UDGLR DQG GLJLWDO DQG PHGLD SURGXFWLRQ

            $GGLWLRQDOO\ EDQN UHFRUGV VKRZ WKDW RQ )HEUXDU\   *HQHUDWLRQ 1RZ ZLUHG
   WKH &RDOLWLRQ DQ DGGLWLRQDO  6XEVHTXHQW WR WKDW WUDQVIHU *HQHUDWLRQ 1RZ¶V IXQGV ZHUH
   UHSOHQLVKHG E\ D  ZLUH WUDQVIHU IURP (QHUJ\ 3DVV7KURXJK RQ 0DUFK   7KLV
   RFFXUUHG VKRUWO\ DIWHU &RPSDQ\ $ ZDV GLYHVWHG IURP &RPSDQ\ $ &RUS DV D UHVXOW RI WKH
   EDQNUXSWF\ SURFHHGLQJV ZKLFK ZDV SUHPLVHG LQ SDUW RQ WKH ILQDQFLDO VROYHQF\ RI &RPSDQ\ $
   GXH WR +%  ,Q 0D\  &RPSDQ\ $ DQQRXQFHG D  PLOOLRQ EX\EDFN SODQ ZKHUHE\

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   &RPSDQ\ $ ZRXOG VSHQG  PLOOLRQ UHSXUFKDVLQJ VKDUHV IURP VKDUHKROGHUV WKHUHE\ ERRVWLQJ
   VWRFN SULFHV

                                                 &21&/86,21

            7KH DERYH IDFWV HVWDEOLVK SUREDEOH FDXVH WKDW +RXVHKROGHU¶V (QWHUSULVH LV DQ
   DVVRFLDWLRQLQIDFW HQWHUSULVH DIIHFWLQJ LQWHUVWDWH FRPPHUFH DQG WKH 'HIHQGDQWV FRQVSLUHG WR
   SDUWLFLSDWH LQ WKH FRQGXFW RI WKH DIIDLUV RI WKH HQWHUSULVH E\ DJUHHLQJ WKDW D FRFRQVSLUDWRU ZRXOG
   FRPPLW D SDWWHUQ RI UDFNHWHHULQJ DFWLYLW\ 7R VXPPDUL]H ZKLOH RSHUDWLQJ WRJHWKHU²DQG
   IXQFWLRQLQJ DV +RXVHKROGHU¶V ³WHDP´²WKH 'HIHQGDQWV HQULFKHG WKHPVHOYHV DQG LQFUHDVHG
   +RXVHKROGHU¶V SROLWLFDO SRZHU E\ HQJDJLQJ LQ D VFKHPH WR GHIUDXG WKH SXEOLF RI WKH KRQHVW
   VHUYLFHV RI +RXVHKROGHU LQYROYLQJ WKH UHFHLSW RI PLOOLRQV RI GROODUV LQ VHFUHW EULEH SD\PHQWV
   WKURXJK +RXVHKROGHU¶V  F  DFFRXQW LQ UHWXUQ IRU +RXVHKROGHU WDNLQJ RIILFLDO DFWLRQ WR KHOS
   SDVV D OHJLVODWLYH EDLORXW IRU WZR QXFOHDU SRZHU SODQWV EULELQJ DQG DWWHPSWLQJ WR EULEH LQGLYLGXDOV
   ZRUNLQJ RQ EHKDOI RI WKH %DOORW &DPSDLJQ LQ DQ DWWHPSW WR UHFHLYH LQVLGH LQIRUPDWLRQ DQG GHIHDW
   WKH %DOORW &DPSDLJQ DQG FRQFHDOLQJ WKH VFKHPH WKHLU LOOHJDO DFWLYLW\ DQG WKH VRXUFH RI WKH IXQGV
   E\ WUDQVIHUULQJ WKH &RPSDQ\ $WR*HQHUDWLRQ1RZ SD\PHQWV WKURXJK RWKHU FRQWUROOHG HQWLWLHV DQG
   NQRZLQJO\ HQJDJLQJ LQ PRQHWDU\ WUDQVDFWLRQV ZLWK WKH SURFHHGV

            %DVHG RQ WKH IRUJRLQJ , UHTXHVW WKDW WKH &RXUW LVVXH WKH SURSRVHG FULPLQDO
   FRPSODLQW DQG DUUHVW ZDUUDQWV IRU WKH LQGLYLGXDOV OLVWHG EHORZ DV WKHUH LV SUREDEOH FDXVH WR EHOLHYH
   /$55< +286(+2/'(5 -())5(< /21*675(7+ 1(,/ &/$5. 0$77+(:
   %25*(6 -8$1 &(63('(6 DQG *(1(5$7,21 12: KDYH YLRODWHG  86&   G
    &RQVSLUDF\ WR 3DUWLFLSDWH 'LUHFWO\ RU ,QGLUHFWO\ LQ WKH &RQGXFW RI DQ (QWHUSULVH¶V $IIDLUV WKURXJK
   D 3DWWHUQ RI 5DFNHWHHULQJ $FWLYLW\ 




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     2KLR QXFOHDU EDLORXW EHQHILFLDU\ 2.V H[WUD VWRFN EX\EDFNV &DSLWRO /HWWHU  :/15  0D\ 
     KWWSVZZZFOHYHODQGFRPRSHQZLWKRKLREDLORXWODZVHFXUHGILUVWHQHUJ\VROXWLRQVVXFFHVVRU
   PRYHVWRLQFUHDVHVKDUHEX\EDFNVE\PLOOLRQ KWPO


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                                        REQUEST FOR SEALING

           250. I further request that the Cotui order that all papers related to this application.
   including the affidavit, be sealed until fiuiher order of the Court. These documents discuss an
   ongoing criminal investigation that is neither public nor known to all of the targets of the
   investigation. Accordingly, there is good cause to seal these documents because then· premature
   disclosure may seriously jeopardize that investigation.

                                                             Respectful!>7 submitted, ,,
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                                                                    ~ -         '-ff~
                                                              Blane J. Wetzel /)'
                                                              Special Agent
                                                              Federal Bureau of Investigation

          Subscribed and sworn to before me on ____________
                                                    July 17 __, 2020 via Facetime Video.




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          STEPHANIE K. BOWMAN
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          UNITED STATES MAGISTRATE mDGE




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                             EXHIBIT 2
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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

    UNITED STATES OF AMERICA,
                                                                   FU
                                                         CASE NO. ____________
                  Plaintiff,
                                                         JUDGE BLACK
           vs.
                                                         DEFERRED PROSECUTION
    FIRSTENERGY CORP.,                                   AGREEMENT

                  Defendant.


          The United States Attorney’s Office for the Southern District of Ohio (“USAO-SDOH” or
   “government”) and the Defendant, FirstEnergy Corp., by its undersigned representative and
   counsel, pursuant to the authority granted by the Board of Directors, agree as follows:

   1.     Criminal Information and Acceptance of Responsibility:                 FirstEnergy Corp.
          acknowledges and agrees that the government will file the accompanying Information in
          the United States District Court for the Southern District of Ohio charging FirstEnergy
          Corp. with conspiracy to commit honest services wire fraud in violation of Title 18, United
          States Code, Sections 1343, 1346, 1349. FirstEnergy Corp. knowingly waives any right to
          indictment on this charge, as well as all rights to a speedy trial pursuant to the Sixth
          Amendment to the United States Constitution, Title 18, United States Code, Section 3161,
          and Federal Rule of Criminal Procedure 48(b), and agrees to the filing of a joint motion to
          toll Section 3161 upon the filing of this Agreement.

          FirstEnergy Corp. admits, accepts, and acknowledges that it is responsible under United
          States law for the acts of its current and former officers, employees, and agents.
          FirstEnergy Corp. admits, accepts, and acknowledges that it is responsible under United
          States law for the acts as charged in the Information and as set forth in the Statement of
          Facts, attached as Attachment A and incorporated by reference into this Agreement, and
          that the facts alleged in the Information and described in the Statement of Facts are true
          and accurate.

          Should the USAO-SDOH pursue the prosecution that is deferred by this Agreement,
          FirstEnergy Corp. agrees that it will neither contest the admissibility of nor contradict the
          Statement of Facts in any such proceeding, including any trial, guilty plea, or sentencing
          proceeding. Neither this Agreement nor the criminal Information is a final adjudication of
          the matters addressed in such documents.

   2.     Elements of the Offense: The elements of the offense set forth in the Information, to
          which the Defendant agrees are established by the Statement of Facts, attached as
          Attachment A, are as follows:
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             any criminal proceeding brought by the government against FirstEnergy Corp. or its
             affiliates or subsidiaries; and (b) FirstEnergy Corp. or its affiliates or subsidiaries shall
             not assert any claim under the United States Constitution, Rule 11(f) of the Federal
             Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence, or any other
             federal rule that any such statements or testimony made by or on behalf of FirstEnergy
             Corp. or its affiliates or subsidiaries prior or subsequent to this Agreement, or any leads
             or evidence derived therefrom, should be suppressed or are otherwise inadmissible. The
             decision whether conduct or statements of any current director, officer or employee, or
             any person acting on behalf of, or at the direction of, FirstEnergy Corp. or its affiliates
             or subsidiaries, will be imputed to FirstEnergy Corp. for the purpose of determining
             whether FirstEnergy Corp. has violated any provision of this Agreement shall be in the
             sole discretion of the government.

   8.     Limitations of Agreement: This agreement is binding upon FirstEnergy Corp. and the
          USAO-SDOH and does not bind (a) other components of the Department of Justice, (b)
          other federal agencies, (c) any state or local law enforcement or regulatory agency.
          However, the USAO-SDOH will bring the cooperation of FirstEnergy Corp. and its
          compliance with its obligations under this Agreement to the attention of any such
          authorities or agencies if requested to do so by FirstEnergy Corp.

   9.     Notice: Any notice to the government under this Agreement shall be given by personal
          delivery, overnight delivery by a recognized delivery service, addressed to the United
          States Attorney’s Office for the Southern District of Ohio, 221 East Fourth Street, Suite
          400, Cincinnati, OH 45213. Any notice to FirstEnergy Corp. shall be given by personal
          delivery, overnight delivery by a recognized delivery service, addressed to Chief Executive
          Officer, FirstEnergy Corp., 76 South Main Street, Akron, OH 44308, with Copy to the
          Chief Legal Officer, FirstEnergy Corp., 76 South Main Street, Akron, OH 44308.

   10.    Entire Agreement: This agreement, along with any attachment(s), is the complete
          agreement between the parties. It supersedes all other promises, representations,
          understandings, and agreements between the parties. No amendments, modifications, or
          additions to this Agreement shall be valid unless they are in writing and signed by the
          government, the attorneys for FirstEnergy Corp., and a duly authorized representative of
          FirstEnergy Corp.


                                                      VIPAL J. PATEL
                                                      Acting United States Attorney


                                                                           /
                                                      EMILY N. GLATFELTER  LTER
                                                      MATTHEW C. SINGER
                                                      Assistant United States Attorneys




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                            CORPORATE OFFICER’S CERTIFICATE

          I have read this Agreement and carefully reviewed every part of it with outside counsel for
   FirstEnergy Corp. I understand it, I voluntarily agree to it, on behalf of FirstEnergy Corp. Before
   signing this Agreement, I consulted outside counsel for FirstEnergy Corp. Counsel fully advised
   me of the rights of FirstEnergy Corp., of possible defenses, of the applicable Sentencing
   Guidelines’ provisions, and of the consequences of entering into this Agreement.

          I also carefully reviewed the terms of this Agreement with the FirstEnergy Corp. Board of
   Directors. I have advised and caused outside counsel for FirstEnergy Corp. to advise the Board of
   Directors fully of the rights of FirstEnergy Corp., of possible defenses, of the applicable
   Sentencing Guidelines’ provisions, and of the consequences of entering into the Agreement. I
   acknowledge, on behalf of FirstEnergy Corp., that I am completely satisfied with the
   representation of counsel.

          By signing below, I certify that no promises or inducements have been made other than
   those contained in this Agreement. Furthermore, no one has threatened or forced me, or any other
   person authorized this Agreement on behalf of FirstEnergy Corp., in any way to enter into this
   Agreement. I also certify that I am an officer of FirstEnergy Corp. and that I have been duly
   authorized by FirstEnergy Corp. to execute this Agreement on behalf.




   July 20, 2021
   _________________________
   Date                                         Steven
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                                                S      E.
                                                       E Strah,
                                                          St h President
                                                                P id t & CEO
                                                FIRSTENERGY CORP.




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                                  CERTIFICATE OF COUNSEL
           We are counsel for FirstEnergy Corp. in the matter covered by this Agreement. In
   connection with such representation, we have examined carefully the relevant FirstEnergy Corp.
   records and have discussed the terms of this Agreement with Steven E. Strah, President & Chief
   Executive Officer, and the FirstEnergy Corp. Board of Directors. Based upon our review of the
   foregoing matters and discussions with FirstEnergy Corp. and its Board of Directors, we are of the
   opinion that the representative of FirstEnergy Corp. has been duly authorized to enter into this
   Agreement on behalf of FirstEnergy Corp. and that this Agreement has been duly and validly
   authorized, executed, and delivered on behalf of FirstEnergy Corp. and is a valid and binding
   obligation of FirstEnergy Corp.. Further, we have carefully reviewed the terms of this Agreement
   with the FirstEnergy Corp. Board of Directors and the Chief Executive Officer of FirstEnergy
   Corp. We have fully advised them of the rights of FirstEnergy Corp., of possible defenses, of the
   Sentencing Guidelines' provisions and of the consequences of entering into this Agreement. To
   our knowledge, the decision of FirstEnergy Corp. to enter into this Agreement, based on the
   authorization of its Board of Directors, is an informed and voluntary one.


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   Date                                            Stephen
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                                                   James RR. W
                                                             Wooley
                                                                  l
                                                   Adam Hollingsworth
                                                   JONES DAY
                                                   North Point
                                                   901 Lakeside Avenue
                                                   Cleveland, OH 44114
                                                   Phone: +1.216.586.3939
                                                   sgsozio@jonesday.com
                                                   jrwooley@jonesday.com
                                                   ahollingsworth@jonesday.com
                                                   Attorneys for FirstEnergy Corp.




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                                        ATTACHMENT A:
                                      STATEMENT OF FACTS
            The United States and FirstEnergy Corp. stipulate and agree that if this case proceeded to
   trial, the United States would prove the facts set forth below beyond a reasonable doubt. They
   further stipulate and agree that these are not all of the facts that the United States would prove if
   this case had proceeded to trial.

          The following Statement of Facts is incorporated by reference as part of the Deferred

   Prosecution Agreement (the “Agreement”) between the United States Attorney’s Office for the

   Southern District of Ohio and FirstEnergy Corp. FirstEnergy Corp. hereby agrees and stipulates

   that the following information is true and accurate. FirstEnergy Corp. admits, accepts, and

   acknowledges that it is responsible for the acts of its current and former officers, directors,

   employees, and agents. FirstEnergy Corp. admits, accepts, and acknowledges that it is responsible

   for the conduct set forth below.

         FirstEnergy Corp. is an Akron, Ohio–based public utility holding company. During the

   relevant period (2016 until in or about February 2020), FirstEnergy Corp. was the parent company

   to entities involved in energy generation, including the entity formerly known as FirstEnergy

   Solutions (“FES”). As of November 16, 2016, FES had a separate and independent Board of

   Directors from FirstEnergy Corp., and on March 31, 2018, FES filed for Chapter 11 bankruptcy

   protections. FirstEnergy Corp. also serves as the parent company for FirstEnergy Service

   Company (“FirstEnergy Service”), which provided financial and other corporate support services

   to FirstEnergy Corp. and its subsidiaries.

         FirstEnergy Corp. and its subsidiaries are subject to civil enforcement by the Securities and

   Exchange Commission (“SEC”), and are regulated directly by the Federal Energy Regulatory

   Commission (“FERC”), which is an independent agency within the United States Department of

   Energy (“DOE”). FirstEnergy Corp.’s Ohio utility subsidiaries are regulated directly by the Public

   Utilities Commission of Ohio (“PUCO”).

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           I.     Relevant Entities and Individuals
           Executive 1 served in senior executive positions for FirstEnergy Corp. and FirstEnergy

   Service from approximately 2015 to October 2020.

           Executive 2 served in a senior executive position from approximately 2011 until October

   2020.

           Partners for Progress, Inc. was incorporated in Delaware on or about February 6, 2017,

   weeks after certain FirstEnergy Corp. senior executives traveled with Public Official A on the

   FirstEnergy Corp. jet to the presidential inauguration in January 2017. On or about February 8,

   2017, Partners for Progress registered as a foreign nonprofit corporation in Ohio, specifically as a

   501(c)(4) entity “to engage in activities consistent with those permitted of an organization exempt

   from tax under Section 501(c)(4) of the Internal Revenue Code.…”

           Although Partners for Progress appeared to be an independent 501(c)(4) on paper, in

   reality, it was controlled in part by certain former FirstEnergy Corp. executives, who funded it and

   directed its payments to entities associated with public officials. For example, FirstEnergy Corp.

   executives directed the formation of Partners for Progress and decided to incorporate the entity in

   Delaware, rather than Ohio, because Delaware law made it more difficult for third parties to learn

   background information about the entity. Certain FirstEnergy Corp. executives were also involved

   in choosing the three directors of Partners for Progress, two of whom were FirstEnergy Corp.

   lobbyists. Before Partners for Progress was formally organized, Executive 2 directed that $5

   million be designated for an unnamed 501(c)(4) in December 2016.

           FirstEnergy Corp. exclusively funded Partners for Progress through payments from

   FirstEnergy Service, which totaled approximately $25 million between 2017 and 2019,

   approximately $15 million of which was paid to Generation Now. Certain former FirstEnergy


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   Corp. executives directed Partners for Progress to make payments in 2018, 2019, and 2020,

   including payments to Generation Now, which helped conceal FirstEnergy Corp. as the source of

   the payments from the public.

          Public Official A represented the State of Ohio’s 72 District in the Ohio House of

   Representatives since January 2017. Public Official A served as the Speaker of the Ohio House

   of Representatives from January 7, 2019 to July 30, 2020.

          Between 2017 and March 2020, FirstEnergy Service paid more than $59 million

   ($16,904,330.86 attributed to FirstEnergy Corp. and $43,092,505 attributed to FES) to Generation

   Now – a purported 501(c)(4), which FirstEnergy Corp. knew was operated for the benefit of and

   controlled by Public Official A, upon its inception in early 2017. For example, on March 7, 2017,

   Individual A emailed wiring instructions for Generation Now to Executive 2, noting that “[t]his is

   the organization that [Executive 1] and [Public Official A] discussed.” In response, Executive 2

   forwarded the email internally, and carbon copied Individual A, stating, “Let’s do $250,000 asap

   and we will do $1M by year-end 2017.” Similarly, on August 1, 2017, Executive 2 asked, “Are we

   at $500k for the c(4) now?” to which Individual A replied, “Yes.”

          Public Official B was the Chairman of the Public Utilities Commission of Ohio (“PUCO”)

   from April 2019 until November 21, 2020, when he resigned. PUCO regulates FirstEnergy Corp.’s

   Ohio utility subsidiaries. Prior to serving as the Chairman of PUCO, Public Official B worked for

   a private law firm and served as the general counsel for an industrial group of energy users whose

   interests often conflicted with FirstEnergy Corp.’s interests. Public Official B also was the sole

   owner of Company 1 and Company 2, both of which entered a contract with FirstEnergy Corp. in

   2010. Public Official B, through Company 1, also entered into a consulting services agreement

   with FirstEnergy Corp., through FirstEnergy Service, in 2013. Between 2010 and January 2, 2019,



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   FirstEnergy Corp. paid the Company 1 and Company 2 over $22 million, including $4,333,333,

   which was wired on or about January 2, 2019, through FirstEnergy Service to Company 1 for

   Public Official B’s benefit.

             II.    Conduct

          FirstEnergy Corp., through the acts of its officers, employees, and agents, conspired with

   public officials and other individuals and entities to pay millions of dollars to and for the benefit

   of public officials in exchange for specific official action for FirstEnergy Corp.’s benefit.

          FirstEnergy Corp. paid millions of dollars to Public Official A through his 501(c)(4),

   Generation Now, in return for Public Official A pursuing nuclear legislation for FirstEnergy

   Corp.’s benefit in his capacity as a public official. Use of 501(c)(4) entities was central to the

   scheme because it allowed certain FirstEnergy Corp. executives and co-conspirators to conceal

   from the public the nature, source, and control of payments to and for the benefit of Public Official

   A.

          FirstEnergy Corp. paid $4.3 million dollars to Public Official B through his consulting

   company in return for Public Official B performing official action in his capacity as PUCO

   Chairman to further FirstEnergy Corp.’s interests relating to passage of nuclear legislation and

   other specific FirstEnergy Corp. legislative and regulatory priorities, as requested and as

   opportunities arose.

          Primary among FirstEnergy Corp.’s priorities was the passage of nuclear legislation.

   FirstEnergy Corp. sought official action from Public Official A and Public Official B in the form

   of helping draft nuclear legislation that would further the interests of FirstEnergy Corp. and FES

   and by pressuring and advising public officials to support nuclear legislation for FirstEnergy

   Corp.’s and FES’s benefit. FirstEnergy Corp. prioritized nuclear legislation in part because of the


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   “decoupling” provision in House Bill 6 that was pursued by FirstEnergy Corp., along with

   FirstEnergy Corp.’s interest in bailing out the Ohio nuclear plants. The decoupling provision

   allowed FirstEnergy Corp.’s Ohio electric distribution subsidiaries to receive a fixed amount of

   distribution-related revenue from residential and commercial customers based on the 2018

   collection period, which was a year of high electricity sales for FirstEnergy Corp. In addition, the

   decoupling provision enacted by House Bill 6 allowed FirstEnergy Corp. to continue to recover

   lost distribution revenue (“LDR”) in a fixed amount based on its 2018 LDR recovery, despite the

   elimination of energy efficiency programs in House Bill 6. Decoupling therefore would guarantee

   FirstEnergy Corp.’s Ohio electric distribution subsidiaries a fixed amount of revenue by tying its

   distribution revenue to the 2018 level and continued collection of LDR.

          FirstEnergy Corp. also relied on Public Official B to help FirstEnergy Corp. address its

   concern that the future earning power of its Ohio utility subsidiaries would be negatively impacted

   by the rate distribution case scheduled for 2024.       The electric security plan (“ESP”) that

   FirstEnergy Corp. and its relevant entities were operating under—ESP IV—was set to terminate

   in 2024, at which time FirstEnergy Corp. would be required to file a new rate case. FirstEnergy

   Corp. believed that the expiration of ESP IV and filing of the new rate case in 2024 would result

   in decreased revenue and negatively impact FirstEnergy Corp.’s financial outlook, and therefore,

   sought a “fix for the Ohio hole.” In November 2019, under Public Official B’s leadership, PUCO

   terminated the requirement of FirstEnergy Corp.’s Ohio electric distribution subsidiaries to file a

   new rate case in 2024.

        A. Relevant Background

          In 2016, FirstEnergy Corp. reported a bleak outlook with respect to its energy generation

   business. In its November 2016 Form 10-Q, FirstEnergy Corp. reported a weak energy market,

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   poor forecast demands, and hundreds of millions of dollars in losses, particularly from its nuclear

   energy affiliate, FES. FirstEnergy Corp. announced future options for its generation portfolio as

   follows:   legislative and regulatory solutions for generation assets; asset sales and plant

   deactivations; restructuring debt; and/or seeking protection under U.S. bankruptcy laws for its

   affiliates involved in nuclear generation. FirstEnergy Corp. repeated these options in its 10-K filed

   on February 21, 2017 and reported a “substantial uncertainty as to FES’ ability to continue as a

   going concern and substantial risk that it may be necessary for FES, and possibly FENOC, to seek

   protection under U.S. bankruptcy laws, which would have a material adverse impact on

   FirstEnergy’s and FES’ business, financial condition, results of operations and cash flows.”

   FirstEnergy Corp. further noted that,

                   [b]ased upon continued depressed prices in the wholesale energy
                   and capacity markets, weak demand for electricity and anemic
                   demand forecasts, FES’ cash flow from operations may be
                   insufficient to repay its indebtedness or trade payables in the
                   long- term. Although management is exploring capital and other
                   cost reductions, asset sales, and other options to improve cash
                   flow as well as continuing with legislative efforts to explore a
                   regulatory type solution, the obligations and their impact to
                   liquidity raise substantial doubt about FES’ ability to meet its
                   obligations as they come due over the next twelve months and, as
                   such, its ability to continue as a going concern.

          During FirstEnergy Corp.’s fourth-quarter 2016 earnings conference call on February 22,

   2017, Executive 1 focused on legislative and regulatory efforts:

                   In Ohio, we have had meaningful dialogue with our fellow utilities
                   and with legislators on solutions that can help ensure Ohio's
                   future energy security. Our top priority is the preservation of our
                   two nuclear plants in the state and legislation for a zero emission
                   nuclear program is expected to be introduced soon. The ZEN
                   program is intended to give state lawmakers greater control and
                   flexibility to preserve valuable nuclear generation. We believe
                   this legislation would preserve not only zero emission assets but
                   jobs, economic growth, fuel diversity, price stability, and
                   reliability and grid security for the region.

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                    We are advocating for Ohio's support for its two nuclear plants,
                    even though the likely outcome is that FirstEnergy won't be the
                    long- term owner of these assets. We are optimistic, given these
                    discussions we have had so far and we will keep you posted as
                    this process unfolds.
           In 2017 and 2018, FirstEnergy Corp. attempted to seek relief for its nuclear power

   generation facilities through a federal solution for its energy generation business. To further a

   federal solution, certain FirstEnergy Corp. executives met with federal officials and hired

   consultants with close connections to federal officials to lobby and assist in securing official action

   to subsidize the nuclear and coal plants through DOE action and the FERC rulemaking process.

   FirstEnergy Service also approved a $5,000,000 wire to a 501(c)(4) entity connected to federal

   official(s), on or about May 1, 2017, shortly after hiring a consultant with close connections to

   those federal official(s).

           By the fall of 2018, FirstEnergy Corp. believed the federal government may not take

   FirstEnergy Corp.’s requested action. Accordingly, while FirstEnergy Corp. continued

   conversations about a potential federal solution, they focused on a state solution to save the Ohio

   nuclear power plants.

        B. Public Official A

                                The State Solution for the Nuclear Plants

           At the same time FirstEnergy Corp. had been pursuing a federal solution for its Ohio

   nuclear power plants, FirstEnergy Corp. was pursing state legislation in Ohio to save the power

   plants through help from Public Official A, including the ZEN (Zero-Emissions Nuclear Resource

   Program) energy proposals outlined in House Bill 178, Senate Bill 128, and House Bill 381 in

   2017, which failed to gain the support necessary for passage before Public Official A became

   Speaker in 2019. For example, on or about November 5, 2016, Executive 1 told Individual B,

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   “Pass on to [Public Official A]. When we were talking on Weds I told him there was gonna be a

   sense of urgency but couldn’t tell him all the details. If we don’t move on some type of supplant in

   first half of 2017 it will be too late. These plants will be shut, sold, or bankrupt. I don’t have any

   contact info for him.”

          Central to FirstEnergy Corp.’s state solution strategy was payments for Public Official A’s

   benefit to Generation Now, which was Public Official A’s 501(c)(4), as Public Official A pursued

   the Ohio House Speakership. The FirstEnergy Corp. payments began in 2017, as Public Official

   A began executing his strategy to regain the Speakership. This was consistent with the strategy

   that Executive 2 had outlined in an internal presentation, explaining that 2017 political

   contributions are “strictly money spent to influence issues of key importance to FirstEnergy in

   2017, such as saving our baseload generation” and that FirstEnergy Corp.’s “preferred manner of

   giving is through section 501(c) groups, as these are considered ‘dark money’ because they are

   not required to disclose where the donations come from.” The presentation noted that “the bulk of

   our contribution decisions are to c(4)s.”

          In furtherance of its strategy, in 2017, FirstEnergy Corp., through FirstEnergy Service,

   wired $1,000,000 to Generation Now consisting of four quarterly payments for Public Official A’s

   benefit, following Public Official A’s trip to Washington D.C. with certain FirstEnergy Corp.

   executives for the inauguration. These payments were intended to contribute to Public Official A’s

   power and visibility for the speakership and allowed him to support other candidates who would

   in turn support his speakership.

          In return, FirstEnergy Corp. expected and intended that Public Official A and his team

   would further FirstEnergy Corp.’s efforts to save the power plants. Throughout 2017, FirstEnergy

   Corp. executives discussed with members of the Public Official A team ways in which Public

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   Official A could assist with FirstEnergy Corp.’s efforts to save the nuclear power plants.

          FirstEnergy Corp. continued to contribute to Generation Now to assist Public Official A in

   winning the speakership but changed its method of payment in 2018. Rather than send the money

   directly from FirstEnergy Service to Generation Now, the FirstEnergy Corp. payments came from

   Partners for Progress, which had been fully funded by FirstEnergy Corp. On or about March 15,

   2018 – two weeks before FirstEnergy Corp. subsidiaries filed for bankruptcy protection and

   FirstEnergy Corp. requested emergency action from the Department of Energy – FirstEnergy Corp.

   wired $300,000 from Partners for Progress to Generation Now for Public Official A’s benefit. Four

   days before the payment, Executive 1 met with Public Official A to “[d]iscuss Speaker race and

   votes needed.” Likewise, certain FirstEnergy Corp. executives wired $100,000 from Partners for

   Progress to Generation Now on or about May 4, 2018, four days before the Ohio primary election.

          FirstEnergy Corp. also sent approximately $400,000 for Public Official A’s benefit, at

   Public Official A’s request, through another 501(c)(4) in late April 2018, which through a series

   of transactions ultimately paid approximately $400,000 for media benefiting Public Official A

   before the May 2018 primary.

          FirstEnergy Corp. continued to fund Public Official A’s campaign for Speaker leading up

   to the fall 2018 election. On August 5, 2018, Executive 1 asked Executive 2, “[Is] [Public Official

   A] looking for more money?” to which Executive 2 responded, “You know the answer to the

   [Public Official A] question, but I don’t know for how much he’ll ask. I’ll get a list from [Ohio

   Director of State Affairs] as to the House races he’s most interested in winning and I’ll have

   something for you as to what fepac is doing in those races. He’ll want hard money first and then

   C(4) money for sure. I’ll be back to you today.” Later that day, Executive 2 followed up and said,

   “[Public Official A] wants to hear about us – status of company, what’s important to us this year

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   and next year. Money will come up – help with key races and C(4).” Following a meeting involving

   Executive 1 and Public Official A, on or about August 16, 2018, FirstEnergy Corp. wired $500,000

   from Partners for Progress to Generation Now for Public Official A’s benefit.

          A few weeks later, on or about August 24, 2018, Executive 1 and Executive 2 arranged for

   Public Official A to attend a presidential roundtable, during which Public Official A would ask

   whether Federal Official 1 intended to fix FirstEnergy Corp.’s issues at the federal level. Public

   Official A told Ohio Director of State Affairs, “I simply said [Federal Official 1], I’m [Public

   Official A] former Ohio Speaker and I was planning on discussing this in the Roundtable but the

   acoustics were horrible. He said yes they were – I couldn’t really hear much of anything – I then

   stated that his support in replacing the CPP was beneficial to Ohio but we need more in order for

   our zero emissions nuclear plants and coal fired facilities to remain an important part of our

   overall energy solution. He then stated that he had put a plug in it and now plans to fix it.” Public

   Official A reported the same information to Executive 1, explaining that “I opted to talk to him

   during the photo opt one on one” and that “He said they plan on fixing it.” The following exchange

   then occurred:

                    Executive 1:    “Got it. Thanks for the help!”

                    Public Official A: “Thank you for your help.”

                    Executive 1: “We are rooting for you and your team!”

                    Public Official A: “I’m rooting for you as well . . . we are on the same team”

          In October 2018, FES paid Generation Now another $500,000 for Public Official A’s

   benefit – $400,000 of which was hand-delivered to Public Official A during an in-person meeting

   on or about October 10, 2018. On October 2, 2018, about a week before the payment, Executive 2

   told Executive 1, “I know you know this, but this is where companies and people get in political


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   trouble – everyone is in a rush and they all need a ton of hel$p. Let me gather everything. I’ll bring

   it to you and you/we can decide.” On October 10, 2018, the day of the meeting, Executive 1 texted

   Executive 2, “FES meeting with Public Official A today. I told him to be nice but listen to us.”

   Executive 2 replied, “He’ll learn about the $400k at this mtg.” Executive 1 then responded, “They

   better get it done quick or he won’t be able to spend it.” Following the meeting, Public Official A

   thanked Executive 1 via text for the money from FES, stating, “$400k… thank you.”

          In addition to the $500,000 directly from FES to Generation Now in October 2018,

   FirstEnergy Corp. made a $500,000 electronic transfer of funds to Dark Money Group 1 for Public

   Official A’s benefit on October 29, 2018, a few days before the November election. This funds

   transfer occurred after Public Official A traveled to Akron to meet with Executive 1 on October

   23, 2018.

          Following the October 23, 2018 meeting, FirstEnergy Corp., through Executive 1 and

   Executive 2, also persuaded other energy-interested companies to send payments to Dark Money

   Group 1 to support Public Official A. For example, following the meeting with Public Official A,

   Executive 2 texted Executive 1, “I talked to [Company Executive C]. He’s going to contribute

   $100k to our effort with [Dark Money Group 1]. As for your [ ] Friday morning message to [CEO

   of Company B]: . . . I met with [Public Official A] a few days ago. We believe in [Public Official

   A] and think he can and will be Ohio’s next Speaker. That’s important to all of us. He has a need

   for a final push. We’ve committed $700k to the effort and I’d like to ask for your help with $100k.”

   A few days later, on October 26, 2018, Executive 2 asked Executive 1 if he could call CEO of

   Company B “on the [Public Official A] $100k matter?” Executive 1 responded, “I’m on it.”

   Executive 2 texted Executive 1 later the same day indicating that Company B is going to do

   “$100k.” Executive 1 responded that “[Company B Executive]” should “take credit with Public


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   Official A too” and later that day indicated that “the money has already been wired.” In total,

   following Public Official A’s October 23, 2018 trip to Akron to meet with Executive 1, the

   following payments were made to Dark Money Group 1:

          October 26, 2018                $100,000       wire           Company B

          October 29, 2018                $500,000       EFT            FirstEnergy Service

          October 29, 2018                $100,000       check          CEO of Company C

         The day before the November 2018 general election, Executive 1 texted Public Official A,

   asking, “24 hours left. How’s it looking?” Public Official A responded, “I am encouraged by the

   House races. Unless this blue wave shows up in the some races – I think we look great.”

         On November 7, 2018, the day after the election, Executive 1 texted Public Official A and

   asked, “How did your candidates do?” Public Official A responded that “we were a net -4.” Public

   Official A told Executive 1 that “I literally need 1 more vote for Speaker.” Executive 1 asked if

   Public Official A was “counting [Representative 11] or not?” and stated that, “I’ll make sure it

   happens.” Later that day, Public Official A asked Executive 1 “if you would just ask [Individual

   C] to set up a meeting w me and engage in getting this Spkrs race worked out [sic] so the way we

   want it. That would be perfect. Need him to focus.” Executive 1 responded, “On it.”

          FirstEnergy Corp.’s plan to fund Public Official A-approved House races through

   payments to Generation Now to help get Public Official A elected Speaker in return for introducing

   nuclear legislation was successful. On January 7, 2019, the Ohio House of Representatives selected

   Public Official A as Speaker. The day of his election, Public Official A texted Executive 1:

   “[t]hank you for everything it was historical.” In a separate text exchange that day, Individual C

   texted Executive 1, Executive 2, and two FE lobbyists, “Congrats [Executive 1] and [Executive

   2]. Big win in Ohio Speaker vote,” and then, “2019 could be FE’s year.” Executive 1 responded,

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   “Hate to say this but we still need to get DOE help for plants so we can use Ohio to help the

   parent.”

                                          Passage of House Bill 6

          Following Public Official A’s election as Speaker, FirstEnergy Corp. executives and

   representatives worked directly with Public Official A in drafting the nuclear legislation leading

   up to House Bill 6’s introduction in the House. FirstEnergy Corp. sought the nuclear legislation

   both for the interests of its subsidiaries, including FES, and to further the interests of the

   FirstEnergy Corp. parent company.

          From when House Bill 6 was introduced in April 2019 to October 2019, FirstEnergy Corp.

   worked directly with FES to support Public Official A through payments to Generation Now with

   the intent and for the purpose that, in return, Public Official A would take specific official action

   relating to the passage of House Bill 6 and the defeat of the ballot referendum initiative to overturn

   House Bill 6. FirstEnergy Corp. paid the money to Public Official A through Generation Now

   intending to influence and reward Public Official A in connection with passage of House Bill 6

   and defeating the ballot referendum.

          During that period, FES paid over $40 million through wire transfers to Generation Now

   for Public Official A’s benefit, while FES was involved in bankruptcy proceedings. In addition,

   FirstEnergy Corp. paid over $13 million through wire transfers from Partners for Progress to

   Generation Now during this period.

          Money paid from FirstEnergy Corp. to Generation Now in April 2019 through October

   2019 was intended to benefit Public Official A; was intended to help Public Official A in his

   campaign to pressure and advise public officials to support passage of House Bill 6; and was

   intended to help Public Official A’s efforts to defeat the ballot referendum, which included a plan

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   to pass alternate legislation if the proponents of the ballot referendum gained enough signatures to

   put the repeal of House Bill 6 on the ballot for a referendum. Certain FirstEnergy Corp. executives

   knew that the money paid to Generation Now was controlled by Public Official A and was for

   Public Official A’s benefit to use as he directed. Public Official A and his team instructed how

   much money to pay into Generation Now to further their efforts to pass House Bill 6 and to defeat

   the ballot referendum. A purpose of the Generation Now ads was to provide legislators with the

   necessary cover to support House Bill 6.

         For example, following opponent testimony in a House subcommittee that challenged House

   Bill 6 on April 23, 2019, Executive 2 told Executive 1, “Today was opponent testimony. Went

   long. Expected stuff. Tell [Public Official A] to put his big boy pants on. Ha.” Later that day,

   Executive 1 forwarded Executive 2 the content of a message from Public Official A that read, “I

   hope FES is ready for a fight because the first shot was fired at us tonight. Nobody screws with

   my members … my name ain’t [Representative 10] or [Representative 1]. I asked [Individual D]

   to make ads this morning.” Executive 1 then texted Executive 2, “FES Needs [sic] to pay for these

   ads,” explaining, “they can spend some money on the real fight.” Executive 1 later texted Public

   Official A, “I will be pushing FES to engage,” and then followed up, “I’ll talk to FES tomorrow

   about paying for [the ads.] What kind of budget.” Public Official A responded, “I’ll find out – I’d

   like to blister Columbus and eastern Ohio where the shale play is.”

          The next day, Executive 1 texted Public Official A, “Spoke to FES creditor rep. They will

   step in and help.” Public Official A responded that he is having breakfast with Individual A to

   discuss and will call Executive 1 after they meet. Public Official A responded to Executive 1, “I

   may want to run things past [Individual A] to make sure [Individual D] doesn’t overcharge. I’m

   cheap.” Executive 1 replied to Public Official A, “OK. I would say you are a bargain – not cheap.”


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             On May 1, 2019, FES Executive A texted Executive 2, “Can someone change the

   Generation Now website so it looks more like our positive commercial? Less conventional power

   plants, more blue skies, fields and some wind turbines.” Executive 2 responded, “[FES Executive

   A] – don’t disagree, but remember, you’re just the bank for these spots. They’re not yours if you

   know what I mean. You change them, and they’re yours – along with the criticism and results.”

             Specific official action by Public Official A relating to the passage of House Bill 6 included

   helping draft the nuclear bailout legislation at FirstEnergy Corp.’s and FES’s direction and

   pressuring and advising other public officials to take official action to support the nuclear

   legislation. While House Bill 6 was pending, FirstEnergy Corp. sought from Public Official A

   specific official action in the form of pressuring and advising other officials to support the

   “decoupling” provision supported by FirstEnergy Corp. and to support an extension of the term of

   the nuclear subsidy duration to ten years.

             For example, on April 15, 2019, three days after Public Official A introduced House Bill

   6, Executive 2 emailed Executive 1 and several other FirstEnergy Corp. executives and employees

   about “talking points” for “educating legislators” relating to the “decoupling language which we

   proposed be included in the recently-introduced Ohio Clean Energy Bill (House Bill 6).” In the

   same email chain, Executive 2 made clear that the decoupling language in House Bill 6 was the

   result of coordination with the Speaker’s office.

             In a May 4, 2019 text message, Public Official A told Executive 1 he needed information

   about FirstEnergy Corp. “[a]s I begin to enter into the ‘all out war’ part of the HB 6 debate,” so

   that Executive 1 could help Public Official A “shap[e] an argument” in gaining support for House

   Bill 6.



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          On June 27, 2019, while House Bill 6 was pending in the Senate, Public Official A texted

   Executive 1 that “House / Senate negotiations are occurring.” Executive 1 responded, “Negotiate

   hard. 10 years and decoupling back in!” Public Official A then replied, “10 years?”; “[FES

   Executive B] told me $148M for 6yrs was what was necessary.” Executive 1 then responded, “I

   was told you knew about it. They fucked up. You’ll be fighting this same issue in 5 years because

   they will not be able to take it public without more years.” Executive 1 later told Public Official

   A, “You don’t want to have to deal with this twice as Speaker.”

          On July 13, 2019, Executive 1 texted Executive 2 and FES Executive A that he told Public

   Official A “why 10 years is a must” and Public Official A is “on board with pushing HB6 to 10 if

   he can.”

          On July 16, 2019, FES Executive A texted Executive 1 and Executive 2, “Speaker is saying

   he needs at least a little help from Governor to get our years increased.” The next day, FES

   Executive A again texted Executive 1, “House doesn’t have quite enough votes,” to which

   Executive 1 responded, “[Public Official A] is negotiating. I’m in the loop.” Later that day,

   Executive 1 texted Executive 2, “Some big concessions by the speaker on the budget. Hopefully

   he did a little horse trading along the way.” That day, Executive 2 texted Executive 1 and FES

   Executive A, “HB 6 passed Committee (with decoupling). 9-4 vote. No additional years for FES –

   7 years.” HB 6 then went back to the House for a vote on the Senate’s amendments to the bill, and

   Executive 2 texted Executive 1, “Now I’m hearing the Speaker is scrambling for one vote.”

          On July 17, 2019, FES Executive A pleaded to Executive 1 that, “If we only end up w the

   7 years I will do exactly as you say, which is say thank you and go back to my nose on the

   grindstone,” but, FES Executive A continued, “[t]hat said, is there anything we can do to get

   another year or 2? If that is not feasible and all hope is lost, can we get a 2 or 3 year extension

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   option at year 7? We could base it on some type of test of whether FERC has given subsidies etc.”

   Executive 1 responded FES Executive A: “[State Official 2], [Public Official B], [Company C

   Executive] and [Official Aide 1] are fighting to the end and we’ve been talking to them all day.

   Conference on budget is ongoing and Speakers [sic] delegation is gonna try to negotiate budget

   movement for tenure on HB6. Everything that can be done is being done. If we don’t get it, we

   work to pass an addendum as soon as [Senator 3] is out.”

          On July 23, 2019, the day that House Bill 6 was signed into law with the decoupling

   provision included, Executive 2 texted Executive 1 a screenshot showing House Bill 6 passing

   with 51-38 votes, and the following conversation occurred:

           Executive 2: Boom! Congrats. This doesn’t happen without ceo leadership.
           Executive 2: [Image of House vote]
           Executive 1: We made a bbiiiiiiiig bet and it paid off. Actually, 2 big bets. Congrats to
           you and the entire team! See if [name] has any Pappy and we’ll all head to Columbus
           tonight.
           Executive 2: Huge bet and we played it all right on the budget and HB 6 – so we can go
           back for more!
           Executive 2: No party tonight. We are going to plan one with the Speaker later.
           Executive 2: You should call the Speaker today.
           Executive 1: Already texted him…
                                   Defeating the Ballot Referendum

          FirstEnergy Corp. and FES agreed to pay millions of dollars to Public Official A through

   payments to Generation Now in return for and in connection with Public Official A’s efforts to

   defeat the ballot referendum, which included specific official action by Public Official A. Specific

   official action agreed to included efforts by Public Official A to have House Bill 6 interpreted as

   a “tax” such that it could not be challenged through a ballot referendum under law; and, if the

   ballot initiative gained enough signatures to put the referendum of House Bill 6 on the ballot, to

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   advance alternate legislation by Public Official A, to include making clear that House Bill 6 was a

   tax and thus could not be challenged through a ballot referendum.

         For example, on July 16, 2019, prior to passage of House Bill 6, Executive 2 texted Official

   Aide 1 that he “[j]ust remembered some language added late to House version to help make it

   harder to challenge via referendum. Speaker worked with fes on it. Senate probably took it out and

   now folks want it back in.”

          On July 24, 2019, FES Executive A texted to Executive 2: “[Individual H], [FES Executive

   C] and myself are point on referendum. He has a mtg w [sic] Speaker on it tomorrow. I am talking

   to Speaker later today . . .” Executive 2 later responded, “I’m very concerned about the

   referendum.” FES Executive A replied, “We are taking [Public Official A’s] lead on fighting the

   referendum.” FES Executive A replied further, “Am I supposed to go against what [Public Official

   A] is telling us to do?” Two days later, Executive 2 texted FES Executive A, “I had a good

   conversation with [Public Official A] today re: the referendum issue. I think you’re in excellent

   hands. I know more about his personal involvement and engagement. We should all be following

   his lead. I know you/fes are and we will as well.”

          On September 4, 2019, Executive 2 told Executive 1 he intended to take steps to convince

   another Ohio public official to publicly state that House Bill 6 was a tax because, under Ohio law,

   a tax would not be subject to a ballot referendum. In response, Executive 1 texted Executive 2,

   “We should check with [Public Official A] to make sure he’s on board with this before we step in.

   He seemed pretty confident in his referendum strategy and plans to pass it as a tax in a new bill if

   they get enough signatures. Just want to make sure he agrees.”

          To further the scheme, FirstEnergy Corp. used Partners for Progress, a 501(c)(4) controlled


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   by and operating for the benefit of FirstEnergy Corp., to conceal payments to Public Official A. In

   October 2019, FirstEnergy Corp. paid $10 million (October 10, 2019) and $3 million (October 22,

   2019) to Generation Now for Public Official A’s benefit by first wiring the money through Partners

   for Progress rather than paying the money to Generation Now directly. FirstEnergy Corp. paid the

   $13 million at Public Official A’s and FES’s request, knowing and with the intent that the money

   was in return for Public Official A’s efforts to defeat the ballot referendum and ensure House Bill

   6 became law, to include specific official action for alternate legislation if the ballot referendum

   received enough signatures to get on the ballot.

          For example, on October 9, 2019, Executive 1 texted FES Executive A, “Just got word the

   $ is being wired today. $10M.” Executive 1 told Executive 2, “I did speak with Public Official A

   and he says they need it and will spend it. Talked to him about future and he says the future is now.

   He understands it’s not our issue and truly appreciates the support.” In exchange for Executive

   1’s agreement to wire the $10 million to Public Official A, FES Executive A promised Executive

   1 that FES would pay additional funds in connection with the transfer of real estate to FirstEnergy

   Corp. after FES’s bankruptcy.

          On October 19, 2019, a few days before the ballot referendum’s signatures were due,

   Executive 1 texted Executive 2 and FES Executive B, “Just spoke to the big guy. He’s got the ‘tax’

   bill ready to go and believes he’s got [Senator 3] on board….” FES Executive B responded, “That

   is good news. Having both [Public Official A and Senator 3] on board and ready is critical for us

   next week to be ready to deal with the outcome of the signatures and the court.” Executive 2 also

   texted Executive 1, “I wish we had this state and federal team in place when we first started our

   generation push. Darn it.”

          On October 23, 2019, Executive 1 texted FES Executive A: “You are a worrier but then

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          it’s a pretty big deal. For what it’s worth [State Official 3] and [Public Official A] think it’s game

       over. But that’s private conversation unless they’ve told you the same thing. And [Public Official A]

       has a ‘quick fix’ anyway.” Executive 1 went on, “he and I have been chatting too. More aboutraising

       him $$$$.”

                                   Public Official A’s Term Limit Ballot Initiative

                 In February 2020, Public Official A and his team approached FirstEnergy Corp. about

       funding a ballot initiative championed by Public Official A, which would change Ohio law to

       increase term limits for Ohio public officials. The term limit initiative would allow Public Official A to

       potentially remain in power as Speaker for up to sixteen additional years, which would give Public

       Official A additional time as Speaker to further FirstEnergy Corp.’s interests through official

       action.

                 For example, on February 28, 2020, Executive 1 and Individual B had the following
       conversation:
                  Executive 1: . . . . Talked to Speaker today. He’s an expensive friend

                  Individual B: I did not know what he wanted to talk to you about.

                  Executive 1: His term limit initiative. 16 years lifetime max in
                  legislature starting when it passes. No need to switch houses. But
                  after 16 your [sic] done for good.

                  Individual B: I think it’s a great idea especially if he stays there

                  Executive 1: He told me he’ll retire from there but get [sic] a lot
                  done in 16 more years.

                  Individual B: Probably more than five previous Speakers combined

                  Individual B: He will make Ohio great again

                  Executive 1: Yep


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          The next day, Executive 1 texted Public Official A, “Work with [Individual A] on ballot

   initiative? You coming up for Home Opener?” Public Official A responded, “Yes. I haven’t thought

   much about Opening Day yet.” Executive 1 later texted Public Official A, “[Executive 2] is

   contacting [Individual A] to do 2 early next week,” to which Public Official A responded, “Very

   much appreciated.” In text message exchanges the next day, Executive 2 stated, “On

   Monday/Tuesday of next week, we are hoping to do a $2M contribution from our C(4) to

   Generation Now”; and “[w]e are going to make a significant contribution to Generation Now from

   Partners for Progress next Monday/Tuesday.” Executive 2 stated in a subsequent message that

   Public Official A’s term limit initiative “extends and stabilizes existing leadership – good for the

   home team.”

          On March 2, 2020, FirstEnergy Corp. paid $2 million to Public Official A by wiring the

   money from FirstEnergy Corp.’s 501(c)(4), Partners for Progress, to Public Official A’s 501(c)(4),

   Generation Now, to advance Public Official A’s term limits initiative.

        C. Public Official B

                          FirstEnergy Corp.’s Consulting Agreement with
                                        Public Official B

          Prior to December 2018, FirstEnergy Corp. made payments to Public Official B pursuant

   to agreements with Public Official B through Company 1. The payments were made from

   FirstEnergy Service to Company 1’s bank account, in part, for Public Official B’s benefit.

          A 2013 consulting agreement was subsequently amended in 2015. The 2015 amendment

   coincided with and was made in exchange for Public Official B’s industrial group withdrawing its

   opposition to a 2014 PUCO Electric Security Plan settlement package involving FirstEnergy

   Corp.’s Ohio electric distribution subsidiaries. The amended agreement called for an increase in



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   Public Official B’s retainer and supplemental payments through 2024. Although the amended

   agreement does not appear to have been executed, from 2015 through June 2018, FirstEnergy

   Corp. paid into the Company 1 account pursuant to the terms of the agreement with Public Official

   B. Invoices from Company 1 were structured to bypass FirstEnergy Corp.’s Level of Signature

   Authority levels for purposes of internal approval of the payments.

          In January 2019, Public Official B received a payment of $4,333,333, which represented

   the remaining payment amounts designated in the amended consulting agreement from 2019

   through 2024. FirstEnergy Corp. was under no legal obligation to make the payment at that time.

                                     Public Official B as PUCO Chairman

          FirstEnergy Corp. paid the entire $4,333,333 to Company 1 for Public Official B’s benefit

   with the intent and for the purpose that, in return, Public Official B would perform official action

   in his capacity as PUCO Chairman to further FirstEnergy Corp.’s interests relating to passage of

   nuclear legislation and other specific FirstEnergy Corp. legislative and regulatory priorities, as

   requested and as opportunities arose.

          In December 2018, Public Official B discussed the $4,333,333 payment with Executive 1

   and Executive 2. For example, on December 17, 2018, Public Official B emailed Executive 2 and

   others the announcement stating that PUCO was seeking applications for a commissioner. The

   next day, on December 18, 2018, Executive 1 and Executive 2 met with Public Official B at Public

   Official B’s condominium. During the meeting at Public Official B’s condominium, Executive 1,

   Executive 2, and Public Official B discussed the remaining payments under the consulting

   agreement and Public Official B’s candidacy for the open PUCO chair position.

          The next day, Public Official B texted Executive 1 and Executive 2 detailing the remaining

   payments under his consulting agreement with FirstEnergy Corp. from 2019 to 2024. The


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   payments totaled $4,333,333. Public Official B added, “Thanks for the visit. Good to see both of

   you,” to which Executive 2 responded immediately, “ Got it, [Public Official B]. Good to see you

   as well. Thanks for the hospitality. Cool condo.”

          Later that day, Executive 1 texted Public Official B and Executive 2, “We’re gonna get this

   handled this year, paid in full, no discount. Don’t forget about us or Hurricane [Executive 1] may

   show up on your doorstep! Of course, no guarantee he won’t show up anyway.” Executive 1 then

   attached an image of a venomous snake protruding from a hurricane. Public Official B replied,

   “Made me laugh – you guys are welcome anytime and any whereI [sic] can open the door. Let me

   know how you want me to structure the invoices. Thanks.” Public Official B then added, “I think I

   said this last night but just in case – if asked by the administration to go for the Chair spot, I would

   say yes.”

         After meeting with Public Official B in December 2018 to discuss the payout and Public

   Official B’s candidacy for PUCO Chairman, certain FirstEnergy Corp. executives pushed to have

   Public Official B appointed as the PUCO Chairman. Under Ohio law, PUCO consists of five public

   utilities commissioners appointed by the governor with the advice and consent of the senate. The

   governor must designate one commissioner to be chairperson of PUCO, who serves at the

   governor’s pleasure. PUCO commissioners are selected from a list of individuals submitted to the

   governor by the public utilities commission nominating council. FirstEnergy Corp. executives’

   efforts to have Public Official B appointed as PUCO Chairman included working directly to

   advance the appointment of Public Official B as PUCO Chairman so that Public Official B could

   further FirstEnergy Corp.’s interests in that role through official action. FirstEnergy Corp.’s plan

   was for Public Official B to be appointed to the open seat as PUCO Chair and another individual

   appointed to a second projected opening on PUCO.


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          On January 2, 2019, FirstEnergy Service wired the $4,333,333 to Public Official B’s

   Company 1 bank account. That same day, Executive 2 texted Executive 1:

                   [Executive 1] - this text came to me this morning from [Public
                   Official B]. His mtg with Gov.-elect is this Friday and I suspect,
                   absent any problem, things will go down as we've discussed, with
                   [Individual E] getting [PUCO Official 1]’s seat as soon as
                   [PUCO Official 1] leaves. In any event, pls see [Public Official
                   B]’s mssg re: meeting with us soon in Akron.

                   [Executive 2], I would like to come to Akron on 1/10, 1 /11, 1/14
                   or 1/15 to get a better understanding of the “hole” (size, shape,
                   life expectancy and so on). Also, I would like to discuss a couple
                   concepts that I landed on after our recent meeting. If [Executive
                   1] is available to discuss concepts, that would be a plus. If none
                   of the above days work, get me a couple that do, please.

   Executive 1 responded with a date and time for meeting Public Official B, then stated: “So you’re

   saying [Public Official B] as Chair and [Individual E] on later?” Executive 2 replied, “That’s

   their plan, but nothing certain until [Public Official B]’s meeting. Four people in [State Official

   1] world, you, [Public Official B] and I know about this.”

          Later that day, Executive 2 and Executive 1 discussed the upcoming meeting between

   Executive 1, Executive 2, and Public Official B further. Executive 2 asked Executive 1, “Is there

   anyone internally you’d like to include? I’ll ask him about his location preference. My guess is

   that he’s on point to figure out what we need and to report back as to how it should be/could be

   fixed.” Executive 1 replied, “I think just you and me. Don’t want too many on the inside right now.

   That’s probably his preference also.” Executive 2 then forwarded a text from Public Official B:

   “From [Public Official B]. Probably best if it is you and [Executive 1]. If more is required, I can

   follow up. I don’t think that we will get into the weeds. That can come once we get comfortable

   with a conceptual framework.”

          On January 14, 2019, Executive 2 texted Executive 1 about the “Ohio hole,” “extending


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   our ESP,” among other things. Executive 2 then texted Executive 1 about the timing of what

   would become House Bill 6: “[Public Official B] was talking about the number of weeks needed

   for him to coalesce parties on the broad construct of an energy bill. Before introduction.”

   According to Executive 2, Public Official B estimated “the 6 to 8 week time frame to pull together

   (not necessarily pass) the legislative component assumes that the new administration makes the

   appointment ASAP and runs from the date of the appointment.”

           On January 18, 2019, Executive 1 texted Executive 2, “…Once [Public Official B] is

   announced, we need him to help with [Individual E]. Sounds like he already did but will need

   more.” Executive 2 responded, “[Individual F] told me that once [Public Official B] is in, [State

   Official 1] will lean on him on everything including who should be the next commissioner.”

           On January 28, 2019, at the same time certain FirstEnergy Corp. executives were lobbying

   to have Public Official B appointed PUCO Chair, Executive 2 texted Executive 1 about a solution

   to the Ohio “hole” and an update on Public Official B’s nomination: “[Executive 1] – [Individual

   G] and I just finished a good meeting with [Public Official B] on the way to solve the 2024 issue.

   No one internal knows we met with him.” Executive 1 responded, “Any word on his status?”

   Executive 2’s reply indicated he spoke with State Official 2 and, “no decision but that he had a

   great conversation with Gov this morning.”

           Days later, Executive 2 and Executive 1 became concerned that Public Official B would

   need to pull out of the PUCO selection process because a disclosure in connection with an FES

   bankruptcy filing indicated that Company 1 had received payments from FES. In response to the

   news, Executive 1 lamented in a text message to Executive 2 on January 31, 2019, “Great. Now

   we have none on the list.” Executive 2 responded, “This is awful.” Executive 1 then texted, “Back

   to legislative fix for Ohio hole.”


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          Later that day, however, their concern dissipated as Public Official B cleared the selection

   process. Executive 2 texted Executive 1, “Nominating Council has been delayed and is now in

   Executive Session.” Executive 2 later texted Executive 1, “That bullet grazed the temple.”

   Executive 1 responded, “Forced [State Official 1]/[State Official 2] to perform battlefield triage.

   It’s a rough game.” Minutes later, Executive 2 forwarded an email that read, “[Public Official B]

   got the most votes.” Executive 1 texted Public Official B the next day, “Most of the media coverage

   is very fair. There will be some shots take but that’s inevitable. Hang in there til it’s done and it

   will quiet quickly.”

          The plan to get Public Official B appointed PUCO chairman was successful. On February

   4, 2019, Public Official B’s selection as the Chairman of PUCO was announced. That day

   Executive 1 texted Company C Executive, “Now work on the [Public Official B]/[Individual E]

   parlay. Once [Public Official B] is in he’ll help with [Individual E] and my Speaker friend will

   too.” The next day, Executive 1 texted Public Official B, “Congratulations!” Public Official B

   responded, “Thanks, [Executive 1] – the last four days have been tuff.” Public Official B went on,

   “Thanks goes to some great good friends.”

          The day Public Official B’s confirmation as PUCO became public, Company C Executive

   texted Executive 1: “Let’s try not to fuck this up,” while attaching an article announcing Public

   Official B was selected as the next PUCO Chair.

          On or about February 13, 2019, Executive 2 told Public Official B, “[Executive 1] is

   meeting with [Public Official A] today” and asked him, “Anything you think [Executive 1] should

   raise?” Public Official B responded that “We need coordination between executive and legislative

   branches to get sensible stuff over the goal line. Absent that, the current polarization will pull

   everything under.”

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                                       Official Action by Public Official B

          After his appointment as PUCO Chairman, Public Official B performed official action,

   including acts related to House Bill 6 and the elimination of FirstEnergy Corp.’s requirement to

   file a new base rate case in 2024, furthering FirstEnergy Corp.’s specific legislative and regulatory

   interests at the direction of and in coordination with certain FirstEnergy Corp. executives, as

   FirstEnergy Corp. requested and as opportunities arose.

          For example, with respect to House Bill 6, on June 28, 2019, Executive 2 texted Executive

   1, “Just heard from [Public Official B].. [sic] decoupling looks good.” Executive 2 explained to

   FES Executive A on July 10, 2019, that Public Official B told Executive 2 regarding the “audit

   issue”: “I am engaged and hope I can help.” Executive 2 went on, “Having [Public Official B]

   engaged is key. He doesn’t use the word lightly.”

          On July 11, 2019, Executive 2 texted Executive 1: “[Executive 1] – I had a long talk with

   [Public Official B] last night about audit language. He is mtg today with [Senator 4] and Senate

   Counsel. We have a good plan to help. Just wanted u to know your team is engaged and helping –

   and we will get it if we can keep fes from negotiating against themselves.”

          On July 13, 2019, Executive 2 texted Executive 1 that he heard from Public Official B

   regarding “the audit” language, explaining, “[Public Official B] thinks he has it nailed and the

   language works. Confidentially, [FES Executive B] agrees.”

          On July 16, 2019, Executive 2 and Executive 1 texted relating to the status of House Bill 6

   and the budget. The conversation went as follows:

                   Executive 2: Budget conferees are meeting now - so the budget
                   looks to be good to go (or they wouldn't be meeting). Our SEET
                   language is in the bill. Still awaiting word on HB6 but our intel
                   is that [Official Aide 1], [State Official 2] and [Public Official B]

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                   are still trying to get fes some more years.
                   Executive 1: Decoupling?
                   Executive 2: Will be offered tomorrow by [Senator 5] with help
                   from [Senator 6]. Stupid they're making her offer it, but we are
                   convinced there's no monkey business. It's greased.
          About a week later, on July 23, 2019, House Bill 6 passed the legislature with the

   decoupling provision advocated by FirstEnergy Corp. That day, Executive 1 sent to Public Official

   B a photo-shopped image of Mount Rushmore with the face of Public Official B, alongside

   Executive 2, Ohio Director of State Affairs, and Company C Executive, imposed over the four

   presidential faces with the caption, “HB 6 FUCK ANYBODY WHO AINT US.” Public Official B

   commented that his picture was smaller than the others and then responded, “funny.”

          In addition, at FirstEnergy Corp.’s request and direction, Public Official B performed

   official action to fix FirstEnergy Corp.’s “Ohio hole” through a PUCO opinion eliminating the

   requirement that FirstEnergy Corp.’s Ohio electric distribution subsidiaries file a new base rate

   case when ESP IV ended in 2024.

          For example, on November 5, 2019, Executive 1 texted to Executive 2 an article published

   that day, in which Morgan Stanley projected low growth for FirstEnergy Corp. because of “a rate

   case review in 2024.” In his note accompanying the article, Executive 1 told Executive 2, “Here’s

   the MS down grade due to the ‘Ohio hole.’”

          On November 10, 2019, Executive 1 texted Company C Executive, “And, the FE rescue

   project is not over. At EEI financial conference. Stock is gonna get hit with Ohio 2024. Need

   [Public Official B] to get rid of the ‘Ohio 2024’ hole.” A few days later, on November 15, 2019,

   Executive 2 texted Executive 1, “I spoke with [Public Official B] today. Told me 2024 issue will

   be handled next Thursday (November 21).” Executive 2 later texted, “he’s going to make the


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   requirement to file go away, but I do not know specifically how he plans to do it.”

          On November 21, 2019, Executive 2 texted Executive 1, “Today is our day for action on

   the 2024 issue.” Executive 1 suggested that Public Official B make a “public statement” about the

   ruling, to which Executive 2 responded, “On it.” Later that day, PUCO issued a ruling that

   FirstEnergy Corp.’s Ohio electric distribution subsidiaries were no longer required to file a new

   rate distribution case in 2024. Executive 2 later texted Executive 1 the PUCO decision, which

   highlighted the following language from the Opinion and Order: “we find that it is no longer

   necessary or appropriate for the Companies to be required to file a new distribution rate case at

   the conclusion of the Companies’ current ESP.”

          Pursuant to House Bill 6, part of FirstEnergy Corp.’s revenue would have been decoupled

   at least until its next base distribution rate case, which was scheduled for 2024. The November 21,

   2019 decision by PUCO eliminated FirstEnergy Corp.’s Ohio electric distribution subsidiaries’

   requirement to file its new rate distribution case at the conclusion of ESP IV in 2024. The

   November 21, 2019 PUCO decision addressed the 2024 “Ohio hole” by extending the time before

   the FirstEnergy Ohio utility subsidiaries were required to file a base rate case.

          On November 22, 2019, approximately a day after PUCO’s rate case policy change

   benefitting the energy company, and the day after news of the decoupling rider application became

   public, Executive 1 thanked Public Official B via text message. Specifically, Executive 1 texted

   Public Official B an image showing FirstEnergy Corp.’s stock increase with a note that stated,

   “Thank you!!” Public Official B responded, “Ha – as you know, what goes up may come down.

   [Name] helped. Thanks for the note. Spoke to [name]last night.” Executive 1 replied, “Every little

   bit helps. Those guys are good but it wouldn’t happen without you. My Mom taught me to say

   Thank you,” to which Public Official B replied, “Thanks.”

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          On January 15, 2020, a few months later, it appeared that another commissioner would be

   appointed to PUCO in 2020. Public Official A texted Executive 1, “Who do you like for this PUCO

   board appointment.” That evening, Executive 1 texted Public Official A’s message to Executive

   2: “Who do you like for this PUCO board appointment”; Executive 1 followed up, “Got this from

   [Public Official A] a little while ago.” Executive 1 then texted, “But I think [Public Official B]

   wants the incumbent D re-upped because he’s very cooperative with [Public Official B].”

   Executive 1 later told Executive 2, “Tell [Public Official B] [Public Official A] asked me I [sic]

   my response was whoever [Public Official B] wants.”

          Executive 1 then texted Public Official A back as follows: “[PUCO Official 2] is the

   commissioner who’s up this April. [Public Official B] likes [PUCO Official 2]. [Public Official

   B] has been outstanding. Approved our decoupling filing today and got a 5-0 vote including

   [PUCO Official 2], even though Staff bureaucrats wanted to modify HB 6 language.” Public

   Official A responded, “Very good.” Public Official A then stated, “I need to have my appointee to

   make recommendation for Gov. I will take care of it tomorrow.”

          In a March 4, 2020 text message exchange about possible future favorable action by Public

   Official B, Executive 1 summarized official action already performed by Public Official B at the

   request of FirstEnergy and stated: “He will get it done for us but cannot just jettison all process.”

   After describing certain acts taken by Public Official B, Executive 1 explained that there is “a lot

   of talk going on in the halls of PUCO about does he work there or for us? He’ll move it as fast as

   he can. Better come up with a short term work around.”




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           As set forth in the Corporate Officer’s Certificate, I am duly authorized to execute this
   Agreement on behalf of FirstEnergy Corp. I have read the Statement of Facts and have carefully
   reviewed it with counsel for FirstEnergy Corp. and FirstEnergy Corp.’s Board of Directors. On
   behalf of FirstEnergy Corp., I acknowledge that the Statement of Facts is true and correct.



   July 20, 2021
   _________________________
   Date                                        Steven
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                                                             h PPresident
                                                                    id t & CEO
                                               FIRSTENERGY CORP.




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                               UNITED STATES DISTRICT COURT

                                SOUTHERN DISTRICT OF OHIO

                                    EASTERN DIVISION

   In re FIRSTENERGY CORP. SECURITIES       )   No. 2:20-cv-03785-ALM-KAJ
   LITIGATION                               )
                                            )   CLASS ACTION
                                            )
   This Document Relates To:                )   Judge Algenon L. Marbley
                                            )   Magistrate Judge Kimberly A. Jolson
            ALL ACTIONS.                    )
                                            )
                                                DEMAND FOR JURY TRIAL



                       CONSOLIDATED COMPLAINT FOR VIOLATIONS
                           OF THE FEDERAL SECURITIES LAWS

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            Lead Plaintiff Los Angeles County Employees Retirement Association (“Lead Plaintiff”),

   together with Plaintiffs Amalgamated Bank (defined herein), City of Irving Supplemental Benefit

   Plan and Wisconsin Laborers’ Pension Fund (collectively “Plaintiffs”), individually and on behalf of

   all other persons similarly situated, allege the following based upon personal knowledge as to each

   Plaintiff and each Plaintiff’s own acts, and upon information and belief as to all other matters based

   on the investigation conducted by and through Plaintiffs’ attorneys, which included, among other

   things, a review of Securities and Exchange Commission (“SEC”) filings by FirstEnergy Corp.

   (“FirstEnergy” or the “Company,” which terms include subsidiaries that FirstEnergy owned and

   controlled, unless otherwise indicated), as well as media reports about the Company and case filings

   in USA v. Borges, 1:20-mj-00526 (S.D. Oh.) (the “Criminal Proceedings”). Plaintiffs believe that

   additional evidentiary support will exist for the allegations set forth herein after a reasonable

   opportunity for discovery.

                                        SUMMARY OF THE ACTION

            1.         This is a securities class action on behalf of all purchasers of FirstEnergy securities

   between February 21, 2017 and July 21, 2020, inclusive (the “Class Period”). Plaintiffs seek to

   pursue remedies under §§11, 12(a)(2) and 15 of the Securities Act of 1933 (the “Securities Act”) and

   §§10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), as well as SEC

   Rule 10b-5 promulgated thereunder, against FirstEnergy, certain current and former senior Company

   insiders, and the investment banks which underwrote two FirstEnergy debt offerings during the

   Class Period.

            2.         FirstEnergy is an electric utility company headquartered in Akron, Ohio that serves

   much of the Midwest and Mid-Atlantic regions. Its family of ten operating companies comprise one

   of the largest investor-owned utility companies in the United States.



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            3.         Throughout the Class Period, FirstEnergy and its most senior executives bankrolled

   one of the largest corruption and bribery schemes in U.S. history. Unbeknownst to investors,

   FirstEnergy spent tens of millions of dollars on an unprecedented multi-year scheme to corrupt

   legislators and regulators, who FirstEnergy used to draft and pass legislation designed to provide $2

   billion in benefits to FirstEnergy – all at ratepayers’ expense. FirstEnergy’s scheme extended to the

   highest offices of the Ohio legislature, including the office of the Speaker of the House, and to the

   top energy regulator in the state, the Chairman of the Public Utilities Commission of Ohio

   (“PUCO”). FirstEnergy employed an elaborate network of lobbyists, shell companies and political

   action committees; saturated media markets with a false and misleading advertising campaign

   funded through difficult-to-trace dark money networks; and directly subverted the free and fair

   operation of Ohio elections.

            4.         FirstEnergy’s scheme to corrupt the political process and suborn the regulatory

   framework was not the work of rogue employees, but personally overseen and facilitated by the

   senior echelon of Company management, including FirstEnergy’s then-Chief Executive Officer

   (“CEO”) Charles E. Jones and numerous other executives responsible for FirstEnergy’s regulatory

   affairs, legal compliance, financial reporting and investor disclosures. Corruption became a

   fundamental aspect of the Company’s business model as the key to unlocking $2 billion in critical

   subsidies and overcoming the Company’s most pressing operational challenges.

            5.         Specifically, during the Class Period, FirstEnergy claimed that it was pursuing and

   ultimately secured a “solution” for the bailout of its two failing nuclear plants, the Perry Nuclear

   Generating Station and the Davis-Besse Nuclear Power Station (the “Nuclear Plants”), through the

   passage of Ohio House Bill 6 (“HB6”). HB6 was a purported “clean energy” bill designed to

   incentivize low carbon dioxide emitting power production, in particular nuclear power generation.

   In addition to a ratepayer-funded $1.3 billion bailout of the Nuclear Plants, HB6 also included a

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   ratepayer-funded “decoupling” provision worth some $700 million in subsidized revenues for

   FirstEnergy. “Decoupling” in this context means that FirstEnergy could charge higher rates for

   electricity than supply-and-demand principles would otherwise justify, allowing FirstEnergy to lock-

   in hefty profits regardless of how much electricity ratepayers actually used.

            6.         This corruption-based business model exposed FirstEnergy to catastrophic risks (and

   now the reality) of financial, regulatory, legal and reputational loss, and FirstEnergy and its senior

   insiders went to great lengths during the Class Period to conceal these risks from investors. In fact,

   FirstEnergy and its executives repeatedly affirmatively reassured investors that the Company was

   not engaged in any illicit activities and “compl[ied]” with all laws and regulations applicable to its

   regulatory affairs and investor disclosure obligations. FirstEnergy also provided investors with

   pages of “Risk Factors” purporting to detail the most significant risks facing the Company, while

   concealing any mention of the monumental risks stemming from the political corruption scheme then

   being spearheaded by the Company and its executives. FirstEnergy’s misrepresentations of material

   facts about these corrupt activities was part of an overarching “Bailout Scheme” designed to

   generate billions of dollars in illicit proceeds for the Company.

            7.         For a time, the Bailout Scheme was a resounding success. During the Class Period,

   the price of FirstEnergy stock soared to over $50 per share, allowing the Company to raise $5 billion

   in a “transformational” equity raise and two public bond offerings. Company insiders were also

   richly rewarded, receiving tens of millions of dollars in excess compensation tied to FirstEnergy’s

   apparent success. For example, in 2019 alone, FirstEnergy paid Jones over $20 million, which

   included $18 million in performance-based stock units. Numerous Company insiders also took

   advantage of FirstEnergy’s inflated stock price to sell millions of dollars of their own personal

   FirstEnergy shareholdings. Jones alone sold nearly 265,000 FirstEnergy shares for $10 million at



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   artificially inflated prices during the Class Period – more than double the number of shares he sold in

   the preceding ten years.

            8.         On July 21, 2020, however, the U.S. Attorney’s Office for the Southern District of

   Ohio and the Federal Bureau of Investigation (“FBI”) announced the arrests of Ohio House Speaker

   Larry Householder (“Householder”) and several accomplices and publicly filed a criminal complaint

   and supporting 80-page affidavit (the “Criminal Complaint.”), revealing critical aspects of the

   Bailout Scheme. The Criminal Complaint was the product of a years-long investigation that

   included court-authorized wire intercepts of phone calls and text messages, extensive analyses of

   financial records, documents seized pursuant to court-authorized search warrants, media reports,

   legislative records and witness interviews. The Criminal Complaint detailed how FirstEnergy

   (identified as “Company A”) had served as the criminal enterprise’s corrupt corporate kingpin,

   financing its illegal operations and closely coordinating with the criminal defendants to ensure the

   passage of HB6 and, later, thwart a democratic referendum to repeal the bill. The Criminal

   Complaint documented how the Company was dubbed the “Bank” by conspirators for its willingness

   to spend “unlimited” money to further its corrupt ends, a partnership which FirstEnergy’s own

   lobbyist referred to as the “unholy alliance.” In short, the Criminal Complaint described how

   FirstEnergy and its top executives illegally funneled $60 million into the hands of corrupt politicians

   to get HB6 passed into law and avoid its repeal. The return on investment of the Company’s $60

   million corrupt investment in HB6 promised to be extraordinary: $2 billion at the expense of Ohio

   ratepayers.

            9.         On the news of FirstEnergy’s central role in the Bailout Scheme, the price of

   FirstEnergy stock plummeted, falling below $23 per share on July 22, 2020, down 45% from its

   closing price of more than $41 per share on July 20, 2020, inflicting billions of dollars of losses on

   FirstEnergy investors.

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            10.        In the days that followed, Jones attempted to disavow any culpability for the activities

   revealed in the Criminal Complaint, proclaiming that “FirstEnergy acted properly in this matter,”

   and that, “at no time [did] our support for nuclear plants in Ohio interfere or supersede our ethical

   obligations to conduct our business properly. The facts will become clear as the investigation

   progresses.” He reassured investors, “I’ve never made a payment directly to a lobbyist in my life nor

   asked any lobbyists to make a payment to anyone else on behalf of our company in my life.”

            11.        As would later be revealed, these and similar statements merely sought to perpetuate

   the Bailout Scheme, as FirstEnergy confirmed in October 2020 by firing Jones and other top

   executives for their roles in the scheme. Among other misconduct, FirstEnergy identified Jones’s

   role in an illicit $4 million payment to the former head of PUCO, Chairman Samuel Randazzo

   (“Randazzo”), who had drafted key portions of HB6 in consultation with and at the direction of

   FirstEnergy representatives and publicly testified in support of the bill.

            12.        Due to the Bailout Scheme’s exposure, the Company, inter alia: (i) is now the subject

   of dozens of lawsuits and regulatory and governmental investigations; (ii) has lost an estimated $2

   billion in purported benefits promised by HB6; (iii) admitted to internal control deficiencies and

   wrongdoing by its most senior executives; (iv) drew down nearly $2 billion from credit facilities to

   cover expected costs associated with fallout over its role in the Bailout Scheme; and (v) and suffered

   credit downgrades to junk status for its corporate debt by all three major credit rating agencies.

            13.        As a result of the Bailout Scheme, FirstEnergy investors have suffered billions of

   dollars in losses and economic damages under the federal securities laws, which this lawsuit seeks to

   recover.

                                         JURISDICTION AND VENUE

            14.        Jurisdiction is conferred by 28 U.S.C. §1331, §22 of the Securities Act and §27 of the

   Exchange Act. The claims asserted herein arise under §§11, 12(a)(2) and 15 of the Securities Act

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   (15 U.S.C. §§77k, 77l(a)(2) and 77o) and §§10(b) and 20(a) of the Exchange Act (15 U.S.C.

   §§78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17 C.F.R. §240.10b-5).

            15.        Venue is proper in this District pursuant to §22 of the Securities Act, §27 of the

   Exchange Act and 28 U.S.C. §1391(b) because FirstEnergy conducts business in this District and the

   events and omissions giving rise to the claims asserted herein occurred in substantial part in this

   District, including the dissemination of false and misleading statements into this District. In

   addition, the Criminal Proceeding is pending in this District, as is civil litigation against the

   Company for the complained of scheme by Ohio ratepayers, Smith v. FirstEnergy Corp., et al., 2:20-

   cv-03755 (S.D. Ohio).

            16.        In connection with the acts alleged in this complaint, defendants, directly or

   indirectly, used the means and instrumentalities of interstate commerce, including, but not limited to,

   the mails, interstate telephone communications and the facilities of the national securities markets.

                                     CLASS ACTION ALLEGATIONS

            17.        Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

   Procedure 23(a) and (b)(3) on behalf of a class consisting of all purchasers of FirstEnergy securities

   during the Class Period (the “Class”). Excluded from the Class are defendants, the officers and

   directors of the Company, FirstEnergy Solutions Corp. (“FES”), FirstEnergy Nuclear Operating

   Company (“FENOC”) and Energy Harbor LLC, Energy Harbor Corp. and Energy Harbor Nuclear

   Corp. (collectively, “Energy Harbor”), at all relevant times, members of their immediate families and

   their legal representatives, heirs, successors or assigns, and any entity in which defendants have or

   had a controlling interest.

            18.        The members of the Class are so numerous that joinder of all members is

   impracticable. Throughout the Class Period, FirstEnergy common stock was actively traded on the

   NYSE, and FirstEnergy debt was actively traded in relevant debt markets. While the exact number

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   of Class members is unknown to Plaintiffs at this time and can only be ascertained through

   appropriate discovery, Plaintiffs believe that there are thousands of members in the proposed Class.

   Record owners and other members of the Class may be identified from records maintained by

   FirstEnergy or its transfer agent and may be notified of the pendency of this action by mail, using the

   form of notice customarily used in securities class actions.

            19.        Plaintiffs’ claims are typical of the claims of the members of the Class as all members

   of the Class are similarly affected by defendants’ wrongful conduct in violation of federal law that is

   complained of herein.

            20.        Plaintiffs will fairly and adequately protect the interests of the members of the Class

   and has retained counsel competent and experienced in class and securities litigation.

            21.        Common questions of law and fact exist as to all members of the Class and

   predominate over any questions solely affecting individual members of the Class. Among the

   questions of law and fact common to the Class are:

                       (a)    whether the Exchange Act and/or the Securities Act were violated by

   defendants as alleged herein;

                       (b)    whether statements made by defendants misrepresented material facts about

   the business, operations and management of FirstEnergy; and

                       (c)    to what extent the members of the Class have sustained damages and the

   proper measure of damages.

            22.        A class action is superior to all other available methods for the fair and efficient

   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

   damages suffered by individual Class members may be relatively small, the expense and burden of

   individual litigation make it impossible for members of the Class to individually redress the wrongs

   done to them. There will be no difficulty in the management of this action as a class action.

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                                                 PLAINTIFFS

            23.        Lead Plaintiff Los Angeles County Employees Retirement Association (“LACERA”)

   is a governmental pension plan that administers defined retirement benefits for employees of Los

   Angeles County and participating agencies. Established in 1938, LACERA is the largest county

   retirement system in the United States. As of June 30, 2020, LACERA had over 170,000 members

   and maintained assets of more than $58 billion. LACERA, as set forth in its previously filed

   Certification in this action (ECF No. 33-4), which is incorporated by reference herein, purchased

   FirstEnergy securities during the Class Period and has been damaged thereby.

            24.        Plaintiff Amalgamated Bank, as Trustee for the LongView LargeCap 500 Index Fund,

   LongView Quantitative LargeCap Fund, LongView Broad Market 3000 Index Fund, LongView

   LargeCap 500 Index Fund VEBA, LV LargeCap 1000 Value Index Fund, LongView Quantitative

   MidCap Fund, LongView Quant LargeCap Equity VEBA Fund and LongView Core Plus Fixed

   Income Fund (“Amalgamated Bank”), is a New York City-based investment bank. Amalgamated

   Bank serves thousands of labor unions, nonprofits, social impact enterprises, political organizations,

   foundations and individuals. Amalgamated Bank has over $40 billion in assets under management

   and custody. Amalgamated Bank, as set forth in the accompanying Certification, which is

   incorporated by reference herein, purchased FirstEnergy securities during the Class Period and has

   been damaged thereby.

            25.        Plaintiff Wisconsin Laborers’ Pension Fund is a multi-employer defined benefit plan

   operated for the benefit of more than 9,000 active and retired construction craft laborers in

   Wisconsin. Wisconsin Laborers’ Pension Fund, as set forth in the accompanying Certification,

   which is incorporated by reference herein, purchased FirstEnergy securities during the Class Period

   and has been damaged thereby.



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            26.        Plaintiff City of Irving Supplemental Benefit Plan provides supplemental benefits for

   government and police employees for the City of Irving, Texas. City of Irving Supplemental Benefit

   Plan, as set forth in the accompanying Certification, which is incorporated by reference herein,

   purchased FirstEnergy securities during the Class Period and has been damaged thereby.

                                     EXCHANGE ACT ALLEGATIONS

   Exchange Act Defendants

            27.        Defendant FirstEnergy is an electric utility company headquartered in Akron, Ohio

   with subsidiaries and affiliates involved in the distribution, transmission and generation of

   electricity, as well as energy management and other energy-related services. Its ten electric utility

   operating companies comprise one of the United States’ largest investor-owned utilities, serving

   more than six million customers in Ohio, Pennsylvania, West Virginia, Virginia, Maryland, New

   Jersey and New York. During the Class Period, the Company also owned and operated the Nuclear

   Plants. The Company’s common stock is listed on the New York Stock Exchange (“NYSE”) under

   the ticker symbol “FE.”

            28.        Defendant Charles E. Jones (“Jones”) served as CEO and a director of FirstEnergy

   during the Class Period. He was terminated by the Company in October 2020 for his role in the

   Bailout Scheme.

            29.        Defendant James F. Pearson (“Pearson”) served as Chief Financial Officer (“CFO”)

   of FirstEnergy until March 2018, at which time he transitioned to Vice President of Finance of

   FirstEnergy until his retirement in April 2019. He was also a key member of the FES Restructuring

   Working Group, which oversaw the Company’s efforts to reduce its liabilities in connection with the

   Nuclear Plants.

            30.        Defendant Steven E. Strah (“Strah”) was appointed Acting CEO of FirstEnergy in

   October 2020. Prior to this time, he served as President of FirstEnergy, a position he had held since

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   May 2020. Strah also previously served as FirstEnergy’s CFO beginning March 2018 and, prior to

   that time, the Company’s Senior Vice President of FirstEnergy’s Utilities Operations.

            31.        Defendant K. Jon Taylor (“Taylor”) took over as FirstEnergy’s CFO from Strah.

   Prior to assuming this position, he was the Company’s Controller and Chief Accounting Officer until

   March 2018, after which time he became President of FirstEnergy’s Ohio Operations and, in 2019,

   its Vice President of Utilities Operations.

            32.        Defendant Michael Dowling (“Dowling”) served as FirstEnergy’s Senior Vice

   President (“SVP”) of External Affairs during the Class Period. He was terminated by the Company

   in October 2020 for his role in the Bailout Scheme.

            33.        Defendant Dennis M. Chack (“Chack”) served as FirstEnergy’s SVP of Product

   Development, Marketing and Branding during the Class Period. He was terminated by the Company

   in October 2020 for his role in the Bailout Scheme.

            34.        Defendant Ty R. Pine (“Pine”) served as a FirstEnergy lobbyist and its Ohio Director

   of State Affairs during the Class Period.

            35.        Defendant Robert Reffner (“Reffner”) served as FirstEnergy’s SVP Chief Legal

   Officer. Previously, during the Class Period, Reffner served as FirstEnergy’s VP Legal and VP

   General Counsel in 2018. He was terminated by the Company in November 2020 for his role in the

   Bailout Scheme.

            36.        Defendant Leila L. Vespoli (“Vespoli”) served as FirstEnergy’s Executive VP of

   Corporate Strategy and Regulatory Affairs and Chief Legal Officer until her retirement in April

   2019. She was also a key member of the FES Restructuring Working Group, which oversaw the

   Company’s efforts to reduce its liabilities in connection with the Nuclear Plants.




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            37.        Defendant John Judge (“Judge”) is the CEO and President of Energy Harbor. He

   assumed this position in February 2019, prior to which he served as the Chief Risk Officer of

   FirstEnergy.

            38.        Defendant Donald R. Schneider (“Schneider”) served as CEO and Chairman of FES

   at the start of the Class Period. He remained CEO of FES until defendant Judge assumed that

   position in March 2019. Schneider remained FES Chairman until FES completed its bankruptcy

   restructuring and emerged as Energy Harbor.

            39.        The defendants referenced in ¶¶28-38, above, are collectively referred to as the

   “Officer Defendants.” FirstEnergy and the Officer Defendants are referred to as the “Exchange Act

   Defendants” or “defendants.”

            40.        During the Class Period, the Officer Defendants ran the Company as hands-on

   managers, overseeing FirstEnergy’s operations, business practices and finances, and made the

   materially false and misleading statements described herein. The Officer Defendants had intimate

   knowledge about core aspects of FirstEnergy’s financial and business operations, including the

   Company’s nuclear operations, the Company’s external affairs and lobbying efforts, and the

   activities alleged in the Criminal Proceedings. They were also intimately involved in deciding which

   disclosures would be made by the Company. The Officer Defendants personally orchestrated the

   corrupt and fraudulent scheme detailed herein, and several have been fired subsequently by

   FirstEnergy for their involvement in the Bailout Scheme and related misconduct.

                                      SUBSTANTIVE ALLEGATIONS

            A.         FirstEnergy’s Nuclear Problem

            41.        FirstEnergy and its subsidiaries comprise one of the nation’s largest investor-owned

   electric systems, historically generating electricity from nuclear, fossil fuel, wind and solar sources

   and serving over six million customers in the Midwest and Mid-Atlantic regions. FirstEnergy’s

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   service areas encompass approximately 65,000 square miles in Ohio, Pennsylvania, West Virginia,

   Maryland, New Jersey and New York, with a combined population of approximately 13.3 million.

            42.        FirstEnergy owned and operated the Nuclear Plants through its wholly owned

   subsidiaries, FES and FENOC.1 Beginning in 1996, FENOC failed to properly implement corrosion

   control and corrective action programs at its Davis-Besse plant. To conceal the damage from these

   failures, in late 2001, FENOC made a series of false statements to the United States Nuclear

   Regulatory Commission (the “NRC”). Eventually, inspectors discovered at Davis-Besse the worst

   corrosion ever found at a U.S. reactor, including an acid leak that closed the plant for extensive

   repairs from 2002 to 2004. In January 2006, FENOC admitted to making false representations to the

   NRC, but, to avoid a criminal conviction, FENOC entered into a deferred prosecution agreement

   with the government that required it to pay $28 million in fines and community service projects.

   FirstEnergy also entered into an $85 million settlement with investors to resolve allegations of fraud

   in connection with the incident. See In re First Energy S’holder Derivative Litig., No. 5:03-cv-

   01826 (N.D. Ohio).

            43.        In the wake of the Davis-Besse incident, the maintenance costs at the Nuclear Plants

   continued to climb as demand for nuclear power declined due to less-expensive alternatives, such as

   natural gas. FirstEnergy focused on cost reductions, asset sales and deactivations, but FirstEnergy

   continued to leak profits through the Nuclear Plants.

            44.        By 2016, FirstEnergy had decided to exit the competitive energy-generation market

   entirely to focus on the monopolistic regulated energy-transmission market. The Nuclear Plants


   1
          Following a March 2018 bankruptcy and later reorganization, FES and FENOC were
   renamed Energy Harbor LLC (a subsidiary of Energy Harbor Corp.) and Energy Harbor Nuclear
   Corp., respectively. Although these subsidiaries were separated and deconsolidated from
   FirstEnergy’s financial results, the Company continued to have numerous, material financial
   entanglements with FES and FENOC and an active role in financing and overseeing the corrupt
   conspiracy to pass HB6, as detailed herein.

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   were key obstacles to this transition, as FirstEnergy forecast that the Nuclear Plants would result in

   hundreds of millions of dollars in losses. The Nuclear Plants grew to dominate FirstEnergy earnings

   calls and analyst coverage, as investors grew increasingly concerned about the potential liabilities

   stemming from the Nuclear Plants. In response, defendants reassured investors that FirstEnergy was

   pursuing a legislative fix. For example, in FirstEnergy’s 2016 Annual Report, filed on February 21,

   2017, the Company stated that it intended to pursue “legislative or regulatory solutions” to address

   the problem. Likewise, FirstEnergy’s CEO, Jones, repeated this plan on the Company’s annual

   earnings call held with investors the next day, stating that FirstEnergy sought “legislative or

   regulatory initiatives for [nuclear power] generation that recognize its environmental or energy

   security benefits.”

            B.         FirstEnergy Tries and Fails to Escape Its Liabilities Through
                       Bankruptcy Proceedings

            45.        Despite being ostensibly a separate company with its own board of directors, FES

   was deeply intertwined with, and dependent upon, FirstEnergy. To escape the potentially limitless

   expenses associated with decommissioning the Nuclear Plants, as well as environmental liabilities

   from closing its fossil fuel sites (such as coal-burning sites), FirstEnergy needed to get rid of FES.

   Towards this end, on March 28, 2018, FirstEnergy announced its intention to shut down the Nuclear

   Plants. Then, on March 31, 2018, FES, FENOC and related entities (collectively referred to as

   “FES”) filed for relief under Chapter 11 of the United States Bankruptcy Code in the United States

   Bankruptcy Court for the Northern District of Ohio.

            46.        After entering FES into bankruptcy, FirstEnergy deconsolidated FES from its

   financial statements. According to FirstEnergy’s 1Q18 Form 10-Q, filed on April 23, 2018, the

   deconsolidation resulted in a $1.2 billion gain for FirstEnergy. However, FirstEnergy and FES

   remained operationally intertwined. For example, FES did not have the ability to perform functions

   like “external affairs and communications.” As part of the bankruptcy, these services would
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   continue to be provided by FirstEnergy via its subsidiary, FirstEnergy Service Corporation

   (“FESC”), under a shared services agreement between FirstEnergy and FES.

            47.        FES was so dependent on FirstEnergy, the bankruptcy court described the two

   companies as “joined at the hip” and FES as “utterly incapable” of operating without the shared

   services agreement. The bankruptcy court described the continuing reliance on FirstEnergy by

   FES – including for FES’s legal, external affairs and communications activities – in pertinent part as

   follows:

                    One of the FE Non-Debtor Parties, FirstEnergy Service Corporation
            (“FESC”), has historically provided shared corporate-level services to [FES] and
            [FirstEnergy] alike. These functions include, inter alia, human resources,
            information technology, controller, legal, external affairs and communications,
            corporate real estate and records management, supply chain, fleet engineering, fleet
            operations and outage support, environmental, and corporate affairs and community
            involvement services (the “Shared Services”). As of the Petition Date, the Debtors
            had little or no personnel or equipment of their own dedicated to these functions,
            and many of these services would have been, as stated in the declaration of the
            Debtors’ chief restructuring officer, “nearly impossible and prohibitively expensive
            for the Debtors to replace . . . . The Debtors would be utterly incapable of operating
            their businesses in any form, let alone in a ‘business-as-usual’ manner, absent the
            Shared Services.” (Decl. of Charles M. Moore, ECF No. 24, ¶22.) The Debtors and
            FE Non-Debtor Parties are also party to a number of intercompany agreements
            related to the core generation business of the Debtors, including, inter alia, power
            purchase agreements, operating and maintenance agreements, and fuel supply
            agreements. . . . These are only two significant ways among several that the
            Debtors and FE Non-Debtor Parties were joined at the hip as of the Petition Date.2

            48.        FirstEnergy and FES were equally enmeshed financially, as FirstEnergy had loaned

   (on both a secured and unsecured basis) more than $700 million to FES. Bankruptcy filings

   described the continued financial entanglement between the two companies as follows:

                   FE Corp. is both a secured creditor and an unsecured creditor of FES and is
            expected to play an active role in the Debtors’ chapter 11 cases. FE Corp. is owed


   2
            In re LLC Energy Harbor, Pleasants Corp., No. 5:18-BK-50757, ECF No. 3135 (Bankr.
   N.D. Ohio Aug. 29, 2019). All “Bankruptcy ECF No.” references contained in this sub-section refer
   to filings in the bankruptcy proceeding. Emphasis is added and citations are omitted throughout
   unless otherwise indicated.

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            $700 million on account of the secured revolving credit facility and approximately
            $4.4 million in unsecured debt obligations.3

            49.        FES’s creditors saw no meaningful distinction between FirstEnergy and FES,

   accusing the companies of failing to recognize any of the formal corporate boundaries purportedly

   separating them, as reflected in the following bankruptcy filing:

                    Prior to the commencement of these Cases, it appears that the Debtors’
            ultimate parent, FirstEnergy Corp. (“FEC”), operated the Debtors without regard to
            corporate boundaries, legal separateness, and independent fiduciary duties. As the
            Court is aware, the Committee is analyzing an array of dubious prepetition
            transactions that appear to have been orchestrated by non-debtor FEC to the
            detriment of one or more of the Debtors.4

            50.        Because FirstEnergy was operationally and financially intertwined with FES, FES’s

   creditors were prepared to commence litigation against FirstEnergy over FES’s inability to pay its

   debts. For all practical purposes, any actual or potential FES liabilities were also potential liabilities

   for FirstEnergy, including the billions of dollars needed to decommission the Nuclear Plants.

   Though FirstEnergy had paid into a trust fund for decommissioning costs, the funds were

   insufficient. Some estimates put the shortfall at well over a billion dollars. FirstEnergy was left with

   two options: (i) obtain a release of future liabilities from the bankruptcy court; or (ii) postpone the

   decommissioning process to delay those expenses as far into the future as possible.

            51.        To resolve its liabilities tied to the Nuclear Plants (and fossil-fuel sites), FirstEnergy

   proposed to the bankruptcy court a “settlement” with FES in which: (i) FirstEnergy would contribute

   cash, assets and debt forgiveness to satisfy FES’s creditors; (ii) FES’s creditors would release

   FirstEnergy from liability for FES’s debts; and (iii) the bankruptcy court would grant FirstEnergy

   sweeping releases from any and all future claims asserted against FES by parties not involved in the

   bankruptcy.

   3
            Bankruptcy ECF No. 55.
   4
            Bankruptcy ECF No. 756.

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            52.        The broad release sought by FirstEnergy met stiff resistance from multiple

   stakeholders. If granted, FirstEnergy would be released from potential claims brought by local, state

   or federal agencies, as well as citizens or environmental groups, in connection with nuclear

   decommissioning or environmental cleanup expenses. The Department of Justice (“DOJ”), on

   behalf of the Environmental Protection Agency (“EPA”), panned the release as attempting to saddle

   the debtors with liabilities arising from FirstEnergy’s ownership of the impacted sites, stating in

   pertinent part as follows:

            Here, [FirstEnergy] owned and/or operated many of the Sites for years before the
            Debtors became owners or operators and therefore have significant independent
            liabilities based on their own acts or omissions during the time of their ownership
            and operation that have nothing to do with the Debtors.5

            53.        Various stakeholders also protested FirstEnergy’s efforts to keep them out of the

   negotiations, including various governmental agencies, including the EPA and the Office of the Ohio

   Attorney General (“Ohio AG”), as well as citizens and environmental groups. For instance, a

   January 29, 2019 notice from the relevant governmental agencies complained that they had been

   excluded from negotiations and stated their “particular concern” regarding FirstEnergy’s “liability

   for decommissioning Debtors’ nuclear facilities.”6

            54.        On March 12, 2019, the DOJ, on behalf of the EPA, formally objected to the plan of

   reorganization, contending that because the breadth of the proposed releases violated environmental

   laws. The DOJ’s bankruptcy filing stated in pertinent part as follows:

            The Disclosure Statement should explain the legal authority for allowing the
            Reorganized Debtors to not protect public health and safety from hazards,
            contamination, or defects on their property should they arise in whole or part from
            acts or omissions prior to the Effective Date. The Disclosure Statement should note



   5
            Bankruptcy ECF No. 2398 at 3.
   6
            Bankruptcy ECF No. 2035 at 2.

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            that the Governments believe that this and any similar provision in the Plan is
            forbidden by law.7

            55.        Further briefing by the DOJ accused FirstEnergy and FES of “abus[ing]” the

   bankruptcy process by placing the nuclear decommissioning costs and other environmental liabilities

   on FES while releasing FirstEnergy, the culpable party. The DOJ filing stated in pertinent part as

   follows:

                   At this point, the contours of the deal struck by the Debtors, FE Non-
            Debtor Parties, and favored creditors are clear: FirstEnergy Corp. would agree to
            contribute cash and other value to the reorganization, and in exchange the Debtors
            would seek to use the bankruptcy proceeding to release FirstEnergy Corp. and all
            other FE Non-Debtors from extensive independent, non-derivative liabilities (to the
            Governments and others) based on the FE Non-Debtors’ own independent acts or
            omissions. This scheme is an abuse of the bankruptcy system that would
            impermissibly allow the FE Non-Debtors “to receive a major benefit of the
            bankruptcy process without having to be subject to any of its burdens and
            safeguards.”8

            56.        Other stakeholders piled on. For example, the Ohio Consumer Counsel focused on

   the future costs of decommissioning the Nuclear Plants, stating in pertinent part as follows:

            [T]he Plan allows FES’s future equity holders (owners) to enjoy the upsides of any
            future improvement in FES’s operations while they shed certain downside risks that
            could instead be ultimately imposed upon Ohioans.                 Were funds for
            decommissioning to be inadequate, for example, consumers or taxpayers might be
            (unfairly) called upon to fund FirstEnergy and FES’s power plant decommissioning
            liabilities to federal and state governments. Under FES’s own Plan these
            decommissioning events will stretch for at least 60 years into the future. Even FES
            concedes that its projected decommissioning costs for power plants and related
            environmental liabilities exceeds $2 billion.9

            57.        The Environmental Law and Policy Center (“ELPC”) likewise objected that FES’s

   revenues would be insufficient to cover cleanup and decommissioning expenses, so if the bankruptcy




   7
            Bankruptcy ECF No. 2276.
   8
            Bankruptcy ECF No. 2423.
   9
            Bankruptcy ECF No. 2395 at 2-3.

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   court allowed FirstEnergy to escape its liability for these expenses, ratepayers would be stuck with

   the bill.10

            58.        In response to these objections, FES described the releases as “essential” terms of the

   plan of reorganization and a “condition precedent” to obtaining assets and funds from FirstEnergy

   that would satisfy FES’s creditors. FES warned the bankruptcy court that it was “highly likely” that

   its settlement with FirstEnergy would be “terminated” if the court did not approve the releases,

   which it claimed provided the “cornerstone” to the bankruptcy agreement between FirstEnergy, FES

   and its creditors.

            59.        In a subsequent bankruptcy filing, FES predicted that if the Court did not approve the

   terms of release, FirstEnergy would renege on its settlement agreement with FES and FES’s

   creditors (which it was entitled to do by its terms), thus withdrawing billions in financial support,

   and sue FES over its debt obligations. FES stated in pertinent part as follows:

            Without these releases, and the related consideration and claims waivers being
            provided under the FE Settlement Agreement, not only would this Plan not be
            possible, but it is unlikely that [FES] would be able to reorganize at all. Instead,
            [FES] would likely expend all [its] resources litigating against [FirstEnergy], leaving
            the Debtors unable to confirm a plan over the rejection and objection of
            [FirstEnergy] – who hold[s] over $2 billion in asserted claims (including $700
            million in secured claims) against [FES].11

            60.        FirstEnergy submitted its own briefing in which it continued to describe the third-

   party releases as necessary pieces of the settlement, the plan of reorganization and FirstEnergy’s

   proposed contribution of $3 billion into the FES estate. FirstEnergy threatened that removal of the

   releases would have “disastrous” effects on the agreements in place between FirstEnergy, FES and

   the creditors, stating in pertinent part as follows:



   10
            Bankruptcy ECF No. 2419 at 3, 6.
   11
            Bankruptcy ECF No. 2397 at 4-5.

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                    [FirstEnergy] strongly[s] support [FES’s] effort to successfully reorganize
            their businesses and responsibly decommission their power facilities and have agreed
            to contribute approximately $3 billion of value towards those efforts pursuant to a
            settlement agreement approved by this Court. In exchange for this substantial
            contribution, [FirstEnergy] require[s] that their businesses and operations be
            separated completely from the Debtors, their businesses and liabilities related
            thereto. [FirstEnergy’s] Third Party Release is one of many aspects of this
            separation.

                     During the March 19, 2019, hearing . . . the Court asked for supplemental
            briefing on two questions . . . . With regard to the first question, the scope and effect
            of the [FirstEnergy’s] Third Party Release – as well as the disastrous consequences
            of its removal from the Plan – are set forth in detail in the Disclosure Statement and
            are further described herein for the Court’s benefit.12

            61.        FES’s creditors also threatened that the bankruptcy “would fall apart” if the Court did

   not approve the “essential” releases. Without them, the creditors asserted, FirstEnergy, FES and the

   creditors would end up in endless litigation, stating in pertinent part as follows:

                    The releases being provided in the Plan to [FES’s] non-debtor parent,
            FirstEnergy Corporation, and its non-debtor subsidiaries (i.e., the “FE Non-Debtor
            Parties”) are essential to the success of the Debtors’ reorganization. . . . Without
            these releases, the FE Settlement Agreement would fall apart, the Debtors and their
            creditors would be back to the drawing board on a plan of reorganization (if one were
            still possible), the estates and the FE Non-Debtor Parties would find themselves
            enmeshed in sprawling, expensive, and complex litigation of indefinite
            duration . . . .13

            62.        On April 4, 2019, the bankruptcy court held a hearing on the issue of the third-party

   non-consensual releases and found them to be unconfirmable under Sixth Circuit precedent. The

   Court orally denied the motion to approve FES’s disclosure statement – effectively halting the

   bankruptcy process. The next day, April 5, 2019, Crain’s Cleveland Business published an article

   titled “Judge puts up major roadblock in FirstEnergy Solutions’ bankruptcy case,” which stated in

   pertinent part as follows:




   12
            Bankruptcy ECF No. 2400 at 2.
   13
            Bankruptcy ECF No. 2399 at 2.

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                   But Judge Alan Koschik gaveled a huge wrench into the companies’ attempts
            to separate and survive independently. That was evident in a 5.5% decline in
            FirstEnergy Corp.’s (NYSE: FE) stock price.

                                                *       *      *

                    Whether Koschik put the case in the garbage or back to square one remains
            to be seen. What he did do, according to court dockets, was deny the approval of
            what is often a routine but critical document in a bankruptcy case. . . .

                   In this case, it’s no small issue over no small potential amount of cash.
            FirstEnergy’s plan was to separate itself from FES and any future responsibility it
            and FES might have for the cleanup of old coal plants and the Davis-Besse and Perry
            nuclear power plants, with FirstEnergy contributing around $1 billion to a deal that
            would leave FES a stand-alone company owned by its creditors.

            63.        Having failed to convince the bankruptcy court to grant it an express release of

   liability for the decommissioning expenses, and with one of its failing nuclear plants set to close in

   less than a year, FirstEnergy was left with only one option. Specifically, FirstEnergy now needed to

   postpone expected decommissioning expenses for the Nuclear Plants indefinitely. The Company

   had been laying the groundwork for this backup plan for two years, placing in motion a corrupt

   scheme that would ultimately result in the passage of HB6.

            C.         The Legislative “Fix”

                       1.     The Corrupt Passage of HB6

            64.        Throughout the Class Period, FirstEnergy maintained to the investing public that it

   had ample “decision-making and oversight processes in place for political contributions and

   expenditures to ensure such contributions or expenditures [were] legally permissible and in the best

   interests of FirstEnergy.” Externally, the Company used its political action committee (“FirstEnergy

   PAC”) to establish a facade of legitimate corporate contributions, all while it secretly poured

   millions into the Bailout Scheme to subvert Ohio’s political process for its own gain. FirstEnergy

   utilized a complex web of individuals and entities to carry out its massive corruption scheme,

   through which it drafted, introduced, passed and then defended HB6.


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            65.        Householder’s name was synonymous with public corruption, having finished his

   prior term as a state representative in 2004 while under federal investigation. Back in office in 2017,

   FirstEnergy was already courting him, including taking him (and his sons) on a trip aboard

   FirstEnergy’s private jet to President Trump’s inauguration ceremony in January of that year. In the

   months that followed, FirstEnergy further solidified its relationship with Householder by initiating

   payments to two newly minted 501(c)(4) organizations and bringing in additional members to the

   scheme: (i) Partners for Progress (formed January 26, 2017); and (ii) Generation Now (formed

   February 6, 2017).

            66.        On March 5, 2017, the Pittsburgh Post-Gazette published an article titled “Beaver

   Valley Plant Hopes for State Aid.” The article reported that, according to Jones, FirstEnergy’s top

   priority was “getting legislation that would recognize – monetarily – nuclear energy’s lack of carbon

   emissions” and that in Ohio the legislation would “create a program where customers would pay a

   surcharge to fund zero-emission credits given to nuclear plants.” The article further reported that

   Jones was “expect[ing] an Ohio bill in support of nuclear energy to be introduced soon” and was

   “optimistic, ‘given the discussions we’ve had so far,’ that it will pass.”

            67.        Leading up to Ohio’s spring 2018 primary elections – the first critical step in

   drumming up support for Householder’s election to the speakership – FirstEnergy PAC had

   officially disbursed (and disclosed) a total of $464,204 in political contributions since 2017. The

   unusual size of these donations caught the eyes of the press. For example, on April 20, 2018,

   Cleveland.com posted a story titled, “FirstEnergy PAC writes big checks to House Speaker hopeful

   Larry Householder, campaign allies,” which reported that these “big checks” totaled about $149,000

   in early 2018 alone.         Disclosing these contributions, which represented only a fraction of

   FirstEnergy’s true financial contributions to Householder and his affiliates, allowed FirstEnergy to

   distract attention away from its largesse in support of the Bailout Scheme, including, inter alia:

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                       (a)    In 2017 and 2018, First Energy contributed $2.9 million to the Bailout

   Scheme, which defendants concealed throughout the Class Period.

                       (b)    On a single day in 2019, April 30, 2019 – about two weeks after HB6 was

   officially introduced – FirstEnergy made a $1.5 million payment to the Bailout Scheme, which

   defendants concealed throughout the Class Period.

                       (c)    In May 2019, FirstEnergy contributed $8 million to the Bailout Scheme,

   which defendants concealed throughout the Class Period.

            68.        FirstEnergy routed most of its payments through Generation Now, whose bank

   accounts Jeff Longstreth (“Longstreth”), Householder’s strategist, had opened. Almost immediately

   after its formation, FirstEnergy began making $250,000 quarterly payments to Generation Now,

   while also seeding Partners for Progress with $5 million soon after its launch.

            69.        Longstreth has since pled guilty, admitting his involvement in the criminal conspiracy

   “to conceal the nature, source, ownership, and control of payments made by [FirstEnergy] to

   GENERATION NOW” for the benefit of Householder and other politicians and lobbyists “relating

   to the passage and preservation of [HB6] that would go into effect and save the operation of [the

   Nuclear Plants].”

            70.        FirstEnergy’s illegally large and illegally concealed contributions and payoffs enabled

   it to do exactly what campaign finance limits are designed to prevent: unfairly and clandestinely

   influence elections by buying the loyalty of Householder and other public officials to get HB6

   written, considered and passed into law. The Bailout Scheme used FirstEnergy money for primary

   and general elections, successfully placing in office candidates who supported Householder’s bid to

   become Ohio’s Speaker of the House and, ultimately, pass HB6.

            71.        With FirstEnergy’s corrupt backing, on January 7, 2019, Householder was elected to

   serve as Speaker of the House for Ohio’s 133rd General Assembly.

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            72.        Soon thereafter, FirstEnergy executives broadened the reach of the Bailout Scheme

   by buying the support of soon-to-be PUCO Chairman Randazzo with an illicit $4 million payment.

   Shortly after receiving FirstEnergy’s money, Randazzo performed his part, using his position as

   PUCO Commissioner to help write and support HB6.

            73.        On April 12, 2019, Householder introduced HB6 in the Ohio House.

            74.        On May 29, 2019, Ohio’s corrupted House members gathered enough votes to pass

   HB6. The bill provided the “fix” for FirstEnergy’s nuclear problems, including $1.3 billion in

   subsidies for the Nuclear Plants funded by Ohio ratepayers. These subsidies meant the Nuclear

   Plants would not have to be decommissioned and FirstEnergy could avoid billions in

   decommissioning expenses.

            75.        In the months that followed passage in the Ohio House, FirstEnergy paid over

   $7 million more to buy support in the Ohio Senate. In exchange, a lucrative “decoupling” provision

   was added to HB6, providing another $100 million to FirstEnergy annually, again at ratepayers’

   expense. Through decoupling, HB6 effectively locked in the Company’s 2018 revenue level – a

   record year due to hot weather and other factors – for the next five years. Regulators would later

   extend the effect of this provision until 2030. As a result, the public would be forced to continue

   paying higher rates to FirstEnergy, even if consumers used less electricity.

            76.        “Decoupling” refers to regulatory measures that break the link between electricity

   sales and profits. In theory, without revenue decoupling, utilities have a strong incentive to increase

   their revenues with wasteful and costly energy consumption increases and a strong disincentive to

   advance energy efficiency – undermining society’s environmental interests. Decoupling measures

   flip these incentives by paying utility companies to promote various energy-saving initiatives and

   programs, effectively compensating them for encouraging the public to use less electricity, which

   would otherwise reduce the companies’ revenues.

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            77.        What made the HB6 decoupling provision such an unprecedented windfall for

   FirstEnergy, at the public’s expense, is that it did not include the standard mandates to require the

   Company to promote various energy-saving initiatives and programs. For FirstEnergy, it was money

   for nothing (other than the corrupt payments in support of the Bailout Scheme, that is). As

   summarized by the National Resources Defense Council:

                     HB 6 contains what some have called a “decoupling” provision, but this
            section of the law passed last year had absolutely nothing to do with energy
            efficiency (which HB 6 effectively extinguished as a priority for all the state’s major
            utilities). Instead, that section awarded FirstEnergy a legal entitlement to
            unconscionably inflated annual revenues, usurping the authority of the state’s
            utility regulators. That revenue guarantee should go straight into the legislative
            dustbin, along with the rest of HB 6.

                   This kind of chicanery has nothing to do with “revenue decoupling,” which
            uses small annual rate adjustments (both up and down) to ensure that fluctuations in
            sales don’t affect utilities’ ability to recover costs to operate their business as
            authorized by their regulators, following an open public process.

            78.        The Ohio Senate passed this amended version of HB6. On July 23, 2019, the Ohio

   House voted to approve the amended bill, and Ohio’s governor signed it into law the same day.

            79.        In a July 24, 2019 press release, Judge, on behalf of Energy Harbor, applauded the

   enactment of HB6 into law, calling it “a monumental step in helping to avoid the premature closure

   of the company’s two nuclear plants in Ohio while preserving 4,300 highly-skilled jobs and an

   important economic engine for the state economy.” Judge commended Ohio’s legislature for

   “‘drafting a bill that preserves the state’s nuclear assets, reduces the customers’ electric bills and

   provides rigorous oversight to protect customers if market conditions change.’” Judge praised the

   Bailout Scheme’s quarterback, Householder, stating, “‘We’re also thankful for the support and

   commitment by Speaker Householder.’”

            80.        By July 2019, FirstEnergy’s reported contributions through its PAC had increased to

   nearly $1 million. Again, FirstEnergy’s disclosure of what seemed like large contributions gave the

   appearance of business as usual, diverting attention from the Bailout Scheme. As the Columbus
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   Dispatch reported shortly after the passage of HB6: “There’s nothing wayward about it – the

   donations are legal and disclosed – but you can safely say FirstEnergy Corp. realized a good return

   on its investment in Ohio politicians.” Using these disclosed contributions for cover, FirstEnergy

   shot down any notion of impropriety, representing, “‘FirstEnergy Corp. makes and discloses all

   campaign contributions in accordance with applicable state and federal laws.’”

                       2.     The Corrupt Fight Against the Repeal of HB6

            81.        Due to the negative impact HB6 would have on Ohio ratepayers and environmental

   efficiency efforts, a referendum movement to repeal HB6 sprung up immediately. To appear on the

   upcoming ballot, supporters of the referendum had to collect approximately 265,000 signatures.

   FirstEnergy, Householder, and the other members of the Bailout Scheme jumped into action to

   prevent the referendum from making it to a vote.

            82.        From July 2019 to October 2019, FirstEnergy paid over $38 million into the Bailout

   Scheme (which defendants concealed throughout the Class Period).14 At this point, the scheme was

   using other shell entities to further obscure FirstEnergy’s connection to these payoffs, including

   Ohioans for Energy Security (which received $23 million from Generation Now). It was reported

   that in 2019, FirstEnergy also “donated $20 million to a dark money group, Partners for Progress”

   and “[t]he money from FirstEnergy Solutions found its way to Generation Now shortly before the

   Senate and House voted, on July 17 and 23, respectively, to pass House Bill 6, which was signed

   into law by DeWine.”

            83.        FirstEnergy spent millions of dollars on mailers and ads discouraging Ohioans from

   signing the petitions. The ad campaign used offensive and misleading tactics, such as tying the

   repeal effort to the communist Chinese government as reflected in the following ad:


   14
         According to one report, FES (now known as Energy Harbor), also paid $1.88 million to
   Generation Now on July 5, 2019.

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            84.        Lobbyist and co-conspirator Matt Borges executed other means to defeat the proposed

   referendum. Borges and his company, 17 Consulting Group, served as a conduit through which the

   Bailout Scheme spent over $1 million to defeat the proposed referendum. To that end, Borges used

   accounts he controlled to transfer $600,000 from Generation Now to Juan Cespedes (“Cespedes”) (a

   lobbyist also working on behalf of FirstEnergy in furtherance of the Bailout Scheme), who used this

   money to disrupt signature collection efforts, engage others in anti-referendum efforts, and enrich

   himself.

            85.        FirstEnergy went so far as to fund over a half-million dollars in payments to 15

   separate signature collection operations. These firms were paid to do absolutely nothing, effectively
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   preventing them from working for the repeal side. The Bailout Scheme also hired “blockers,” meant

   to disrupt signature gathering efforts by intimidating those who may consider signing in support of

   the referendum. Borges even bribed those working for the repeal campaign for inside information or

   to stop collecting signatures.

             86.       Defendants’ payoffs once again paid off. The repeal campaign simply could not

   overcome the Bailout Scheme’s unscrupulous tactics despite enjoying widespread public support,

   failing to meet an October 21, 2019 deadline. The very next day, FirstEnergy used an affiliate to

   send an additional $3 million to Generation Now.

             87.       Defendants wasted no time in taking a victory lap. On November 4, 2019, during the

   Company’s third quarter 2019 analyst conference call, Jones boasted that the HB6 decoupling

   provision “essentially takes about 1/3 of our company and I think makes it somewhat recession-

   proof.”

                       3.     Meanwhile, Back in Bankruptcy Court

             88.       On April 18, 2019, less than a week after Householder had introduced HB6 in the

   Ohio House, FES filed with the bankruptcy court an amended plan of re-organization that removed

   the supposedly indispensable non-consensual third-party releases. Despite FirstEnergy’s prior

   threats to the contrary, the bankruptcy settlement did not unravel. HB6 provided the secret key

   ingredient to FirstEnergy’s longstanding efforts to resolve its liabilities and potential claims relating

   to the Nuclear Plants.

             89.       That same day, FirstEnergy issued a press release contradicting its prior statements

   that the third-party non-consensual releases were the cornerstone of the settlement between

   FirstEnergy, FES and the creditors and were necessary to justify the capital contributions it was

   making to the FES estate. Now, with HB6 providing the necessary financial support, FirstEnergy



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   stated it no longer expected the removal of the releases to impact its future liability, stating in

   pertinent part as follows:

                   Standing behind our corporate responsibilities is a core value of FirstEnergy,
            including through the FES bankruptcy. . . .

                     Following the judge’s recent decision involving FES[‘s] bankruptcy, FES
            committed to engage with the Department of Justice and other concerned parties. In
            light of this commitment, we agreed to remove the broad third-party releases from
            the comprehensive settlement. While the non-consensual releases served to bring
            finality to FirstEnergy’s involvement with these legacy assets, this change does not,
            in our assessment and experience, increase liabilities or obligations to our
            company.

            90.        On August 2, 2019, ELPC filed another objection to the latest plan of reorganization,

   despite the removal of the third-party releases, on the same basis it had previously articulated, i.e.,

   that FirstEnergy was leaving FES with inadequate funding to cover the future costs for nuclear

   decommissioning and environmental clean ups at the fossil fuel sites owned or being transferred to

   FES.

            91.        FirstEnergy’s response made clear that HB6 alleviated the Company’s prior concerns.

   With HB6 having been signed into law, FES stated that any concern over deficient capitalization was

   alleviated by the legislative bailout. As a result of HB6, FES would be the recipient of substantial

   cash flows to further support future cleanup costs. In support of its opposition to the ELPC

   objection, FES submitted an expert declaration opining on the impacts of HB6 on FES’s operations,

   as well as the bankruptcy proceedings, which highlighted that HB6 would delay nuclear

   decommissioning for the Nuclear Plants, reduce the decommission trust deficit, and provide

   resources to cover future environmental liabilities. The filing stated in pertinent part as follows:

            Listed below are key activities that are expected to occur with the passage of HB6:

            Reorganized NG would receive a nuclear resource credit (cash) up to $9.00 for each
            MWh of electricity a nuclear resource produces. Based on the anticipated annual
            generation of the Debtors’ nuclear stations in Ohio, this would yield incremental
            operating cash flow of approximately $150 million per year.

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            Nuclear decommissioning activities and associated cash outlays, including spent fuel
            management costs and any required nuclear decommission trust deficit payments,
            are expected to be reduced during the projection period as a result of rescinding
            deactivation notices for the Ohio nuclear units.

                                                *       *       *

            If the scenario described above is realized, the Debtors’ capacity to meet expected
            post-emergence obligations of the Debtors would increase as a result of generating
            incremental cash flow over an extended period of time, thus increasing available
            cash resources to cover future environmental liabilities and other obligations. At the
            same time, post-emergence obligations would likely decrease as a result of ceasing
            deactivation activities at several plants.15

            92.        The bankruptcy court ultimately approved the plan of reorganization, noting that

   ELPC’s concerns about decommissioning costs were now remote in time (a postponement solely

   attributable to HB6), stating in pertinent part as follows:

                     And I think that the expenses that have been identified by the experts here,
            that are distant in time, are not unimportant – they’re certainly important, but they are
            remote. And, therefore, the value of them as a present value is relatively de minimis
            compared to all of the other assets and claims that we have before us. And so I don’t
            think it threatens feasibility.16

                       4.     The Numerous Methods and Means of Defendants’ Bailout
                              Scheme

            93.        As set forth above, the Bailout Scheme employed many methods and means,

   including the following:

                       (a)    Using bankruptcy proceedings to try to evade liability for the Nuclear Plants;

                       (b)    Concealing the Bailout Scheme from the investing public and the bankruptcy

   court presiding over proceedings related to the Nuclear Plants;

                       (c)    Paying lobbyists to orchestrate and execute the political corruption necessary

   to pass and preserve HB6;

   15
            Bankruptcy ECF No. 3057 at 2-3.
   16
            Bankruptcy ECF No. 3101 (August 26, 2019 Transcript at 265).

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                       (d)    Creating and using a web of pass-through entities to transfer and conceal the

   money to finance the Bailout Scheme;

                       (e)    Making personal payments to corrupt politicians and at least one regulator;

                       (f)    Financing and supporting political campaigns with undisclosed contributions

   far greater than legally permitted;

                       (g)    Using corrupted politicians to advance HB6 for consideration, to amend HB6

   for FirstEnergy’s additional benefit, and ultimately to pass the bill;

                       (h)    Using a corrupted regulator to help write and support HB6; and

                       (i)    Corruptly preventing a referendum to repeal HB6.

            94.        In addition to these methods and means, defendants also executed the Bailout Scheme

   through a series of materially false and misleading public statements, including statements about the

   following topics:

                       (a)    FirstEnergy’s compliance with laws and regulations governing its business,

   operations and disclosures to investors;

                       (b)    The adherence of FirstEnergy and its executives to the Company’s internal

   policies and Code of Conduct;

                       (c)    The nature of FirstEnergy’s business and operations, including its external and

   regulatory affairs;

                       (d)    FirstEnergy’s transition from the competitive generation business to a fully

   regulated utility company;

                       (e)    The extent and nature of the Company’s political contributions and political

   activities;

                       (f)    FirstEnergy’s efforts to pass HB6 and to separate from FES;



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                       (g)    FirstEnergy’s maintenance of effective internal control over its financial

   reporting; and

                       (h)    The material risks applicable to FirstEnergy’s business, operations and

   prospects.

                    DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
                  STATEMENTS AND OMISSIONS DURING THE CLASS PERIOD

            95.        The Class Period begins on February 21, 2017. On that date, FirstEnergy filed with

   the SEC its annual report on Form 10-K for the fiscal year ended December 31, 2016 (the “2016 10-

   K”). Jones, Pearson and Taylor signed the 2016 10-K on behalf of FirstEnergy. Schneider also

   signed the 2016 10-K on behalf of FES. In its 2016 10-K, FirstEnergy indicated that the Company

   was pursuing “[l]egislative or regulatory solutions for generation assets that recognize their

   environmental or energy security benefits . . . [a]dditional asset sales and/or plant deactivations . . .

   [r]estructuring FES debt with its creditors, and/or . . . [s]eeking protection under U.S. bankruptcy

   laws for FES and possibly FENOC.” The 2016 10-K also stated, with respect to FirstEnergy’s

   subsidiary, FES, that “management is exploring capital and other cost reductions, asset sales, and

   other options to improve cash flow as well as continuing with legislative efforts to explore a

   regulatory type solution.”

            96.        Substantively similar statements were included in the annual report the Company

   filed with the SEC on Form 10-K on February 20, 2018 for the fiscal year ended December 31, 2017

   (“2017 10-K”), in quarterly reports the Company filed with the SEC on Form 10-Q on April 27,

   2017, on July 27, 2017 and on October 26, 2017 (the “2017 10-Qs”), respectively, and in preliminary

   and definitive proxy statements the Company filed with the SEC on Forms PRE 14A and DEF 14A

   on March 3, 2017 and March 30, 2017 (the “2017 Proxy Statements”), respectively. The 2017 10-K

   was signed by Jones, Pearson and Taylor on behalf of FirstEnergy. Schneider also signed the 2017

   10-K on behalf of FES. Each of the 2017 10-Qs was signed by Taylor on behalf of FirstEnergy.
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            97.        The 2016 10-K (dated February 21, 2017) also stated that FirstEnergy and its

   subsidiaries “comply with the related regulations, orders, policies and practices prescribed by the

   SEC, FERC, and, as applicable, the PUCO, the PPUC, the MDPSC, the NYPSC, the WVPSC, the

   VSCC, and the NJBPU” and that FES “complies with the regulations, orders, policies and practices

   prescribed by the SEC, FERC, NRC and applicable state regulatory authorities.”

            98.        The Company included substantively similar statements in each of the other Form 10-

   Ks and Form 10-Qs filed by the Company during the Class Period. The Company filed the other

   Form 10-Ks, in addition to the above-referenced 2017 10-K, on February 19, 2019 (the “2018 10-

   K”)17 and on February 10, 2020 (the “2019 10-K”). The 2018 Form 10-K was signed by Jones and

   Strah while the 2019 10-K was signed by Jones and Strah. The Company filed the other Form 10-

   Qs, in addition to the above-referenced 2017 10-Qs, on April 23, 2018, on July 31, 2018, and on

   October 25, 2018 (together, the Company’s “2018 10-Qs”); on April 23, 2019, on July 23, 2019, and

   on November 4, 2019 (together, the Company’s “2019 10-Qs”); and on April 23, 2020 (the

   Company’s “2020 Q1 10-Q”), respectively.

            99.        The Company’s 2016 10-K (dated February 21, 2017) further represented that

   FirstEnergy’s and FES’s internal controls over financial reporting and disclosures were effective,

   stating in pertinent part as follows:

                   The respective management of FirstEnergy and FES, with the participation of
            each respective registrant’s chief executive officer and chief financial officer, have
            reviewed and evaluated the effectiveness of their registrant’s disclosure controls and
            procedures, as defined in the Securities Exchange Act of 1934, as amended, Rules
            13a-15(e) and 15d-15(e), as of the end of the period covered by this report. Based on
            that evaluation, the chief executive officer and chief financial officer of each

   17
          On March 6, 2019, FirstEnergy filed a Form 10K/A with the SEC to replace the Exhibit 23 -
   Consent of Independent Registered Public Accounting Firm that was filed with the original 2018 10-
   K. In connection therewith, Jones and Strah filed certifications that the annual report did “not
   contain any untrue statement of a material fact or omit to state a material fact necessary to make the
   statements made, in light of the circumstances under which such statements were made, not
   misleading with respect to the period covered by this report.”

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            registrant have concluded that each respective registrant’s disclosure controls and
            procedures were effective as of the end of the period covered by this report.

                                                *       *      *

                    Management is responsible for establishing and maintaining adequate internal
            control over financial reporting as defined in Rules 13a-15(f) and 15d-15(f) of the
            Securities Exchange Act of 1934. Using the criteria set forth by the Committee of
            Sponsoring Organizations of the Treadway Commission in Internal Control –
            Integrated Framework published in 2013, the respective management of each
            registrant conducted an evaluation of the effectiveness of their registrant’s internal
            control over financial reporting under the supervision of each respective registrant’s
            Chief Executive Officer and Chief Financial Officer. Based on that evaluation, the
            respective management of each registrant concluded that their registrant’s internal
            control over financial reporting was effective as of December 31, 2016.

   This statement was also made in the Company’s 2017 10-K, and the same substantive statement

   regarding the effectiveness of FirstEnergy’s internal controls was included in FirstEnergy’s 2018 10-

   K and 2019 10-K.            The Company included substantially similar statements regarding the

   effectiveness of its and/or FES’s internal controls in its 2017 10-Qs, 2018 10-Qs, 2019 10-Qs and

   2020 Q1 10-Q.

            100.       The Company’s 2016 10-K also stated that “there were no changes in internal control

   over financial reporting that have materially affected, or are reasonably likely to materially affect,

   FirstEnergy’s or FES[‘s] internal control over financial reporting.” This statement was also made in

   the Company’s 2017 10-K, and the same substantive statement regarding the absence of changes to

   FirstEnergy’s internal controls was included in the Company’s 2018 10-K and 2019 10-K. The

   Company included similar statements regarding the absence of changes to FirstEnergy’s and/or

   FES’s internal controls in its 2017 10-Qs, 2018 10-Qs, 2019 10-Qs and 2020 10-Q.

            101.       The Company’s 2016 10-K also featured 20 pages of “Risk Factors” on a variety of

   subjects which purportedly included the most significant risks facing the Company, including, inter

   alia: (i) “Risks Related to the Transition to a Fully Regulated Utility”; (ii) risks related to FES,

   including the FES bankruptcy proceedings; (iii) risks related to the “deactivation of one or more of

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   the nuclear generating units”; (iv) the risk that a “Failure to Provide Safe and Reliable Service and

   Equipment Could Result in Serious Injury or Loss of Life That May Harm Our Business Reputation

   and Adversely Affect our Operating Results”; (v) risks from “Temperature Variations as well as

   Weather Conditions or other Natural Disasters”; (vi) the risk that “Cyber-Attacks, Data Security

   Breaches and Other Disruptions to Our Information Technology Systems Could Compromise Our

   Business Operations, Critical and Proprietary Information and Employee and Customer Data, Which

   Could Have a Material Adverse Effect on Our Business, Financial Condition and Reputation”; (vii)

   risks related to “Physical Acts of War, Terrorism or Other Attacks on any of Our Facilities or Other

   Infrastructure”; “Risks Associated With Regulation,” including PUCO specifically; and (ix) “Risks

   Associated with Climate Change.” None of the Company’s SEC filings mentioned any risks in

   connection with the Bailout Scheme. The Company’s Risk Factors in its Form 10-Ks for 2017-2019

   were virtually identical to the foregoing, with minor differences primarily attributable to timing (e.g.,

   by the time of its 2018 10-K, FirstEnergy had already transitioned to a fully regulated utility

   company).

            102.       Jones and Pearson filed signed certifications with the SEC attesting that the 2016 10-

   K: “does not contain any untrue statement of a material fact or omit to state a material fact necessary

   to make the statements made, in light of the circumstances under which such statements were made,

   not misleading.” Jones and Pearson also attested that they had “designed such internal control over

   financial reporting, or caused such internal control over financial reporting to be designed under our

   supervision.” Jones and Pearson further certified that FirstEnergy’s disclosure controls had been

   designed to ensure that material information relating to the Company and its consolidated

   subsidiaries were made known to them. Jones, Pearson and/or Strah filed substantively identical

   certifications in connection with the other Form 10-Ks and Form 10-Qs the Company filed during



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   the Class Period. Schneider also filed substantively identical certifications on behalf of FES in

   connection with the 2016 10-K, the 2017 10-Qs and the 2017 10-K.

            103.       On February 22, 2017, FirstEnergy held an earnings call with analysts and investors.

   Jones, Pearson, Taylor and Vespoli participated in the call. During the call, Jones stated: “[w]e

   continue to assess and evaluate a number of strategic alternatives for our companies for our

   competitive business, including asset sales, legislative or regulatory initiatives for generation that

   recognize its environmental or energy security benefits.” Jones continued in pertinent part as

   follows:

                    In Ohio, we have had meaningful dialogue with our fellow utilities and
            with legislators on solutions that can help ensure Ohio’s future energy security.
            Our top priority is the preservation of our two nuclear plants in the state and
            legislation for a zero emission nuclear program is expected to be introduced soon.
            The ZEN program is intended to give state lawmakers greater control and flexibility
            to preserve valuable nuclear generation. . . .

            We are advocating for Ohio’s support for its two nuclear plants, even though the
            likely outcome is that [the Company] won’t be the long-term owner of these assets.
            We are optimistic, given these discussions we have had so far and we will keep you
            posted as this process unfolds.

            104.       In its 2017 Proxy Statements, FirstEnergy represented that the Company was

   committed to “good corporate governance,” which was important to the success of its business and

   advancing shareholder interests, and identified “integrity,” “openness” and “trust” as among the core

   “behaviors” through which “employees contribute [to FirstEnergy’s] success.”               FirstEnergy

   expounded upon the foregoing terms in Corporate Responsibility Reports issued in 2019 and 2020,

   which included a message from Jones and the Chair of the Corporate Governance and Corporate

   Responsibility Committee that corporate responsibility includes “upholding high standard for

   corporate governance.” FirstEnergy stated in pertinent part as follows:

                      Integrity: We consistently demonstrate ethical behaviors, values, expectations and
                       outcomes. We work to create an environment where ethical behaviors are expected.
                       We have strength of character, strength of will and moral fiber.

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                      Openness: We are authentic, humble and true to ourselves. We communicate openly
                       and honestly. We actively listen and respond with empathy. . . .

                      Trust: We are honest, reliable, respectful, consistent, dependable and credible. We
                       are committed to doing what’s right. We respect and trust the capabilities, intention
                       and performance of others.18

            105.       The 2017 Proxy Statements also stated that FirstEnergy’s Code of Business Conduct

   (the “Code of Conduct”) “applies to all employees, including the CEO, CFO, and Chief Accounting

   Officer,” and that the Board had a Director Code of Ethics and Business Conduct (“Director Code of

   Conduct”). FirstEnergy repeated substantively identical statements to those referenced herein and

   above in preliminary and definitive proxies filed with the SEC on March 2, 2018, March 30, 2018

   (together, the Company’s “2018 Proxy Statements”), March 1, 2019, April 1, 2019 (together, the

   Company’s “2019 Proxy Statements”), March 4, 2020 and April 1, 2020 (together, the Company’s

   “2020 Proxy Statements”).

            106.       In a version of FirstEnergy’s Code of Conduct made available prior to the statements

   noted above (dated September 15, 2015),19 Jones stated as follows:

                     Maintaining high ethical standards builds trust with our customers,
            shareholders, fellow employees, and the communities we serve. At FirstEnergy, we
            are all responsible for upholding high standards and being aware of ethical issues
            that we may face on the job. . . . It applies equally to all employees of FirstEnergy
            Corp., including the Chief Executive Officer, Chief Financial Officer and Chief
            Accounting Officer.

                       Everything we do reflects on us both personally and as a company.


   18
            FirstEnergy Corporate Responsibility Report, FirstEnergy_2018CorporateResponsibility
   Report.pdf. Substantially similar language remains posted on FirstEnergy’s website, although it has
   been subsequently updated to include fallout from the Bailout Scheme, as discussed below. See
   FirstEnergy Corporate Responsibility, Mission, Core Values and Behaviors,
   https://fecorporateresponsibility.com/governance/mission-core-values-and-behaviors/ (last visited
   Feb. 26, 2021).
   19
            FirstEnergy Corp. Policy 101, Code of Business Conduct (Sept. 15, 2015),
   https://web.archive.org/web/20151017035327/https://www.firstenergycorp.com/content/dam/investo
   r/files/policies-charters/code-of-business-conduct.pdf.

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            107.       This version of FirstEnergy’s Code of Conduct also stated, among other things, as

   follows:

            Commitment to Maintaining the Highest Standards of Business Conduct

                   This Code of Business Conduct (the “Code”) serves as a reminder of the
            high standards we must meet in our day-to-day business activities. It also helps to
            guide us when formulating and pursuing Company goals and objectives.

                   As FirstEnergy employees, we are all responsible for complying with the
            principles included in this Code.

                                                *      *       *

            Guiding Principles of Business Conduct

                    It is the responsibility of every one of us to comply with all applicable laws,
            rules and regulations and all provisions of this Code and related policies and
            procedures. This Code is designed to encourage you to lead by example with ethics
            and integrity . . . . In addition, our Company has adopted a Corporate Compliance
            Program (“Program”) to assist all business units and employees to fully comply with
            all applicable laws, regulations and policies. The Program demonstrates that we
            intend to operate our business in accordance with sound business ethics. It includes
            many guiding principles for specific standards of conduct.

                       “Maintaining high ethical standard builds trust with customers,
                       shareholders, fellow employees, and the communities we serve. At
                       FirstEnergy, we are all responsible for upholding high standards and being
                       aware of ethical issues that we may face on the job.”

            Relationship with Others

                   Fair Dealing – We have built a reputation as a trustworthy and ethical
            member of our community and our industry. We are committed to maintaining the
            highest levels of integrity and fairness within our Company. When we fail to
            negotiate, perform or market in good faith, we may seriously damage our reputation
            and lose the loyalty of our customers. You must conduct business, including
            dealings with the Company’s customers, suppliers, competitors and other employees
            honestly and fairly and not take unfair advantage of anyone through any
            misrepresentation of material facts, manipulation, concealment, abuse of privileged
            information, fraud or other unfair business practice.

                                                *      *       *

                   Protection of Corporate Assets, Including Corporate Funds –We have a
            responsibility to use Company assets efficiently and to protect them from loss, theft,
            misuse or waste. Company assets and funds may be used only for legitimate
            business purposes and may never be used for illegal purposes. Do not keep
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            undisclosed funds nor establish any undisclosed accounts while conducting your
            work. Do not knowingly cause corporate funds to be used for unlawful purposes
            or for purposes other than those described by the documentation supporting payment.

                                                *      *      *

                    Compliance with the Law – Endeavor to comply with both the letter and
            spirit of all applicable U.S. and foreign laws, rules, and regulations. . . . Do not
            knowingly take, or permit to be taken, or permit to be taken, any action on behalf of
            the Company that violates any law, rule or regulation. Acknowledge that you are
            expected to have an understanding of the applicable laws, rules and regulations that
            affect our work assignments.

            108.       The latest version of FirstEnergy’s Code of Conduct (revised on May 26, 2020),

   contains substantially similar language as above, and also includes the additional highlighted

   language below:

            You must conduct business, including dealings with the Company’s customers,
            suppliers, competitors and other personnel, honestly and fairly and not take unfair
            advantage of anyone through any misrepresentations of material facts, manipulation,
            concealment, abuse of privileged information, fraud, bribes, kickbacks, illegal
            payments, cash gifts, cash equivalent gifts or other unfair business practices. Also,
            please be aware that special rules apply when dealing with government
            employees.20

            109.       A version of the FirstEnergy Director Code of Conduct made available prior to the

   statements discussed above (dated September 15, 2015), which contains language similar to that

   contained in the current version of the Director Code of Conduct, stated in pertinent part as follows:

                    The Board of Directors (the “Board”) of FirstEnergy Corp. (the “Company”)
            has adopted the following Code of Ethics and Business Conduct (the “Code”) for
            directors of the Company. This Code is intended to provide guidance to directors to
            help them recognize and deal with ethical issues, to help foster a culture of honesty
            and accountability, and to provide mechanisms to report unethical conduct. Each
            director must comply with this Code.

                                                *      *      *

                    Directors shall protect the Company’s assets from loss, theft, misuse and
            waste. Directors shall also ensure that the Company’s assets are being used
            efficiently and for legitimate business purposes.

   20
          FirstEnergy Corp. Policy 101, Code of Business Conduct, https://www.firstenergycorp.com
   /content/dam/investor/files/policies-charters/code-of-business-conduct.pdf (May 26, 2020).

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                   Directors shall comply, and oversee compliance by employees, officers and
            other directors, with laws, rules and regulations applicable to the Company.

            Directors shall not take unfair advantage of others through manipulation,
            concealment, abuse of privileged information, misrepresentation of material facts or
            through any other unfair-dealing practice.21

            110.       The 2017 Proxy Statements were filed in connection with an annual shareholder

   meeting scheduled for May 16, 2017 where shareholders were asked to vote on, among other things,

   a shareholder proposal requesting an annual report on the Company’s lobbying policies and

   payments. In recommending that shareholders vote against the proposal, FirstEnergy stated in

   pertinent part as follows:

            By engaging with elected officials, regulators, community and business leaders, and
            other decision makers, your Company strives to conduct its business as
            transparently as possible to serve customers effectively and help build public trust.

                   In addition to the existing extensive framework of laws and public disclosure,
            your Company adopted a Political Activity Policy, which was most recently updated
            in October 2016.

                                                 *       *      *

                    The Political Activity Policy also provides links to access your Company’s
            federal lobbying reports. Your Company complies with all federal and state
            lobbying registration and disclosure requirements, which include filing all required
            reports with the U.S. Congress and applicable state agencies.

            111.       The FirstEnergy Corporate Political Activity Policy (the “Political Activity Policy”)

   asserted: “[The Company] has decision-making and oversight processes in place for political

   contributions and expenditures to ensure such contributions or expenditures are legally permissible

   and in the best interests of FirstEnergy. . . . Any corporate political contributions by FirstEnergy are




   21
           FirstEnergy Corp. Board of Directors Code of Ethics and Business Conduct
   https://web.archive.org/web/20151017064427/https://www.firstenergycorp.com/content/dam/
   investor/files/policies-charters/Board-Code-of-Conduct.pdf (Sept. 15, 2015).

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   made in accordance with applicable laws, rules and regulations.” 22 This language also appears in

   the latest version of the Company’s Political Activity Policy.23 An excerpt of this language also

   appears in the Company’s Corporate Responsibility Reports.

            112.       On April 7, 2017, The News Messenger published an article titled “Bill would help

   Davis-Besse – Proposal includes small rate hike.” In the article, Jones is quoted as stating:

   “‘FirstEnergy applauds Ohio lawmakers for introducing a thoughtful program that recognizes the

   significant benefits Ohio’s nuclear power plants bring to customers, communities and the state.’”

            113.       On April 28, 2017, FirstEnergy held an earnings call with analysts and investors.

   Jones, Pearson, Taylor and Vespoli participated in the call. During the call, Pearson stated: “we are

   encouraged by recent energy policy discussions that could ultimately have a positive impact on the

   nation’s electric system.” Jones provided additional details regarding those policy discussions,

   stating in pertinent part:

            [W]e are closely monitoring 2 important new developments at the state and federal
            level. On the legislative front, bills were introduced in both the Ohio House and
            Senate this month that could help keep nuclear assets as part of Ohio’s generation
            mix.

                     The Zero Emission Nuclear Resource Program, or ZEN, is intended to
            recognize the critical energy security environmental attributes of nuclear power
            plants in Ohio by compensating them on a per megawatt hour basis. . . . I had the
            opportunity to testify at the initial hearing on ZEN which was held in the Ohio House
            earlier this week. Multiple hearings are expected in each chamber prior to summer
            recess, and we are working to get a bill on the governor’s desk as quickly as
            possible.




   22
           FirstEnergy Corporate Political Activity Policy (Feb. 19, 2015), https://web.archive.org/
   web/20151022181658if_/https:/www.firstenergycorp.com/investor/corporate_governance/policies_c
   harters/corporate_political_activity_policy.html#gsc.tab=0 (last visited Feb. 26, 2021).
   23
           FirstEnergy Corporate Political Activity Policy (May 12, 2020), https://firstenergycorp
   .com/investor/corporate_governance/responsibility/corporate_political_activity_policy.html (last
   visited Feb. 26, 2021).

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            114.       On May 17, 2017, the Akron Beacon Journal published an article titled “FirstEnergy

   CEO Looks Ahead, Chuck Jones Says He Comes To Work Every Day with Goal of Keeping

   Company’s Headquarters in Akron.” In the article, Jones is reported as stating: “[R]egardless of

   whether FirstEnergy continues to own its generating plants by the time the ZEN legislation could

   pass, ‘it needs to happen and it needs to happen regardless of when it happens,’ and he will continue

   to fight for it.”

            115.       On July 28, 2017, FirstEnergy held an earnings call with analysts and investors.

   Jones, Pearson and Vespoli participated in the call. During the call, Pearson reaffirmed the

   Company’s commitment to pursuing a legislative solution for the Nuclear Plants. In responding to

   an analyst’s question about the connection between proposed legislation in Ohio and a possible FES

   bankruptcy, Pearson stated:

            I am going to continue to fight for this ZEN legislation because it is the right thing to
            do for the state of Ohio. It’s the right thing to do for those assets. It gives those
            assets the best chance of running under new owners. I’m not sure those assets will
            run unless there is something done either federally or by the state of Ohio to ensure
            that they get a different financial return model, and that’s bad. So we’re going to
            continue to work on ZEN whether or not – irrespective of what happens with FES.

            116.       On September 7, 2017, Pearson participated in a Barclays CEO Energy-Power

   Conference. During the conference, Pearson, in response to questions about nuclear subsidy

   discussions in light of opposition from the then-Governor of Ohio, stated in pertinent part: “[w]e

   continue to advocate the benefits of having those plants running” and “we’re going to continue to

   educate all the constituents in Ohio. And hopefully, we’ll be able to get some type of legislation

   introduced in Ohio as well as supported by the [G]overnor.”

            117.       On October 27, 2017, FirstEnergy held an earnings call with analysts and investors.

   Jones, Pearson and Vespoli participated in the call. During the call, Jones stated: “[w]hile the Ohio

   legislature was on recess this summer, we continued working on a modified approach to help

   compensate the state’s nuclear plants for the fuel diversity, environmental and other benefits that
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   they provide.” Later in the call, Jones, in response to an analyst’s question about why potential

   legislative solutions for the Nuclear Plants were progressing despite opposition from the then-

   Governor of Ohio, stated in pertinent part as follows:

            I think the fact that New York and Illinois have already taken measures to protect
            these fuel-secured nuclear facilities in particular. The DOE initiative on top of it, the
            fact that other states concurrently are looking at it all are creating an awareness about
            what’s going on in our nation and the importance of these assets to not only physical
            security but also economic security. So I don’t think it’s a surprise that Ohio is
            willing to relook at it. I think we’ve got to deal with the legislature first. And then
            once we have the legislature passing the bill, then we’ll see where the governor really
            is at that time.

            118.       On February 21, 2018, FirstEnergy held an earnings call with analysts and investors.

   Jones, Pearson, Taylor and Vespoli participated in the call. During the call, Jones stated that

   FirstEnergy had been “very actively involved in a multitude of efforts at both the state and federal

   levels to support our generation assets,” but that he was disappointed those efforts had not yet

   resulted in “meaningful legislative or regulatory support” for the Company’s nuclear facilities.

   Jones added that FES would “continue to look at all options regarding these units,” including by

   “continu[ing] to support policy solutions.”

            119.       On March 28, 2018, PR Newswire distributed an article titled “FirstEnergy Solutions

   Files Deactivation Notice for Three Competitive Nuclear Generating Plants in Ohio and

   Pennsylvania; - 4,048 Megawatts of Electricity Generating Capacity to Retire by 2021.” The article

   stated that the plants would continue to operate as “FES seeks legislative policy solutions as an

   alternative to deactivation or sale.” The article further quoted Don Moul (“Moul”), the President of

   FES Generation Companies and Chief Nuclear Officer, as stating:

                     “We call on elected officials in Ohio and Pennsylvania to consider policy
            solutions that would recognize the importance of these facilities to the employees and
            local economies in which they operate, and the unique role they play in providing
            reliable, zero-emission electric power for consumers in both states. We stand ready
            to roll-up our sleeves and work with policy makers to find solutions that will make it
            feasible to continue to operate these plants in the future.”

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            120.       On March 31 2018, PR Newswire distributed an article titled “FirstEnergy Solutions

   and FirstEnergy Nuclear Operating Company File Voluntary Petitions for Chapter 11 Restructuring;

   – Operations Expected to Continue Normally During Restructuring.” In the article, Schneider is

   quoted as stating: “‘Given the prospective timing of federal and state review and our ongoing cash

   needs and debt service obligations, the FES and FENOC Boards of Directors determined that the

   Chapter 11 filing represents our best path forward as we continue to pursue opportunities for

   restructuring, asset sales and legislative and regulatory relief.’”

            121.       On April 23, 2018, FirstEnergy held an earnings call with analysts and investors.

   Jones, Pearson and Strah participated in the call. During the call, Jones stated: “I will continue

   personally to advocate for regulatory or legislative solutions, including FES[’s] application for an

   emergency order under the Federal Power Act that recognize the attributes of fuel-secure baseload

   generation and to ensure our customers continue to have a stable, reliable power supply.”

            122.       On April 25, 2018, PR Newswire published an article titled “FirstEnergy Solutions

   Files Certification Letter with NRC Affirming Plans to Deactivate Three Nuclear Generating

   Plants.” The article quoted Moul as stating: “‘[w]e are actively seeking policy solutions at the state

   and federal level as an alternative.’”

            123.       On June 2, 2018, The Plain Dealer of Cleveland published an article titled “Trump

   moves to save nuclear, coal plants that can’t compete Energy.” In the article, Moul is quoted as

   stating: “‘While this marks an important first step, until timing and details of the order are clear,

   additional support at the state level will be necessary to protect the jobs in Ohio and Pennsylvania.’”

   The article also quotes Jones as stating: “‘The company has advocated for solutions that recognize

   the critical attributes coal and nuclear plants provide because preserving these vital facilities is the

   right thing to do for the industry, the electric grid and our customers.’”



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            124.       On August 1, 2018, FirstEnergy held an earnings call with analysts and investors.

   Jones, Pearson, Vespoli and Strah participated in the call. During the call, Jones, in response to an

   analyst’s question about his thoughts on support for nuclear assets, stated in pertinent part as

   follows:

                     So any thoughts around the future of those assets are now questions to be
            posed to FES. I would say that, from my perspective, I continue to feel that the
            market policies in our countries have severe flaws that closing perfectly good nuclear
            plants in the long run is not going to be a good thing for our country. In the long-run,
            it’s not going to be a good thing for the 6 million customers that I’m paid to look out
            for. Because I think having a diverse mix of generation provides the more secure
            future for those customers from both physical security, grid resiliency and an
            economic stability perspective. So to the extent my voice matters in this process, I’m
            going to continue to be a loud advocate for it. I do believe that the deferred
            (inaudible) is still very seriously looking at this issue. And we are hopeful that they
            intend – that they will eventually step forward and do something to stabilize it.

            125.       On December 17, 2018, Crain’s Cleveland Business published an article titled

   “Newsmakers of the Year; FirstEnergy/Charles Jones.” In the article, Schneider, in connection with

   FES’s bankruptcy, is quoted as stating: “‘The Chapter 11 filing represents our best path forward as

   we continue to pursue opportunities for restructuring, asset sales and legislative and regulatory

   relief.’” In the same article, Moul is quoted as stating: “‘We call on elected officials in Ohio and

   Pennsylvania to consider policy solutions that would recognize the importance of these facilities to

   the employees and local economies in which they operate, and the unique role they play in providing

   reliable, zero-emission electric power for consumers in both states.’”

            126.       On January 23, 2019, PR Newswire distributed an article titled “FirstEnergy Solutions

   Corp. Reaches Restructuring Support Agreement with Key Stakeholders; – Agreement Contemplates

   Continued Ownership and Operation of Retail and Wholesale Load-Serving Business Beyond

   Chapter.” In the article, Schneider is quoted as stating as follows:

            “It is important to note that nothing in this agreement provides for the Company to
            continue operating its fossil or nuclear generation assets beyond their currently
            contemplated deactivation dates. Without legislative support and market reforms
            operating beyond those dates will be a significant challenge. We remain optimistic
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            that such support may be forthcoming, will solidify the tax base and tremendous
            economic value these plants provide to the surrounding communities in Ohio and
            Pennsylvania.”

            127.       On February 20, 2019, FirstEnergy held an earnings call with analysts and investors.

   Jones and Strah participated in the call. During the earning call, Jones, in response to an analyst’s

   question about whether there was “anything at all” that FirstEnergy was working on with respect to

   energy utility legislation in Ohio, stated in pertinent part as follows:

            Obviously, if our new leaders of the states – we have a new governor, a new speaker
            of the house, we’re going to have a new Chairman of the Public Utilities
            Commission. If they determine that they think the time is right to really put energy
            policy for the state back on the table in some fashion, legislatively, then we would
            expect to engage and provide our input. But it’s too early in the process for me to
            talk about what that might mean.

            128.       On July 23, 2019, FirstEnergy filed a Form 8-K with the SEC. The Form 8-K

   attached a presentation titled “2Q 2019 Strategic & Financial Highlights.” In the presentation,

   FirstEnergy stated:

            On July 23, House Bill 6 was approved by the Ohio legislature

            – We believe this bill is good for customers

            – Contributes to Ohio’s economic success and the security and resiliency of the
            regional electric grid while mitigating the potential impact of uncertain electric
            markets on our customers electric bills

            – Includes provisions that allow electric utilities to implement decoupling
            mechanisms . . .

            129.       On July 24, 2019, FirstEnergy held an earnings call with analysts and investors.

   Jones and Strah participated in the call. During the call, Jones stated in pertinent part as follows:

            In other developments, House Bill 6 was approved by the Ohio legislature and signed
            by Governor DeWine yesterday. As you know, the key issue of House Bill 6 is the
            support it provides to nuclear assets in the state. While we no longer own this
            generation, we believe this legislation is good for our customers because it will
            contribute to the state’s economic success and the security and resiliency of the
            regional electric grid, while mitigating the potential impact of uncertain electric
            markets on our customers’ electric bills now and in the future. House Bill 6 also
            include provisions that allow electrical utilities to implement a decoupling

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            mechanism, which further supports energy efficiency initiatives that benefit Ohio
            customers, while providing revenue certainty to utilities.

                                                *      *       *

            But the bill was a clean energy bill at its heart. The decoupling is included in the bill
            to support Ohio’s clean energy goals. It allows all of the utilities to continue to work
            with customers to drive further energy efficiencies without a concern for the impact
            on the revenues with the companies. In Ohio, we have a shared mechanism for lost
            distribution revenue that this now eliminates the need for us to worry about that.
            And its ultimately going to help reduce customer bills because that energy efficiency
            mandates on our bills, we’re going to grow significantly over the next several years.

                                                *      *       *

            I just want to take a moment to say how great it is in the State of Ohio to have
            leadership in Columbus who actually looks at issues and is willing to lead. I want to
            complement our Governor, Lieutenant Governor, Senate President, Speaker of the
            House, numerous members of the legislature and Senate and the Chairman of the
            Commission because they all worked together on a very complex bill here, with the
            goal I think of providing stable and transparent rates for customers going forward
            and keeping their Ohio utilities strong at the same time. And I think they came up
            with an approach that was very strong in terms of looking out for this industry and
            our customers in the State of Ohio.

            130.       On July 24, 2019, PR Newswire distributed an article titled “FirstEnergy Solutions

   Applauds Enactment of HB6 Legislation,” in which Judge was quoted as stating in pertinent part as

   follows:

                    “We are very pleased that Governor Mike DeWine signed HB6 following its
            successful bi-partisan passage in the General Assembly. . . . We’re also thankful for
            the support and commitment by Speaker Householder and Senate President Obhof
            who understood the importance of protecting 90% of the state’s zero-emissions
            electricity, substantial employment and the need to provide affordable rates from a
            diverse portfolio of generation sources for Ohioans.”

            131.       In the Company’s Form 10-Q for the quarter ending September 30, 2019 (dated

   November 4, 2019), FirstEnergy stated that on July 23, 2019, “Ohio enacted legislation establishing

   support for nuclear energy supply in Ohio. In addition to the provisions supporting nuclear energy,

   the legislation included a provision implementing a decoupling mechanism for Ohio electric

   utilities.” A substantively similar statement was included in the Company’s 2020 Form 10-Q.


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            132.       On November 4, 2019, FirstEnergy held an earnings call with analysts and investors.

   Jones and Strah participated in the call. During the call, Jones, in response to a question about 2020

   guidance and decoupling in Ohio, stated: “We expect to file the decoupling rates and the commission

   has 60 days to approve them. . . . As far as how I look at it, I think it establishes a fixed cost for the

   base distribution costs in Ohio. . . . [I]t takes about 1/3 of our company and I think [it] makes it

   somewhat recession-proof.”

            133.       On March 5, 2020, Energy News Network published an article titled “Campaign

   contributions pay off for Ohio utilities and coal interests,” which discussed the ties between public

   utilities and political contributions. In the article, Mark Durbin, a FirstEnergy spokesperson, is

   quoted as stating: “‘FirstEnergy Corp. makes and discloses all campaign contributions in accordance

   with applicable state and federal laws. . . . In the meantime, FirstEnergy continues to focus on

   transforming into a fully regulated utility that is making investments that will strengthen the electric

   system, boost reliability for customers and prepare the grid for smart technologies.’”

            134.       On April 24, 2020, FirstEnergy held an earnings call with analysts and investors.

   Jones and Strah participated in the call. In his opening remarks, Strah stated: “Before I turn the call

   over to your questions, I’d like to reiterate FirstEnergy’s overall value proposition, which is very

   simple, but also very unique, especially in periods of extreme volatility and uncertainty like we’re

   facing today. FirstEnergy is a low-risk, fully regulated, stable and predictable wires utility that spans

   5 states. . . . We have very good regulatory relationships in our jurisdictions.”

            135.       Defendants’ 2017 and 2018 statements referenced in ¶¶95-125 above were materially

   false and misleading when made. The true facts, which defendants knew or recklessly disregarded,

   as detailed herein, including in ¶¶64-94, 137-138, were as follows:




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                       (a)    that FirstEnergy, its officers, employees, and other representatives and

   affiliates had launched an elaborate campaign to corrupt the political process in order to secure the

   passage of legislation and regulatory action favoring the Company and its affiliates;

                       (b)    that FirstEnergy and its most senior executives had knowingly violated

   numerous state and federal laws and regulations and internal Company policies and the Company

   Code of Conduct in furtherance of the Bailout Scheme;

                       (c)    that FirstEnergy had misrepresented the extent and nature of the Company’s

   political contributions and regulatory and external affairs activities;

                       (d)    that FirstEnergy had failed to maintain effective internal control over its

   financial reporting; and

                       (e)    that, as a result of (a)-(d) above, FirstEnergy was subject to an extreme risk of

   reputational, legal and financial harm.

            136.       Defendants’ 2019 and 2020 statements referenced in ¶¶95-111, 126-134 above were

   materially false and misleading when made. The true facts, which defendants knew or recklessly

   disregarded, as detailed herein, including in ¶¶64-94, 137-138, were as follows:

                       (a)    that FirstEnergy, its officers, employees and other representatives and

   affiliates had executed an elaborate campaign to corrupt the political process in order to secure the

   passage of legislation and regulatory action favoring the Company and its affiliates, including to

   secure the passage and preservation of HB6;

                       (b)    that FirstEnergy and its most senior executives had knowingly violated

   numerous state and federal laws and regulations and internal Company policies and the Company

   Code of Conduct in furtherance of the Bailout Scheme;

                       (c)    that FirstEnergy had misrepresented the extent and nature of its political

   contributions and regulatory and external affairs activities;

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                       (d)    that FirstEnergy had failed to maintain effective internal control over its

   financial reporting;

                       (e)    that FirstEnergy and its senior executive had disguised a $4 million payment

   made in April 2019 for the benefit of the incoming PUCO Chairman as being made “in connection

   with the termination of a purported consulting agreement” to curry regulatory favors, including to

   cancel a PUCO review of FirstEnergy’s revenues and expenses to avoid a possible rate cut and to

   garner support for HB6;

                       (f)    that FirstEnergy and its representatives and affiliates had subverted a citizens’

   ballot initiative to repeal HB6 by, among other unscrupulous tactics detailed herein, hiring more than

   15 signature gathering firms (and thus conflicting them out of supporting the initiative) and bribing

   ballot initiative insiders and signature collectors; and

                       (g)    that, as a result of (a)-(f) above, FirstEnergy was subject to an extreme

   undisclosed risk of reputational, legal and financial harm.

            137.       FirstEnergy’s political action committee, the FirstEnergy PAC, disclosed political

   contributions during the Class Period, including approximately $39,000 to the committee “Friends of

   Larry Householder” from July 2017 to November 2019. Relative to legal donors, these reported

   contributions were substantial, as FirstEnergy PAC’s disclosed spending in 2018 alone was enough

   to place FirstEnergy among the largest 25 donors to Ohio campaigns that year. But, despite topping

   state contribution lists, FirstEnergy’s disclosed contributions represented only a fraction of the

   Company’s overall political spending and were in fact dwarfed by the size of the Company’s actual

   (but concealed) political contributions as follows:

                             FirstEnergy’s Disclosed                  FirstEnergy’s Concealed
                                  Contributions                            Contributions

            2017                                   $231,091                                 $1,000,000

            2018                                   $577,720                                 $1,400,000
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                             FirstEnergy’s Disclosed                FirstEnergy’s Concealed
                                  Contributions                          Contributions

            2019                                    $311,757                           $55,596,836

            2020                                    $174,000                            $2,000,000

            Total                               $1,294,568                             $59,996,836

            138.       After news of the Bailout Scheme was revealed, on July 21, 2020, Ohio Secretary of

   State Frank LaRose referred FirstEnergy to the Ohio Elections Commission for numerous apparent

   or alleged violations of Ohio law based upon its role in the Bailout Scheme, including for, among

   other things, knowingly concealing or misrepresenting the Company’s political contributions.

   LaRose submitted a formal complaint to the Commission on August 27, 2020.

                              a.      Item 303 Requirements

            139.       In addition to the materially false and misleading statements identified above,

   defendants also violated their affirmative obligations to provide certain material information in SEC

   filings as required by applicable SEC rules and regulations. Specifically, Item 303 of SEC

   Regulation S-K, 17 C.F.R. §229.303 (“Item 303”), required defendants to “[d]escribe any known

   trends or uncertainties that have had or that the registrant reasonably expects will have a materially

   favorable and unfavorable impact on the sales or revenues or income from continuing operations.”

            140.       In May 1989, the SEC issued an interpretive release on Item 303 (“1989 Interpretive

   Release”), stating, in pertinent part, as follows:

            Required disclosure is based on currently known trends, events, and uncertainties
            that are reasonably expected to have material effects, such as: A reduction in the
            registrant’s product prices; erosion in the registrant’s market share; changes in
            insurance coverage; or the likely non-renewal of a material contract.

                                                *        *      *

            A disclosure duty exists where a trend, demand, commitment, event or uncertainty is
            both presently known to management and reasonably likely to have material effects
            on the registrant’s financial condition or results of operation.


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            141.       Further, the 1989 Interpretive Release sets forth the following test to determine if

   disclosure under Item 303(a) is required:

            Where a trend, demand, commitment, event or uncertainty is known, management
            must make two assessments:

            (1)     Is the trend, demand, commitment, event or uncertainty likely to come to
            fruition? If management determines that it is not reasonably likely to occur, no
            disclosure is required.

            (2)     If management cannot make that determination, it must evaluate objectively
            the consequences of the known trend, demand, commitment, event or uncertainty, on
            the assumption that it will come to fruition. Disclosure is then required unless
            management determines that a material effect on the registrant’s financial condition
            or results of operations is not reasonably likely to occur.

            142.       Item 303 required FirstEnergy's quarterly and annual financial reports issued during

   the Class Period to disclose the involvement of the Company and its senior executives in the Bailout

   Scheme. Defendants’ failure to disclose their involvement in the largest bribery and corruption

   scheme in Ohio history and the corrupt underpinnings of HB6 and FirstEnergy's separation from

   FES violated Item 303 because these activities represented known trends and uncertainties that were

   likely to and did have a material negative impact on the Company's business and financial results.

                       DEFENDANTS’ FRAUDULENT SCHEME UNRAVELS

            143.       On July 21, 2020, the U.S. Attorney’s Office for the Southern District of Ohio issued

   a press release stating, in part:

                   Ohio House Speaker, former chair of Ohio Republican Party, 3 other
            individuals & 501(c)(4) entity charged in federal public corruption racketeering
            conspiracy involving $60 million

                   The Ohio Speaker of the House was arrested this morning and charged in a
            federal racketeering conspiracy involving approximately $60 million paid to a
            501(c)(4) entity to pass and uphold a billion-dollar nuclear plant bailout.

                    It is alleged that Larry Householder, 61, of Glenford, Ohio, and the
            enterprise conspired to violate the racketeering statute through honest services wire
            fraud, receipt of millions of dollars in bribes and money laundering.

            Four other individuals were also arrested and charged. They include:

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                          Mathew Borges, 48, of Bexley, a lobbyist who previously served as
            chair of the Ohio Republican Party;

                        Jeffrey Longstreth, 44, of Columbus, Householder’s longtime
            campaign and political strategist;

                          Neil Clark, 67, of Columbus, a lobbyist who owns and operates Grant
            Street Consultants and previously served as budget director for the Ohio Republican
            Caucus; and

                             Juan Cespedes, 40, of Columbus, a multi-client lobbyist.

                                               *       *      *

            The affidavit filed in support of the criminal complaint also alleges:

                           In 2018, the enterprise spent energy company-to-Generation Now
            money on approximately 21 different state candidates – 15 (including Householder)
            in the primary, and six additional candidates in the general election. The Enterprise
            spent more than one million in fall 2018 alone to flood the airways with negative ads
            against enterprise opponents. Most of these candidates won the 2018 general
            election. All who won voted for Householder as Speaker.

                         Money passed from the energy company through Generation Now
            was used to pay for Householder campaign staff, which would otherwise have been
            paid by Householder’s candidate committee, Friends of Larry Householder.

                           Householder received more than $400,000 in personal benefits as a
            result of the payments into Generation Now, including funds to settle a personal
            lawsuit, to pay for costs associated with his residence in Florida, and to pay off
            thousands of dollars of credit card debt.

                            The enterprise paid $15,000 to an individual to provide insider
            information about the ballot initiative and offered to pay signature collectors for the
            ballot initiative $2,500 cash and plane fare to stop gathering signatures.

            144.       On July 21, 2020, FirstEnergy issued a statement announcing that it had received

   subpoenas in connection with the government’s investigation into HB6. On this news and the public

   disclosure of criminal charges, several analysts downgraded their ratings recommendations for

   FirstEnergy. For example, on July 21, 2020, Wolfe Research issued a report titled “Ohi-uh-oh,”

   which downgraded its rating recommendation of FirstEnergy because of the bribery scandal and




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   lowered its price target to “reflect[] a 20% discount given the risks,” which included “fines, B/S and

   credit, mgmt. risk, and political/regulatory [risk].”

             145.      On July 22, 2020, a number of media outlets reported on the federal criminal charges.

   For example, Cleveland.com posted an article titled “FirstEnergy was relentless in quest to have

   Ohio legislature bail out the utility’s nuclear plants” providing the following additional details

   regarding FirstEnergy’s long-running efforts to rid itself of liabilities arising from the Nuclear

   Plants:

                    FirstEnergy Corp. tried and failed more than once to convince state
             lawmakers to subsidize the company’s two Ohio nuclear power plants, but was
             unable to achieve its goal until Larry Householder became speaker of the Ohio
             House of Representatives in 2019.

                     As speaker, Householder wasted little time pushing through House Bill 6,
             legislation that included the $1 billion nuclear plant bailout at the center of
             racketeering charges leveled against Householder and four others on Tuesday.

                                                 *       *      *

                       Early calls for help

                    FirstEnergy let it be known as far back as 2016 that it wanted relief for Perry
             nuclear plant in Lake County and Davis-Besse nuclear plant east of Toledo.

                     During an annual energy conference in early 2017, Rep. Bill Seitz, a
             Cincinnati Republican, revealed that FirstEnergy was in “substantial financial
             trouble.” FirstEnergy proposed something called “zero emission credits,” which
             would allow the utility to charge extra on electric bills because it was generating
             carbon-free nuclear power.

                    The credits would allow FirstEnergy to collect $300 million a year in
             perpetuity.

                                                 *       *      *

                       A legislative failure

                     Testifying before the same committee, Ned Hill, a professor in the John
             Glenn College of Public Affairs at Ohio State University, referred to FirstEnergy
             financial engineering as “fanciful.”

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                  The House bill and the companion Senate bill never made it out of the
            committee. Changes were made and a new bill was introduced in the House in
            October of 2017, but it too languished in committee.

                   The Ohio Consumers’ Counsel and the Ohio Manufacturers’ Association
            were among those who opposed idea as did then-House Speaker Cliff Rosenberger.

                       A new plan of attack

                    FirstEnergy wasn’t about to give up. In March of 2018, First Energy
            announced plans to get out of the nuclear power business within three years by
            closing Davis-Besse in 2020, and the Perry and Beaver Valley plant near Pittsburgh
            in 2021.

                   Shortly after the announcement, FirstEnergy Solutions Corp, which was the
            nuclear division of First Energy, filed for bankruptcy protection. It now operates
            under the name Energy Harbor.

                    The company set about lobbying the state legislature for the nuclear subsidies
            it had failed to obtain. That strategy, according to the federal prosecutors, included
            funneling millions of dollars to an organization, Generation Now, controlled by
            Householder.

            146.       On July 22, 2020, Barclays issued an analyst report downgrading its rating of

   FirstEnergy. The Barclays analyst report explained in pertinent part as follows:

                    Following a deeper read of the 81-page criminal complaint filed by the FBI,
            we are downgrading FE to Equal Weight: We see the details of evidence discussed
            in the complaint as concerning on many levels for FE (although it is not named in
            the report) and expect the ongoing investigation to focus on the company. A key
            component of FE’s investment thesis is a re-rating opportunity toward regional peers,
            which we now view as unlikely as negative headlines and investigation updates could
            continue to weigh on the stock.

                    We update our price target to $37 and our valuation framework to assume
            FE trades at a 20% discount to the group average multiple (previously assumed 5%
            premium) while maintaining all financial estimates: We reiterate our initial reaction
            outlined in FE: Initial Reaction to Ohio Probe (published 7/21/20), that the
            immediate financial impacts appear minimal, however after reading through evidence
            in greater detail – we believe the nature of the allegations and investigation will
            weigh on sentiment and limit the re-rating opportunity. The investigation also
            presents a new risk of any activity that may have occurred in prior years and calls HB
            6 into question (HB 6 included decoupling provisions in OH). All allegations in the
            criminal complaint are just allegation, but raise the overall risk profile for FE as the
            investigation enters its broader public phase and FE faces intense scrutiny.



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            147.       On July 22, 2020, Scotiabank also issued an analyst report titled “RICO Charges Are

   Tough to Look Through – Downgrading to Sector Perform,” which stated in pertinent part as

   follows:

                    OUR TAKE: Negative. We are downgrading FE to Sector Perform (from
            Sector Outperform) as we can no longer recommend the stock after the DOJ/FBI
            arrests and investigations announced yesterday. Though FE wasn’t named
            explicitly, it’s unambiguous to us that FE is the “Company A” referred to in the
            affidavit. The FBI has outlined probable cause to believe that “Company A” and
            several OH politicians and lobbyists were engaged in an elaborate “pattern of
            racketeering activity” related to “bribery” and money laundering, among other
            crimes. Based on the affidavit and the DOJ/FBI press conference yesterday, we
            struggle to see a scenario in which shares outperform peers over the next 12 months.
            Instead, it seems quite likely to us that things will get worse for FE before they get
            better. We continue to see only modest risk to the company’s LT financial outlook
            and await more details before drawing any concrete conclusions, but we don’t expect
            any anytime soon. As the FBI said yesterday, “this is the end of the beginning”, and
            additional search warrants and subpoenas will be served in the coming days. We
            have reduced our TP to $39 (from $53), as we now apply a 25% discount to our
            sector anchor multiple of 19x (from parity previously).

            148.       The price of FirstEnergy stock plummeted on this news, falling to a low of $22.85 per

   share on July 22, 2020 before “recovering” to close at $27.09, 34% below the stock’s closing price

   on July 20, 2020 of $41.26 per share, on abnormally high trading volume.

            149.       On July 23, 2020, Standard & Poor’s (“S&P”) announced that it was placing

   FirstEnergy and its subsidiaries on CreditWatch with negative implications. In the announcement,

   S&P stated in pertinent part as follows:

            Although FirstEnergy is not named as a defendant in the criminal complaint, we
            believe the severity of the charges outlined in the criminal complaint and the
            allegation that the bribery payments began as early as March 2017, prior to Energy
            Harbor Corp.’s emergence from bankruptcy under its new ownership, could possibly
            implicate FirstEnergy Corp. in some manner.

                    If subsequent investigations directly implicate FirstEnergy, we believe it
            could reflect a material deficiency in the company’s governance, insufficient internal
            controls, or could result in a weakening of the company’s management of regulatory
            risk.




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            150.       On July 24, 2020, Moody’s announced it was downgrading its outlook for

   FirstEnergy. In the announcement, a Moody’s analyst stated, “‘We see the criminal complaint as a

   potential sign of higher corporate governance risk and we expect more information will become

   available over the next few months.’” The announcement continued, “The possible corporate

   governance failure is directly related to the board’s organizational structure, compliance and

   reporting standards, policies and procedures.         The complaint also raises questions around

   management’s credibility and track record. However, the level of uncertainty around the complaint

   remains very high.”

            151.       On July 23, 2020, FirstEnergy filed a Form 8-K with the SEC. The Form 8-K

   attached, among other things, a press release that announced the Company’s financial results for the

   second quarter of 2020 and commented on the DOJ investigation. In the press release, Jones stated:

   “‘I believe that FirstEnergy acted ethically in this matter. At no time did our support for Ohio’s

   nuclear plants interfere with or supersede our ethical obligations to conduct our business properly. I

   believe the facts will become clear as the investigation progresses.’”

            152.       On July 24, 2020, FirstEnergy held an earnings call with analysts and investors.

   Jones, Strah and Taylor participated in the call. During the call, Jones sought to quell investor

   concerns and distance FirstEnergy from FES. Jones opened the call by discussing the federal

   criminal charges filed in connection with HB6. Jones stated, in pertinent part as follows:

            I believe that FirstEnergy acted properly in this matter.

                    This is a serious and disturbing situation. Ethical behavior and upholding the
            highest standards of conduct are foundational values for the entire FirstEnergy family
            and me personally. These high standards have fostered the trust of our employees,
            our customers and the financial community. We strive to apply these standards in
            all business dealings, including our participation in the political process. As you
            know, we have supported keeping Ohio’s 2 nuclear plants in operation. . . . So as we
            discussed on previous earnings calls, we supported legislative solutions for the
            nuclear plants even after we stopped operating them. We were strong supporters of
            House Bill 6 and opposed the referendum effort to repeal it.

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            But let me be clear, at no time does our support for nuclear plants in Ohio
            interfere or supersede our ethical obligations to conduct our business properly.

            153.       After delivering these opening remarks, Jones responded to an analyst’s question

   about the Company’s political contributions, in pertinent part, as follows:

                    Well, first, let me take the second half first. And as of November of ‘16,
            when we essentially made the competitive generation business noncore, FES
            separated fiduciarily, financially and operationally from being a part of FirstEnergy.
            They put in place an independent board. And from November ‘16, I’ve had no input
            into any of the decisions they’ve made. Obviously, we’ve had a lot of discussions
            between the 2 companies as it relates to transition and shared services and so forth.
            But in terms of decision-making authority, mine ended in November of 2016. On
            your specific question, as I’ve said, I’m not going to get into the details of the case,
            but I will say this, that of the funds that are referenced in the Department of Justice
            affidavit, FirstEnergy’s share of that is 25%. . . . [W]e do make prudent decisions to
            spend corporate funds on issues that we believe are important to our customers and
            shareholders. Beyond that, we intend to provide the details on what we spent, how
            we spend it to the Department of Justice in the coming weeks.

            154.       Jones continued to attest to his innocence throughout the call, claiming that at all

   times he acted “transparently, ethically, professionally.” Jones stated in pertinent part as follows:

            I can tell you this, in every meeting, every phone call, every text message that I
            participate in, I’ve talked about our obligations to conduct our business transparently,
            ethically, professionally. I have no worries that I did anything that wasn’t that way.
            And we let the merits of our arguments carry the day when we are operating in the
            political environment.

            155.       Later during the call, Jones, responded to an analyst’s question regarding lobbyists

   referenced in the Criminal Complaint, in pertinent part, as follows:

                    Well, let me say this. We do employ lobbyists. When we do, we expect them
            to act in the same ethical manner that we hold ourselves accountable for. The
            lobbyists named in the affidavit and subsequently arrested, did not work for
            FirstEnergy on House Bill 6. And to my knowledge, they have never worked for
            FirstEnergy. Who they work for, I’m not sure, but I know they did not work for us.

            156.       Jones also doubled down on his statements regarding the propriety of the Company’s

   conduct, stating in pertinent part as follows:

                   I would just say that – so first of all, our statement was that we believe that
            FirstEnergy acted properly in our dealings on House Bill 6. We can’t speak to what
            happened by anybody other than FirstEnergy. The financial support we provided to
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            House Bill 6 isn’t complicated. We know what we did. We know why we did it.
            We’re looking forward to sharing that with the Department of Justice. That’s what
            gives me the confidence to be able to say that we acted properly.

            157.       As analysts continued to inquire about his knowledge of and role in the events

   revealed in the Criminal Complaint, Jones repeatedly claimed he had done nothing wrong, stating in

   pertinent part as follows:

            I would just say this. I think that the CEO reference in some of that affidavit wasn’t
            me. I don’t know who it was, but it was not me. And I made – I’ve never made a
            payment directly to a lobbyist in my life nor asked any lobbyists to I’ve never made a
            payment directly to a lobbyist in my life nor asked any lobbyists to make a payment
            to anyone else on behalf of our company in my life.

            158.       When asked about the impact of a repeal of HB6 on the decoupling provision and

   FirstEnergy financially, Jones responded in pertinent part as follows:

            All right. So the first question is, if House Bill 6 is repealed, what else happens. I
            mentioned it in my prepared remarks that House Bill 6 went into law actually
            resulted in a rate reduction for our customers despite the surcharges related to the
            nuclear plants. And that was as a result of some of the previous payments that were
            being made for customers for renewable energy charges. It would depend how it’s
            repealed, how it’s replaced, if at all, on what happens with those renewable energy
            surcharges on the decoupling piece. The decoupling provisions in House Bill 6 can
            have many benefits, it provides rate certainty for both customers and shareholders
            until our next base rate case. In the case of shareholders, it could provide a benefit
            depending on weather during a normal economic downturn but right now, as I’ve
            said, with loads up due to workers being at home from – as a result of the pandemic,
            combined with hot weather, last month and this month, decoupling is actually
            providing a benefit to the customers. So if decoupling goes away, those are the types
            of benefits that are going to go away.

                                                *      *       *

                     Not anything that’s significant nor that we could accommodate within our
            plan. It’s a few pennies a share, probably maximum that it would benefit us. And as
            I said, if it’s not there, the real risk is also shared by customers because they’d be
            paying a whole lot higher electric bills this summer than they’re paying.

            159.       On July 27, 2020, FirstEnergy issued a statement on behalf of Jones, purporting to

   “clarify” his recent comments. The release stated, “[l]eaders at FirstEnergy, me included, had

   frequent discussions with FES leadership and its board about the strategic review and, as it


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   progressed, numerous matters related to FES, including employee impacts and shared services.”

   Jones further “clarified” FES in fact did receive “support from FirstEnergy’s External Affairs team

   to varying degrees” during the Class Period.

            160.       On July 28, 2020, Fitch Ratings (“Fitch”) announced it was revising its outlook for

   FirstEnergy to negative. In the announcement, Fitch stated:

                    The rating actions reflect credit concerns regarding potential illicit activity at
            FE in connection with an ongoing federal bribery/racketeering investigation. The
            investigation has resulted in criminal charges against Ohio Assembly Speaker Larry
            Householder, four associates and a non-profit organization, Generation Now.
            Among other things, the affidavit alleges that Householder and his associates
            engaged in bribery and other illegal actions designed to ensure House Bill (H.B.) 6
            was enacted and remained in effect (in light of a referendum effort to repeal the
            legislation).

                   While the indictment does not explicitly name FE or its affiliates,
            pseudonyms referred to in the affidavit are widely-believed to refer to FE, its
            corporate services subsidiary, FirstEnergy Service Company (FESC), and former
            subsidiary, Energy Harbor.

            161.       On August 10, 2020, FirstEnergy filed a Notification of Late Filing with the SEC on

   Form 12b-25. In the notice, FirstEnergy advised the SEC that the Company would not file its

   quarterly report for the period ending June 30, 2020 within the prescribed period and required

   additional time because of the DOJ investigation and pending and threatened litigation.

            162.       On September 18, 2020, Utilitydive.com posted a story titled “Ohio regulators launch

   probe into FirstEnergy’s political and charitable contributions” reporting that PUCO had opened an

   investigation into FirstEnergy’s political and charitable contributions in response to a request from

   the Ohio Consumers’ Counsel.

            163.       On September 19, 2020, the Athens Messenger published an article titled “Ohio

   regulators decline to force FirstEnergy to hire an independent auditor,” which stated that PUCO was

   requiring FirstEnergy to show that ratepayer funds were not directly or indirectly used to fund

   political or charitable support for HB6. In the article, Mark Durbin, a spokesperson for FirstEnergy,

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   is quoted as stating: “‘there were no expenses for political activity and lobbying for the years 2017-

   2020 included in customers’ rates at CEI, Toledo Edison, and Ohio Edison.’” The article also quotes

   Jennifer Young, a FirstEnergy spokesperson, as stating: “FirstEnergy’s PAC contributions are legal

   and reported consistent with established federal, state and legal requirements.”

            164.       On September 23, 2020, the Ohio AG filed a lawsuit against FirstEnergy and other

   entities and individuals alleging “corrupt activit[ies]” in violation of Ohio law and seeking, among

   other things, to enjoin the implementation of HB6. The lawsuit alleged that FirstEnergy and its

   affiliates knew that nuclear asset-saving legislation “would require a special combination of political

   experience, name identification and the willingness to play rough. FirstEnergy Corp. and its

   affiliates needed a legislative general to lead the charge. They found Larry Householder.” The

   complaint also alleged in pertinent part as follows:

                    Over three years, corporate interests with more than a billion dollars to gain
            spent tens of millions of dollars disguised as independent expenditures by so called
            “Social Interest Organizations” buying influence, aggregating power and deceiving
            voters. An aspiring House Speaker used political influence, campaign contributions,
            threats to committee assignments and a team of henchmen to reach the dais and pass
            a sweetheart deal for his sponsor. And a gang of political operatives and corporate
            insiders used a web of dark money groups, political action committees and for-profit
            corporations to buy their way out of facing a referendum that threatened the
            legislation that lay at the heart of all of these efforts.

            165.       On this news, the price of FirstEnergy stock declined by 3.5% to close at $27.58 per

   share on September 23, 2020 as compared to $28.57 per share on September 22, 2020.

            166.       Analysts and media outlets attributed this decline to the Ohio AG’s lawsuit. On

   September 23, 2020, an RBC Capital Markets analyst report commented: “The most obvious

   takeaway from the Ohio AG’s complaint is that it formally ties FE and its subsidiaries to the HB6

   scandal,” and thus “should put further pressure on the stock.” Similarly, investor news site,

   TheFly.com, reported: “FirstEnergy down 3% after report of lawsuit from Ohio’s Attorney General.”



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            167.       On September 25, 2020, Radio.Wosu.org, an Ohio public media station, posted an

   article regarding the Ohio AG’s lawsuit against FirstEnergy. In the article, Jennifer Young, a

   FirstEnergy spokesperson, is quoted as stating: “The [C]ompany has followed the law when it comes

   to political contributions.” Young is also quoted as stating: “‘The attorney general’s lawsuit unjustly

   targets the [company] for lawfully participating in the political process and advocating for policy

   that is consistent with our interests.’”

            168.       On October 14, 2020, The Wall Street Journal reported that Energy Harbor, the

   successor to FES, had been subpoenaed in connection with the federal investigation.

            169.       On October 26, 2020, the Akron Beacon Journal published an article titled

   “FirstEnergy – What happened with the checks?; Some candidates did not receive money from the

   group.” The article stated that “the company had been holding onto the checks, which were issued

   July 16, since federal investigators arrested former Ohio House Speaker Larry Householder and four

   others July 21.” The article quoted a FirstEnergy spokesperson as stating: “‘Holding the July 16

   checks allowed the company more time to investigate and assess the situation, and we decided to

   cancel the un-mailed checks in September out of an abundance of caution.’”

            170.       On October 27, 2020, the Columbus City Attorney announced that the cities of

   Cincinnati and Columbus had jointly filed a lawsuit in Franklin County Court of Common Pleas

   against FirstEnergy. In the press release titled “Columbus and Cincinnati File Suit to Halt Payments

   of HB 6 Fees to Save Taxpayers Millions of Dollars,” the Columbus City Attorney, Zach Klein, is

   quoted as stating: “‘Because of HB 6, the people of Ohio are required to pay a $900 million

   corporate bailout to FirstEnergy that was created through corruption, bribery and deception. In the

   City of Columbus alone, our residents are on the hook for $25 million of their own money. . . .’”

   The article also quotes the Mayor of Cincinnati, John Cranley, as stating in pertinent part as follows:

            “We are filing suit to protect ratepayers from being taken advantage of in one of the
            largest political corruption scandals in state history. . . . We will aggressively work
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            to seek an injunction from the courts to stop the unconstitutional corrupt statute from
            taking effect in January 2021. Ohio utility ratepayer should not have to pay into a
            corporate bailout fund that was secured through fraud, deceit and intimidation.”

            171.       On October 29, 2020, Longstreth and Cespedes pled guilty to the charged Racketeer

   Influenced and Corrupt Organizations Act (“RICO”) conspiracy. Cespedes, a lobbyist retained by

   FES, like Longstreth, admitted that he committed his criminal acts “to conceal the nature, source,

   ownership, and control of the payments” into Generation Now “in return for specific official action

   by HOUSEHOLDER relating to the passage and preservation of legislation that would go into effect

   and save the operation[s] of [the Nuclear Plants].”

            172.       Also on October 29, 2020, after the close of the market, FirstEnergy issued a press

   release announcing the termination of Jones and two other executives: (i) Dennis M. Chack, Senior

   Vice President of Product Development, Marketing, and Branding; and (ii) Michael J. Dowling,

   Senior Vice President of External Affairs. In the release, FirstEnergy disclosed that the Internal

   Review Committee of the Board had determined that the “executives [had] violated certain Company

   policies and its code of conduct.” Donald Misheff, Chairman of the Board, also stated: “‘I look

   forward to working with Chris[topher D. Pappas] in his role as Executive Director to oversee the

   management team’s execution of FirstEnergy’s strategic initiatives, engage with the Company’s

   external stakeholders, and support the development of enhanced controls and governance policies

   and procedures.’”

            173.       The market viewed these terminations as confirmation of wrongdoing. For example,

   on October 29, 2020, Guggenheim issued an analyst report titled “FE: CEO and Two Other

   Executives Terminated over Internal Investigation,” which observed that the dismissals “all but

   confirm[] some degree of impropriety at FE corporate.”

            174.       On October 30, 2020, FirstEnergy filed a Form 8-K with the SEC. The release stated,

   “Following the Committee’s determination regarding these violations of certain Company policies

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   and its code of conduct, the Company is re-evaluating its controls framework, which could include

   identifying one or more material weaknesses.”

            175.       On October 23, 2020, S&P downgraded FirstEnergy. In connection with its

   downgrade, S&P stated in pertinent part as follows:

            We view the severity of these violations at the highest level within the company as
            demonstrative of insufficient internal controls and a cultural weakness. We view
            these violations as significantly outside of industry norms and, in our view, represent
            a material deficiency in the company’s governance. To account for these
            deficiencies, we revised our assessment of the company’s Management &
            Governance score downward to weak from fair, which lowers the issuer credit rating
            by two notches.

            176.       On October 30, 2020, Fitch downgraded the long-term issuer default rating for

   FirstEnergy and its subsidiaries and revised its ratings outlook. Fitch explained: “[t]he rating actions

   reflect the termination of three senior executives including former FE CEO Charles E. Jones and two

   other senior executives and ongoing credit concerns regarding potential illicit activity at FE in

   connection with an ongoing federal bribery/racketeering investigation.”

            177.       On this news, the price of FirstEnergy stock declined by 6.6% to close at $29.72 per

   share on October 30, 2020 as compared to $31.81 per share on October 29, 2020.

            178.       On November 2, 2020, FirstEnergy filed a Form 8-K with the SEC. In the Form 8-K,

   FirstEnergy disclosed that on August 10, 2020 the SEC had informed FirstEnergy that it had opened

   an investigation into possible securities laws violations by the Company and, on September 1, 2020,

   the SEC had issued a subpoena to FirstEnergy and certain of its officers. The Form 8-K attached a

   presentation titled “3Q 2020 Strategic & Financial Highlights.” The presentation included a

   leadership transaction update, supplied by Christopher Pappas, Executive Director, which stated:

   “During the course of our internal review related to the ongoing government investigation regarding

   House Bill 6, the Independent Review Committee of the Board determined that three executives

   violated certain FirstEnergy policies and its code of conduct. . . . On October 29, 2020, FirstEnergy

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   announced that the three executives were all terminated effective immediately.” Pappas made a

   substantively similar statement during the earnings call FirstEnergy held on the same day.

            179.       During the call, Taylor stated: “as we noted in Friday’s 8-K, the violations of certain

   company policy and code of conduct by the terminated executives has caused us to reevaluate our

   controls framework, and that could lead to identifying 1 or more material weaknesses.”

            180.       During the call, Taylor, in response to an analyst question about how the Company

   intended to finance a potential fine or penalty, stated:

            I think that’s why we’re taking the steps that we’re taking now to provide additional
            balance sheet flexibility. When we cut back CapEx, when we think about operating
            expense reductions, that doesn’t necessarily max out your balance sheet over the next
            2 years to fund that growth. In fact, it improves your balance sheet. So that’s why
            we’re taking the steps that we’re taking to just kind of make sure that we address this
            uncertainty because we don’t know where we’re going to be in a year or so with the
            Department of Justice and whether or not there’s going to be a fine or penalty. So
            we’re just slowing back on growth for the near term. We can take additional actions
            if necessary. And I think that will provide plenty of balance sheet flexibility.

            181.       On the same call, Taylor was asked about the impact of a repeal of HB6 and stated:

                    So I think you would go back – the assumption would be we would go back
            to the rate construct that we had in 2018. So you would remove the decoupling
            mechanism, but then you would reestablish your energy efficiency rider under the
            Rider DSE. So that would be the construct. So it would be about a $0.05 hit to
            earnings. And then you would no longer – going forward, depending on how they
            repealed and replaced, if decoupling was no longer part of the rate structure going
            forward, then you would have those – that mechanism that Rider DSE in place going
            forward.

            182.       On November 4, 2020, PUCO initiated an audit of FirstEnergy’s compliance with

   corporate separation laws and regulations. PUCO issued a request for proposal seeking an

   independent third-party auditor to conduct a review of FirstEnergy’s corporate separation from

   Energy Harbor during the time period leading up to the passage of HB6 and the subsequent ballot

   referendum efforts. In its announcement of the audit, PUCO stated: “information recently filed by

   FirstEnergy Corp. with the Securities and Exchange Commission indicating an internal investigation


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   by FirstEnergy Corp. warranted further examination of compliance with corporate separation

   regulations by FirstEnergy’s electric distribution utilities and its affiliates.”

            183.       On this news, the price of FirstEnergy stock declined by 3.5% to close at $29.06 per

   share on November 4, 2020 as compared to $30.12 per share on November 3, 2020.

            184.       On November 9, 2020, FirstEnergy filed a Form 8-K with the SEC. In the Form 8-K,

   FirstEnergy disclosed that Reffner, the Senior Vice President and Chief Legal Officer of

   FirstEnergy, and Ebony Yeboah-Amankwah (“Yeboah-Amankwah”), the Vice President, General

   Counsel and Chief Ethics Officer of FirstEnergy, were terminated by the Company effective

   November 8, 2020.

            185.       On November 13, 2020, the Ohio AG filed a lawsuit in the Court of Common Pleas,

   Franklin County, seeking to enjoin Energy Harbor from collecting subsidies pursuant to HB6.

            186.       On November 16, 2020, media outlets reported that FBI agents had raided the home

   of PUCO Chairman Randazzo.

            187.       On this news, the price of FirstEnergy stock declined by 3.4% to close at $28.50 per

   share on November 16, 2020, as compared to $29.51 per share on November 13, 2020.

            188.       On November 17, 2020, FirstEnergy announced, after the close of the market, that the

   Company had received notice from the NYSE that it was not in compliance with continued listing

   requirements due to the Company’s failure to file the quarterly report for the quarter ended

   September 30, 2020, which had been due November 16, 2020.

            189.       On November 19, 2020, FirstEnergy filed with the SEC an amendment to its annual

   report for fiscal year 2019 on Form 10-K/A and belatedly filed with the SEC its quarterly report on

   Form 10-Q for the quarter ending September 30, 2020. In the Form 10-Q, FirstEnergy stated that it

   was “considering reductions to its Regulated Distribution and Regulated Transmission capital

   investment plans and reductions to operating expenses, as well as changes to its planned equity

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   issuances, to allow for flexibility should a fine be imposed as a result of the government

   investigation.” In the Form 10-K/A, FirstEnergy stated that management was restating its report on

   the maintenance of effective internal controls for the fiscal year 2019 in light of its subsequent

   conclusion that “material weakness[es]” existed as of December 31, 2019.

            190.       In both filings, FirstEnergy disclosed additional details surrounding the Company’s

   termination of Jones and other executives. Specifically, the filings stated in pertinent part as follows:

            These executives were terminated as of October 29, 2020. Such former members
            of senior management did not maintain and promote a control environment with
            an appropriate tone of compliance in certain areas of FirstEnergy’s business, nor
            sufficiently promote, monitor or enforce adherence to certain FirstEnergy policies
            and its code of conduct. Furthermore, certain former members of senior
            management did not reasonably ensure that relevant information was
            communicated within our organization and not withheld from our independent
            directors, our Audit Committee, and our independent auditor. Among the matters
            considered with respect to the determination by the committee of independent
            members of the Board of Directors that certain former members of senior
            management violated certain FirstEnergy policies and its code of conduct related to a
            payment of approximately $4 million made in early 2019 in connection with the
            termination of a purported consulting agreement, as amended, which had been in
            place since 2013. The counterparty to such agreement was an entity associated with
            an individual who subsequently was appointed to a full-time role as an Ohio
            government official directly involved in regulating the Ohio Companies, including
            with respect to distribution rates.

            191.       Both filings also stated that Reffner and Yeboah-Amankwah were terminated by the

   Company because of “inaction and conduct that the Board determined was influenced by the

   improper tone at the top.”

            192.       Both filings also admitted that FirstEnergy’s internal controls had not been effective

   and that the Company’s senior executives had “failed to set an appropriate tone at the top” and that

   its employees had violated the “Company’s policies and code of conduct.” The filings stated in

   pertinent part as follows:

                    The management of FirstEnergy, with the participation of the acting chief
            executive officer and chief financial officer, have reviewed and evaluated the
            effectiveness of its disclosure controls and procedures, as defined under the
            Securities Exchange Act of 1934, as amended (the “Exchange Act”), in Rules 13a-
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            15(e) and 15d-15(e), as of September 30, 2020. Based on that evaluation, the acting
            chief executive officer and chief financial officer of FirstEnergy have concluded
            that its disclosure controls and procedures were not effective as of September 30,
            2020, solely as a result of the material weakness in FirstEnergy’s internal control
            over financial reporting described below.

                                               *      *      *

            Material Weakness in Internal Control Over Financial Reporting Existing as of
            September 30, 2020

                                               *      *      *

            We did not maintain an effective control environment as our senior management
            failed to set an appropriate tone at the top. Specifically, certain members of senior
            management failed to reinforce the need for compliance with the Company’s policies
            and code of conduct, which resulted in inappropriate conduct that was inconsistent
            with the Company’s policies and code of conduct. . . . [T]his control deficiency
            could have resulted in material misstatements to the annual or interim consolidated
            financial statements that would not have been prevented or detected. Accordingly,
            our management has concluded that this control deficiency constitutes a material
            weakness.

            193.       On November 19, 2020, the WFMJ website posted a story titled “FirstEnergy: Ohio

   regulator’s firm got $4 million consulting fee,” which reported that PUCO Chairman Randazzo was

   the recipient of the $4 million payment cited by FirstEnergy in connection with its termination of

   Jones and other executives. The article stated in pertinent part as follows:

                    Public Utilities Commission of Ohio Chairman Sam Randazzo was not
            mentioned by name in the company’s tardy quarterly report with the in [sic] a U.S.
            Securities and Exchange Commission. However, Randazzo fits the description of
            someone who “subsequently was appointed to a full-time role as an Ohio government
            official directly involved in regulating” FirstEnergy. Randazzo was appointed
            chairman by Republican Ohio Gov. Mike DeWine on Feb. 4, 2019. FBI agents
            searched Randazzo’s Columbus home Monday. The agency has declined to
            comment on what they are investigating.

            194.       On November 20, 2020, Randazzo announced his resignation as PUCO Chairman.

   On the same day, Fitch announced it was again downgrading the ratings of FirstEnergy and

   FirstEnergy Transmissions LLC, stating in pertinent part as follows:

                   The rating action reflects recent disclosures of a $4.3 million payment from
            FE [FirstEnergy] to an individual who is now a government official involved in

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            regulating FE’s Ohio-based utility distribution subsidiaries. Fitch believes the
            disclosure significantly deepens regulatory, political, legal and liquidity risks already
            heighted by investigations underway at the Department of Justice (DOJ) and SEC.

            195.       On this news, the price of FirstEnergy stock declined by 3.6% to close at $28.00 per

   share on November 20, 2020, as compared to $29.04 per share on November 19, 2020.

            196.       On November 24, 2020, FirstEnergy announced that it and its subsidiary, FirstEnergy

   Transmission, LLC, had drawn down nearly $2 billion under their respective credit facilities to

   proactively “preserve financial flexibility.” The drawdown was widely viewed as FirstEnergy’s

   preparation for a large fine or monetary penalty. Notably, during FirstEnergy’s November 2, 2020

   earnings call, Taylor had responded to an analyst’s question about financing a potential fine or

   penalty from a balance sheet perspective by stating, “I think that’s why we’re taking the steps that

   we are taking now to provide additional balance sheet flexibility.”

            197.       On this news, rating agencies downgraded FirstEnergy’s rating to junk status. On

   November 24, 2020, Moody’s issued an announcement titled “Approximately $10 billion of debt

   securities downgraded,” which downgraded FirstEnergy. Moody’s explained that “[t]he rating

   actions reflect our view that regulatory scrutiny in Ohio is likely to increase, potentially resulting [in]

   negative financial implications for both FirstEnergy and its Ohio utility subsidiaries. The rating

   actions reflect higher corporate governance risk, resulting from FirstEnergy’s lack of oversight of

   internal controls.” A Moody’s analyst continued in pertinent part as follows:

                    “The disclosure of a payment by FirstEnergy to a government official who
            directly regulated the company’s Ohio utilities is likely to increase both regulatory
            risk and financial uncertainty for both FirstEnergy and its Ohio utility
            subsidiaries. . . . Furthermore, FirstEnergy’s decision to draw down $2 billion on its
            credit facilities is viewed as unusual behavior for an investment grade utility holding
            company. It was done to preserve liquidity but could be a sign that additional
            negative developments related to corporate governance may occur, possibly limiting
            access to these credit facilities of the capital markets.”

            198.       The next day, S&P Global Market Intelligence issued an announcement titled “S&P

   downgrades FirstEnergy following $1.95B draw on revolving credit facility,” which downgraded
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   FirstEnergy. S&P explained: “‘Although we believe the company’s decision to significantly

   increase its borrowings under its revolving credit facility demonstrates prudent risk management

   given the unique challenges the company is facing, in our view, it is also an acknowledgment that

   the company may not have consistent access to the capital markets.’”

            199.       Analysts also viewed FirstEnergy’s drawdown as foreshadowing further bad news.

   For example, a November 24, 2020 Bank of America analyst report stated, “We perceive this as an

   indication of higher likelihood of further negative announcements to come associated with the

   federal investigation, including heightened risk of ultimate penalty/settlement with DoJ.” Similarly,

   a December 1, 2020 Wells Fargo analyst report stated, “[R]ecent revelations related to former PUCO

   Chair Sam Randazzo raise further questions around FE’s historical relationship with OH regulators –

   and raises concerns that heightened scrutiny in other jurisdictions could potentially uncover

   additional malfeasance.”

            200.       On this news, over the four-day trading period from November 19, 2020 to November

   24, 2020, the price of FirstEnergy stock declined by 8.2% to close at $26.66 per share on November

   24, 2020, compared to $29.04 per share on November 19, 2020.

            201.       On December 28, 2020, The Courier website posted a story titled, “Nuclear plant

   subsidy stopped,” which reported that the Ohio Supreme Court had ordered a temporary stay of the

   collection of fees pursuant to HB6. The order had come a week after Common Pleas Judge Chris

   Brown had granted a preliminarily injunction to stop the collection of fees. In the article, Judge

   Brown was quoted as stating, “[t]o not impose an injunction would be to allow certain parties to

   prevail. It would give the OK that bribery is allowed in the state of Ohio and that any ill-gotten

   gains can be received.”

            202.       On January 14, 2021, the Ohio AG announced that it had filed a motion in the Court

   of Common Pleas, Franklin County, to enjoin FirstEnergy from collecting the fees tied to a PUCO-

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   approved rider and the decoupling provisions in HB6. In the announcement, the Ohio AG stated:

   “‘First we had to stop the collection of the fee created to line the pockets of Energy Harbor and now

   we are trying to stop the guaranteed profits for FirstEnergy and inappropriate rate increases to

   Ohioans.’” In the motion, the Ohio AG stated that “[g]ranting this preliminary relief restores the

   status quo anti by enjoining the effectiveness of this criminally offensive portion of H.B. 6.” The

   motion continued in pertinent part as follows:

                    Despite discovery being stayed, additional facts continue to come to light
            cementing the connections between FirstEnergy and H.B. 6. The most recent
            revelations begin to shed light on FirstEnergy’s use of Sam Randazzo, who Hs
            resigned as chair of PUCO after a H.B.6 related FBI raid on his house. FirstEnergy
            admitted to clearing its C-suites because of a $4 million payment to an entity linked
            to Randazzo made immediately prior to Randazzo becoming chair of PUCO. The
            entity is believed to be Sustain Funding Alliance of Ohio. In its SEC filing,
            FirstEnergy itself questions the validity of the payments through a significant use of
            the word “purported.” FirstEnergy stated that the payment was “in connection with
            the termination of a purported consulting agreement.” FirstEnergy admits the
            payment happened, but implies that the ‘purported’ basis is invalid. . . . This, of
            course, begs the question of what the $4 million Randazzo payment actually paid for.

                  It appears to have purchased Randazzo’s ongoing effort – even while chair of
            the PUCO – to craft the language of H.B.6 for FirstEnergy’s benefit. . . .

                   H.B. 6 enacted a new decoupling mechanism targeted to benefit FirstEnergy
            codified at R.C. 4928.471.

                                               *       *      *

                    The H.B.6 decoupling provision was odd, and especially beneficial to
            FirstEnergy because rather than allowing PUCO to determine an appropriate profit
            level, H.B.6 required the PUCO to approve an application that requested a
            decoupling mechanism “designed to recover the electric distribution utility’s 2018
            annual revenues.” R.C. 4928.471(B). In short, the PUCO must allow the applicant
            to match its 2018 annual revenues in perpetuity. Of course, 2018 was FirstEnergy’s
            largest annual revenues ever.

            203.       On February 1, 2021, FirstEnergy filed a Form 8-K with the SEC announcing it had

   reached a settlement with the Ohio AG and the cities of Cincinnati and Columbus. In the Form 8-K,

   FirstEnergy stated in pertinent part as follows:



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            On January 31, 2021, FirstEnergy reached a settlement with the [the Ohio AG and
            the cities of Cincinnati and Columbus] with respect to the temporary restraining
            order and preliminary injunction request and related issues. In connection with the
            settlement, [FirstEnergy and FirstEnergy’s Ohio utilities (the “Ohio Companies”)]
            filed an application on February 1, 2021, with the Public Utilities Commission of
            Ohio (“PUCO”) to set their respective decoupling riders (Rider CSR) to zero. Within
            five business days of any PUCO order approving the application, the Ohio
            Companies will ensure that no additional customer bills will include will ensure that
            no additional customer bills will include new decoupling rider charges. FirstEnergy
            expects to set the Ohio Companies remaining Rider CSR regulatory asset balance of
            approximately $110 million to $0.

                   In the absence of the decoupling riders permitted under Ohio House Bill 6,
            the Ohio Companies believe they would have collected lost distribution revenue
            estimated at $85 million for the year ended December 31, 2020.

            204.       On the same day, Reuters published an article titled “Ohio AG, FirstEnergy agree to

   end $102 million surcharge in nuclear bailout scandal.” In the article, the Ohio AG was quoted as

   stating, “‘This agreement recognizes the corrupt influence used to guarantee a for-profit company

   above-market returns for years to come by operation of law.’”

            205.       On February 5, 2021, Generation Now pled guilty to the charged RICO conspiracy.

   In the statement of facts attached to the plea agreement, Generation Now admitted to “receiv[ing]

   money from Company A (as defined in the Indictment [i.e., FirstEnergy]) for the benefit of the

   [d]efendants and others in return for specific official action by HOUSEHOLDER relating to the

   passage and preservation of legislation that would go into effect and save the operation of two

   nuclear power plants in Ohio; and [to engaging] in financial transactions that were designed to

   conceal the nature, source, ownership, and control of the payments made by Company A to

   GENERATION NOW.”

            206.       On February 16, 2021, FirstEnergy filed a current report on Form 8-K with the SEC

   which, among other things, revealed: (i) that the Company was subject to an audit by The Federal

   Energy Regulatory Commission’s (“FERC”) in connection with its governmental and lobbying

   activities; (ii) that the Company had determined the prior $4 million payment to PUCO Chairman

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   Randazzo “may have been for purposes other than those represented within the consulting

   agreement”; (iii) that the loss of HB6 coupling revenues would reduce the revenues to be received by

   FirstEnergy’s Ohio subsidiaries by $115 million in 2021 alone; and (iv) that the Company would be

   recognizing a $108 million pre-tax charge in the fourth quarter of 2020 in connection with lost

   distribution revenues.        The filing also provided the following new risk disclosure, which

   acknowledged the importance to FirstEnergy investors of the severe risks and potential harm faced

   by the Company as a result of its participation in the Bailout Scheme:

                     Any appearance of non-compliance with anti-corruption laws, as well as any
            alleged failures to comply with anti-corruption laws, could have an adverse impact
            on our reputation or relationships with regulatory authorities, and result in a material
            inquiry or investigation by such federal, state and local regulatory agencies, and
            result in adverse rulings against us, which could have a material adverse impact on
            our financial condition, operating results and operations.

            207.       On February 18, 2021, FirstEnergy announced the Company’s fourth quarter and full

   year 2020 financial results. During the quarter, FirstEnergy suffered a $0.15 per share hit to earnings

   due to the Company’s settlement with the Ohio AG and the cities of Cincinnati and Columbus. In

   addition, FirstEnergy disclosed that the $4 million payment to Randazzo was part of a pattern of

   improper transactions by the Company that had not been properly reported to investors and that had

   negatively impacted ratepayers stretching back more than a decade. In a separate release issued that

   same day, FirstEnergy announced the continued overhaul of key leadership positions at the

   Company, including the appointment of a new Vice Chairman of the Board, steps FirstEnergy stated

   were necessary to “rebuild trust with FirstEnergy’s external stakeholders, including regulators and

   the financial community.”

                                ADDITIONAL SCIENTER ALLEGATIONS

            208.       As alleged herein, defendants acted with scienter in that: (i) they knew or recklessly

   disregarded that their public documents and statements issued or disseminated were materially false

   and misleading; (ii) they knew or recklessly disregarded that such statements or documents would be
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   issued or disseminated to the investing public; and (iii) they participated or acquiesced in the

   issuance or dissemination of such statements or documents as primary violations of the federal

   securities laws. As set forth elsewhere herein in detail, the Officer Defendants, by virtue of their

   receipt of information reflecting the true facts regarding FirstEnergy, their control over and/or

   receipt and/or modification of FirstEnergy’s allegedly materially misleading statements, and/or their

   associations with the Company which made them privy to confidential proprietary information

   concerning FirstEnergy, participated in the fraudulent scheme and knew of the materially adverse

   facts alleged herein.

            209.       The affidavit and complaint filed in the Criminal Proceedings make clear that

   FirstEnergy’s most senior executives directly facilitated and oversaw the illicit activities alleged

   therein. For example, Jones had 84 personal phone contacts with Householder during the Class

   Period at the exact time that FirstEnergy was funneling tens of millions of dollars to the enterprise

   and it was taking part in overt acts in furtherance of the illicit activities detailed herein. The Officer

   Defendants’ scienter is also established by the breadth and magnitude of the alleged activities, which

   involved the largest money-laundering and bribery scheme in Ohio history, and the massive disparity

   between what FirstEnergy paid versus the benefits it received. If the recipients of FirstEnergy’s $60

   million payments were the only ones acting with unlawful intent, they would not have simply gifted

   a $2 billion return to FirstEnergy and the individuals comprising it, such as Jones.

            210.       In addition, FirstEnergy’s extensive contacts with Householder were well known

   within the organization and covered by outside media organizations. Beyond Householder’s January

   2017 ride on a FirstEnergy airplane and the regular contact by FirstEnergy employees with members

   of the Bailout Scheme, the Company’s support for Householder was well documented in the media

   (who nonetheless did not report on the illicit nature of this relationship), including news

   organizations such as Cleveland.com and the Energy and Policy Institute.

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            211.       Jones’ efforts to conceal his personal involvement following news of Householder’s

   arrest further confirms that he was knowingly complicit in the corrupt enterprise. For example,

   during the earnings call following the arrest of Householder, Jones stated that, “I’ve never made a

   payment directly to a lobbyist in my life nor asked any lobbyists to make a payment to anyone else

   on behalf of our company in my life.” Yet, only a few months later, FirstEnergy fired him for his

   role in disguising a $4 million payment to Randazzo. Jones also confirmed his personal involvement

   during the Company’s earnings call conducted for the first quarter of 2018, stating, “I will continue

   personally to advocate for regulatory or legislative solutions.”

            212.       FirstEnergy’s termination of Jones and four other top executives further strengthens

   an already-compelling inference of scienter. It is implausible that the individuals who comprise

   FirstEnergy unwittingly financed the largest political corruption scheme in Ohio state history and in

   doing so accidentally obtained the precise legislatively “fix” for the Nuclear Plants that they had

   been discussing for years. It is similarly unlikely that the Company would fire Jones and multiple

   other senior officers for having dumb luck, especially because the Company expressly acknowledged

   that the firings were due to these executives’ failure to adhere to Company policies and the Code of

   Conduct, setting an inappropriate tone at the top, and withholding information required to be

   disclosed. The timing of these firings and the Company’s express explanations for them is only

   compatible with a determination that Jones and the others acted with culpable states of mind.

            213.       The Officer Defendants managing FirstEnergy also had the motive and opportunity to

   commit fraud. For example, these executives received tens of millions of dollars in performance-

   based compensation substantially due to the Bailout Scheme, and several engaged in insider sales

   that were highly suspicious in both timing and amount. Jones alone reaped $10 million in insider

   trading proceeds during the Class Period. The Officer Defendants also took advantage of the

   inflated prices for FirstEnergy securities to conduct $5 billion worth of debt and equity sales.

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   Securing HB6 provided the Company with $2 billion in expected value and allowed the Officer

   Defendants to deliver on their highest strategic priority – finding a “solution” for the Nuclear

   Plants – for which they and FirstEnergy were richly rewarded.

            214.       In addition to their orchestration of the fraudulent scheme, defendants’ scienter is

   evidenced by: (i) admissions of wrongdoing by the perpetrators of the Bailout Scheme;

   (ii) defendants’ direct participation in the Bailout Scheme; (iii) defendants’ efforts to conceal the

   Bailout Scheme; (iv) the multitude of lawsuits, investigations and other proceedings brought against

   defendants in connection with the Bailout Scheme; (v) the magnitude of the Bailout Scheme; (vi)

   defendants’ sale of $5 billion of debt and equity securities during the Class Period; (vii) defendants’

   desire to boost FirstEnergy’s credit rating and reduce the cost of acquiring capital; and (viii) the

   Officer Defendants’ receipt of tens of millions of dollars in performance-based compensation and

   insider sale proceeds.

   A.       Admissions of Wrongdoing by Bailout Scheme Members

            215.       Defendants’ scienter is demonstrated by direct admissions of wrongdoing by the

   perpetrators of the Bailout Scheme, including certain of the defendants themselves. For example, in

   connection with its agreement to plead criminally guilty to RICO conspiracy violations, Generation

   Now admitted that the Bailout Scheme was established in coordination with FirstEnergy and that the

   Company knowingly took steps to conceal its involvement in criminal wrongdoing. Specifically,

   Generation Now admitted that it “received money from [FirstEnergy] for the benefit of the

   Defendants and others in return for specific official action by HOUSEHOLDER relating to the

   passage and preservation of legislation that would go into effect and save the operation of two

   nuclear power plants in Ohio.” Generation Now further admitted that it “engaged in financial

   transactions that were designed to conceal the nature, source, ownership, and control of the payments

   made by [FirstEnergy].” Similarly, Longstreth – described as FirstEnergy’s “point of contact” with

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   Householder – admitted in connection with his criminal plea agreement that he, together with other

   members of the Bailout Scheme, “engag[ed] in financial transactions that were designed to conceal

   the nature, source, ownership, and control of the payments made by [FirstEnergy].”

            216.       FirstEnergy has likewise conceded that its executives engaged in the wrongdoing that

   forms the subject of this complaint. In October and November 2020, FirstEnergy fired several high

   ranking officers for their role in perpetrating the Bailout Scheme. In explaining these executive

   terminations, the Company admitted that defendants Jones, Chack and Dowling were terminated for

   personally “violat[ing] certain FirstEnergy policies and its code of conduct” and for failing to

   “maintain and promote a control environment with an appropriate tone of compliance in certain

   areas of FirstEnergy’s business.” FirstEnergy specified that these violations concerned the

   Company’s improper influence campaign, providing the examples, “[a]mong” others, of their

   making an illicit $4 million payment in April 2019 to an entity controlled by Randazzo just prior to

   his assumption of the PUCO Chairmanship and of their attempts to improperly conceal their

   activities. FirstEnergy has subsequently acknowledged “that payments under the consulting

   agreement may have been for purposes other than those represented within the consulting

   agreement.” Randazzo would go on to write key pieces of HB6 and publicly testify in support of the

   bill without disclosing these payments. Similarly, FirstEnergy admitted that it terminated defendant

   Reffner and another senior legal officer for their failure to prevent wrongdoing (as their jobs

   required) and because of their personal, affirmative “conduct that the Board determined was

   influenced by the improper tone at the top.” FirstEnergy has confirmed that all five terminations

   “relat[e] to United States v. Larry Householder, et al.” and associated internal and governmental

   investigations. In addition, FirstEnergy has announced a wide-ranging overhaul of its senior

   leadership positions and compliance and anti-corruption policies, practices and procedures, thereby

   acknowledging their material inadequacy during the Class Period.

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            217.       In addition, FirstEnergy has admitted that it failed to “maintain an effective control

   environment as [its] senior management failed to set an appropriate tone at the top.” FirstEnergy has

   further admitted that “certain members of senior management failed to reinforce the need for

   compliance with the Company’s policies and code of conduct, which resulted in inappropriate

   conduct that was inconsistent with the Company’s policies and code of conduct.” As a result,

   FirstEnergy suffered from a material weakness in its internal control over financial reporting that

   “could have resulted in material misstatements to the annual or interim consolidated financial

   statements that would not have been prevented or detected.”

            218.       Jones also made numerous statements attesting to the knowledge of FirstEnergy and

   its executives, including his own personal knowledge, regarding the Bailout Scheme. For example,

   in response to an analyst question about what FirstEnergy knew regarding the facts alleged in the

   Criminal Proceedings, Jones responded, “The financial support we provided to House Bill 6 isn’t

   complicated. We know what we did. We know why we did it.” Jones also admitted that

   FirstEnergy knowingly contributed at least $15 million to the Bailout Scheme, although he

   misrepresented the extent and nature of the Company’s involvement. As discussed below, the false

   and misleading nature of Jones’ statements, in which he admitted knowing the details of

   FirstEnergy’s payments in support of HB6 but denied culpability, provide further indicia of scienter.

   B.       Defendants’ Direct Participation in the Bailout Scheme

            219.       Defendants’ own, direct roles in the Bailout Scheme further confirm their scienter of

   the adverse facts detailed herein. The Officer Defendants directly oversaw and participated in

   material aspects of the Bailout Scheme, and FirstEnergy served as its corporate kingpin. Each of the

   Officer Defendants held a senior position at FirstEnergy and/or FES with responsibility for directing

   and managing the Company’s business, political operations, regulatory and compliance activities,

   nuclear operations and/or financial reporting, among other aspects of FirstEnergy operations directly

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   implicated in the Bailout Scheme. The Officer Defendants held themselves out as the persons most

   knowledgeable about these subjects and regularly presented on them to investors during the Class

   Period. FirstEnergy was so central to the Bailout Scheme that perpetrators described the Company

   as its “Bank” and the “single largest client” of the corrupt lobbyists pushing for the passage and

   preservation of HB6. The Officer Defendants’ job responsibilities, certifications, actions, statements

   and participation in FirstEnergy’s extensive reporting and information distribution network and

   efforts to facilitate the Bailout Scheme during the Class Period confirm that each of the Officer

   Defendants knew or recklessly disregarded the Bailout Scheme, FirstEnergy’s “unholy alliance”

   with corrupt political actors and the surrounding circumstances set forth herein.

            220.       Jones. As FirstEnergy’s CEO, Jones was the ultimate head of the Company’s

   lobbying activities, efforts to pass HB6 and pursuit of illicit “solutions” to deal with the problems

   posed by the Nuclear Plants. In these roles, Jones orchestrated the payment of tens of millions of

   dollars from the corporate treasury of FirstEnergy to finance the Bailout Scheme. Key members of

   the scheme, including the other Officer Defendants, reported to him. During the Class Period, Jones

   also repeatedly emphasized his direct and personal involvement in the Company operations

   implicated in the Bailout Scheme. For example, Jones described solving FirstEnergy’s nuclear

   problems as his “top priority” and stated that he “personally” met with legislators regarding the

   Nuclear Plants. During a February 2018 earnings call, Jones acknowledged, “It is common

   knowledge that we were very actively involved in a multitude of efforts at both the state and federal

   levels to support” the Nuclear Plants, and later, during an April 2018 earnings call, proclaimed he

   would “continue personally to advocate for regulatory or legislative solutions.” Similarly, in August

   2018, Jones stated that he was “going to continue to be a loud advocate for” a government solution

   to the Nuclear Plants. After HB6 was signed into law, Jones personally thanked Householder and

   other Ohio politicians for their “willing[ness] to lead” in passing the bill.

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            221.       Jones backed up these words with overt acts in support of the Bailout Scheme. He

   held at least 84 phone calls with Householder during the Class Period. This included 30 calls in the

   short seven-month span from January 2019 to July 2019 – the period between when Householder

   became Speaker and when HB6 was signed into law. Jones also participated in in-person meetings

   regarding the Bailout Scheme with other senior FirstEnergy executives, including a September 2019

   meeting with an FES lobbyist to discuss the anti-repeal efforts being covertly funded by the

   Company. In addition, Jones certified that he had personal “knowledge” that FirstEnergy’s quarterly

   financial filings were accurate, complete and fairly presented in all material respects the Company’s

   financial position. He also certified that he was personally responsible for establishing and

   maintaining FirstEnergy’s internal controls and procedures and that such internal controls and

   procedures were free from any material weaknesses, properly designed and effective to ensure

   accurate financial reporting and internal fraud detection. In October 2020, FirstEnergy fired Jones

   because of his involvement in the Bailout Scheme and for making millions of dollars in illicit

   payments to an Ohio regulator. Moreover, the Company has subsequently admitted that its internal

   controls were deficient in direct contradiction of Jones’ Class Period statements.

            222.       Dowling. Dowling served as FirstEnergy’s SVP of External Affairs during the Class

   Period. In this role, he was responsible for FirstEnergy’s governmental and regulatory affairs

   (including with the state of Ohio), energy policies, community outreach and political action

   committees. Dowling was an instrumental participant in the Bailout Scheme, holding at least 14

   phone contacts with Householder and several additional phone calls with other co-conspirators

   regarding the Bailout Scheme. Many of these calls occurred in conjunction with payments from

   FirstEnergy to fund the Bailout Scheme. For example, on March 12 and 13, 2018, Dowling had five

   telephone communications with Householder. Two days later, FirstEnergy wired $300,000 to the

   corrupt enterprise through a pass-through vehicle. Similarly, between April 27 and April 30, 2018,

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   Dowling had seven telephone communications with Longstreth, followed shortly thereafter by a

   $100,000 payment by FirstEnergy to members of the Bailout Scheme on May 4, 2018. FirstEnergy

   fired Dowling because of his direct involvement in the Bailout Scheme, including for facilitating an

   illicit $4 million payment to Randazzo in advance of Randazzo’s assumption of the PUCO

   Chairmanship and HB6 advocacy.

            223.       Pine. Pine served as a FirstEnergy lobbyist and its Ohio Director of State Affairs

   during the Class Period. In this role, Pine was a central liaison between FirstEnergy and corrupt

   Ohio politicians and regulators, including members of the Bailout Scheme. During the Class Period,

   Pine had at least 188 phone contacts with Householder and his co-conspirators regarding the Bailout

   Scheme. Several of these calls occurred in conjunction with payments from FirstEnergy to fund the

   Bailout Scheme. For example, on March 12 and 13, 2018, Pine had four telephone communications

   with Householder. Two days later, FirstEnergy wired $300,000 to the corrupt enterprise through a

   pass-through vehicle. Similarly, between May 1 and May 4, 2018, Pine had five telephone contacts

   with Longstreth, immediately after which FirstEnergy made a $100,000 payment to members of the

   Bailout Scheme. Pine also worked closely with Ohio state legislators to draft HB6 on behalf of

   FirstEnergy and possessed intimate knowledge about the Company’s efforts to shepherd the

   legislation through the Ohio legislature.

            224.       Chack. Chack served as FirstEnergy’s SVP of Product Development, Marketing and

   Branding. He was responsible for FirstEnergy’s corporate branding, corporate communications and

   marketing programs, including the Company’s extensive media efforts in support of HB6 and efforts

   to oppose the repeal of the legislation. These marketing efforts espoused false and misleading

   information regarding the purported benefits of HB6 and the public harms that would occur if HB6

   were repealed. Chack, along with other FirstEnergy executives, worked to obscure the Company’s

   role in funding this media campaign. Because of his job responsibilities, Chack worked directly with

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   Jones and other FirstEnergy executives to shape the Company’s misleading HB6 messaging strategy

   and almost certainly attended a September 2019 meeting between FirstEnergy executives and an

   FES lobbyist to discuss anti-repeal efforts being covertly funded by the Company. FirstEnergy fired

   Chack in October 2020 because of his direct involvement in the Bailout Scheme, including for

   facilitating an illicit $4 million payment to Randazzo in advance of his assumption of the PUCO

   Chairmanship and HB6 advocacy.

            225.       Pearson. Pearson served as FirstEnergy’s CFO until March 2018, at which time he

   transitioned to its VP of Finance in order to focus “his utmost attention” on dealing with the Nuclear

   Plants until his retirement in April 2019. Pearson was a member of the Restructuring Working

   Group overseeing the Company’s restructuring of FES. In these roles, he had direct oversight and

   responsibility for FirstEnergy’s accounting, financial planning, internal auditing, corporate risk,

   investor disclosures and efforts to eliminate the Company’s liability exposure to the Nuclear Plants.

   As a result, Pearson was directly involved in and intimately familiar with key aspects of the Bailout

   Scheme. Pearson reviewed and determined the Company’s accounting for its payments and political

   contributions, including FirstEnergy’s illicit payments to the Bailout Scheme. During the Class

   Period, Pearson also certified that he had personal “knowledge” that FirstEnergy’s quarterly

   financial filings were accurate, complete and fairly presented in all material respects the Company’s

   financial position. He also certified that he was personally responsible for establishing and

   maintaining FirstEnergy’s internal controls and procedures and that such internal controls and

   procedures were free from any material weaknesses, properly designed and effective to ensure

   accurate financial reporting and internal fraud detection. FirstEnergy would later admit that its

   internal controls were deficient in direct contradiction of defendant Pearson’s Class Period

   statements.



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            226.       Strah. Strah served as VP of FirstEnergy’s Utilities Operations until March 2018, at

   which time he transitioned to CFO before assuming the role of President of FirstEnergy in May

   2020. In these roles, he had direct oversight and responsibility for FirstEnergy’s accounting,

   financial planning, internal auditing, corporate risk and investor disclosures. Strah reviewed and

   determined the Company’s accounting for its payments and political contributions, including

   FirstEnergy’s illicit payments to the Bailout Scheme. During the Class Period, Strah certified that he

   had personal “knowledge” that FirstEnergy’s quarterly financial filings were accurate, complete and

   fairly presented in all material respects the Company’s financial position. He also certified that he

   was personally responsible for establishing and maintaining FirstEnergy’s internal controls and

   procedures and that such internal controls and procedures were free from any material weaknesses,

   properly designed and effective to ensure accurate financial reporting and internal fraud detection.

   FirstEnergy would later admit that its internal controls were deficient in direct contradiction of

   defendant Strah’s Class Period statements.

            227.       Reffner. At the start of the Class Period, Reffner served as FirstEnergy’s VP Legal,

   and he was promoted to FirstEnergy’s VP General Counsel in 2018 and its SVP Chief Legal Officer

   in May 2020. In these roles, Reffner was responsible for FirstEnergy’s legal, ethics, internal

   auditing, risk management and related affairs during the Class Period. He oversaw the Company’s

   fulfillment of its legal and ethical obligations, internal control policies and procedures and adherence

   to internal control, risk management and compliance guidelines. As a result, Reffner was directly

   involved in and intimately familiar with FirstEnergy’s extensive efforts to facilitate the Bailout

   Scheme and prevent its detection. FirstEnergy fired Reffner in November 2020 because of his

   “conduct” in support of the Bailout Scheme and failure to prevent its occurrence.

            228.       Vespoli. Vespoli served as FirstEnergy’s Executive VP of Corporate Strategy and

   Regulatory Affairs and Chief Legal Officer until her retirement in April 2019. Vespoli was also part

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   of the FirstEnergy Restructuring Working Group overseeing the restructuring of FirstEnergy’s

   nuclear subsidiaries and the efforts to achieve a legislative “solution,” which ultimately culminated

   with the passage of HB6. In these roles, she had direct oversight and responsibility for the

   Company’s lobbying activities and political contributions, interaction with regulators and state

   representatives, legal and regulatory compliance activities and efforts to eliminate the Company’s

   liability exposure to the Nuclear Plants. Jones described Company professionals overseen by

   Vespoli as a “fully-engaged team of financial and legal advisors” seeking solutions for FES and

   stated that the regulatory affairs team overseen by Vespoli were “closely monitoring the status of

   initiatives at both the state and federal levels.” Vespoli was directly involved in and intimately

   familiar with key aspects of the Bailout Scheme. Although Vespoli retired before she could be fired

   by FirstEnergy for her role in the Bailout Scheme, her responsibilities mirrored those of her

   successor, Reffner, who was ultimately terminated by the Company for his misconduct and

   complicity in connection with the Bailout Scheme.

            229.       Schneider. Schneider served as CEO and Chairman of FES at the start of the Class

   Period. He remained CEO of FES until Judge assumed that position in March 2019 and remained

   FES Chairman until FES completed its bankruptcy restructuring. In these roles, Schneider facilitated

   FES’s part in the Bailout Scheme through his responsibilities for FES’s lobbying and regulatory

   efforts, separation from FirstEnergy and efforts to find “solutions” for the Nuclear Plants. As part of

   Jones’ plan to create the appearance of FES independently supporting Householder (captured in a

   recorded phone conversation involving Cespedes), Schneider directed FES to retain one of the

   Bailout Scheme’s most important lobbyists: Mathew Borges. Schneider retained Borges in close

   consultation with FirstEnergy and the Company’s other senior executives involved in the Bailout

   Scheme, including Jones. As a result, Schneider was directly involved in the Bailout Scheme and

   intimately familiar with its operations.

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            230.       Judge. Judge is the CEO and President of FES (now Energy Harbor). He assumed

   this position in February 2019, prior to which he served as the Chief Risk Officer of FirstEnergy. In

   these roles, Judge facilitated FES’s part in the Bailout Scheme through his responsibilities for FES’s

   lobbying and regulatory efforts, separation from FirstEnergy and efforts to find “solutions” for the

   Nuclear Plants. Judge personally met with Householder to discuss the Bailout Scheme, including in

   a March 2019 meeting at Vern Riffe State Office Tower (“Riffe Tower”) in Columbus. As part of

   Jones’ plan to create the appearance of FES independently supporting Householder (captured in a

   recorded phone conversation involving Cespedes), Judge directed FES to retain one of the Bailout

   Scheme’s most important lobbyists: Cespedes. Judge retained Cespedes in close consultation with

   FirstEnergy and the Company’s other senior executives involved in the Bailout Scheme, including

   Jones. Judge periodically met with Cespedes to receive updates on the Bailout Scheme, including

   during the aforementioned March 2019 Riffe Tower meeting, which Cespedes attended, and also

   during a November 2019 dinner attended by Judge, Cespedes and other Bailout Scheme members.

   Judge also directed and oversaw the use of FES employees in commercials opposing the repeal of

   HB6, as part of the misleading ad campaign opposing the repeal effort. Following the passage of

   HB6, Judge personally thanked Householder, stating, “We’re also thankful for the support and

   commitment by Speaker Householder.”

   C.       Defendants’ Efforts to Conceal the Bailout Scheme

            231.       Defendants’ extensive efforts to cover up their wrongdoing further bolster a

   compelling inference of scienter. These efforts demonstrate that defendants both: (i) knew of the

   adverse facts alleged herein; and (ii) knew that their activities were unlawful and improper and

   risked material damage to the Company and its investors if ever revealed.

            232.       Defendants in the Criminal Proceedings have admitted that members of the Bailout

   Scheme “engaged in financial transactions that were designed to conceal the nature, source,

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   ownership, and control of the payments made by [FirstEnergy].” FirstEnergy itself has likewise

   admitted that members of senior management, including Jones, Chack and Dowling, failed to

   “reasonably ensure that relevant information was communicated . . . and not withheld” in connection

   with the Bailout Scheme.

            233.       Moreover, FirstEnergy employed an elaborate dark money network for the express

   purpose of concealing its illicit payments in support of the Bailout Scheme, including, inter alia: (i)

   Generation Now, Inc.; (ii) JPL & Associates LLC; (iii) Friends of Larry Householder; (iv) Constant

   Content Co.; (v) 17 Consulting Group LLC; (vi) Partners for Progress, Inc.; (vii) Coalition for

   Growth & Opportunity, Inc.; (viii) Hardworking Ohioans, Inc.; (ix) Growth & Opportunity PAC,

   Inc.; (x) Ohioans for Energy Security, LLC; and (xi) FirstEnergy PAC FSL. The use of this dark

   money network allowed FirstEnergy to obscure the source of its payments to fund the Bailout

   Scheme and to conceal the Company and the Officer Defendants’ role in it. As an example of the

   ways in which FirstEnergy used this complex web to conceal its support for the Bailout Scheme, in

   October 2019 FirstEnergy funneled $3.5 million to pay for a direct mailer campaign opposing the

   repeal of HB6 first through Generation Now and then through three different bank accounts, making

   the source of the funds almost impossible to trace. Lobbyist Neil Clark described the appeal of using

   501(c)(4) organizations to further the Bailout Scheme as follows: “it’s a secret, a (c)(4) is secret.

   Nobody knows the money goes to the Speaker’s account . . . it’s not recorded.”

            234.       Tellingly, even after Householder was arrested and the fraudulent scheme perpetrated

   by FirstEnergy and the Officer Defendants began to unravel, Jones told a series of brazen lies to

   perpetuate the cover-up. During an investor call immediately after the arrests, Jones claimed, “I

   don’t know who” is the “CEO [of Company A]” referred to in the Criminal Complaint, “but it was

   not me.” This claim of ignorance was belied by the Criminal Complaint’s direct quotes of Jones’

   past statements, attributed to the “Company A Corp.’s CEO,” which left no doubt about the CEO’s

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   identity. As prosecutors noted when announcing Householder’s arrest, “Everyone in this room

   knows who Company A is.”

            235.       During the call, Jones also strongly disavowed any wrongdoing. However, almost

   immediately after issuing these falsehoods, Jones had to walk them back. The very next business

   day, Jones issued a series of “clarifications,” conceding that he did not in fact “literally” emphasize

   ethics in all interactions with politicians. Jones also acknowledged that FirstEnergy continued to

   provide FES external affairs support during the Class Period, notwithstanding his prior claim that the

   Company was “virtually out of the external affairs business for FES very shortly after November of

   2016.” The extent of Jones’ attempt to cover-up defendants’ roles in the Bailout Scheme would be

   further revealed when FirstEnergy announced his termination in October 2020. The reasons

   FirstEnergy provided for firing Jones and other executives included their failure to act transparently,

   ethically and professionally and their illicit payment of millions of dollars to a top Ohio regulator.

   D.       The Historic Magnitude of the Bailout Scheme

            236.       The historic magnitude of defendants’ fraudulent scheme further confirms that

   defendants possessed scienter of the undisclosed, adverse facts detailed herein. The Bailout Scheme

   involved one of the largest bribery and corruption schemes in U.S. history, and it was perpetrated

   through an extensive network of FirstEnergy and FES employees, politicians, lobbyists, regulators,

   political action committees, front companies and dark money vehicles. FirstEnergy funneled more

   than $60 million over a multi-year period to Householder and his corrupt affiliates to ensure the

   passage and defense of HB6, one of the most consequential pieces of energy regulation impacting

   Ohio citizens in recent history. FirstEnergy’s financial commitment to the criminal enterprise was so

   vast that conspirators internally referred to the Company as the “Bank” and its willingness to spend

   “unlimited” cash to further its corrupt ends as “Monopoly money.” In return for these lavish

   contributions, FirstEnergy secured a $1.3 billion rate payer-funded bailout of the Nuclear Plants,

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   lucrative decoupling provisions that locked-in an estimated $700 million in guaranteed revenues, an

   amiable exit to the FES bankruptcy proceedings, and a much-needed “fix” for the Company’s

   nuclear problems.

            237.       Bribery and corruption were at the core of FirstEnergy’s business model and used to

   navigate the Company’s most pressing operational and financial challenges. The Bailout Scheme

   was FirstEnergy’s “top priority” and directly overseen and implemented by the Company’s most

   senior management, including the Officer Defendants. FirstEnergy’s efforts to deal with its failing

   nuclear subsidiaries was a central topic of concern for investors and analysts and featured

   prominently during almost every Company earnings call during the Class Period. When the Bailout

   Scheme was finally revealed, the repercussions were enormous, resulting in, inter alia: (i) at least

   five arrests and three guilty pleas by co-conspirators; (ii) more than a dozen lawsuits, investigations

   and compulsory audits of FirstEnergy; (iii) the termination of several high-ranking FirstEnergy

   executives, including four of the Officer Defendants; (iv) a collapse in the price of FirstEnergy

   securities; (v) multiple rating agency downgrades; and (vi) the need for FirstEnergy to take a nearly

   $2 billion credit drawdown to ensure sufficient liquidity to pay expected fines and penalties.

   E.       Defendants Are Sued and Investigated for Their Riles in the Bailout Scheme

            238.       FirstEnergy and many of the Officer Defendants are now subject to a host of lawsuits,

   investigations, regulatory reviews and other proceedings as a result of their participation in the

   Bailout Scheme.

            239.       In addition to being identified as “Company A” in the Criminal Proceedings,

   FirstEnergy has been named as a defendant in more than a dozen shareholder lawsuits, customer and

   ratepayer class actions, and state and municipal proceedings. Many of these lawsuits have already

   found early success in attempting to hold FirstEnergy and its officers accountable for their violations

   of law in connection with the Bailout Scheme. For example, in December 2020, the Ohio AG and

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   the cities of Cincinnati and Columbus successfully secured a preliminary injunction before Franklin

   County Judge Chris Brown which blocked the HB6 nuclear subsidies. See Ohio v. FirstEnergy et

   al., No. 20-CV-06281, Or. (Ct. C.P. Franklin Cnty. Dec. 21, 2020). Then, in January 2021, the

   parties reached a settlement in which FirstEnergy agreed to forego the fees associated with HB6’s

   decoupling provisions. Similarly, on February 10, 2021, Judge Edmund A. Sargus, Jr. denied in

   their entirety motions to dismiss a rate payer class action alleging RICO conspiracy and other

   violations against defendants FirstEnergy, Jones, Pearson, Strah, Taylor and Dowling. See Opinion

   & Order Denying Defendants’ Motion to Dismiss, Smith v. FirstEnergy Corp., et al., No. 2:20-cv-

   03755, ECF No. 43 (S.D. Ohio Feb. 10, 2021).

            240.       FirstEnergy, FES and certain officers have also received subpoenas from the U.S.

   Attorney’s Office for the Southern District of Ohio and the SEC in connection with investigations

   into the Bailout Scheme. In addition, FirstEnergy’s primary regulator, PUCO, has launched a series

   of audits to examine the Company’s support for HB6, use of customer funds, compliance with

   applicable laws and regulations, and separation from FES, among other issues. The FERC Division

   of Investigations has also launched an audit in connection with the Company’s lobbying and

   governmental affairs activities.

   F.       Defendants Issued $5 Billion in Equity and Debt at Artificially Inflated Prices

            241.       FirstEnergy’s Form 10-K filings repeatedly acknowledged that the Company’s

   “business is capital intensive, requiring significant resources to fund operating expenses,

   construction expenditures, scheduled debt maturities and interest payments, dividend payments and

   contributions to pension plan.” To meet these capital requirements during the Class Period,

   defendants took advantage of the artificially inflated price of FirstEnergy securities and the

   investment grade credit ratings generated by their fraudulent conduct and issued $2.5 billion in

   common and preferred stock and another $2.5 billion in debt securities.

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            242.       On January 22, 2018, when FirstEnergy common stock was trading at the artificially

   inflated price of $32.45 per share, FirstEnergy announced that it had issued $1.62 million in

   mandatorily convertible preferred shares and $850 million in common stock. Defendants hailed the

   private placement as “transformational” and, in FirstEnergy’s 2019 Form 10-K, claimed it

   “supported the company’s transition to a fully regulated utility company and positions FirstEnergy

   for sustained investment-grade credit metrics.”

            243.       In February 2020, while FirstEnergy stock was trading above $53 per share and the

   Company had received investment-grade corporate credit ratings from S&P, Moody’s and Fitch as a

   result of the Bailout Scheme, defendants issued $1.75 billion in debt securities. Specifically,

   defendants issued $300 million of 2.050% notes due in 2025, $600 million of 2.650% notes due in

   2030, and $850 million of 3.400% notes due in 2050. According to the prospectus for the sale of

   these securities, FirstEnergy needed the $1.75 billion to repay the Company’s term loan credit

   agreement that was expiring in September 2021, to fund cash payments pursuant to the FES

   bankruptcy settlement agreement, and to fund working capital needs.

            244.       Less than four months later, in June 2020, defendants issued another $750 million in

   debt securities while the Company’s credit rating continued to be investment-grade and its common

   stock traded above $43 per share as a result of defendants’ misstatements and material omissions.

   Specifically, defendants issued $300 million of 1.600% notes due in 2026 and $450 million of

   2.250% notes due in 2030. According to the prospectus for these securities, FirstEnergy intended to

   use the money to repay $750 million borrowed under a term loan credit agreement that was due to

   expire in September 2020.

   I.       Defendants’ Fraud Boosted FirstEnergy’s Credit Rating and Reduced Its Cost of
            Acquiring Capital

            245.       In late 2016, PUCO approved a “Distribution Modernization Rider” increasing

   FirstEnergy customers’ rates to provide “credit support” for FirstEnergy as it faced mounting
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   problems with the Nuclear Plants. At the time, a Moody’s credit opinion and an S&P research

   update both noted that there was a serious risk of FirstEnergy’s credit rating being downgraded.

   According to FirstEnergy, any downgrade would hinder access to capital markets and make the cost

   of borrowing money higher. FirstEnergy’s SEC filings during the Class Period also acknowledged

   that “[a] downgrade in [FirstEnergy] credit ratings from the nationally recognized credit rating

   agencies, particularly to a level below investment grade, could negatively affect our ability to access

   the bank and capital markets” and “a downgrade could increase the cost of . . . capital,” “increase our

   interest expense on certain of FirstEnergy’s long-term debt,” and “impact our ability to grow our

   regulated business or execute on our business strategies.” But if defendants could preserve and

   improve FirstEnergy investment grade credit ratings, it would reduce the cost of acquiring capital,

   including interest rates on debt offerings and loan terms, which would directly benefit the

   Company’s reported financial results. As Jones stated during a conference call with analysts and

   investors at the beginning of the Class Period on February 22, 2017: “[w]e are committed to

   investment grade credit metrics at FE Corp.”

            246.       Based significantly on the Bailout Scheme and the claimed resolution of the financial

   problems posed by the Nuclear Plants, defendants were able to increase FirstEnergy’s credit ratings

   with all three major rating agencies: S&P, Moody’s and Fitch. Indeed, during a February 20, 2019

   conference call discussing FirstEnergy’s settlement with FES creditors, which was achieved due to

   the promise of a legislative solution for the Nuclear Plants, Jones assured investors that, “[t]he

   settlement and our improved risk profile as a utility with stable, predictable earnings and cash flow

   cleared the way for an across-the-board upgraded S&P, including an upgraded issuer credit rating at

   FE Corp. and a positive credit outlook with Fitch.” As a result of the improved credit ratings,

   FirstEnergy was able to accomplish the sale of $2.5 billion in debt securities in the first half of 2020

   as detailed above and to substantially reduce its cost of raising capital.

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            247.       But when the truth about defendants’ fraudulent scheme came to light, FirstEnergy’s

   credit ratings collapsed. On July 24, 2020, Moody’s revised FirstEnergy’s credit rating to negative

   from stable as a result of the illegal activity identified in the July 21, 2020 Criminal Complaint.

   Over the next few months, as a result of the truth emerging about defendants’ fraudulent scheme, all

   three of the major ratings agencies downgraded FirstEnergy, and, by November 2020, the

   Company’s credit rating had been reduced to junk status across the board.

   J.       Defendants’ Fraud Allowed Them to Reap $90 Million in Salary and Bonus
            Compensation and $14 Million in Insider Trading Proceeds

            248.       The Officer Defendants were incentivized to conceal their criminal Bailout Scheme in

   order to keep their executive positions at FirstEnergy and continue collecting lucrative salaries and

   incentive-based compensation. According to FirstEnergy’s 2020 Proxy Statements, the Officer

   Defendants were eligible for performance-based compensation that far exceeded what they received

   in the form of earned salaries. This performance-based compensation largely based on FirstEnergy’s

   reported financial results. The Proxy Statements reported the compensation for Jones, Pearson,

   Strah, Reffner and Vespoli as follows:

   Defendant24              2017 Compensation           2018 Compensation          2019 Compensation
   Charles Jones            $15,281,885                 $11,123,128                $14,684,659
                            92.6% Perf. Based           89.8% Perf. Based          92.3% Perf. Based
   James Pearson25          $5,977,966                  $3,895,599                 $7,258,952
                            83.9% Perf. Based           83.0% Perf. Based          97.7% Perf. Based
   Steven Strah             $3,976,975                  $3,495,512                 $6,034,128
                            85.9% Perf. Based           83.0% Perf. Based          89.3% Perf. Based
   Robert Reffner26                                                                $2,467,891
   24
          FirstEnergy did not report compensation figures for Chack, Dowling, Pine, Reffner or
   Taylor, but as FirstEnergy executives, each of these defendants were eligible for performance-based
   compensation during the Class Period that was significantly larger than their annual salaries.
   25
          As reported in FirstEnergy’s 2020 Proxy Statements, Pearson’s 2019 compensation included
   $1.6 million he received upon departing the Company effective April 1, 2019, $1.3 million of which
   was a lump-sum payment “equivalent to what [he] would have received under the FirstEnergy
   Executive Severance Benefits Plan.”
   26
            FirstEnergy did not report Reffner’s compensation for 2017 or 2018.
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   Defendant24               2017 Compensation           2018 Compensation          2019 Compensation
                                                                                    78.2% Perf. Based
   Leila Vespoli27           $5,117,611                  $4,123,650                 $7,022,512
                             85.1% Perf. Based           81.5% Perf. Based          97.4% Perf. Based

            249.       In total, Jones, Pearson, Strah, Reffner and Vespoli collected over $90.4 million in

   compensation in the three years before their fraudulent scheme was disclosed. Nearly 90% of that

   compensation was in the form of performance-based bonuses that were largely predicated on

   FirstEnergy’s reported financial performance.

            250.       In addition to their collection of tens of millions of dollars in compensation, Jones,

   Pearson, Vespoli and Chack also reaped nearly $14 million in insider trading proceeds. As reflected

   below, Jones, Pearson, Vespoli and Chack sold their stock while the price of FirstEnergy stock was

   artificially inflated as a result of their fraudulent scheme:

   Defendant               Date                # of Shares      Share Price       Total Proceeds
                                               Sold
   Charles Jones           March 1, 2018       116,045          $32.48            $3,769,142
                           March 1, 2019       148,302          $40.73            $6,040,340
   James Pearson           January 9, 2019     40,000           $37.87            $1,514,800
   Dennis Chack            March 1, 2019       10,145           $40.73            $ 413,206
   Leila Vespoli           March 1, 2018       36,367           $32.48            $1,181,200
                           March 1, 2019       24,400           $41.33            $1,008,452

            251.       These sales were highly suspicious in both timing and amount. Based on the Form 4s

   that were filed in conjunction with the stock sales, each of these defendants sold a substantial portion

   of their FirstEnergy holdings and their insider trading during the Class Period was unusual in timing

   compared to their pre-Class Period transactions. In comparison to the nearly 265,000 shares of

   FirstEnergy stock he sold during the Class Period, Jones did not make any stock sales in the 18

   months before the Class Period began. In addition, Jones’ Class Period sales were more than 700%

   27
          As reported in FirstEnergy’s 2020 Proxy Statements, Vespoli’s 2019 compensation included
   $1.7 million she received upon departing the Company effective April 1, 2019, $1.5 million of which
   was a lump-sum payment “equivalent to what [she] would have received under the FirstEnergy
   Executive Severance Benefits Plan.”

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   greater in terms of volume than his sales during the 45 months before the Class Period began and

   nearly double the number of FirstEnergy shares he sold in the ten years prior to the Class Period. In

   total, Jones sold 39% of his FirstEnergy stock holdings during the Class Period. Similarly, Pearson

   and Chack did not engage in any sales of FirstEnergy stock and Vespoli sold only 16,631

   FirstEnergy shares in the 45 months before the beginning of the Class Period, but these defendants

   sold 28%, 24% and 26% of their holdings, respectively, in 2018 and 2019 when the price of

   FirstEnergy stock was artificially inflated by defendants’ misstatements and omissions. These sales

   occurred at the height of the fraud, as FirstEnergy was shepherding FES through bankruptcy and

   secretly bankrolling the Bailout Scheme to ensure the passage of HB6. Defendants’ sales of a

   significant amount of their personal FirstEnergy shareholdings at artificially inflated prices while

   they were actively engaged in the fraudulent scheme detailed herein further bolsters an already

   compelling inference of scienter.

                                             NO SAFE HARBOR

            252.       FirstEnergy’s purported “Safe Harbor” warnings accompanying its reportedly

   forward-looking statements (“FLS”) issued during the Class Period were ineffective to shield those

   statements from liability. The specific statements pled herein were not FLS or identified as such, but

   rather statements of present and historical fact. To the extent any statements can properly be

   considered FLS, such statements were not accompanied by meaningful cautionary language

   identifying important factors that could cause actual results to differ materially from those in the

   purportedly FLS. For example, none of defendants’ statements during the Class Period identified the

   participation of FirstEnergy and its senior executives in the Bailout Scheme, which posed an

   extreme, undisclosed risk of reputational, legal and financial harm to the Company and its investors.

            253.       Defendants are also liable for any false or misleading FLS pleaded because, at the

   time each FLS was made, the speaker knew the FLS was false or misleading and/or the FLS was

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   authorized and approved by an executive officer of FirstEnergy who knew that the FLS was false.

   None of the historic or present tense statements made by defendants were assumptions underlying or

   relating to any plan, projection or statement of future economic performance, as they were not stated

   to be such assumptions underlying or relating to any projection or statement of future economic

   performance when made, nor were any of the projections or forecasts made by defendants expressly

   related to or stated to be dependent on those historic or present tense statements when made.

       APPLICATION OF PRESUMPTION OF RELIANCE; FRAUD ON THE MARKET

            254.       At all relevant times, FirstEnergy securities traded in an efficient market for the

   following reasons, among others:

                       (a)    FirstEnergy stock met the requirements for listing, and was listed and actively

   traded on the NYSE, a highly efficient and automated market;

                       (b)    according to the Company’s Form 10-K for the fiscal year ended December

   31, 2019, FirstEnergy had more than 540 million shares outstanding as of January 31, 2020;

                       (c)    as of September 30, 2020, FirstEnergy had over $22 billion in long-term debt

   and other long-term obligations outstanding, including billions of dollars in senior notes that were

   actively traded by investors throughout the Class Period;

                       (d)    as a regulated issuer, FirstEnergy filed periodic public reports with the SEC;

                       (e)    FirstEnergy regularly communicated with public investors via established

   market communication mechanisms, including the regular dissemination of press releases on

   national circuits of major newswire services, the Internet and other wide-ranging public disclosures;

   and

                       (f)    unexpected material news about FirstEnergy was rapidly reflected in and

   incorporated into prices for the Company’s shares during the Class Period.



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            255.       As a result of the foregoing, the markets for FirstEnergy securities promptly digested

   current information regarding FirstEnergy from publicly available sources and reflected such

   information in the price of FirstEnergy securities. Under these circumstances, all purchasers of

   FirstEnergy securities during the Class Period suffered similar injury through their purchases of

   FirstEnergy securities at artificially inflated prices, and a presumption of reliance applies.

            256.       A presumption of reliance is also appropriate in this action under the Supreme Court’s

   holding in Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), because Plaintiffs’ claims

   are based, in significant part, on defendants’ material omissions. Because this action involves

   defendants’ failure to disclose material adverse information regarding FirstEnergy’s business,

   operations and risks, positive proof of reliance is not a prerequisite to recovery. All that is necessary

   is that the facts withheld be material in the sense that a reasonable investor might have considered

   them important in making investment decisions. Given the importance of defendants’ material

   misstatements and omissions set forth above, that requirement is satisfied here.

                                   LOSS CAUSATION/ECONOMIC LOSS

            257.       The markets for FirstEnergy securities were open, well-developed and efficient at all

   relevant times. During the Class Period, as detailed herein, defendants engaged in a fraudulent

   scheme and wrongful course of business that artificially inflated the price of FirstEnergy securities

   by making false and misleading statements, and omitting material information, about FirstEnergy’s

   business and operations. As defendants’ misleading statements and material omissions became

   apparent to the market, beginning on July 21, 2020, the price of FirstEnergy securities fell, as the

   prior artificial inflation came out. As a result of their purchase or acquisition of FirstEnergy

   securities during the Class Period, Plaintiffs and other members of the Class suffered economic loss.

            258.       As a direct result of the July 21 and 22, 2020 disclosures described above,

   FirstEnergy common stock plummeted, dropping 17% on July 21, 2020 and another 21% on July 22,

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   2020. From a close of $41.26 per share on July 20, 2020, FirstEnergy common stock price dropped

   $14.17 to $27.09 per share by the end of the day on July 22, 2020, resulting in a market

   capitalization loss of over $7.68 billion. These losses were suffered as FirstEnergy common stock

   traded on extremely high volume of over 41 million shares traded on July 21, 2020 and nearly 136

   million shares traded on July 22, 2020.

            259.       As reflected in the chart below, while the price of FirstEnergy stock fell nearly 35%,

   the S&P 500 Index and the S&P Utilities Index both increased on July 21, 2020 and July 22, 2020:




            260.       The price of FirstEnergy’s debt securities also traded at artificially inflated prices

   during the Class Period and declined as a result of the July 21 and July 22, 2020 disclosures about

   defendants’ fraudulent conduct. For example, several FirstEnergy senior notes declined as follows:

                           3.40%           4.85%             2.65%          2.25%            3.90%
                          due 2050        due 2047         due 2030        due 2030         Due 2027
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                    3.40%                 4.85%           2.65%           2.25%           3.90%
                   due 2050              due 2047        due 2030        due 2030        Due 2027
   July 20, 2020 $1136.51              $1380.84        $1069.07        $1033.37        $1157.39
   Closing Price
   July 22, 2020 $1004.85              $1269.54        $1008.27        $975.69         $1087.23
   Closing Price
   % Change      -11.6%                -8.1%           -5.7%           -5.6%           -6.1%

   $ Change            -$131.66        -$111.30        -$60.80         -$57.68         -$70.16


            261.       As a direct result of the October 29, 2020 disclosures and developments described

   above, FirstEnergy common stock fell another 6.6% on high trading volume, from $31.81 on

   October 29, 2020, to a closing price of $29.72 on October 30, 2020, resulting in a market

   capitalization loss of over $1.1 billion.

            262.       As reflected in the chart below, while the price of FirstEnergy stock fell 6.6% on

   October 30, 2020, the S&P 500 Index and the S&P Utilities Index declined only 1.20% and 0.92%,

   respectively:




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            263.       The price of FirstEnergy’s debt securities also declined as a result of the October 29,

   2020 disclosures about defendants’ fraudulent conduct. For example, several FirstEnergy senior

   notes declined as follows:

                     3.40%                 4.85%            7.37%             2.65%               2.25%
                   due 2050               due 2047         due 2031          due 2030            due 2030
   Oct. 29, 2020 $965.77                $1172.30         $1398.70         $1012.69            $983.86
   Closing Price
   Oct. 30, 2020 $915.97                $1089.53         $1344.53         $975.11             $938.81
   Closing Price
   % Change      -5.2%                  -7.1%            -3.9%            -3.7%               -4.5%

   $ Change            -$49.80          -$82.77          $54.17           -$37.58             -$44.55


            264.       As a direct result of the November 19 and November 24, 2020 disclosures described

   above, over the three trading days following November 19, 2020, FirstEnergy common stock fell


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   another 8.2% on high trading volume, from $29.04 on November 19, 2020 to a closing price of

   $26.66 on November 24, 2020, resulting in a further market capitalization loss of nearly $1.3 billion.

            265.       As reflected in the chart below, while the price of FirstEnergy stock fell 8.2%, the

   S&P 500 Index and the S&P Utilities Index both increased from November 19 to November 24,

   2020:




            266.       The price of FirstEnergy’s debt securities also declined as a result of the November

   2020 disclosures about defendants’ fraudulent conduct. For example, several FirstEnergy senior

   notes declined as follows:

                   3.40%                  7.37%           2.65%           2.25%           2.05%
                  due 2050               due 2031        due 2030        due 2030        due 2025
   Nov. 19, 2020 $954.09                $1370.69       $996.44         $964.92         $1008.80
   Closing Price
   Nov. 24, 2020 $943.90                $1353.50       $984.39         $952.99         $1001.41
   Closing Price

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                           3.40%           7.37%           2.65%           2.25%           2.05%
                          due 2050        due 2031       due 2030        due 2030         due 2025
   % Change             -1.1%           -1.3%          -1.2%           -1.2%           -.73%

   $ Change             -$10.19         $17.19         -$12.05         -$11.93         -$7.39


            267.       The economic loss suffered by Plaintiffs and other members of the Class was a direct

   result of defendants’ wrongful conduct, which inflated the prices of FirstEnergy securities and

   resulted in the subsequent decline in the value of those securities when defendants’ prior false and

   misleading statements and omissions were revealed. The declines in the price of FirstEnergy

   securities pled herein were a direct result of the nature, extent and impact of defendants’ prior false

   and misleading statements and omissions being revealed to investors and the market. The timing

   and magnitude of the price declines of FirstEnergy securities negates any inference that the losses

   suffered by Plaintiffs and other Class members were caused by changed market conditions,

   macroeconomic or industry factors, or Company-specific factors unrelated to defendants’ wrongful

   conduct.

                                                     COUNT I
                         For Violation of §10(b) of the Exchange Act and Rule 10b-5
                                    Against the Exchange Act Defendants

            268.       Plaintiffs incorporate all paragraphs above by reference.

            269.       During the Class Period, the Exchange Act Defendants disseminated or approved the

   false statements specified above, which they knew or deliberately disregarded were misleading in

   that they contained misrepresentations and failed to disclose material facts necessary in order to

   make the statements made, in light of the circumstances under which they were made, not

   misleading and/or engaged in a fraudulent scheme in violation of §10(b) of the Exchange Act and

   Rule 10b-5 promulgated thereunder. The Exchange Act Defendants also engaged in a fraudulent




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   scheme and course of business by participating in and facilitating the Bailout Scheme as detailed

   herein.

             270.      The Exchange Act Defendants violated §10(b) of the Exchange Act and Rule 10b-5 in

   that they: (a) employed devices, schemes and artifices to defraud; (b) made untrue statements of

   material fact or omitted to state material facts necessary in order to make the statements made, in

   light of the circumstances under which they were made, not misleading; and/or (c) engaged in acts,

   practices and a course of business that operated as a fraud or deceit upon Plaintiffs and others

   similarly situated in connection with their purchases of FirstEnergy securities during the Class

   Period.

             271.      Plaintiffs and the Class have suffered damages in that, in reliance on the integrity of

   the market, they paid artificially inflated prices for FirstEnergy securities. Plaintiffs and the Class

   would not have purchased FirstEnergy securities at the prices they paid, or at all, if they had been

   aware that the market prices had been artificially and falsely inflated by defendants’ misleading

   statements.

                                                    COUNT II
                                  For Violation of §20(a) of the Exchange Act
                                    Against the Exchange Act Defendants

             272.      Plaintiffs incorporate all paragraphs above by reference.

             273.      Each of the Officer Defendants were control persons of FirstEnergy within the

   meaning of §20(a) of the Exchange Act by virtue of their positions as directors, senior executives

   and/or major stockholders of the Company and exercised actual control over the Company during

   the Class Period and possessed the power to control FirstEnergy in connection with the wrongful

   activities alleged herein. The Officer Defendants each had a series of direct and/or indirect business

   and/or personal relationships with other directors and/or officers and/or major shareholders of

   FirstEnergy. The Officer Defendants were also each critical to the implementation of the Bailout

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   Scheme by having taken actions to ensure that the Bailout Scheme was carried out on behalf of

   FirstEnergy. By reason of their positions with the Company and their ownership of Company

   securities, the Officer Defendants had the power and authority to cause the Company to engage in

   the wrongful conduct complained of herein.

             274.      FirstEnergy was a control person of the Officer Defendants and all of its employees,

   as well as other key members of the Bailout Scheme, within the meaning of §20(a) of the Exchange

   Act. Specifically, FirstEnergy exercised actual control over, inter alia, the Officer Defendants, FES

   (now known as Energy Harbor), Generation Now, Larry Householder, Jeffrey Longstreth, Neil

   Clark, Matthew Borges, Juan Cespedes and Samuel Randazzo during the Class Period and possessed

   the power to control these individuals and entities in connection with the wrongful activities alleged

   herein.

             275.      By reason of such wrongful conduct, for which various individuals and entities are

   primarily liable, as set forth above, the Officer Defendants and FirstEnergy are jointly and severally

   liable with and to the same extent as these primary violators pursuant to §20(a) of the Exchange Act.

                                     SECURITIES ACT ALLEGATIONS

             276.      This section incorporates solely ¶¶1-6, 14-26 and expressly disavows all averments of

   fraud contained herein for the purposes of pleading claims under the Securities Act as such claims do

   not require a showing of fraud or scienter.

   Securities Act Defendants

             277.      Defendant FirstEnergy is the issuer of the notes sold in the Offerings (defined herein).

             278.      Defendant Jones served as FirstEnergy’s CEO at the time of the Offerings and signed

   the registration statements for the Offerings.

             279.      Defendant Strah served as FirstEnergy’s CFO at the time of the Offerings and signed

   the registration statements for the Offerings.

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            280.       Defendant Jason J. Lisowski (“Lisowski”) served as FirstEnergy’s VP Controller and

   Chief Accounting Officer at the time of the Offerings. Lisowski signed the registration statements

   for the Offerings.

            281.       Defendants George M. Smart, Paul T. Addison, Michael J. Anderson, Steven J.

   Demetriou, Julia L. Johnson, Donald T. Misheff, Thomas N. Mitchell, James F. O’Neil III,

   Christopher D. Pappas, Sandra Pianalto, Luis A. Reyes, Jerry Sue Thornton and Leslie Turner are

   referred to as the “Director Defendants.” Each of the Director Defendants signed the registration

   statement for the Offerings, and/or were named as directors in the registration statements for the

   Offerings.

            282.       Defendants Jones, Strah, Lisowski and Director Defendants are referred to

   collectively as the “Individual Defendants.”

            283.       Defendants Barclays Capital Inc., BofA Securities, Inc., Citigroup Global Markets

   Inc., J.P. Morgan Securities LLC, Morgan Stanley & Co. LLC, Mizuho Securities USA LLC, PNC

   Capital Markets LLC, RBC Capital Markets, LLC, Santander Investment Securities Inc., Scotia

   Capital (USA) Inc., SMBC Nikko Securities America, Inc., CIBC World Markets Corp., KeyBanc

   Capital Markets Inc., TD Securities (USA) LLC, U.S. Bancorp Investments, Inc. and MUFG

   Securities Americas Inc. are collectively referred to herein as the “Underwriter Defendants.” Each

   of the Underwriter Defendants served as underwriters and/or underwriter representatives for the

   Offerings.

            284.       FirstEnergy, the Individual Defendants, and the Underwriter Defendants are referred

   to collectively as the “Securities Act Defendants.”




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                                   BACKGROUND OF THE OFFERINGS

            285.       On March 6, 2018, FirstEnergy filed a shelf registration statement with the SEC on

   Form 3-ASR, pursuant to which the Company could conduct multiple securities offerings (the “Shelf

   Registration Statement”).

            286.       On February 19, 2020, FirstEnergy filed a prospectus supplement that incorporated

   and formed part of the Shelf Registration Statement (the “February Registration Statement”).

   Pursuant to the February Registration Statement, FirstEnergy registered for issuance over $1.7

   billion of FirstEnergy notes as follows: (i) approximately $300 million of 2.05% Series A Notes due

   2025; (ii) approximately $600 million of 2.65% Series B Notes due 2030; and (iii) approximately

   $850 million of 3.40% Series C Notes due 2050 (the “February 2020 Offering”). Defendants

   successfully solicited investors for the February 2020 Offering, issuing and selling over $1.7 billion

   of FirstEnergy notes near par.

            287.       The Underwriter Defendants served as underwriters and underwriter representatives

   for the February 2020 Offering as follows:
                                                  Principal Amount        Principal Amount        Principal Amount
   Underwriters                                   of Series A Notes       of Series B Notes       of Series C Notes
   Barclays Capital Inc.                      $         36,000,000    $         72,000,000    $        102,000,000
   BofA Securities, Inc.                      $         36,000,000    $         72,000,000    $        102,000,000
   Citigroup Global Markets Inc.              $         36,000,000    $         72,000,000    $        102,000,000
   J.P. Morgan Securities LLC                 $         36,000,000    $         72,000,000    $        102,000,000
   Morgan Stanley & Co. LLC                   $         36,000,000    $         72,000,000    $        102,000,000
   Mizuho Securities USA LLC                  $         14,394,000    $         28,788,000    $         40,783,000
   PNC Capital Markets LLC                    $         14,394,000    $         28,788,000    $         40,783,000
   RBC Capital Markets, LLC                   $         14,394,000    $         28,788,000    $         40,783,000
   Santander Investment Securities Inc.       $         14,394,000    $         28,788,000    $         40,783,000
   Scotia Capital (USA) Inc.                  $         14,394,000    $         28,788,000    $         40,783,000
   SMBC Nikko Securities America, Inc.        $         14,394,000    $         28,788,000    $         40,783,000
   CIBC World Markets Corp.                   $          6,728,000    $         13,454,000    $         19,060,000
   KeyBanc Capital Markets Inc.               $          6,727,000    $         13,455,000    $         19,060,000
   MUFG Securities Americas Inc.              $          6,727,000    $         13,455,000    $         19,060,000
   TD Securities (USA) LLC                    $          6,727,000    $         13,454,000    $         19,061,000
   U.S. Bancorp Investments, Inc.             $          6,727,000    $         13,454,000    $         19,061,000
       Total                                  $        300,000,000    $        600,000,000    $        850,000,000

            288.       On June 4, 2020, FirstEnergy filed a second prospectus supplement that incorporated

   and formed part of the Shelf Registration Statement (the “June Registration Statement”). Pursuant to
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   the June Registration Statement, FirstEnergy registered for issuance $750 million of FirstEnergy

   notes as follows: (i) $300 million of 1.60% Series A Notes due 2026; and (ii) $450 million of 2.25%

   Series B Notes due 2030 (the “June 2020 Offering”). Defendants successfully solicited investors for

   the June 2020 Offering, selling $750 million of FirstEnergy notes near par.

            289.       The Underwriter Defendants served as underwriters and underwriter representatives

   for the June 2020 Offering as follows:
                                                         Principal Amount of         Principal Amount of
   Underwriters                                             Series A Notes              Series B Notes
    Mizuho Securities USA LLC                     $                    63,600,000$                 95,400,000
    Morgan Stanley & Co. LLC                                           63,600,000                  95,400,000
    Scotia Capital (USA) Inc.                                          63,600,000                  95,400,000
    CIBC World Markets Corp.                                           23,700,000                  35,550,000
    KeyBanc Capital Markets Inc.                                       23,700,000                  35,550,000
    TD Securities (USA) LLC                                            23,700,000                  35,550,000
    U.S. Bancorp Investments, Inc.                                     23,700,000                  35,550,000
    Citizens Capital Markets, Inc.                                      4,800,000                   7,200,000
    Fifth Third Securities, Inc.                                        4,800,000                   7,200,000
    Huntington Securities, Inc.                                         4,800,000                   7,200,000
        Total                                     $                   300,000,000$                450,000,000

            290.       The February 2020 Offering and the June 2020 Offering are collectively referred to

   herein as the “Offerings,” and the February Registration Statement and the June Registration

   Statement are referred to collectively as the “Registration Statements.” The Registration Statements

   expressly incorporated and thereby repeated and restated FirstEnergy’s Form 10-K annual report for

   the year ended December 31, 2019. The June Registration Statement further incorporated by

   reference FirstEnergy’s Form 10-Q quarterly report for the three months ended March 31, 2020.

                   MATERIALLY FALSE AND MISLEADING STATEMENTS AND
                      OMISSIONS IN THE REGISTRATION STATEMENTS

            291.       The Registration Statements contained untrue statements of material fact, omitted to

   state other facts necessary to make the statements made not misleading, and were not prepared in

   accordance with SEC rules and regulations governing the preparation of such documents.

            292.       Specifically, the Registration Statements failed to disclose that FirstEnergy and

   several of the Company’s most senior executives had carried out an illegal bribery scheme that
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   involved the funneling of tens of millions of dollars to state politicians, lobbyists and at least one

   senior Ohio regulator to promote favorable legislation and regulatory treatment in violation of state

   and federal law, numerous regulations applicable to FirstEnergy, and the Company’s own internal

   policies. These undisclosed adverse facts exposed FirstEnergy to extraordinary risk of financial,

   legal and reputational loss and materially diminished the value of the notes sold in the Offerings.

            293.       Similarly, the Registration Statements represented that FirstEnergy and its

   subsidiaries “comply with the related regulations, orders, policies and practices prescribed by the

   SEC, FERC, and, as applicable, the NRC, the PUCO, the PPUC, the MDPSC, the NYPSC, the

   WVPSC, the VSCC and the NJBPU.” These statements were materially false and misleading

   because the participation of FirstEnergy and its top executives in the Bailout Scheme violated

   numerous laws, violations, orders policies and practices applicable to FirstEnergy and its business.

            294.       With respect to the Company’s internal control over financial reporting, the

   Registration Statements stated that the “financial statements and management’s assessment of the

   effectiveness of internal control over financial reporting . . . incorporated in this prospectus

   supplement by reference to our Annual Report on Form 10-K for the year ended December 31,

   2019.” The referenced Annual Report, which formed part of the Registration Statements by express

   incorporation, in turn stated in pertinent part as follows:

                    Management is responsible for establishing and maintaining adequate internal
            control over financial reporting as defined in Rules 13a-15(f) and 15d-15(f) of the
            Securities Exchange Act of 1934. Using the criteria set forth by the Committee of
            Sponsoring Organizations of the Treadway Commission in Internal Control –
            Integrated Framework published in 2013, management conducted an evaluation of
            the effectiveness of their internal control over financial reporting under the
            supervision of the chief executive officer and chief financial officer. Based on that
            evaluation, management concluded that FirstEnergy’s internal control over
            financial reporting was effective as of December 31, 2019.

            295.       The statements identified in ¶294 were materially false and misleading when made

   because as of December 31, 2019 and at the time of the Offerings, FirstEnergy did not maintain

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   effective internal control over financial reporting. Indeed, FirstEnergy later admitted that the

   Company suffered from material weaknesses in its internal controls, stating in pertinent part as

   follows:

                     The management of FirstEnergy, with the participation of the acting chief
            executive officer and chief financial officer, have reviewed and evaluated the
            effectiveness of its disclosure controls and procedures, as defined under the
            Securities Exchange Act of 1934, as amended (the “Exchange Act”), in Rules 13a-
            15(e) and 15d-15(e), as of September 30, 2020. Based on that evaluation, the acting
            chief executive officer and chief financial officer of FirstEnergy have concluded
            that its disclosure controls and procedures were not effective as of September 30,
            2020, solely as a result of the material weakness in FirstEnergy’s internal control
            over financial reporting described below.

                                               *       *      *

                   Material Weakness in Internal Control Over Financial Reporting Existing
            as of September 30, 2020

                                               *       *      *

                  We did not maintain an effective control environment as our senior
            management failed to set an appropriate tone at the top. Specifically, certain
            members of senior management failed to reinforce the need for compliance with
            the Company’s policies and code of conduct, which resulted in inappropriate
            conduct that was inconsistent with the Company’s policies and code of conduct.

            [T]his control deficiency could have resulted in material misstatements to the
            annual or interim consolidated financial statements that would not have been
            prevented or detected. Accordingly, our management has concluded that this
            control deficiency constitutes a material weakness.

            296.       The issues identified by FirstEnergy that caused it to conclude that the Company

   suffered from a material weakness predated the Offerings, and thus should have been disclosed in

   the Registration Statements, but were not. For example, FirstEnergy has subsequently admitted to

   the illicit payment of $4 million to a top Ohio energy regulator by Jones and other Company

   executives on FirstEnergy’s behalf in April 2019. As FirstEnergy has belatedly acknowledged, these

   executives “did not maintain and promote a control environment with an appropriate tone of

   compliance in certain areas of FirstEnergy’s business, nor sufficiently promote, monitor or enforce


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   adherence to certain FirstEnergy policies and its code of conduct.” In addition, since at least

   February 2017, FirstEnergy and its most senior executives spent tens of millions of dollars and

   engaged in other illicit activities to corruptly influence Ohio politicians, lobbyists and political

   operatives in order to secure favored legislation and regulatory actions, including the passage and

   preservation of HB6, which provided decoupling provisions for the Company and a bailout of the

   Company’s failing nuclear subsidiaries worth an estimated $2 billion over the life of the bill. These

   actions subjected FirstEnergy to an extreme undisclosed risk of reputational, legal and financial

   harm.

            297.       In addition to the materially false and misleading statements in the Registration

   Statements identified above, the Securities Act Defendants also violated their affirmative obligations

   to provide certain material information in the Registration Statements as required by applicable SEC

   rules and regulations.

            298.       Item 303 required the Registration Statements to “[d]escribe any known trends or

   uncertainties that have had or that the registrant reasonably expects will have a materially favorable

   and unfavorable impact on the sales or revenues or income from continuing operations.”

            299.       The failure of the Registration Statement to disclose the participation by FirstEnergy

   and the Company’s senior executives in the Bailout Scheme, carried out in order to promote

   favorable legislation and regulatory treatment for the Company worth billions of dollars, violated

   Item 303 because these undisclosed facts, trends and uncertainties were known and would and did

   have an unfavorable impact on the Company’s sales, revenues and income from continuing

   operations.

            300.       In addition, Item 105 of SEC Regulation S-K, 17 C.F.R. §229.105 (“Item 105”),

   required, in the “Risk Factors” section of the Registration Statements, a discussion of the most

   significant factors that made the Offerings risky or speculative and that each risk factor adequately

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   describe the risk. Because the omitted material facts alleged in ¶¶1-6, 292-296 were not disclosed,

   as well as the consequent material adverse effects on the Company’s results and prospects, the

   Securities Act Defendants violated Item 105. Indeed, the Bailout Scheme was of the most

   significant risks facing the Company at the time of the Offerings, and thus was required to be

   disclosed to investors pursuant to Item 105 but was not.

            301.       After the Offerings closed, the price of the securities sold therein declined

   substantially as a result of the Securities Act Defendants’ violations of law complained of herein,

   falling nearly 10% below par in some cases.

                                                   COUNT III
                                   For Violation of §11 of the Securities Act
                                    Against the Securities Act Defendants

            302.       Plaintiffs incorporate ¶¶1-6, 14-26, 276-301 by reference.

            303.       This Count is brought pursuant to §11 of the Securities Act, 15 U.S.C. §77k, on

   behalf of the Class, against the Securities Act Defendants.

            304.       The Securities Act Defendants are liable under theories of strict liability for their

   violations of §11 of the Securities Act. Plaintiffs do not allege that the Securities Act Defendants

   had scienter or fraudulent intent in connection with Count III.

            305.       The Registration Statements used to complete the Offerings contained untrue

   statements of material fact, omitted to state material facts required to be stated therein and/or omitted

   to state other facts necessary to make the statements made therein not misleading.

            306.       By reason of the conduct herein alleged, each defendant named herein violated §11 of

   the Securities Act.

            307.       Plaintiffs acquired FirstEnergy notes in and traceable to the Offerings. Specifically:

   (i) Lead Plaintiff LACERA purchased FirstEnergy notes directly in and traceable to the February

   2020 Notes Offering and the June 2020 Notes Offering; (ii) Plaintiff Amalgamated Bank purchased

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   FirstEnergy notes directly in and traceable to the June 2020 Notes Offering; (iii) Plaintiff Wisconsin

   Laborers’ Pension Fund purchased FirstEnergy notes directly in and traceable to the February 2020

   Notes Offering; and (iv) City of Irving Supplemental Benefit Plan purchased FirstEnergy notes

   traceable to the June 2020 Notes Offering.

             308.      Plaintiffs and the Class have sustained damages as the value of the notes issued in the

   Offerings have declined due to the Securities Act Defendants’ violations.

             309.      At the time of their purchases of the FirstEnergy notes issued in the Offerings,

   Plaintiffs and other members of the Class were without knowledge of the facts concerning the

   wrongful conduct alleged herein and could not have reasonably discovered those facts prior to the

   disclosures herein. Less than one year has elapsed from the time that Plaintiffs discovered or

   reasonably could have discovered the facts upon which this complaint is based to the time that

   Plaintiffs commenced this action. Less than three years have elapsed between the time that the notes

   upon which this Count is brought was offered to the public and the time Plaintiffs commenced this

   action.

                                                    COUNT IV
                                For Violations of §12(a)(2) of the Securities Act
                                    Against the Securities Act Defendants

             310.      Plaintiffs incorporate ¶¶1-6, 14-26, 276-309 by reference.

             311.      This Count is brought pursuant to §12(a)(2) of the Securities Act, 15 U.S.C.

   §77l(a)(2), on behalf of the Class, against the Securities Act Defendants.

             312.      The Securities Act Defendants are liable under theories of strict liability for their

   violations of §12(a)(2) of the Securities Act. Plaintiffs do not allege that the Securities Act

   Defendants had scienter or fraudulent intent in connection with Count IV.

             313.      By means of the defective prospectuses used to complete the Offerings (the

   “Prospectuses”), the Securities Act Defendants issued, promoted and sold FirstEnergy notes to

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   Plaintiffs and other members of the Class for their own benefit and the benefit of those associated

   with them. The Underwriter Defendants additionally solicited their brokerage clients and other

   members of the investing public to submit indications of interest and subscriptions to purchase

   FirstEnergy notes in the Offerings.

            314.       The Prospectuses used to complete the Offerings contained untrue statements of

   material fact, omitted to state material facts required to be stated therein and/or omitted to state other

   facts necessary to make the statements made therein not misleading.

            315.       The Securities Act Defendants owed Plaintiffs and the other members of the Class

   who purchased FirstEnergy notes pursuant to the Prospectuses the duty to make a reasonable and

   diligent investigation of the statements contained in the Prospectuses to ensure that such statements

   were true and that there was no omission to state a material fact required to be stated in order to

   make the statements contained therein not misleading. The Securities Act Defendants, in the

   exercise of reasonable care, should have known of the misstatements and omissions contained in the

   Prospectuses as set forth above.

            316.       By reason of the conduct alleged herein, the Securities Act Defendants violated

   §12(a)(2) of the Securities Act. As a direct and proximate result of such violations, the Plaintiffs and

   the other members of the Class who purchased FirstEnergy notes pursuant to the Prospectuses

   sustained substantial damages in connection with their purchases. The Plaintiffs and the other

   members of the Class who purchased the FirstEnergy notes issued pursuant to the Prospectuses seek

   damages to the extent permitted by law or seek to rescind and recover the consideration paid for the

   FirstEnergy notes so purchased, and hereby tender such FirstEnergy notes to the Securities Act

   Defendants.

            317.       At the time of their purchases of the FirstEnergy notes issued in the Offerings,

   Plaintiffs and other members of the Class were without knowledge of the facts concerning the

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   wrongful conduct alleged herein and could not have reasonably discovered those facts prior to the

   disclosures herein. Less than one year has elapsed from the time that Plaintiffs discovered or

   reasonably could have discovered the facts upon which this complaint is based to the time that

   Plaintiffs commenced this action. Less than three years have elapsed between the time that the notes

   upon which this Count is brought was offered to the public and the time Plaintiffs commenced this

   action.

                                                   COUNT V
                                 For Violation of §15 of the Securities Act
                             Against FirstEnergy and the Individual Defendants

             318.      Plaintiffs incorporate ¶¶1-6, 14-26, 276-317 by reference.

             319.      This Count is brought pursuant to §15 of the Securities Act, 15 U.S.C. §77, on behalf

   of the Class, against FirstEnergy and the Individual Defendants.

             320.      Each of the Individual Defendants were control persons of FirstEnergy within the

   meaning of §15 of the Securities Act by virtue of their positions as directors, senior executives

   and/or major stockholders of the Company and exercised actual control over the Company at the

   time of the Offerings and possessed the power to control FirstEnergy in connection with the

   Offerings. The Individual Defendants each had a series of direct and/or indirect business and/or

   personal relationships with other directors and/or officers and/or major shareholders of FirstEnergy.

   The Individual Defendants were also each critical to effecting the Offerings, based on their

   involvement in preparing and signing the Registration Statements, soliciting investors to invest in the

   Offerings, and by having taken actions to ensure that the Offerings were successfully completed.

             321.      FirstEnergy was a control person of the Individual Defendants and all of its

   employees within the meaning of §15 of the Securities Act. FirstEnergy exercised actual control

   over the Individual Defendants at the time of the Offerings and possessed the power to control the

   Individual Defendants in connection with the Offerings.

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            322.       By reason of such wrongful conduct, for which the Company and the Individual

   Defendants are primarily liable, as set forth above, the Individual Defendants and FirstEnergy are

   jointly and severally liable with and to the same extent as these primary violators pursuant to §15 of

   the Securities Act.

                                            PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

            A.         Determining that this action is a proper class action, certifying Plaintiffs as class

   representatives under Rule 23 of the Federal Rules of Civil Procedure and Plaintiffs’ counsel as Lead

   Counsel;

            B.         Awarding compensatory damages in favor of Plaintiffs and the other Class members

   against all defendants, jointly and severally, for all damages sustained as a result of defendants’

   wrongdoing, in an amount to be proven at trial, including interest thereon;

            C.         Awarding rescission or a rescissory measure of damages;

            D.         Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in this

   action, including counsel fees and expert fees; and

            E.         Awarding such equitable/injunctive or other relief as deemed appropriate by the

   Court.

                                                JURY DEMAND

            Plaintiffs demand a trial by jury.

   DATED: February 26, 2021                             ROBBINS GELLER RUDMAN
                                                          & DOWD LLP
                                                        DARREN J. ROBBINS
                                                        MARK SOLOMON
                                                        JASON A. FORGE
                                                        TOR GRONBORG
                                                        BRIAN E. COCHRAN
                                                        SARA B. POLYCHRON
                                                        TING H. LIU
                                                        FRANCISCO J. MEJIA
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                                                         s/ Brian E. Cochran
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                                            614/488-0401 (fax)
                                            murray@mmmb.com

                                            Liaison Counsel


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               CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS

          Amalgamated Bank, as Trustee for the LongView LargeCap 500 Index Fund,
   LongView Quantitative LargeCap Fund, LongView Broad Market 3000 Index Fund,
   LongView LargeCap 500 Index Fund VEBA, LV LargeCap 1000 Value Index Fund,
   LongView Quantitative MidCap Fund, LongView Quant LargeCap Equity VEBA Fund
   and LongView Core Plus Fixed Income Fund (“Amalgamated Bank”) declares:
          1.       Amalgamated Bank has reviewed a complaint and authorizes its filing.
          2.       Amalgamated Bank did not acquire the security that is the subject of this
   action at the direction of counsel or to participate in this private action or any other
   litigation under the federal securities laws.
          3.       Amalgamated Bank is willing to serve as a representative party on behalf of
   the class, including providing testimony at deposition and trial, if necessary.
          4.       Amalgamated Bank has made the following transaction(s) during the Class
   Period in the securities that are the subject of this action:
   Security                   Transaction                     Date                     Price Per Share

                                          See attached Schedule A.

          5.       (a)     Amalgamated Bank has been appointed to serve as a representative
   party for a class in the following actions filed under the federal securities laws within the
   three-year period prior to the date of this Certification:
                               Yuan v. Facebook, Inc., No. 5:18-cv-01725 (N.D. Cal.)

                   (b)     Amalgamated Bank initially sought to serve as a representative party
   for a class in the following actions filed under the federal securities laws within the three-
   year period prior to the date of this Certification:
      St. Clair County Employees' Ret. Sys. v. Acadia Healthcare Company, Inc., No. 3:18-cv-00988 (M.D. Tenn.)
       Heavy & General Laborers' Locals 472 & 172 Welfare Fund v. 3M Company, No. 2:19-cv-15982 (D.N.J.)




          6.       Amalgamated Bank will not accept any payment for serving as a
   representative party on behalf of the class beyond Amalgamated Bank’s pro rata share of


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   any recovery, except such reasonable costs and expenses (including lost wages) directly
   relating to the representation of the class as ordered or approved by the court.
          I declare under penalty of perjury that the foregoing is true and correct. Executed
   this ____ day of February, 2021.
                                             Amalgamated Bank, as Trustee for the
                                             LongView LargeCap 500 Index Fund,
                                             LongView Quantitative LargeCap Fund,
                                             LongView Broad Market 3000 Index Fund,
                                             LongView LargeCap 500 Index Fund VEBA,
                                             LV LargeCap 1000 Value Index Fund,
                                             LongView Quantitative MidCap Fund,
                                             LongView Quant LargeCap Equity VEBA Fund
                                             and LongView Core Plus Fixed Income Fund

                                             By:
                                                 Eleanor Innes             Digitally signed by Eleanor Innes
                                                                           Date: 2021.02.24 10:16:30 -05'00'

                                                     Eleanor Innes, Senior Vice President &
                                                     Director of Equities, Investment
                                                     Management Division




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                                            SCHEDULE A

                                      SECURITIES TRANSACTIONS

LongView Broad Market 3000 Index Fund

                         Date                    Amount of
                       Acquired                Shares Acquired   Price

                       04/27/2017                   2,148        $30.52
                       05/03/2017                    128         $28.95
                       05/09/2017                    452         $28.76
                       06/14/2017                    105         $29.59
                       06/23/2017                    570         $28.91
                       08/17/2017                    154         $32.65
                       11/16/2017                   4,150        $34.64
                       12/18/2017                     95         $31.51
                       03/19/2018                     13         $33.79
                       03/29/2018                    294         $34.01
                       06/01/2018                   1,971        $34.20
                       06/19/2018                   2,155        $34.92
                       06/22/2018                   1,528        $35.09
                       07/18/2018                    181         $35.67
                       09/21/2018                    560         $36.90
                       11/23/2018                    327         $37.51
                       03/26/2019                   2,521        $42.00
                       04/01/2019                    751         $41.45
                       04/02/2019                   2,927        $41.34
                       04/04/2019                   1,141        $39.44
                       05/31/2019                   2,442        $41.24
                       06/26/2019                    751         $42.53
                       06/28/2019                   3,170        $42.81
                       12/20/2019                    737         $48.83
                       05/01/2020                   2,348        $40.85

                          Date                    Amount of
                          Sold                   Shares Sold     Price

                       09/18/2017                     13         $31.25
                       01/30/2018                    290         $32.32
                       02/20/2018                   1,000        $32.80
                       08/16/2018                    865         $37.06
                       10/02/2018                   1,687        $37.42

*Opening position of 12,124 shares.

LongView LargeCap 500 Index Fund

                         Date                    Amount of
                       Acquired                Shares Acquired   Price

                       03/17/2017                   2,200        $31.36
                       08/03/2017                    500         $32.06
                       09/21/2017                   2,900        $31.15
                       10/02/2017                    400         $30.85
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                       12/29/2017              300               $30.62
                       01/23/2018              400               $32.00
                       09/21/2018             4,900              $36.90
                       02/19/2019              400               $39.60
                       03/15/2019             2,400              $41.23
                       04/10/2019              250               $40.83
                       05/09/2019              200               $41.36
                       06/25/2019              550               $43.46
                       07/22/2019              200               $43.60
                       07/31/2019              200               $43.97
                       09/20/2019             3,800              $47.39
                       11/06/2019             9,350              $47.11
                       12/03/2019              200               $47.81
                       12/18/2019              400               $48.52
                       01/10/2020              200               $47.99
                       03/06/2020              300               $46.48
                       03/27/2020             1,550              $38.60
                       04/20/2020             2,182              $44.50

                          Date              Amount of
                          Sold             Shares Sold           Price

                       02/24/2017              400               $32.32
                       05/09/2017              400               $28.76
                       08/28/2017             1,600              $32.80
                       10/25/2017              300               $31.85
                       12/18/2017              900               $31.51
                       12/21/2017              300               $30.59
                       01/16/2018              300               $29.92
                       01/29/2018              300               $32.17
                       06/04/2018              300               $33.82
                       06/28/2018              300               $36.19
                       09/14/2018              300               $37.83
                       09/26/2018             1,100              $35.91
                       09/28/2018              300               $37.17
                       10/25/2018             3,300              $37.89
                       11/01/2018              300               $37.17
                       02/04/2019              300               $38.54
                       02/07/2019              300               $39.31
                       03/22/2019             3,000              $41.77
                       03/25/2019             1,450              $41.86
                       10/21/2019              200               $48.50
                       12/16/2019              200               $48.51
                       02/05/2020              250               $51.91
                       03/09/2020             2,200              $42.93
                       04/24/2020             1,930              $42.32
                       05/22/2020              125               $40.63

*Opening position of 50,833 shares.
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LongView LargeCap 500 Index Fund VEBA

                         Date                Amount of
                       Acquired            Shares Acquired       Price

                       03/17/2017               1,000            $31.36
                       10/02/2017                300             $30.85
                       12/27/2017                300             $30.38
                       04/04/2018                700             $34.18
                       09/21/2018               1,500            $36.90
                       01/30/2019                500             $38.75
                       03/15/2019                900             $41.23
                       04/01/2019                600             $41.45
                       06/03/2019                600             $41.68
                       09/20/2019               1,500            $47.39
                       10/01/2019                200             $47.89
                       12/03/2019                200             $47.81
                       12/31/2019               1,500            $48.60
                       01/31/2020                250             $50.79
                       03/02/2020                200             $46.79
                       04/16/2020                938             $44.87
                       05/20/2020                316             $40.29

                          Date                Amount of
                          Sold               Shares Sold         Price

                       03/31/2017                900             $31.82
                       02/27/2018               1,700            $32.90
                       04/04/2018                300             $34.18
                       06/01/2018               2,300            $34.20
                       07/16/2018                300             $36.15
                       01/03/2020                250             $47.46
                       05/22/2020                 17             $40.63

*Opening position of 17,465 shares.

LongView Quant LargeCap Equity VEBA Fund

                         Date                Amount of
                       Acquired            Shares Acquired       Price

                       02/21/2017                300             $31.32
                       03/09/2017               1,200            $31.30
                       09/04/2019                500             $47.07
                       09/25/2019               1,700            $48.56
                       01/29/2020                300             $50.97
                       02/24/2020                600             $51.35

                          Date                Amount of
                          Sold               Shares Sold         Price

                       04/19/2017                200             $30.85
                       07/17/2017               2,900            $30.33
                       08/04/2017               1,600            $31.95
                       12/05/2019                200             $48.26
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                       01/31/2020             1,110              $50.79
                       03/30/2020              200               $40.33
                       04/08/2020              500               $43.23
                       04/09/2020              700               $45.10
                       04/24/2020              390               $41.82

*Opening position of 3,200 shares.

LongView Quantitative LargeCap Fund

                         Date              Amount of
                       Acquired          Shares Acquired         Price

                       02/21/2017             7,100              $31.32
                       03/09/2017            32,400              $31.30
                       03/21/2017              100               $31.01
                       09/04/2019            13,100              $47.07
                       09/25/2019            50,600              $48.56
                       11/11/2019              700               $46.22
                       01/29/2020             3,300              $50.97
                       02/24/2020             9,500              $51.35

                          Date              Amount of
                          Sold             Shares Sold           Price

                       04/19/2017              400               $30.94
                       04/25/2017              900               $30.61
                       05/03/2017              700               $28.74
                       07/17/2017            80,400              $30.33
                       08/04/2017            42,800              $31.95
                       09/18/2019              300               $48.11
                       10/25/2019             2,100              $48.01
                       11/06/2019            38,600              $47.11
                       12/05/2019             2,400              $48.26
                       01/07/2020              200               $47.65
                       03/19/2020             1,700              $35.99
                       03/27/2020            19,300              $38.60
                       03/30/2020              300               $40.33
                       03/31/2020             1,000              $40.07
                       04/09/2020             7,300              $45.10
                       04/16/2020              300               $44.86
                       04/24/2020             3,700              $41.82

*Opening position of 85,600 shares.

LongView Quantitative MidCap Fund

                         Date              Amount of
                       Acquired          Shares Acquired         Price

                       03/02/2017             9,000              $31.87
Case:
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                          Date                           Amount of
                          Sold                          Shares Sold      Price

                       07/25/2017                          9,000        $30.97

LV LargeCap 1000 Value Index Fund

                          Date                          Amount of
                        Acquired                      Shares Acquired    Price

                       03/31/2017                          1,126        $31.83
                       04/03/2017                           267         $31.47
                       05/01/2017                           628         $29.47
                       07/05/2017                           189         $29.22
                       09/18/2017                            22         $31.26
                       12/18/2017                            62         $31.52
                       12/29/2017                           788         $30.63
                       02/28/2018                           122         $32.34
                       03/20/2018                            52         $33.83
                       09/21/2018                           189         $36.91
                       12/21/2018                            30         $37.20
                       06/28/2019                           844         $42.82
                       11/13/2019                           935         $46.93
                       12/20/2019                           188         $48.83
                       04/20/2020                           651         $44.50

                          Date                           Amount of
                          Sold                          Shares Sold      Price

                       06/23/2017                            63         $28.90
                       08/15/2017                           190         $32.69
                       06/21/2018                           146         $35.14
                       06/22/2018                             6         $35.08
                       09/28/2018                           131         $37.16
                       01/18/2019                           129         $38.86
                       02/13/2019                           378         $39.50
                       06/26/2020                          1,946        $36.85
                       07/13/2020                           371         $40.83

*Opening position of 6,163 shares.

                          Bond

LongView Core Plus Fixed Income Fund

                          Date                            Type of        Face
                        Acquired                           Debt         Amount       Price

                       06/03/2020                1.6% due 01/15/2026    84,000      $99.85


Prices listed are rounded up to two decimal places.
Case:
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         8th
Case:
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                                    SCHEDULE A

                            SECURITIES TRANSACTIONS

       Common Stock

            Date               Type/Amount of
          Acquired            Securities Acquired       Price

         09/21/2018                 15,308             $36.96
         09/27/2018                   412              $36.45
         10/05/2018                   426              $37.69
         11/09/2018                   437              $37.98
         07/01/2020                    21              $39.65
         07/01/2020                   336              $39.57
         07/01/2020                  3,570             $39.90
         07/02/2020                   266              $39.93
         07/02/2020                   120              $40.06
         07/02/2020                   713              $40.03
         07/02/2020                   744              $40.18
         07/07/2020                  1,036             $40.30
         07/08/2020                   545              $40.46
         07/09/2020                   409              $40.31
         07/10/2020                   481              $40.64

            Date               Type/Amount of
            Sold               Securities Sold          Price

         10/15/2018                   538              $37.48
         10/16/2018                   344              $37.63
         10/22/2018                   429              $38.59
         10/24/2018                   366              $38.82
         10/26/2018                   394              $36.75
         10/26/2018                   518              $36.48
         10/26/2018                  1,545             $36.72
         10/29/2018                   362              $37.24
         10/30/2018                  2,927             $37.26
         11/13/2018                   374              $38.54
         12/07/2018                   371              $39.16
         12/10/2018                   255              $39.64
         12/12/2018                  2,761             $39.37
         12/17/2018                  4,627             $37.80
         12/18/2018                   772              $37.68



           Bonds

            Date                   Type of             Face
          Acquired                  Debt              Amount           Price

         02/18/2020           3.4% due 03/01/2050      310,000        $99.85
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                         CERTIFICATION OF NAMED PLAINTIFF
                       PURSUANT TO FEDERAL SECURITIES LAWS

             CITY OF IRVING SUPPLEMENTAL BENEFIT PLAN ("Plaintiff')
      declares:
             1.    Plaintiff has reviewed a complaint and authorized its filing.
            2.     Plaintiff did not acquire the security that is the subject of this action at
      the direction of plaintiff's counsel or in order to participate in this private action or
      any other litigation under the federal securities laws.
            3.     Plaintiff is willing to serve as a representative party on behalf of the
      class, including providing testimony at deposition and trial, if necessary.
            4.     Plaintiff has made the following transaction(s) during the Class Period
      in the securities that are the subject of this action:

       Security              Transaction                Date             Price Per Share


                                     See attached Schedule A.

            5. ·   Plaintiff has not sought to serve or served as a representative party in a
      class action that was filed under the federal securities laws within. the three-year
     period prior to the date of this Certification except as detailed below:

                                                None.




            6.     Plaintiff will not accept any payment for serving as a representative
      party on behalf of the class beyond the Plaintiff's pro rata share of any recovery,


                                                                                    FIRSTENERGY
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      except such reasonable costs and expenses (including lost wages) dire_ctly relating
      to the representation of the class as ordered or approved by the court.
            I declare under penalty of perjury that the foregoing is true and correct.
      Executed thisd3~ay of February, 2021.
                                             CITY OF IRVING SUPPLEMENTAL
                                             BENEFIT PLAN


                                             By:




                                              -2-
                                                                                FIRSTENERGY
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                                         SCHEDULE A

                                  SECURITIES TRANSACTIONS

                  Bond

                  Date                  Type of           Face
                Acquired                 Debt            Amount           Price

                06/23/2020        2.25% due 09/01/2030    30 ,000        $100.08
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                                      CERTIFICATE OF SERVICE

            I hereby certify under penalty of perjury that on February 26, 2021, I authorized the

   electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

   send notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List,

   and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service to

   the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                       s/ Brian E. Cochran
                                                       BRIAN E. COCHRAN

                                                       ROBBINS GELLER RUDMAN
                                                              & DOWD LLP
                                                       655 West Broadway, Suite 1900
                                                       San Diego, CA 92101-8498
                                                       Telephone: 619/231-1058
                                                       619/231-7423 (fax)

                                                       E-mail: bcochran@rgrdlaw.com




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      Case:
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Mailing Information for a Case 2:20-cv-03785-ALM-KAJ Owens v.
FirstEnergy Corp. et al
Electronic Mail Notice List

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                                                                                                          9815
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Manual Notice List
The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore
require manual noticing). You may wish to use your mouse to select and copy this list into your word processing
program in order to create notices or labels for these recipients.

    (No manual recipients)




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                             EXHIBIT 4
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


    In re FIRSTENERGY CORP. SECURITIES         )   No. 2:20-cv-03785-ALM-KAJ
    LITIGATION,                                )
                                               )   CLASS ACTION
    ____________________________________       )
                                               )   Judge Algenon L. Marbley
    This Document Relates To:                  )   Magistrate Judge Kimberly A. Jolson
                                               )
                 ALL ACTIONS.                  )   ORAL ARGUMENT REQUESTED


    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS CHARLES JONES AND
          MICHAEL DOWLING’S MOTION FOR PROTECTIVE ORDER
Case:
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   Fifth Amendment concerns sufficient to warrant a stay of the civil proceedings.”) (internal

   quotation marks and citations omitted, emphasis added).

          The government focused significant and detailed attention on Jones and Dowling during

   the recent Householder trial, implicitly labeling them as co-conspirators and the alleged architects

   of the “Bailout Scheme” that forms the basis for Plaintiffs’ claims in this case. As a result, the

   Fifth Amendment implications of Jones and Dowling being noticed for deposition are now clearly

   apparent. In its effort to convict Householder and Borges, the government introduced numerous

   exhibits concerning Jones and Dowling, including statements provided by FirstEnergy (which

   Plaintiffs received during discovery in this case). Moreover, Plaintiffs have acknowledged that

   the government’s work is not done, referencing “the government’s ongoing investigation” in a

   recent joint stipulation with FirstEnergy. Dkt. 432. 1 In light of the risk of prejudice against Jones

   and Dowling by moving forward with these depositions and forcing them to choose between their

   Fifth Amendment rights or an adverse inference, Jones and Dowling respectfully request that the

   Court issue a protective order deferring their depositions until no earlier than September 8, 2023.

          Granting such a narrow and limited request will not prejudice Plaintiffs. Plaintiffs already

   sought and received numerous extensions related to discovery, including a recent extension of fact

   discovery until October 20, 2023. See Dkt. 317, 318, 370, 372, 410, 413, 432, 433. Even with a

   protective order staying just these two depositions until at least September 8, 2023, Plaintiffs will

   still have time to depose Jones and Dowling before the fact discovery cut-off. Further, postponing

   these depositions will not impede Plaintiffs’ ability to proceed with discovery of other parties and

   non-parties. Currently, Plaintiffs have scheduled ten (10) days of depositions before May 23,

   2023, with several others noticed for upcoming depositions.


   1
          Curiously, even though they are defendants here, Jones and Dowling were not consulted about the
   agreement between Plaintiffs and FirstEnergy.


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                             EXHIBIT 5
Case:
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


   IN RE FIRSTENERGY CORP. SECURITIES                      Case No. 2:20-cv-03785-ALM-KAJ
   LITIGATION,
                                                           Chief Judge Algenon L. Marbley
   This document relates to:
                                                           Magistrate Judge Kimberly A. Jolson
         ALL ACTIONS.



    MFS SERIES TRUST I, ET AL.,

                               PLAINTIFFS,
                                                           Case No. 2:21-cv-05839-ALM-KAJ
    V.
                                                           Chief Judge Algenon L. Marbley
    FIRSTENERGY CORP., ET AL.,
                                                           Magistrate Judge Kimberly A. Jolson
                               DEFENDANTS.


    BRIGHTHOUSE FUNDS TRUST II – MFS
    VALUE PORTFOLIO, ET AL.,

                               PLAINTIFFS,                 Case No. 2:22-cv-00865-ALM-KAJ

    V.                                                     Chief Judge Algenon L. Marbley

                                                           Magistrate Judge Kimberly A. Jolson
    FIRSTENERGY CORP., ET AL.,

                               DEFENDANTS.



                                                  ORDER

          This matter is before the Court on Defendants’ Motion to Stay Proceedings Pending

   Interlocutory Appeal (Doc. 577). In the Motion, Defendants request the Court to enter an order

   staying all proceedings in these actions pending a final resolution of their interlocutory appeal of the

   Court’s Order Granting Class Certification. (Id. at 2; see Doc. 435).
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          Pursuant to Rule 53 of the Federal Rules of Civil Procedure and its Order Appointing the

   Special Master (Doc. 541), the Court REFERS the Motion to the Special Master to submit a Report

   and Recommendation for the Court to consider. The Special Master is DIRECTED to set a briefing

   schedule and a hearing on the Motion. All discovery is STAYED during the pendency of this

   Motion. Additionally, the Court DIRECTS the Special Master to reduce the findings and reasoning

   of his November 30, 2023 Notice of Order on the Motion to Stay (Doc. 575) to a Report and

   Recommendation for the Court to consider.


          IT IS SO ORDERED.


   Date: December 1, 2023                      __________________________________________
                                               ALGENON L. MARBLEY
                                               CHIEF UNITED STATES DISTRICT JUDGE



                                               /s/ Kimberly A. Jolson
                                               KIMBERLY A. JOLSON
                                               UNITED STATES MAGISTRATE JUDGE




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                             EXHIBIT 6
Case:
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                               UNITED STATES DISTRICT COURT

                                SOUTHERN DISTRICT OF OHIO

                                    EASTERN DIVISION

   In re FIRSTENERGY CORP. SECURITIES       )     No. 2:20-cv-03785-ALM-KAJ
   LITIGATION                               )
                                            )     CLASS ACTION
                                            )
   This Document Relates To:                )     Judge Algenon L. Marbley
                                            )     Magistrate Judge Kimberly A. Jolson
            ALL ACTIONS.                    )
                                            )


                        PLAINTIFFS’ ACCOUNTING OF DISCOVERY

  MURRAY MURPHY MOUL                            ROBBINS GELLER RUDMAN
    + BASIL LLP                                   & DOWD LLP
  JOSEPH F. MURRAY (0063373)                    DARREN J. ROBBINS (pro hac vice)
  1114 Dublin Road                              MARK SOLOMON (pro hac vice)
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  614/488-0401 (fax)                            Telephone: 619/231-1058
  murray@mmmb.com                               619/231-7423 (fax)
                                                darrenr@rgrdlaw.com
                                                marks@rgrdlaw.com

  Liaison Counsel                               Class Counsel




   4859-2131-7312.v1
Case:
  Case:
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            Pursuant to the May 16, 2024 Order By Special Master, Lead Plaintiff Los Angeles County

   Employees Retirement Association (“Lead Plaintiff” or “LACERA”), and plaintiffs Amalgamated

   Bank, as Trustee for the LongView LargeCap 500 Index Fund, LongView Quantitative LargeCap

   Fund, LongView Broad Market 3000 Index Fund, LongView LargeCap 500 Index Fund VEBA, LV

   LargeCap 1000 Value Index Fund, LongView Quantitative MidCap Fund, LongView Quant

   LargeCap Equity VEBA Fund and LongView Core Plus Fixed Income Fund (“Amalgamated

   Bank”), City of Irving Supplemental Benefit Plan, and Wisconsin Laborers’ Pension Fund

   (collectively, “Plaintiffs”) submit the following accounting of their completed discovery, as well as a

   non-binding accounting of their anticipated discovery.

            As detailed below, to date, the parties have conducted depositions of 32 individuals and

   entities, including fact witnesses, expert witnesses, and Rule 30(b)(6) witnesses. Plaintiffs anticipate

   51 additional fact depositions (including those previously scheduled by Defendants), as well as 8

   depositions that will require a maximum of 2 hours each to revisit subject areas FirstEnergy

   foreclosed prior to the Court’s May 6, 2024 Order & Opinion (ECF 653). As for written discovery,

   Plaintiffs have served over two-dozen sets of Requests for Production (“RFPs”); 122 third-party

   document subpoenas; two sets of Requests for Admissions (“RFAs”); and one set of interrogatories.

   Plaintiffs have received over three million pages of documents and expect to receive significant

   productions based on the Court’s January 11, 2024 (ECF 618), February 13, 2024 (ECF 628), and

   May 6, 2024 (ECF 653) Orders & Opinions. Plaintiffs anticipate serving additional written

   discovery requests, including third-party document subpoenas.




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   I.       DEPOSITIONS

            A.         Completed Depositions1

        NOTICING PARTY            PERSON/ENTITY
        Plaintiffs                Defendant Charles E. Jones
        Plaintiffs                Defendant Dennis M. Chack
        Plaintiffs/Defendants     Defendant FirstEnergy 30(b)(6) (Tracy Ashton & Joseph Storsin)
        Plaintiffs                Defendant George M. Smart
        Plaintiffs/Defendants     Defendant James F. Pearson*
        Defendants                Defendant Jason J. Lisowski*
        Plaintiffs                Defendant Jerry Sue Thornton
        Plaintiffs                Defendant Julia L. Johnson*
        Plaintiffs                Defendant Michael J. Dowling
        Plaintiffs                Defendant Paul T. Addison*
        Plaintiffs                Defendant Sandra Pianalto*
        Plaintiffs/Defendants     Defendant Steven E. Strah*
        Plaintiffs                Defendant Thomas N. Mitchell*
        Defendants                Lead Plaintiff LACERA 30(b)(6) (Esmeralda del Bosque)
        Defendants                Plaintiff Amalgamated Bank 30(b)(6) (Eleanor Innes)
        Defendants                Plaintiff City of Irving Supplemental Benefit Plan 30(b)(6) (Brad
                                  Duff)
        Defendants                Plaintiff Wisconsin Laborers 30(b)(6) (John Schmitt)
        Defendants                Third-Party Asim Haque
        Defendants                Third-Party David Pinter
        Plaintiffs                Third-Party Defendants’ Expert (Dr. Jennifer Marietta-Westberg)
        Defendants                Third-Party Eileen Mikkelsen
        Defendants                Third-Party Irene Prezelj*

   1
           As indicated by asterisks below, 8 depositions were completed subject to the resolution of
   Defendant FirstEnergy Corp.’s (“FirstEnergy”) instructions to witnesses not to answer certain
   questions. Pursuant to the Court’s May 6, 2024 order, each deposition will be re-opened for up to 2
   hours to complete the questioning FirstEnergy prevented. Order by Special Master on Motion to
   Compel, ECF 571 at PageID 12387; see also Order & Opinion, ECF 653 at PageID 14272-74.
   “Defendants” refers to: (i) FirstEnergy; (ii) Charles E. Jones, James F. Pearson, Steven E. Strah, K.
   Jon Taylor, Michael J. Dowling, Dennis M. Chack, Robert Reffner, Leila L. Vespoli; John Judge;
   Donald R. Schneider, and Jason J. Lisowski; (iii) George M. Smart, Paul T. Addison, Michael J.
   Anderson, Steven J. Demetriou, Julia L. Johnson, Donald T. Misheff, Thomas N. Mitchell, James F.
   O’Neil III, Christopher D. Pappas, Sandra Pianalto, Luis A. Reyes, Jerry Sue Thornton, and Leslie
   M. Turner (collectively, the “Director Defendants”); and (iv) Barclays Capital, Inc., BofA
   Securities, Inc., Citigroup Global Markets, Inc., J.P. Morgan Securities, LLC, Morgan Stanley & Co.
   LLC, Mizuho Securities USA LLC, PNC Capital Markets LLC, RBC Capital Markets, LLC,
   Santander Investment Securities Inc., Scotia Capital (USA) Inc., SMBC Nikko Securities America,
   Inc., CIBC World Markets Corp., KeyBanc Capital Markets, Inc., TD Securities (USA) LLC, U.S.
   Bancorp Investments, Inc., and MUFG Securities Americas Inc. (collectively, the “Underwriter
   Defendants”).

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       NOTICING PARTY             PERSON/ENTITY
       Defendants                 Third-Party Plaintiffs’ Expert (Cynthia Jones)
       Defendants                 Third-Party Plaintiffs’ Expert (Dr. Scott Dalrymple)
       Plaintiffs                 Underwriter Defendant Barclays Capital Inc. 30(b)(6) (Rob Stowe)
       Plaintiffs                 Underwriter Defendant BofA Securities, Inc. 30(b)(6) (Julien
                                  Dumolin-Smith & David Mikula)
       Plaintiffs                 Underwriter Defendant Citigroup Global Markets, Inc. 30(b)(6)
                                  (Brian Bednarski)
       Plaintiffs                 Underwriter Defendant J.P. Morgan Securities, LLC 30(b)(6)
                                  (Charles Wortman & Jeremy Tonet)
       Plaintiffs                 Underwriter Defendant KeyBanc Capital Markets Inc. 30(b)(6)
                                  (Ryan Pirnat)
       Plaintiffs                 Underwriter Defendant Mizuho Securities USA LLC 30(b)(6)
                                  (Michael Donohue)
       Plaintiffs                 Underwriter Defendant RBC Capital Markets, LLC 30(b)(6)
                                  (Anthony Ianno)
       Plaintiffs                 Underwriter Defendant Scotia Capital 30(b)(6) (Michael Ravanesi
                                  & Andrew Weisel)

            B.         Previously Noticed/Scheduled Depositions Plaintiffs Expect to Be Re-
                       Scheduled

                       1.    Parties

       NOTICING PARTY                   PERSON/ENTITY
       Plaintiffs                       Defendant Christopher D. Pappas
       Plaintiffs                       Defendant Donald R. Schneider
       Plaintiffs                       Defendant Donald T. Misheff
       Plaintiffs                       Defendant James F. O’Neil III
       Plaintiffs                       Defendant John Judge
       Plaintiffs                       Defendant K. Jon Taylor
       Plaintiffs                       Defendant Leila L. Vespoli
       Plaintiffs                       Defendant Leslie M. Turner
       Plaintiffs                       Defendant Luis A. Reyes
       Plaintiffs                       Defendant Michael J. Anderson
       Plaintiffs                       Defendant Robert Reffner
       Plaintiffs                       Defendant Steven J. Demetriou
       Plaintiffs                       Underwriter Defendant CIBC World Markets Corp. 30(b)(6)
       Plaintiffs                       Underwriter Defendant MUFG Securities Americas Inc.
                                        30(b)(6)
       Plaintiffs                       Underwriter Defendant PNC Capital Markets LLC 30(b)(6)
       Plaintiffs                       Underwriter Defendant Santander Investment Securities Inc.
                                        30(b)(6)
       Plaintiffs                       Underwriter Defendant SMBC Nikko Securities America, Inc.
                                        30(b)(6)
       Plaintiffs                       Underwriter Defendant TD Securities (USA) LLC 30(b)(6)

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                             EXHIBIT 7
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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

   In re FIRSTENERGY CORP. SECURITIES            )   No. 2:20-cv-03785-ALM-KAJ
   LITIGATION                                    )
                                                 )   CLASS ACTION
                                                 )
   This Document Relates To:                     )   Judge Algenon L. Marbley
                                                 )   Magistrate Judge Kimberly A. Jolson
            ALL ACTIONS.                         )
                                                 )



        LEAD PLAINTIFF’S FIRST REQUEST FOR DOCUMENTS TO ALL DEFENDANTS

  MURRAY MURPHY MOUL + BASIL LLP                 ROBBINS GELLER RUDMAN & DOWD LLP
  JOSEPH F. MURRAY (0063373)                     DARREN J. ROBBINS (darrenr@rgrdlaw.com)
    murray@mmmb.com                              MARK SOLOMON (marks@rgrdlaw.com)
  1114 Dublin Road                               JASON A. FORGE (jforge@rgrdlaw.com)
  Columbus, OH 43215                             TOR GRONBORG (torg@rgrdlaw.com)
  Telephone: 614/488-0400                        BRIAN E. COCHRAN (bcochran@rgrdlaw.com)
  614/488-0401 (fax)                             SARA B. POLYCHRON (spolychron@rgrdlaw.com)
                                                 TING H. LIU (tliu@rgrdlaw.com)
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                                                 655 West Broadway, Suite 1900
                                                 San Diego, CA 92101
                                                 Telephone: 619/231-1058
                                                 619/231-7423 (fax)

  Liaison Counsel                                Lead Counsel for Lead Plaintiff Los Angeles County
                                                 Employees Retirement Association

                           [Additional counsel appear on signature page.]




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            Pursuant to Federal Rules of Civil Procedure 26 and 34 and the Court’s June 14, 2021

   Opinion and Order (ECF No. 175), Lead Plaintiff Los Angeles County Employees Retirement

   Association requests that Defendants (defined below) respond to and produce for inspection and

   copying the documents designated under the heading “Documents Requested” within 10 days of the

   service of this Request for Production, to the offices of Murray Murphy Moul + Basil LLP, 1114

   Dublin Road, Columbus, OH 43215, or at such other place the parties mutually agree.

            The responding parties are required to produce all requested documents that are in their

   actual or constructive possession, custody or control, or in the actual or constructive possession,

   custody or control of their officers, employees, agents or representatives. The responding parties

   shall produce said documents as they are kept in the usual course of business and shall organize and

   label them to correspond with the categories in the request.

   I.       DEFINITIONS

            Unless stated otherwise, the terms set forth below are defined as follows:

            1.         “Defendants” refers to FirstEnergy Corp. and the Individual and Underwriter Bank

   Defendants (defined below).

            2.         “Document” or “documents” is defined to be synonymous in meaning and equal in

   scope to the usage of the term “documents or electronically stored information” in Federal Rule of

   Civil Procedure 34(a)(1)(A) and encompasses communications. A draft or non-identical copy is a

   separate document within the meaning of this term.

            3.         “Electronic data” refers to any original and any non-identical copies (whether non-

   identical because of notes made on copies or attached comments, annotations, marks, transmission

   notations or highlighting of any kind), mechanical, facsimile, electronic, magnetic, digital or other

   programs (whether private, commercial or work-in-progress), programming notes or instructions,

   activity listings of electronic mail receipts or transmittals, output resulting from the use of any

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   software program, including word processing documents, spreadsheets, database files, charts, graphs

   and outlines, electronic mail or “e-mail,” electronic messaging services, electronic forums or

   discussion services, operating systems, source code of all types, programming languages, linkers and

   compilers, peripheral drives, PDF files, PRF files, batch files, ASCII files, crosswalks, code keys,

   pull down tables, logs, file layouts or any miscellaneous files or file fragments, regardless of the

   media on which they reside and regardless of whether said electronic data consists of an active file,

   backup file, deleted file or file fragment. “Electronic data” also includes, without limitation, any

   items stored on computer, smartphone or tablet memory or memories, hard drives, zip drives, CD-

   ROM discs, or in any other vehicle for electronic or digital data storage or transmittal, files, folder

   tabs or containers and labels appended to or associated with any physical storage device associated

   with each original and each copy.

            4.         “Electronically stored information” or “ESI” refers to any original and non-identical

   copies (whether non-identical because of notes made on copies or attached comments, annotations,

   marks, transmission notations or highlighting of any kind), mechanical, facsimile, electronic,

   magnetic, digital or other programs, programming notes or instructions, activity listings of electronic

   mail receipts or transmittals, output resulting from the use of any software program, including word

   processing documents, spreadsheets, database files, charts, graphs and outlines, electronic mail or “e-

   mail,” operating systems, source code of all types, programming languages, linkers and compilers,

   peripheral drives, PDF files, PRF files, batch files, ASCII files, crosswalks, code keys, pull-down

   tables, logs, file layouts or any miscellaneous files or file fragments, regardless of the media on

   which they reside and regardless of whether said electronic data consists of an active file, backup

   file, deleted file or file fragment. “ESI” also includes, without limitation, any items stored on

   computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other vehicle for

   electronic or digital data storage or transmittal, files, folder tabs or containers and labels appended to

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   or associated with any physical storage device associated with each original and each copy. “ESI”

   also includes, without limitation, any MMS or SMS text messages and any electronic instant

   messages, including, but not limited to, messages in an internal messaging system or external

   personal account on desktop, laptop, mobile phone, tablet or other mobile device, concerning the

   topics in the following requests.

            5.         “Identify,” with respect to documents, means to give, to the extent known, the: (a)

   type of document; (b) general subject matter; (c) date of the document; and (d) author(s),

   addressee(s) and recipient(s).

            6.         “Identify,” with respect to persons, means to give, to the extent known, the person’s

   full name, present or last known address, present or last known e-mail address and when referring to

   a natural person, additionally, the present or last known place of employment. Once a person has

   been identified in accordance with this subparagraph, only the name of that person need be listed in

   response to subsequent discovery requesting the identification of that person.

            7.         “FirstEnergy” or the “Company” refers to FirstEnergy Corp., any of its direct or

   indirect subsidiaries, divisions or affiliates (foreign and domestic), predecessors, successors, present

   and former officers, directors, employees, agents, directors and all other persons acting or purporting

   to act on its behalf.

            8.         “Individual Defendants” means Charles E. Jones, James F. Pearson, Steven E. Strah,

   K. Jon Taylor, Michael Dowling, Dennis M. Chack, Ty R. Pine, Robert Reffner, Leila L. Vespoli,

   John Judge and Donald R. Schneider; current and former FirstEnergy directors Jason J. Lisowski,

   George M. Smart, Paul T. Addison, Michael J. Anderson, Steven J. Demetriou, Julia L. Johnson,

   Donald T. Misheff, Thomas N. Mitchell, James F. O’Neil III, Christopher D. Pappas, Sandra

   Pianalto, Luis A. Reyes, Jerry Sue Thornton and Leslie Turner, and includes, without limitation,

   their agents, employees or other persons occupying similar positions or performing similar functions.

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            9.         “Person” or “persons” means any natural person or any legal entity, including,

   without limitation, any business or governmental entity or association.

            10.        “Underwriter Bank Defendants” refers Barclays Capital Inc., BofA Securities, Inc.,

   Citigroup Global Markets Inc., J.P. Morgan Securities LLC, Morgan Stanley & Co. LLC, Mizuho

   Securities USA LLC, PNC Capital Markets LLC, RBC Capital Markets, LLC, Santander Investment

   Securities Inc., Scotia Capital (USA) Inc., SMBC Nikko Securities America, Inc., CIBC World

   Markets Corp., KeyBanc Capital Markets Inc., TD Securities (USA) LLC, U.S. Bancorp

   Investments, Inc. and MUFG Securities Americas Inc. and any of their direct or indirect subsidiaries,

   divisions or affiliates (foreign and domestic), predecessors, successors, present and former officers,

   directors, employees, agents, directors and all other persons acting or purporting to act on its behalf.

            11.        “You” or “your” means the person or entity responding to these requests.

            12.        “All,” “any” and “each” shall each be construed as encompassing any and all.

            13.        The connectives “and” and “or” shall be construed either disjunctively or

   conjunctively as necessary to bring within the scope of the discovery request all responses that might

   otherwise be construed to be outside of its scope.

   II.      INSTRUCTIONS

            1.         In responding to these requests, you shall produce all responsive documents which are

   in your possession, custody or control, or in the possession, custody or control of your predecessors,

   successors, parents, subsidiaries, divisions or affiliates, or any of your respective directors,

   executives, officers, partners, managing agents, agents, employees, accountants or any other

   representative. A document shall be deemed to be within your control if you have the ability or right

   to secure the document or a copy of the document from another person having possession or custody

   of the document.



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            2.         Pursuant to the Federal Rules of Civil Procedure, you are to produce for inspection

   and copying by Lead Plaintiff original documents as they are kept in the usual course of business and

   you shall organize and label them to correspond with the categories in these requests.

            3.         In responding to these requests, you shall produce all responsive documents available

   at the time of production and you shall supplement your responses as required by Federal Rule of

   Civil Procedure 26(e).

            4.         If any responsive document was, but no longer is, in your possession or subject to

   your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

   voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify the

   name and address of its current or last known custodian, and the circumstances surrounding such

   disposition.

            5.         If you claim any form of privilege or any other objection, whether based on statute,

   common law or otherwise, as a ground for not producing any requested document, please furnish a

   list identifying each document for which the privilege or other objection is claimed together with the

   following information:

                       (a)       the privilege being asserted;

                       (b)       the person on whose behalf the privilege is asserted;

                       (c)       a precise statement of the facts upon which the claim of privilege is based; and

                       (d)       identify the purported privileged document including:

                              (i)       its nature, e.g., letter, memorandum, tape, etc.;

                             (ii)       the date it was prepared;

                             (iii)      the date the document bears;

                             (iv)       the date the document was sent;

                              (v)       the date it was received;

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                           (vi)       the name of the person who prepared the document;

                          (vii)       the name(s) of the person(s) who received the document;

                         (viii)       the name of each person to whom it was sent or was intended to be

   sent, including all addressees and all recipients of copies; and

                           (ix)       a statement of whom each identified person represented or purported

   to represent at all relevant times.

            6.         If a portion of any document responsive to these requests is withheld under claim of

   privilege pursuant to Instruction No. 5, any non-privileged portion of such document must be

   produced with the portion claimed to be privileged redacted.

            7.         You are to produce each document requested herein in its entirety, without deletion or

   excision (except as qualified by Instructions Nos. 5 and 6 above) regardless of whether you consider

   the entire document to be relevant or responsive to the requests.

            8.         The singular of any term includes the plural, and the disjunctive shall include the

   conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

   conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

   request.

   III.     PRODUCTION OF HARD COPY DOCUMENTS – FORMAT

            Absent an agreed upon protocol, hard copy documents should be scanned as single-page,

   Group IV, 300 DPI TIFF images with an .opt image cross-reference file and a delimited database

   load file (i.e., .dat). The database load file should contain the following fields: “BEGNO,”

   “ENDNO,” “PAGES,” “VOLUME” and “CUSTODIAN.” The documents should be logically

   unitized (i.e., distinct documents shall not be merged into a single record, and single documents shall

   not be split into multiple records) and be produced in the order in which they are kept in the usual

   course of business. If an original document contains color to understand the meaning or content of

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   the document, the document shall be produced as single-page, 300 DPI JPG images with JPG

   compression and a high quality setting as to not degrade the original image. Multi-page OCR text

   for each document should also be provided. The OCR software shall maximize text quality over

   process speed. Settings such as “auto-skewing” and “auto-rotation” should be turned on during the

   OCR process.

   IV.      PRODUCTION OF ESI

            Absent an agreed upon protocol, ESI shall be produced as follows:

            1.         Format: Electronically stored information (“ESI”) should be produced in single-page,

   black and white, TIFF Group IV, 300 DPI TIFF images with the exception of spreadsheet type files,

   source code, audio and video files, which should be produced in native format. TIFFs should show

   any and all text and images which would be visible to the reader using the native software that

   created the document. For example, TIFFs of e-mail messages should include the BCC line.

   PowerPoint documents shall be processed with hidden slides and all speaker notes unhidden, and

   shall be processed to show both the slide and the speaker’s notes on the TIFF image. If an original

   document contains color, the document should be produced as single-page, 300 DPI JPG images

   with JPG compression and a high quality setting as to not degrade the original image. Parties are

   under no obligation to enhance an image beyond how it was kept in the usual course of business.

            2.         Format – Native Files: If a document is produced in native, a single-page Bates

   stamped image slip sheet stating the document has been produced in native format should also be

   provided. Each native file should be named according to the Bates number it has been assigned, and

   should be linked directly to its corresponding record in the load file using the NATIVELINK field.

   To the extent that either party believes that specific documents or classes of documents, not already

   identified within this protocol, should be produced in native format, the parties should meet and

   confer in good faith.

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            3.         De-Duplication: Each party shall remove exact duplicate documents based on MD5

   or SHA-1 hash values, at the family level. Attachments should not be eliminated as duplicates for

   purposes of production, unless the parent e-mail and all attachments are also duplicates. An e-mail

   that includes content in the BCC or other blind copy field shall not be treated as a duplicate of an e-

   mail that does not include content in the content in those fields, even if all remaining content in the

   e-mail is identical. Removal of near-duplicate documents and e-mail thread suppression is not

   acceptable. De-duplication should be done across the entire collection (global de-duplication) and

   the CUSTODIAN field should list each custodian, separated by a semi-colon, who was a source of

   that document. Should the CUSTODIAN metadata field produced become outdated due to rolling

   productions, an overlay file providing all the custodians for the affected documents should be

   produced prior to substantial completion of the document production.

            4.         Technology Assisted Review: Predictive coding/technology-assisted-review shall not

   be used for the purpose of culling the documents to be reviewed or produced without notifying the

   requesting party prior to use and with ample time to meet and confer in good faith regarding a

   mutually agreeable protocol for the use of such technologies.

            5.         Metadata: All ESI shall be produced with a delimited, database load file that contains

   the metadata fields listed in Table 1, attached hereto. The metadata produced should have the

   correct encoding to enable preservation of the documents’ original language.

            6.         Embedded Objects: The parties should meet and confer over the inclusion or

   exclusion of embedded files from the production.

            7.         Compressed Files Types: Compressed file types (i.e., .ZIP, .RAR, .CAB, .Z) should

   be decompressed so that the lowest level document or file is extracted.

            8.         Structured Data: To the extent a response to discovery requires production of

   electronic information stored in a database, the parties should discuss methods of production best

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   providing all relevant information, including, but not limited to, duplication of databases or limited

   access for the purpose of generating reports. Parties shall consider whether all relevant information

   may be provided by querying the database for discoverable information and generating a report in a

   reasonably usable and exportable electronic file. A document reference sheet shall be provided to

   describe the purpose of the database and meaning of all tables and column headers produced.

            9.         Exception Report: The producing party shall compile an exception report enumerating

   any unprocessed or unprocessable documents, their file type and the file location.

            10.        Encryption: To maximize the security of information in transit, any media on which

   documents are produced may be encrypted. In such cases, the producing party shall transmit the

   encryption key or password to the receiving party, under separate cover, contemporaneously with

   sending the encrypted media.

            11.        Redactions: If documents that the parties have agreed to produce in native format

   need to be redacted, the parties should meet and confer regarding how to implement redactions while

   ensuring that proper formatting and usability are maintained.

   V.       DOCUMENTS REQUESTED

   REQUEST FOR DOCUMENT PRODUCTION NO. 1:

            All documents produced, provided or received by any of the Defendants in the course of

   litigation against FirstEnergy arising out of the HB6 bribery scheme, including any deposition

   testimony.

   REQUEST FOR DOCUMENT PRODUCTION NO. 2:

            All documents that the Defendants have produced or provided to, or received from, any

   regulatory or government agency, federal or state law enforcement agency, or legislative body or

   representative in connection with the HB6 bribery scheme, including any deposition testimony.



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   DATED: June 28, 2021                  MURRAY MURPHY MOUL + BASIL LLP


                                                      /s/ Joseph F. Murray
                                         JOSEPH F. MURRAY, Trial Attorney (0063373)
                                         1114 Dublin Road
                                         Columbus, OH 43215
                                         Telephone: 614/488-0400
                                         614/488-0401 (fax)
                                         murray@mmmb.com

                                         Liaison Counsel

                                         ROBBINS GELLER RUDMAN
                                            & DOWD LLP
                                         DARREN J. ROBBINS
                                         MARK SOLOMON
                                         JASON A. FORGE
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                             DECLARATION OF SERVICE BY EMAIL

            I, Tor Gronborg, not a party to the within action, hereby declare that on June 28, 2021, I

   served the attached LEAD PLAINTIFF’S FIRST REQUEST FOR DOCUMENTS TO ALL

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            I declare under penalty of perjury that the foregoing is true and correct. Executed on June 28,
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                                                                     /s/ Tor Gronborg
                                                                    TOR GRONBORG




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                             EXHIBIT 8
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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


   In re FIRSTENERGY CORP. SECURITIES                   )   No. 2:20-cv-03785-ALM-KAJ
   LITIGATION                                           )
                                                        )   CLASS ACTION
                                                        )
   This Document Relates To:                            )   Chief Judge Algenon L. Marbley
                                                        )   Magistrate Judge Kimberly A. Jolson
                  ALL ACTIONS.                          )
                                                        )

      CHARLES E. JONES’S RESPONSES AND OBJECTIONS TO LEAD PLAINTIFFS’
            FIRST REQUEST FOR DOCUMENTS TO ALL DEFENDANTS

          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and Local Rule 26.1,

   Defendant Charles E. Jones, by and through his undersigned attorneys, serves his Responses and

   Objections (“Responses”) to Lead Plaintiffs’ First Request for Documents to All Defendants (the

   “Requests”).

                                      GENERAL OBJECTIONS

          The following General Objections are incorporated by reference into each and every

   response provided by Mr. Jones, whether specifically mentioned or not. The identification of

   certain General Objections or other objections in a given response is not intended, nor shall it be

   construed, as a waiver or exclusion in any way of all other General Objections.

          1.      The following responses are based on Mr. Jones’s present knowledge, information,

   and belief. He reserves the right to amend, revise, correct, supplement, or clarify any of the

   responses herein.

          2.      By providing responses to the Requests, Mr. Jones does not concede that any

   information contained herein or any document produced is relevant, material, discoverable, or

   admissible into evidence.



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          3.      By providing responses to the Requests, Mr. Jones does not concede that documents

   that are responsive to any Request exist.

          4.      Mr. Jones objects to the extent Plaintiffs request Mr. Jones to produce documents

   prior to an agreement among all parties regarding an ESI protocol and protective order setting

   forth the terms and procedures for confidentiality designations. Mr. Jones will produce available

   non-privileged, non-duplicative, responsive documents subject to such ESI protocol and

   protective order.

          5.      Mr. Jones objects to the extent that Plaintiffs request that he immediately produce

   documents with service of his Responses to the Requests on the ground that it is inconsistent

   with the Opinion and Order entered by the Court on June 14, 2021 (ECF No. 175) (the “Lift

   Order”). Subject to and without waiving his General or Specific Objections, Mr. Jones will

   produce documents consistent with production time frames set forth in any scheduling order, or

   to be agreed upon by the parties.

          6.      Mr. Jones objects to the extent that Plaintiffs’ Requests seek documents or

   information outside the scope of the Lift Order. Under the Private Securities Litigation Reform

   Act (“PSLRA”), discovery is generally stayed until motions to dismiss are decided. 15 U.S.C.

   § 78u-4(b)(3)(B). Productions prior to the resolution of the motions to dismiss are only

   permitted pursuant to the Lift Order. See id. Accordingly, discovery outside the scope of the

   Lift Order is not currently permitted under the PSLRA.

          7.      Mr. Jones objects to the extent that the Requests seek materials containing or

   reflecting information protected by the attorney-client privilege, the attorney work-product

   doctrine, or any other applicable law, rule, or privilege. If materials containing privileged or

   protected information or work product are inadvertently disclosed, such disclosure shall not




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   constitute a waiver of any privileges or protections, and Mr. Jones reserves the right to demand

   and obtain the return of any inadvertently produced or disclosed materials or to object to the use

   or introduction of such documents or information.

          8.      Mr. Jones objects to the extent the Requests are unreasonably cumulative and/or

   duplicative of each other, or duplicative of requests that are more properly directed to the

   documents, information, and data in the possession, custody, or control of other parties.

          9.      Mr. Jones objects to the extent the Requests seek documents and information

   concerning settlement communications that are protected from identification or disclosure by

   Fed. R. Evid. 408 and 410. See Goodyear Tire & Rubber Co. v. Chiles Power Supply, Inc., 332

   F.3d 976 (6th Cir. 2003).

          10.     Mr. Jones objects to the extent the Requests, including the instructions and

   definitions, are vague, are unduly burdensome, or purport to seek to impose burdens greater than

   those required by the Federal Rules of Civil Procedure, applicable local rules, or the Court’s

   case-management orders. Mr. Jones responds consistent with the Federal Rules of Civil

   Procedure, any applicable local rules, any scheduling or case-management orders entered by the

   Court, and any procedures outlined in a to-be-agreed upon ESI protocol, and subject to his threshold

   objection regarding the scope of discovery.

          11.      Mr. Jones objects to the extent that the Requests are not limited in scope to the

   relevant time periods at issue in this consolidated action.

          12.     Mr. Jones objects to the extent that the Requests seek disclosure of confidential,

   non-public, or proprietary information or information of a personal nature, or highly confidential,

   proprietary, or otherwise commercially sensitive information or trade secrets.




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           13.     Mr. Jones objects to the extent that the Requests seek information irrelevant to the

   claims or defenses of the parties or disproportionate to the needs of this consolidated action.

           14.     Mr. Jones objects to the extent the Requests seek information contained in

   Plaintiffs’ own files, within Plaintiffs’ own knowledge, or within public sources available

   equally to Plaintiffs.

           15.     Mr. Jones objects to the extent the Requests seek information within the

   possession of third parties equally available to Plaintiffs.

           16.     Mr. Jones objects to the extent the Requests define terms or characterize the

   evidence in this case. To the extent Mr. Jones uses any terms used by Plaintiffs in the Requests,

   such use is specifically limited solely to these Responses and shall not be construed in any way

   as an admission that such terms are correct or proper.

           17.     Mr. Jones objects to the extent the Requests, including instructions and

   definitions, are overly broad, ambiguous, premature, or written in a form that is confusing or

   potentially misleading.

           18.     Mr. Jones’s Responses do not in any way constitute admissions or

   acknowledgements that any information sought is within the proper scope of discovery.

   Mr. Jones makes these Responses without waiving his right to object to the admissibility of

   documents produced herewith or to object to further discovery related to subject matters

   encompassed within the Requests.

           Without waiving these General Objections, and incorporating each General Objection into

   each and every response contained herein, Mr. Jones provides his responses to the Requests as

   follows:




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                                  REQUESTS FOR PRODUCTION

   REQUEST FOR DOCUMENT PRODUCTION NO. 1: All documents produced, provided or

   received by any of the Defendants in the course of litigation against FirstEnergy arising out of

   the HB6 bribery scheme, including any deposition testimony.

   RESPONSE: In addition to and without waiving the foregoing General Objections, Mr. Jones

   objects to the extent this Request seeks documents and information that are outside of his

   possession, custody, or control and/or in the possession of FirstEnergy or other third parties.

   Mr. Jones also objects to the extent that the Request encompasses documents outside the scope

   of the Lift Order. Mr. Jones objects to the extent this Request seeks documents subject to the

   attorney-client privilege, the attorney work-product doctrine, or any other applicable privilege.

   Mr. Jones also objects to this Request on the ground that the phrases “produced, provided or

   received” are vague and ambiguous. Mr. Jones further objects this Request is vague, ambiguous,

   and overly broad because “arising out of the HB6 bribery scheme” is an undefined phrase

   capable of multiple interpretations, and thus imposes the obligation on Mr. Jones to ascertain the

   intended meaning or scope of this Request.

          Subject to and without waiving his General and Specific Objections, Mr. Jones will

   produce any available non-privileged, non-duplicative, responsive documents in his possession,

   custody, or control, consistent with the timing and procedures outlined in a to-be-agreed-upon

   ESI protocol, protective order, and any scheduling order entered by the Court.



   REQUEST FOR DOCUMENT PRODUCTION NO. 2: All documents that the Defendants

   have produced or provided to, or received from, any regulatory or government agency, federal or

   state law enforcement agency, or legislative body or representative in connection with the HB6

   bribery scheme, including any deposition testimony.


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   RESPONSE: In addition to and without waiving the foregoing General Objections, Mr. Jones

   objects to the extent that the Request encompasses documents outside the scope of the Lift

   Order. Mr. Jones also objects to this Request on the ground that the phrase “produced, provided

   or received” are vague and ambiguous. Mr. Jones further objects as this Request is vague,

   ambiguous, and overly broad because “in connection with the HB6 bribery scheme” is an

   undefined phrase capable of multiple interpretations, and thus imposes the obligation on

   Mr. Jones to ascertain the intended meaning or scope of this Request. Mr. Jones further objects

   to the extent that the Request encompasses documents that are equally available to Plaintiffs

   from public sources. Mr. Jones objects to the extent this Request seeks documents and information

   concerning settlement communications that are protected from identification and disclosure by

   Fed. R. Evid. 408 and 410. See Goodyear Tire & Rubber Co. v. Chiles Power Supply, Inc., 332

   F.3d 976 (6th Cir. 2003).

          Subject to and without waiving his General and Specific Objections, Mr. Jones will

   produce any available non-privileged, non-duplicative, responsive documents in his possession,

   custody, or control, consistent with the timing and procedures outlined in a to-be-agreed-upon

   ESI protocol, protective order, and any scheduling order entered by the Court.



   Dated: July 20, 2021                             Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the foregoing Charles E. Jones’

   Responses and Objections to Lead Plaintiff’s First Request for Documents was served on

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                                                        Capital Markets Inc., TD Securities (USA)
                                                        LLC, U.S. Bancorp Investments, Inc. and
                                                        MUFG, Securities Americas Inc.




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                             EXHIBIT 9
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

   IN RE FIRSTENERGY CORP. SECURITIES                      Case No. 2:20-cv-03785-ALM-KAJ
   LITIGATION,
                                                           CLASS ACTION
   This document relates to:
                                                           Judge Algenon L. Marbley
         ALL ACTIONS.                                      Magistrate Judge Kimberly A. Jolson




   MICHAEL J. DOWLING’S RESPONSES AND OBJECTIONS TO LEAD PLAINTIFF’S
           FIRST REQUEST FOR DOCUMENTS TO ALL DEFENDANTS

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Defendant Michael J.

  Dowling (“Dowling”) submits his Responses and Objections to Lead Plaintiff’s First Request for

  Production of Documents Directed to All Defendants (“Requests”).

                                         GENERAL OBJECTIONS

         Dowling’s General Objections apply to Lead Plaintiff’s Requests and are incorporated by

  reference into each of Dowling’s specific Responses and Objections set forth below. These

  General Objections form a part of the response to each Request and are set forth here to avoid

  repetition. The absence of a reference to an applicable General Objection should not be construed

  as a waiver of the objection as to a specific Request.

  1.     Dowling objects to the Requests to the extent they seek documents outside the scope set

  forth in the Court’s Opinion and Order (Doc. No. 175).

  2.     Dowling’s responses are based on his present knowledge, information, and belief. Dowling

  reserves the right to amend, revise, correct, supplement, or clarify any of the responses herein.

  3.     By providing responses to the Requests, Dowling does not concede that any information


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  contained herein or any document produced is relevant, material, discoverable, or admissible into

  evidence.

  4.     By providing responses to the Requests, Dowling does not concede that documents

  responsive to any Request exist.

  5.     Dowling objects to the extent Plaintiffs request that Dowling produce documents prior to

  an agreement among the parties as to an ESI protocol and confidential protective order. Dowling’s

  commitment to produce documents means that he will produce available, non-privileged, non-

  duplicative, responsive documents subject to an ESI protocol and a confidential protective order.

  6.     Dowling objects to the extent Plaintiffs request that Dowling immediately produce

  documents with service of his Responses, as it is inconsistent with the Court’s Opinion and Order

  (Doc. No. 175). Dowling will produce documents consistent with production timelines agreed

  upon by the parties.

  7.     Dowling objects to the Requests, including the instructions and definitions, are vague,

  unduly burdensome, and to the extent they impose requirements, obligations, and duties beyond

  those imposed by the Federal Rules of Civil Procedure, the Local Rules, the Court’s rules, or any

  case management or scheduling order entered by the Court. Dowling responds consistent with his

  objection to scope, the Federal Rules of Civil Procedure, any applicable rules, any scheduling or

  case-management orders entered by the Court, and any procedures outlined in an agreed upon ESI

  protocol.

  8.     Dowling objects to the Requests, including the instructions and definitions contained

  therein, to the extent they seek discovery of matters protected from disclosure by the attorney-

  client privilege, the attorney-work product doctrine, common interest privilege, or any other

  applicable privilege or protection. Dowling’s responses are not intended to be, and should not in


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  any way be deemed to be, a waiver of any such privilege or protection. Any inadvertent production

  of documents or information that is protected or privileged from discovery does not constitute a

  waiver or other basis for objecting to the production of such material or its subject matters.

  Dowling expressly reserves the right to seek return of such documents and information or to object

  to the use or introduction of such documents or information.

  9.     Dowling objects to the Requests on the ground that they seek confidential, non-public, or

  proprietary information, information of a personal nature, information that is highly confidential,

  proprietary, or otherwise commercially sensitive information, or trade secrets.

  10.    Dowling objects to the Requests, including the instructions and definitions contained

  therein, to the extent they are overly broad, unduly burdensome, premature, and/or seek

  information beyond the scope of discovery under the applicable rules.

  11.    Dowling objects to the extent the Requests seeks documents and information concerning

  settlement communications that are protected from identification or disclosure by Fed. R. Evid.

  408 and 410. See Goodyear Tire & Rubber Co. v. Chiles Power Supply, Inc., 332 F.3d 976 (6th

  Cir. 2003).

  12.    Dowling objects to the Requests to the extent they are unreasonably cumulative and/or

  duplicative of each other, or duplicative of requests that are more properly directed to the

  documents, information, and data in the possession, custody, or control of other parties.

  13.    Dowling objects to the Requests to the extent they seek documents not relevant to claims

  and/or defenses at issue in the instant litigation and are disproportional to the needs of this case.

  14.    Dowling objects to the Requests, including the instructions and definitions contained

  therein, to the extent they are vague, ambiguous, use undefined terms, or otherwise fail to specify

  with sufficient particularity the nature of the documents or information sought.


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  15.    Dowling objects to these Requests to the extent they seek public records equally available

  to Plaintiffs. Further, Dowling objects to the Requests to the extent the documents sought are

  within the possession of third parties equally available to Plaintiffs.

  16.    Dowling objects to the Requests to the extent the Requests seek documents outside his

  possession, custody, or control.

  17.    Dowling objects to the extent the Requests define terms or characterize the evidence in this

  case. To the extent Dowling uses any terms used by Plaintiffs in the Requests, such use is

  specifically limited solely to these responses and shall not be construed in any way as an admission

  that such terms are correct or proper.

  18.    Dowling’s Reponses do not constitute admissions or acknowledgements that any

  information sought is within the scope of discovery. Dowling makes these Responses without

  waving his right to object to the admissibility of any documents produced or to object to discovery

  related subject matters encompassed within the Requests.

         Subject to and without waiving these General Objections, and specifically incorporating

  each General Objection above into each response below, Dowling submits the following

  Responses and Objections to Lead Plaintiff’s Requests.

                                     DOCUMENTS REQUESTED

  REQUEST FOR DOCUMENT PRODUCTION NO. 1

         All documents produced, provided or received by any of the Defendants in the course of

  litigation against FirstEnergy arising out of the HB6 bribery scheme, including any deposition

  testimony.

  RESPONSE:

         In addition to his General Objections, Dowling objects to this Request to the extent it


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  seeks documents that are outside of his possession, custody, or control. Dowling objects to

  the Request to the extent it seek documents outside the scope set forth in the Court’s Opinion

  and Order (Doc. No. 175). Dowling also objects to the extent the Request seeks documents

  protected from disclosure by the attorney-client privilege, the attorney-work product

  doctrine, or any other applicable privilege or protection. Dowling further objects on the

  ground that the Request is vague, ambiguous, and overly broad as to the undefined phrase

  “arising out of the HB6 bribery scheme”, and it is vague and ambiguous as to the phrase

  “produced, provided or received.” Subject to and without waiving these objections, Dowling

  will produce any available non-privileged, non-duplicative, responsive documents in his

  possession, custody, or control, consistent with the timing and procedures outlined in an

  agreed upon ESI protocol, confidential protective order, and any scheduling order entered

  by the Court.

  REQUEST FOR DOCUMENT PRODUCTION NO. 2

         All documents that the Defendants have produced or provided to, or received from, any

  regulatory or government agency, federal or state law enforcement agency, or legislative body or

  representative in connection with the HB6 bribery scheme, including any deposition testimony.

  RESPONSE:

         In addition to his General Objections, Dowling objects to this Request to the extent it

  seeks documents that are outside of his possession, custody, or control. Dowling objects to

  the Request to the extent it seek documents outside the scope set forth in the Court’s Opinion

  and Order (Doc. No. 175). Dowling also objects to the extent it seeks documents protected

  from disclosure by the attorney-client privilege, the attorney-work product doctrine, or any

  other applicable privilege or protection. Dowling further objects on the ground that the


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  Request is vague, ambiguous, and overly broad as to the undefined phrase “in connection

  with the HB6 bribery scheme”, and it is vague and ambiguous as to the phrase “produced or

  provided to, or received.” Subject to and without waiving these objections, Dowling will

  produce any available non-privileged, non-duplicative, responsive documents in his

  possession, custody, or control, consistent with the timing and procedures outlined in an

  agreed upon ESI protocol, confidential protective order, and any scheduling order entered

  by the Court.



  DATED: July 20, 2021                         Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

           The undersigned certifies that on July 20, 2021 the foregoing Michael J. Dowling’s

    Responses and Objections to Lead Plaintiff’s First Request for Production of Documents was

    served by e-mail on counsel of record for the parties.


                                                        /s/ John F. McCaffrey
                                                        One of the Attorneys for Defendant Michael
                                                        J. Dowling




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                           EXHIBIT 10
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   May 31, 2022
                                                                                      Rachael L. Israel
                                                                                      direct dial: 216.861.7014
                                                                                      risrael@bakerlaw.com




   VIA E-MAIL (DAVIDM@RGRDLAW.COM)

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   Robbins Geller Rudman & Dowd LLP
   655 West Broadway, Suite 1900
   San Diego, CA 92101

           Re:      In re FirstEnergy Corp Securties Litigation, No. 2:20-cv-03785 (SD Ohio)
                    Defendant Jones’ Responses to Lead Plaintiff’s Document Requests



   Dear David:

          I am writing in response to your May 20, 2022 letter regarding our meet and confer call
   on May 18, 2022. Please see below our responses to your letter, which I have organized under
   the same topic headings.

           Contours of Mr. Jones’ Search

           In the derivative cases, Mr. Jones searched for and produced responsive documents from
   his primary personal iPhone, his primary personal iPad, both of his Gmail accounts and his hard
   copy files. All of the documents Mr. Jones produced in the derivative cases and provided to the
   SEC were reproduced to you in Production Volume Jones_Securities Litigation_VOL001 on
   March 28, 2022.1

          During our May 18 call, you inquired about which of Mr. Jones’ other devices and
   accounts have been collected, searched and produced to date. To that end, please refer to the
   enclosed Exhibit A, which contains our current understanding of Mr. Jones’ phone numbers,
   accounts and devices, and the production status of each.

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     This volume includes materials bates labeled Jones_Securities Litigation 000001 - Jones_Securities Litigation
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           In an email on May 18, 2022, you shared numbers from the Derivative Plaintiff’s Text
   Message Protocol, which was prepared by Counsel for Lead Derivative Plaintiffs. There is a
   significant factual error in that Protocol – it incorrectly associates the number 330-285-4513 with
   both Mr. Jones and Juan Cespedes. The 330-285-4513 number was associated with a FirstEnergy
   cell phone used by Mr. Jones before October 29, 2020. To our knowledge, this number has never
   been associated with Mr. Cespedes. After October 29, 2020, Mr. Jones returned this device to the
   company and has not since used this number. See Exhibit A.

           FirstEnergy has custody and control of the materials associated with Mr. Jones’
   FirstEnergy email account. Based on our review of FirstEnergy’s productions in this case and
   other cases, we can confirm that FirstEnergy has produced emails from the account used by Mr.
   Jones while he was employed by the company.

              Spoliation

           In the derivative cases, Mr. Jones produced a call log from his personal Verizon account
   statements for his personal cell phone2 and a log of text messages from the same.3 While these
   materials came from Mr. Jones’ personal Verizon account, the material we referenced in the call
   was not produced by Verizon. Following the discovery of the auto-delete setting on Mr. Jones’
   personal, post-termination cell phone, Mr. Jones’ counsel, in consultation with Derivative
   Plaintiffs’ Counsel and with the assistance of Interhack, collected data from a number of
   additional personal devices used by Mr. Jones after his termination in an attempt to recover
   and/or cross-reference the data from his personal cell phone. See Exhibit A for the details of these
   devices.

          From this process, counsel identified data related to three text message conversation
   threads4 with two individuals identified in the Derivative Text Message Protocol – Mr. Dowling
   and Mr. Smart. Mr. Jones’ messages with Mr. Dowling have been produced by Mr. Dowling.
   See DOWLING0000199, DOWLING0000203. The recovery process recovered the substance of
   one message with Mr. Smart and data related to a second message with Mr. Smart but not any
   substantive message content. While we do not believe that these messages contain responsive
   information, we will produce the available data and substance of these messages to you. In
   addition, after a search protocol has been agreed upon in this case, Mr. Jones will produce any
   responsive, non-privileged materials from this text message data.




   2
     See Jones_Securities Litigation 002055, 002081, 002107, 002130, 002155, 002182, 002209, 002235, 002261,
   002288, 002312, 002338, 002365, and 002392.
   3
       See Jones_Securities Litigation 002421.
   4
    Mr. Dowling has produced the conversation as two different threads, but the substance of the post-termination
   messages, dated January 14, 2021, is the same.
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          Derivative Counsel Communications – Regarding Spoliation

          The requested correspondence is attached as Exhibit B to this letter.

          Privilege Log

          Mr. Jones’ privilege log from the derivative cases is attached as Exhibit C to this letter.

          Depositions of Mr. Jones

          Mr. Jones was not deposed or interviewed in the derivative cases. We will neither
   confirm nor deny whether Mr. Jones has been interviewed or deposed by any regulatory or
   governmental authority. Without confirming or denying whether such interviews or depositions
   have taken place, we note there are no written transcripts to produce.

          Request Nos. 1 & 2

          We will produce to Lead Plaintiff any additional documents received from or provided to
   the government under our continuing discovery obligations in this case.

          Additional Devices

          Between July 2020 and October 29, 2020, when he was employed by FirstEnergy, Mr.
   Jones did not obtain an additional cell phone beyond those identified in the attached Exhibit A.

          General Objection No. 3

          We agree that the Relevant Time Period shall be February 1, 2017 – June 20, 2021.

          General Objection No. 17

          Your summary regarding General Objection No. 17 is correct.

          RFP No. 8

          Your summary regarding RFP No. 8 is correct.

          RFP No. 61

          Your summary regarding RFP No. 61 is correct.

          RFP No. 74

           We are not aware of any materials referenced in Mr. Jones’ initial disclosure that have
   been withheld. Mr. Jones will produce any documents identified in his initial disclosures, to the
   extent that they have not already been produced. Mr. Jones reserves his right to supplement this
   response to include any other documents or categories of documents or data identified during
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   investigation or during the course of discovery that contain information that he may use to
   support his defenses in this action.

             RFP No. 78

             Your summary regarding RFP No. 78 is correct.

             Termination Documents

           Subject to and without waiving any objections in Mr. Jones’ responses to your requests
   for production, Mr. Jones has produced and/or will produce reasonably available non-privileged,
   non-duplicative, responsive documents in his possession, custody or control concerning
   FirstEnergy’s termination of Mr. Jones’s employment on October 29, 2020, if any.

             Please let me know if you would like to further discuss any of the matters covered in this
   letter.

   Very truly yours,



   Rachael L. Israel


   Enclosures
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                           EXHIBIT 11
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                    State of Ohio v. Michael J. Dowling (CR-2024-02-0473-B)
                                       Discovery Material

   April 1, 2024 – Response to Defendant’s Request for Discovery
       Crim.R.16(B)(1) – Statement of the Defendant and Co-Defendants
              o Written statement of defendant Michael J. Dowling
                      Defendant/Suspect Statement - M. Dowling - 10.19.2023 Transcript
                             Delivered to Defense Attorney via web portal
                      Defendant/Suspect Statement - M. Dowling - 10.20.2023 Transcript
                             Delivered to Defense Attorney via web portal
                      None
              o Oral statement of defendant Michael J. Dowling
                      None
              o Police summary of statements of defendant Michael J. Dowling
                      Any summaries will be provided
              o Grand Jury testimony of defendant Michael J. Dowling
                      None

          Crim.R.16(B)(2) – Criminal Records of the Defendant, Co-Defendants, and Witnesses
              o Criminal record of defendant Michael J. Dowling
                      None known at this time

          Crim.R.16(B)(5) – Evidence Favorable to Defendant
              o Potentially Exculpatory Evidence:
                      None known at this time

          Crim.R.16(B)(1)-(7); Crim.R.16(K)
              o The following documents were delivered to the defense:
                      1. Investigative Report - 2024-01-16_Anderson, Dave Interview
                      2. Investigative Report - 2024-01-25_Housley, Kristina Interview
                      3. Investigative Report - 2024-02-07_Ebony Yeboah-Amankwah1
                      4. Other Document - Debbie Ryan Proffer 1.24.2024
                      5. Other Document - Ebony Yeboah-Amankwah Proffer 2.5.2024
                      6. Other Document - Jason Lisowski Proffer Agreement (Executed)
                      7. Other Document - Jason Rafeld Proffer Letter 1.16.2024
                      8. Other Document - Jonathon McGee Proffer Letter 12.4.2023
                      9. Other Document - Pat Tully Proffer Letter 12.4.2023
                      10. Audio Recorded Statement - 2023-09-06 Hadden, J.B. Interview
                      11. Audio Recorded Statement - 2023-09-18 Cupp, Robert Interview
                      12. Audio Recorded Statement - 2023-11-30 Haque, Asim Interview
                      13. Audio Recorded Statement - 2023-12-01 Brakey, Matt Interview
                      14. Audio Recorded Statement - 2023-12-04 Tully, Pat Interview

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      The highlighted individuals are witnesses that Jones and Dowling have subpoenaed for
   depositions.

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                     15. Audio Recorded Statement - 2023-12-2023 Christopher, Mahila
                      Interview Part 1
                     16. Audio Recorded Statement - 2023-12-2023 Christopher, Mahila
                      Interview Part 2
                     17. Audio Recorded Statement - 2024-01-08 Pritchard, Matt Part 1
                     18. Audio Recorded Statement - 2024-01-08 Pritchard, Matt Part 2
                     19. Audio Recorded Statement - 2024-01-11 Brakey, Matt Interview Part
                      1
                     20. Audio Recorded Statement - 2024-01-11 Brakey, Matt Interview Part
                      2
                     21. Audio Recorded Statement - 2024-01-12 Elisar, Scott Interview
                     22. Audio Recorded Statement - 2024-01-16 Anderson, Dave Interview
                     23. Audio Recorded Statement - 2024-01-16 DeAngelo, James Interview
                     24. Audio Recorded Statement - 2024-01-16 O’Donnell Jr., Terrence
                      Interview
                     25. Audio Recorded Statement - 2024-01-16 Rafeld, Jason Interview
                     26. Audio Recorded Statement - 2024-01-18 Bojko, Kimberly Interview
                     27. Audio Recorded Statement - 2024-01-19 Bingaman, Brad Interview
                     28. Audio Recorded Statement - 2024-01-25 Corrigan Kimberly Interview
                     29. Audio Recorded Statement - 2024-01-25 Housley Kristina Interview
                     30. Audio Recorded Statement - 2024-01-29 Petricoff Howard Interview
                     31. Audio Recorded Statement - 2024-02-01 Chack, Dennis Interview
                     32. Audio Recorded Statement - 2024-02-06 Dawson, Michael Interview
                     33. Audio Recorded Statement - Debbie Ryan Interview 1.24.2023
                     34. Audio Recorded Statement - Gene Pierce Interview 11.1.2023
                     35. Audio Recorded Statement - Howard Petricoff Interview 10.27.2023
                     36. Audio Recorded Statement - Jason Lisowski Audio Interview 2.5.2024
                     37. Audio Recorded Statement - Jonathon McGee audio interview
                      12.4.2023
                     38. Audio Recorded Statement - Jonathon McGee subpoena service
                      10.31.2023
                     39. Audio Recorded Statement - Josh Rubin Audio Interview 1.5.2024
                     40. Audio Recorded Statement - Kevin Murray Audio Interview
                     41. Audio Recorded Statement - Mark Coffey Follow Up 1.22.2024
                     42. Audio Recorded Statement - Mark Coffey Summit Financial 1.17.2024
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                     43. Audio Recorded Statement - Mark Coffey Summit Financial 1.17.2024
                      2
                     44. Audio Recorded Statement - Ohio Ethics Commission 1.17.2024
                     45. Audio Recorded Statement - Tim Mott Interview 11-27-2023
                     46. Investigative Report - 2024-01-17_ Ethics Commission Meeting,
                      Subpoena, & Response
                     47. Audio Recorded Statement - 2023-08-10 Greenspan, Dave Interview
                     48. Audio Recorded Statement - 2023-08-22 Carfagna, Enrico Interview
                     49. Investigative Report - 2023-08-10 Greenspan, David Interview
                     50. Investigative Report - 2023-08-22 Carfagna, Enrico Interview

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                     51. Investigative Report - 2023-09-18 Cupp, Robert Interview
                     52. Investigative Report - 2023-10-27 Howard Petricoff Interview
                     53. Investigative Report - 2023-11-27 Timothy Mott Interview
                     54. Investigative Report - 2023-12-04 Jonathon McGee Interview
                     55. Investigative Report - 2024-01-25 Corrigan, Kim Interview
                     56. Investigative Report - 2024-02-01 Chack, Dennis Interview
                     57. Investigative Report - 2024-02-06 Dawson, Michael Interview
                     58. Audio Recorded Statement - Dan Conway Interview 1 3.4.2024
                     59. Subpoena - 2024-02-21_ Renee Rambo and Anthony Smith Subpoena
                      Service
                     60. Audio Recorded Statement - Dan Conway Interview 3 3.4.2024
                     61. Investigative Report - 2024-01-19 Bingaman, Bradley Interview
                     62. Audio Recorded Statement - Dan Conway Interview 2 3.4.2024
                     63. Investigative Report - 2023-06-26 Tyron Pine Subpoena Service
                     64. Investigative Report - 2024-02-09_ Attempt to Serve; Samuel
                      Randazzo
                     65. Investigative Report - 2024-02-09_ Attempt to Serve; Charles Jones
                     66. Investigative Report - 2024-02-09 Attempt to Serve Dowling
                     67. Investigative Report - 2024-01-18_ McNees Wallance & Nurick
                      Subpoena Response
                     68. Investigative Report - 2024-01-18_ Kevin Murray Subpoena Service
                     69. Investigative Report - 2024-01-17_ Ethics Commission Meeting,
                      Subpoena, & Response
                     70. Investigative Report - 2024-01-12_ Debbie Ryan Subpoena Service
                     71. Investigative Report - 2024-01-11_ Sam Randazzo Subpoena 3
                      Response
                     72. Investigative Report - 2024-01-10_ Mark Coffey Subpoena Service
                     73. Investigative Report - 2024-01-10_ Laurel Dawson Subpoena Service
                     74. Investigative Report - 2024-01-10_ Fidelity Investments Subpoena
                      Service
                     75. Investigative Report - 2024-01-10_ Charles Schwab Subpoena Service
                     76. Investigative Report - 2024-01-09_ James DeAngelo Esq. Subpoena
                      Service
                     77. Investigative Report - 2024-01-03_ Subpoena Service to McNees Firm
                     78. Investigative Report - 2024-01-02 Summit Financial Subpoena Service
                      and Response
                     79. Investigative Report - 2023-12-21_ Sam Randazzo Subpoena 2
                      Response
                     80. Investigative Report - 2023-12-15 Randazzo, Samuel Subpoena
                      Service
                     81. Investigative Report - 2023-12-12 Mahila Christopher Subpoena
                      Service
                     82. Investigative Report - 2023-12-11 Joshua Rubin Subpoena Service
                     83. Investigative Report - 2023-12-07 Timothy Mott Subpoena Service for
                      Records
                     84. Investigative Report - 2023-11-20 Tim Mott Subpoena Service

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                     85. Investigative Report - 2023-11-20 Patrick Tully Subpoena Service
                     86. Investigative Report - 2023-11-20 Matthew Pritchard Subpoena
                      Service
                     87. Investigative Report - 2023-11-20 Debbie Ryan Subpoena Service
                     88. Investigative Report - 2023-10-31 Jonathon McGee Subpoena Service
                     89. Investigative Report - 2023-09-20 Inspector General Correspondence
                     90. Investigative Report - 2023-08-16 Householder and Borges Sentencing
                      Transcripts
                     91. Investigative Report - 2023-08-15 Sam Randazzo Subpoena Service
                     92. Investigative Report - 2023-08-12 Sam Randazzo Subpoena Service
                      for Records
                     93. Investigative Report - 2023-08-10 Calfee, Halter & Griswold
                      Subpoena & Response
                     94. Investigative Report - 2023-08-04 Michael VanBuren Subpoena
                      Service
                     95. Investigative Report - 2023-07-19 First Energy Records Received
                     96. Investigative Report - 2023-06-29_ FirstEnergy Corp Subpoena
                      Served
                     97. Investigative Report - 2023-06-28_ Mikkelsen, Eileen Subpoena
                      Served
                     98. Investigative Report - 2023-06-27_ Yeboah-Amankwah, Ebony
                      Subpoena Served
                     99. Investigative Report - 2023-06-27_ Vespoli, Leila Subpoena Served
                     100. Investigative Report - 2023-06-27_ Bailey, Joel Subpoena Served
                     101. Investigative Report - 2023-05-18 Subpoena Service_ PNC, HNB,
                      5_3, and JP Morgan Chase
                     102. Email Copy - RE_ Eileen Mikkelson Subpoena (Declining to Appear
                      for Voluntary Interview)
                     103. Court Filing - PUCO - OCC Set 17-INT-001-027 and 028-039
                     104. Court Filing - PUCO - OCC 1st Set Disc. Req. - 3rd Supp. Stip. - FE
                      14-1297-ELSSO - Final 12.2.15c
                     105. Transcript - Combined Transcript, USA v. Householder et al.
                     106. Court Filing - Federal Government Exhibit 204E, USA v.
                      Householder et al., Larry Householder Calendar
                     107. Court Filing - Federal Government Exhibit 431G, USA v.
                      Householder et al., 3-16-19 Email Kiani to Griffing re Prep for Tuesday
                      Meeting
                     108. Curriculum Vitae - C. Beckett- CV
                     109. Expert Report - Courtney Beckett Analysis; AEP Settlement Funds
                     110. Expert Report - Courtney Beckett Analysis; Industrial Energy Users-
                      Ohio Chase Acct 0785
                     111. Expert Report - Courtney Beckett Analysis; Industrial Energy Users-
                      Ohio Chase Acct 3571
                     112. Expert Report - Courtney Beckett Analysis; Industrial Energy Users-
                      Ohio Chase Acct 7715



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                       113. Expert Report - Courtney Beckett Analysis; Industrial Energy Users-
                        Ohio Chase Acct 8267
                       114. Expert Report - Courtney Beckett Analysis; Bank Records
                        Involved_Randazzo
                       115. Expert Report - Courtney Beckett Analysis; FE Payments Summary
                        to Randazzo Accts
                       116. Expert Report - Courtney Beckett Analysis; IEU-Ohio Admin
                        Company LLC Chase Bank x0798 - 2016-2020
                       117. Expert Report - Courtney Beckett Analysis; Randazzo Personal-
                        Chase Bank 4786
                       118. Expert Report - Courtney Beckett Analysis; SFA of Ohio- Chase
                        Bank 9838 - 2016-2020
                       119. Audio Recorded Statement - 2023-09-19 Gray, Bryan Interview
                       120. Investigative Report - 2023-09-19 Gray, Bryan Interview
                       121. Audio Recorded Statement - 2024-03-22 Willis Maureen Interview –
                        Audio Interview (Case Documents) (1010050)
                       122. Audio Recorded Statement - 2024-03-13 Rambo, Renee Interview –
                        Audio Interview (Case Documents) (1006028)

   April 11, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
              o The following documents were delivered to the defense:
                      1. Investigative Report - Matter 2023-1173 2024-02-06 Dawson, Michael
                        Interview - Investigative Report (Reports) (991023)
                      2. Audio Recorded Statement - Matter 2023-1173 2024-02-06 Dawson,
                        Michael Interview - Audio Interview (Case Documents) (990493)
                      3. Investigative Report - Matter 2023-1173 2024-02-01_ Chack, Dennis
                        Interview - Investigative Report (Reports) (991033)
                      4. Audio Recorded Statement - Matter 2023-1173 2024-02-01 Chack,
                        Dennis Interview - Audio Interview (Case Documents) (990867)
                      5. 2023-11-30 Asim Haque Interview Transcript - Transcripts (Case
                        Documents) (960648) * * * NOT VERBATIM, CONTAINS ERRORS *
                        *
                      6. Audio Recorded Statement - 2024-01-11 Brakey, Matt Interview Part 1
                      7. Transcript - Reffner, Robert Interview Part 4,
                        Transcript_for_Axon_Capture_Audio_2024-04-05_120444_333.m4a * *
                        * NOT VERBATIIM * * *
                      8. Transcript - Reffner, Robert Interview Part 3,
                        Transcript_for_Axon_Capture_Audio_2024-04-05_112824_333.m4a * *
                        * NOT VERBATIIM * * *
                      9. Transcript - Reffner, Robert Interview Part 2,
                        Transcript_for_Axon_Capture_Audio_2024-04-05_103732_333.m4a* * *
                        NOT VERBATIIM * * *
                      10. Transcript - Reffner, Robert Interview Part 1,
                        Transcript_for_Axon_Capture_Audio_2024-04-05_101820_333.m4a* * *
                        NOT VERBATIIM * * *

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                       11. Audio Recorded Statement - Reffner, Robert Interview Part 3,
                        Axon_Capture_Audio_2024-04-05_112824_333
                       12. Audio Recorded Statement - Reffner, Robert Interview Part 4,
                        Axon_Capture_Audio_2024-04-05_120444_333
                       13. Audio Recorded Statement - Reffner, Robert Interview Part 2,
                        Axon_Capture_Audio_2024-04-05_103732_333
                       14. Audio Recorded Statement - Reffner, Robert Interview Part 1,
                        Axon_Capture_Audio_2024-04-05_101820_333
                       15. Audio Recorded Statement - 2024-03-21 DeMarco, Paul Interview –
                        Audio Interview (Case Documents) (1006030)
                       16. Audio Recorded Statement - 2024-03-08 Trombold M Beth Interview
                        Part 2 - Audio Interview
                       17. Audio Recorded Statement - 2024-03-08 Trombold M Beth Interview
                        Part 1 - Audio Interview (Case Documents) (1011002)
                       18. Audio Recorded Statement - 2024-03-08 Fleck Kathie Interview Part 1
                        – Audio Interview (Case Documents) (1011004)
                       19. Audio Recorded Statement - 2024-03-08 Fleck Kathie Interview Part 2
                        – Audio Interview
                       20. Transcript - Debbie Ryan_Interview Transcription 1.24.2024
                       21. Correspondence - Chack -OH AG NPA
                       22. Audio Recorded Statement - 2024-03-06 Deters Dennis Interview -
                        Audio Interview (Case Documents) (1017681)
                       23. Audio Recorded Statement - 2024-03-04 Conway Dan Interview -
                        Audio Interview (Case Documents) (1017647)
                       24. Audio Recorded Statement - 2024-03-06 Friedman Larry Interview –
                        Audio Interview (Case Documents) (1017672)
                       25. Court Filing - Pine Immunity

   April 18, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
              o The following documents were delivered to the defense:
                      1. Correspondence - Reffner Proffer Letter 4.5.2024
                      2. Evidence List - Documents from Robert Reffner Interview 4.5.2024
                      3. Evidence List - Chack Documents
                      4. Email Copy - RE_ Subpoena for Ebony Yeboah-Amankwah
                      5. Email Attachment - Yeboah Documents
                      6. Email Attachment - Yeboah - Draft OH AG NPA
                      7. Email Copy - RE_ Interviews
                      8. Email Attachment - PUCO Commissioner Documents
                      9. Email Copy - Pine Documents
                      10. Email Attachment - Pine Documents (2)
                      11. Email Copy - Lisowski Documents
                      12. Email Attachment - Jason Lisowski Proffer Agreement
                      13. Email Attachment - Lisowski
                      14. Email Copy - Documents for follow up with Matt Brakey
                      15. Email Attachment - 2015 Workpapers (2)

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                       16. Email Attachment - 2017 WPs - not used (2)
                       17. Email Attachment - 2018 AJE Workpapers (2)
                       18. Email Copy - Elisar Documents
                       19. Email Attachment - Elisar Documents (2)
                       20. Email Copy - RE_ Documents for follow up with Matt Brakey
                       21. Financial Records - File Memo - Meeting 08 15 2016
                       22. Email Copy - RE_ PUCO interviews
                       23. Email Attachment - Mahila Christopher Docs
                       24. Email Copy - RE_ PUCO interviews (2)
                       25. Email Attachment - Audit of the Legacy Generation Resource Rider of
                        AEP
                       26. Email Copy - RE_ PUCO interviews (3)
                       27. Email Attachment - 8-21-23 Audit Report
                       28. Expert Report - 2024-04-15 - LT Matthew Meyer re Report of G.
                        Jonson
                       29. Curriculum Vitae - G Jonson CV - 2024
                       30. Evidence List - Bingaman Documents
                       31. Correspondence - Brad Bingaman Proffer Agreement-Version 2
                       32. Bank Records - SB1447888-F2 Extension Letter (2)
                       33. Bank Records - SB1447888-F25_SCD_1 (1) IEU OH ADMIN
                       34. Correspondence - FirstEnergy Document Requests

   May 17, 2024 – Supplemental Response to Request for Discovery
      Crim.R.16(B)(1)-(7); Crim.R.16(K)
             o The following documents were delivered to the defense:
                     1. Order - PUCO 502(D) ORDER
                     2. Correspondence - RE_ Documents for follow up with Matt Brakey (2)
                     3. Other Document - IEU1 Brochure
                     4. Other Document - IEU-Ohio Brocure EX100017083.pdf.pdf
                     5. Other Document - IEU2 Brochure
                     6. Correspondence - RE_ Request for limited waiver
                     7. Investigative Report - 2024-01-11 Brakey, Mathew Interview
                     8. Investigative Report - 2024-01-02 Mark Coffey Follow-Up Interview
                     9. Investigative Report - 2024-01-17 Summit Financial Interview; Mark
                       Coffey
                     10. Investigative Report - 2024-03-04 Conway, Daniel Interview
                     11. Investigative Report - 2024-01-12 Elisar, Scott Interview
                     12. Investigative Report - 2024-03-08 Interview with Katherine Fleck
                     13. Investigative Report - 2024-03-06 Larry Friedeman Interview
                     14. Investigative Report - 2023-09-06 James JB Hadden Interview
                     15. Investigative Report - 2024-02-05 Jason Lisowski Interview
                     16. Investigative Report - 2023-11-01 Gene Pierce Interview
                     17. Investigative Report - Ty Pine Atty Communication
                     18. Investigative Report - 2024-01-16 Jason Rafeld Interview
                     19. Investigative Report - 2024-01-05 Josh Rubin Interview
                     20. Investigative Report - 2024-03-08 M. Beth Trombold Interview

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                        21. Investigative Report - 2024-03-04 Maureen Willis Subpoena Interview
                        22. Investigative Report - Maureen Willis communication
                        23. Email Attachment - OCIC 003-4 * * * Designated Confidential
                         Pursuant to Protective Order and Subject to Evid. R. 502(D) Order * * *
                        24. Audio Recorded Statement - 5.17.2024 Greg Price PUCO Interview 2
                         * * * Designated Confidential Pursuant to Protective Order and Subject to
                         Evid. R. 502 (D) Order * * *
                        25. Audio Recorded Statement - 5.17.2024 Greg Price PUCO Interview 1
                         * * * Designated Confidential Pursuant to Protective Order and Subject to
                         Evid. R. 502 (D) Order * * *
                        26. Email Attachment - OCIC 001-2 * * * Designated Confidential
                         Pursuant to Protective Order and Subject to Evid. R. 502(D) Order * * *
                        27. Email Copy - RE_ Subpoena
                        28. Email Attachment - Questions for Maureen Willis.3.5.2024

   June 17, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
              o The following documents were delivered to the defense:
                      1. Subpoena Response - FE_OCIC_Privilege Update_PROD01
                      2. Email Attachment - FirstEnergy - OCIC - Privilege Log (2024.06.06)
                      3. Correspondence - FirstEnergy Subpoena (PDF COPY)
                      4. Email Copy - 2024.06.06 Letter to OCIC
                      5. Correspondence - FirstEnergy Subpoena (3)
                      6. Correspondence - Signed Reffner Proffer Letter 4.5.2024
                      7. Correspondence - IEU_OELC
                      8. Correspondence - 2021-08-26 Ohio Inspector General Complaint
                      9. Investigative Report - 2024-01-18 Bojko, Kimberly Interview
                      10. Investigative Report - 2024-05-23 Daniel, Matthew Interview
                      11. Audio Recorded Statement - 2024-05-30 Stover Tiffany Interview
                      12. Audio Recorded Statement - 2024-05-23 Daniel Matthew Interview
                      13. Audio Recorded Statement - 2023-10-24 Weinstein Casey Interview
                      14. Investigative Report - 2023-10-24 Weinstein, Casey Interview
                      15. Email Copy - RE_ Scott Elisar

   June 18, 2024 – Defendant Michael J. Dowling’s Response to the State of Ohio’s Request for
   Discovery
       A. Crim.R. 16(H)(1) – laboratory or hospital reports, books, papers, documents,
          photographs, tangible objects, buildings or places
              o Mr. Dowling has no such materials in his possession or reasonably available to
                  him.
       B. Crim.R. 16(H)(2) – results of physical or mental examinations, experiments or
          scientific tests
              o Mr. Dowling has no such materials in his possession or reasonably available to
                  him.
       C. Crim.R. 16(H)(3) – evidence that tends to negate the guilt of Mr. Dowling, is material
          to punishment, or tends to support an alibi

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              o Mr. Dowling has produced and will produce material responsive to this request.
                  Additionally, Mr. Dowling reserves the right to supplement this discovery
                  response.
         D. Crim.R. 16(H)(4) – investigative reports
              o Mr. Dowling has no such materials in his possession or reasonably available to
                  him.
         E. Crim.R. 16(H)(5) – written or recorded statement by a witness in Mr. Dowling’s case-
          in-chief or any witness that he reasonably anticipates calling as a witness in surrebuttal
              o Mr. Dowling has in his possession or reasonably available to him several
                  deposition transcripts reflecting the recorded statements of witnesses identified
                  pursuant to Crim.R. 16(I). Mr. Dowling reserves the right to supplement this
                  discovery response.
              o Mr. Dowling will produce the deposition transcripts of
                       Ebony Yeboah-Amankwah, July 21, 2022, In the matter of The Ohio
                         Edison Company, The Cleveland Electric Illuminating Company, and The
                         Toledo Edison Company’s Compliance with R.C. 4928.17, and the Ohio
                         Administrative Code Chapter 4901:1-37, Case No. 17-974-EL-UNC
                       Brad Bingaman, March 13, 2023, In the Matter of FirstEnergy Corp., SEC
                         File No. C-08716-A

   July 16, 2024 – Supplemental Response to Request for Discovery
        Crim.R.16(B)(1)-(7); Crim.R.16(K)
              o The following documents were delivered to the defense:
                      1. Other Document - Documents obtained from Search Warrant at E.
                         Mound & Noble St * * * Designated Confidential under terms of Agreed
                         Protective Order * * *
                      2. Investigative Report - 2024-04-12 Search Warrant of SFA * * *
                         Designated Confidential under terms of Agreed Protective Order * * *
                      3. Other Document - Randazzo taint records review-Special Agent
                         Barbeau * * * Designated Confidential under terms of Agreed Protective
                         Order * * *
                      4. Other Document - Exhibit 51 from Householder Criminal Trial
                      5. Other Document - Exhibit 325A from Householder Criminal Trial
                      6. Other Document - Exhibit 233 from Householder Criminal Trial
                      7. Investigative Report - 2024-03-21 De Marco, Paul Interview
                      8. Investigative Report - 2024-03-13 Smith, Anthony Interview
                      9. Audio Recorded Statement - 2024-03-13 Smith Anthony Interview
                      10. Other Document - 2024-06-26 Ryan John Interview Part 1 * * *
                         DESIGNATED CONFIDENTIAL PURSUANT TO PROTECTIVE
                         ORDER and subject to 502(d) Order * * *
                      11. Other Document - 2024-06-26 Ryan John Interview Part 2 * * *
                         DESIGNATED CONFIDENTIAL PURSUANT TO PROTECTIVE
                         ORDER and subject to 502(d) Order * * *
                      12. Other Document - George Jonson related Emails and Documents * * *
                         Designated Confidential under terms of Agreed Protective Order * * *


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                      13. Other Document - First Energy - Forensic Accounting Supervisor
                       Review
                      14. Email Attachment - Discovery response documents combined-Part-2
                      15. Correspondence - State v_ Dowling _ State v_ Jones CR-2024-02-
                       0473 (2)
                      16. Subpoena Response - OCC's Responses to Subpoena Duces Tecum -
                       Part 2 documents
                      17. Email Attachment - Discovery response documents combined-Part-1
                      18. Subpoena Response - OCC's Responses to Subpoena Duces Tecum -
                       Part 1 documents
                      19. Email Attachment - OCC Discovery responses to Dowling subpoena.
                       5.27.24c

   August 16, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
             o The following documents were delivered to the defense:
                     1. Other Document - First Energy Non Prosecution Agreement
                     2. Investigative Report - 2024-07-18 Larry Obhof Interview
                     3. Audio Recorded Statement - Larry Obhof Audio interview 7.18.2024
                     4. Audio Recorded Statement - Mark Clark Interview 8.8.2024
                     5. Audio Recorded Statement - Tom Froehle Interview 8.14.2024
                     6. Audio Recorded Statement - Mark Hayden Interview 1 7.30.2024
                     7. Audio Recorded Statement - Mark Hayden Interview 2 7.30.2024
                     8. Audio Recorded Statement - Mark Hayden Interview 3 7.30.2024
                     9. Investigative Report - Santino Fanelli Subpoena served 7.23.2024
                     10. Correspondence - Communication with Atty FE Board Members
                     11. Correspondence - Dan McCarthy response to invitation letter
                        7.22.2024
                     12. Investigative Report - Joel Bailey Subpoena served 7.22.2024
                     13. Investigative Report - Justin Biltz Subpoena served 7.23.2024
                     14. Other Document - 2024-07-17 Invitation Letter Deliveries
                     15. Other Document - 2024-07-23 Invitation Letter Deliveries
                     16. Other Document - Mark Hayden Interview Documents (provided for
                        purposes of 7.30.2024 Interview)

   September 16, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(5)
             o Potentially Exculpatory Evidence:
                     Other Document - May 2024 Resolution Discussion – DESIGNATED
                        CONFIDENTIAL UNDER TERMS OF AGREED PROTECTIVE
                        ORDER
                            Delivered to Defense Attorney via web portal
                     Other Document - May 2024 Discussion Presentation - CONFIDENTIAL
                        UNDER AGREED PROTECTIVE ORDER
                            Delivered to Defense Attorney via web portal


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                      Other Document - January 2024 Presentation - CONFIDENTIAL UNDER
                       AGREED PROTECTIVE ORDER
                            Delivered to Defense Attorney via web portal
                     Correspondence - FE_OAG Letter --- DESIGNATED CONFIDENTIAL
                       PURSUANT TO PROTECTIVE ORDER
                            Delivered to Defense Attorney via web portal
         Crim.R.16(B)(1)-(7); Crim.R.16(K)
             o The following documents were delivered to the defense:
                     1. Transcript - FirstEnergy Corp (FE) Q2 2020 Earnings Call Transcript
                     2. Other Document - Complaint SEC v Jones
                     3. Other Document - FE_OCIC_Privilege Update_PROD02 –
                       DESIGNATED CONFIDENTIAL PURSUANT TO AGREED
                       PROTECTIVE ORDER
                     4. Other Document - FE_OCIC_Privilege Update_PROD02_zip_ file on
                       Box
                     5. Email Attachment - 2024.09.09 Letter to OCIC
                     6. Other Document - FirstEnergy Subpoena Response
                     7. Other Document - Randazzo Search Documents - 2nd Privilege Review
                       - DESIGNATED CONFIDENTIAL PURSUANT TO TERMS OF
                       AGREED PROTECTIVE ORDER
                     8. Correspondence - Randazzo Search Documents Requested by
                       McCaffrey
                     9. Investigative Report - 2024-08-21 Defense Atty BWC Review
                     10. Investigative Report - 2024-06-26 Ryan, John Interview
                     11. Other Document - Documents obtained from Brian Gray
                     12. Other Document - OCC Public Records Response
                     13. Other Document - Tony Alexander Interview Documents
                     14. Correspondence - FE_OAG Letter --- DESIGNATED
                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
                     15. Correspondence - McCaffrey Israel Discovery Letter 9.10.2024
                     16. Audio Recorded Statement - 8.30.2024 Anthony Alexander Interview
                       1
                     17. Audio Recorded Statement - 8.30.2024 Anthony Alexander Interview
                       2
                     18. Other Document - January 2024 Presentation - CONFIDENTIAL
                       UNDER AGREED PROTECTIVE ORDER
                     19. Other Document - May 2024 Discussion Presentation -
                       CONFIDENTIAL UNDER AGREED PROTECTIVE ORDER
                     20. Other Document - May 2024 Resolution Discussion – DESIGNATED
                       CONFIDENTIAL UNDER TERMS OF AGREED PROTECTIVE
                       ORDER

   September 18, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
             o The following documents were delivered to the defense:


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                      1. Opinion - Ohio Consumers Counsel v. PUCO, 2006-ohio-5789 -
                       Supreme Court Case Requiring Disclosure of Side Agreements
                      2. Correspondence - Docs Requested by Defense Outside Matrix –
                       DESIGNATED CONFIDENTIAL PURSUANT TO TERMS OF
                       AGREED PROTECTIVE ORDER
                      3. Correspondence - RE_ OMA
                      4. Investigative Report - 2023-12-04 Tully, Pat Interview IR
                      5. Investigative Report - 2024-03-06 Dennis Deters Interview
                      6. Investigative Report - 2024-01-16 DeAngelo, James Interview IR
                      7. Investigative Report - 2023-11-30 Haque, Asim Interview
                      8. Investigative Report - 2024-01-22 Kevin Murray Interview
                      9. Investigative Report - 2024-01-16 Terrence O'Donnell Interview
                      10. Investigative Report - 2024-01-08 Matt Pritchard Interview
                      11. Investigative Report - 2024-01-24 Debbie Ryan Interview
                      12. Investigative Report - 2024-05-30 Stover, Tiffany Interview
                      13. Other Document - 2015 AEP-IEU Settlement Related Documents –
                       DESIGNATED CONFIDENTIAL PURSUANT TO AGREED
                       PROTECTIVE ORDER
                      14. Investigative Report - 2024-04-05 Interview with Robert Reffner




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                     State of Ohio v. Charles E. Jones (CR-2024-02-0473-C)
                                       Discovery Material

   April 1, 2024 – Response to Defendant’s Request for Discovery
       Crim.R.16(B)(1) – Statement of the Defendant and Co-Defendants
              o Written statement of defendant Charles E. Jones
                      None known at this time
              o Oral statement of defendant Charles E. Jones
                      None
              o Police summary of statements of defendant Charles E. Jones
                      Any statements will be provided
              o Grand Jury testimony of defendant Charles E. Jones
                      None
       Crim.R.16(B)(2) – Criminal Records of the Defendant, Co-Defendants, and Witnesses
              o Criminal record of defendant Charles E. Jones
                      None known at this time
       Crim.R.16(B)(5) – Evidence Favorable to Defendant
              o Potentially Exculpatory Evidence:
                      None known at this time
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
              o The following documents were delivered to the defense:
                      1. Investigative Report - 2023-08-10 Calfee, Halter & Griswold Subpoena
                        & Response
                      2. Investigative Report - 2023-08-15 Sam Randazzo Subpoena Service
                      3. Investigative Report - 2023-05-18 Subpoena Service_ PNC, HNB, 5_3,
                        and JP Morgan Chase
                      4. Investigative Report - 2023-06-27_ Vespoli, Leila Subpoena Served
                      5. Investigative Report - 2023-06-27_ Yeboah-Amankwah, Ebony
                        Subpoena Served
                      6. Investigative Report - 2023-06-28_ Mikkelsen, Eileen Subpoena Served
                      7. Investigative Report - 2023-06-29_ FirstEnergy Corp Subpoena Served
                      8. Investigative Report - 2023-07-19 First Energy Records Received
                      9. Investigative Report - 2023-08-04 Michael VanBuren Subpoena Service
                      10. Investigative Report - 2023-08-12 Sam Randazzo Subpoena Service
                        for Records
                      11. Investigative Report - 2023-08-16 Householder and Borges Sentencing
                        Transcripts
                      12. Investigative Report - 2023-09-20 Inspector General Correspondence
                      13. Investigative Report - 2023-10-31 Jonathon McGee Subpoena Service
                      14. Investigative Report - 2023-11-20 Debbie Ryan Subpoena Service
                      15. Investigative Report - 2023-11-20 Matthew Pritchard Subpoena
                        Service
                      16. Investigative Report - 2023-11-20 Patrick Tully Subpoena Service
                      17. Investigative Report - 2023-11-20 Tim Mott Subpoena Service
                      18. Investigative Report - 2023-12-07 Timothy Mott Subpoena Service for
                        Records

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                      19. Investigative Report - 2023-12-11 Joshua Rubin Subpoena Service
                      20. Investigative Report - 2023-12-12 Mahila Christopher Subpoena
                       Service
                      21. Investigative Report - 2023-12-15 Randazzo, Samuel Subpoena
                       Service
                      22. Investigative Report - 2023-12-21_ Sam Randazzo Subpoena 2
                       Response
                      23. Investigative Report - 2024-01-02 Summit Financial Subpoena Service
                       and Response
                      24. Investigative Report - 2024-01-03_ Subpoena Service to McNees Firm
                      25. Investigative Report - 2024-01-09_ James DeAngelo Esq. Subpoena
                       Service
                      26. Investigative Report - 2024-01-10_ Charles Schwab Subpoena Service
                      27. Investigative Report - 2024-01-10_ Fidelity Investments Subpoena
                       Service
                      28. Investigative Report - 2024-01-10_ Laurel Dawson Subpoena Service
                      29. Investigative Report - 2024-01-10_ Mark Coffey Subpoena Service
                      30. Investigative Report - 2024-01-11_ Sam Randazzo Subpoena 3
                       Response
                      31. Investigative Report - 2024-01-12_ Debbie Ryan Subpoena Service
                      32. Investigative Report - 2024-01-17_ Ethics Commission Meeting,
                       Subpoena, & Response
                      33. Investigative Report - 2024-01-18_ Kevin Murray Subpoena Service
                      34. Investigative Report - 2024-01-18_ McNees Wallance & Nurick
                       Subpoena Response
                      35. Investigative Report - 2024-02-09 Attempt to Serve
                      36. Investigative Report - 2024-02-09_ Attempt to Serve; Charles Jones
                      37. Investigative Report - 2024-02-09_ Attempt to Serve; Samuel
                       Randazzo
                      38. Investigative Report - 2023-06-26 Tyron Pine Subpoena Service
                      39. Investigative Report - 2024-01-16_ Anderson, Dave Interview
                      40. Investigative Report - 2024-01-25_ Housley, Kristina Interview
                      41. Investigative Report - 2024-02-07_ Ebony Yeboah-Amankwah
                       Appearance
                      42. Other Document - Debbie Ryan Proffer 1.24.2024
                      43. Other Document - Ebony Yeboah-Amankwah Proffer 2.5.2024
                      44. Other Document - Jason Lisowski Proffer Agreement (Executed)
                      45. Other Document - Jason Rafeld Proffer Letter 1.16.2024
                      46. Other Document - Jonathon McGee Proffer Letter 12.4.2023
                      47. Other Document - Pat Tully Proffer Letter 12.4.2023
                      48. Audio Recorded Statement - 2023-09-06 Hadden, J.B. Interview
                      49. Audio Recorded Statement - 2023-09-18 Cupp, Robert Interview
                      50. Audio Recorded Statement - 2023-09-19 Gray, Bryan Interview
                      51. Audio Recorded Statement - 2023-11-30_Haque, Asim Interview
                      52. Audio Recorded Statement - 2023-12-01 Brakey, Matt Interview
                      53. Audio Recorded Statement - 2023-12-04 Tully, Pat Interview

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                      54. Audio Recorded Statement - 2023-12-2023 Christopher, Mahila
                       Interview Part 1
                      55. Audio Recorded Statement - 2023-12-2023 Christopher, Mahila
                       Interview Part 2
                      56. Audio Recorded Statement - 2024-01-08 Pritchard, Matt Part 1
                      57. Audio Recorded Statement - 2024-01-08 Pritchard, Matt Part 2
                      58. Audio Recorded Statement - 2024-01-11 Brakey, Matt Interview Part
                       1
                      59. Audio Recorded Statement - 2024-01-11 Brakey, Matt Interview Part
                       2
                      60. Audio Recorded Statement - 2024-01-12 Elisar, Scott Interview
                      61. Audio Recorded Statement - 2024-01-16 Anderson, Dave Interview
                      62. Audio Recorded Statement - 2024-01-16 DeAngelo, James Interview
                      63. Audio Recorded Statement - 2024-01-16 O'Donnell Jr., Terrence
                       Interview
                      64. Audio Recorded Statement - 2024-01-16 Rafeld, Jason Interview
                      65. Audio Recorded Statement - 2024-01-18 Bojko, Kimberly Interview
                      66. Audio Recorded Statement - 2024-01-19 Bingaman, Brad Interview
                      67. Audio Recorded Statement - 2024-01-25 Corrigan Kimberly Interview
                      68. Audio Recorded Statement - 2024-01-25 Housley Kristina Interview
                      69. Audio Recorded Statement - 2024-01-29 Petricoff Howard Interview
                      70. Audio Recorded Statement - 2024-02-01 Chack, Dennis Interview
                      71. Audio Recorded Statement - 2024-02-06 Dawson, Michael Interview
                      72. Audio Recorded Statement - Debbie Ryan Interview 1.24.2023
                      73. Audio Recorded Statement - Gene Pierce Interview 11.1.2023
                      74. Audio Recorded Statement - Howard Petricoff Interview 10.27.2023
                      75. Audio Recorded Statement - Jason Lisowski Audio Interview 2.5.2024
                      76. Audio Recorded Statement - Jonathon McGee audio interview
                       12.4.2023
                      77. Audio Recorded Statement - Jonathon McGee subpoena service
                       10.31.2023
                      78. Audio Recorded Statement - Josh Rubin Audio Interview 1.5.2024
                      79. Audio Recorded Statement - Kevin Murray Audio Interview
                      80. Audio Recorded Statement - Mark Coffey Follow Up 1.22.2024
                      81. Audio Recorded Statement - Mark Coffey Summit Financial 1.17.2024
                       1
                      82. Audio Recorded Statement - Mark Coffey Summit Financial 1.17.2024
                       2
                      83. Audio Recorded Statement - Ohio Ethics Commission 1.17.2024
                      84. Audio Recorded Statement - Tim Mott Interview 11-27-2023
                      85. Investigative Report - 2024-01-17_ Ethics Commission Meeting,
                       Subpoena, & Response
                      86. Audio Recorded Statement - 2023-08-10 Greenspan, Dave Interview
                      87. Audio Recorded Statement - 2023-08-22 Carfagna, Enrico Interview
                      88. Investigative Report - 2023-08-10 Greenspan, David Interview
                      89. Investigative Report - 2023-08-22 Carfagna, Enrico Interview

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                      90. Investigative Report - 2023-09-18 Cupp, Robert Interview
                      91. Investigative Report - 2023-09-19 Gray, Bryan Interview
                      92. Investigative Report - 2023-10-27 Howard Petricoff Interview
                      93. Investigative Report - 2023-11-27 Timothy Mott Interview
                      94. Investigative Report - 2023-12-04_ Jonathon McGee Interview
                      95. Investigative Report - 2024-01-25 Corrigan, Kim Interview
                      96. Investigative Report - 2024-02-01_ Chack, Dennis Interview
                      97. Investigative Report - 2024-02-06 Dawson, Michael Interview
                      98. Audio Recorded Statement - Dan Conway Interview 2 3.4.2024
                      99. Investigative Report - 2024-01-19 Bingaman, Bradley Interview
                      100. Audio Recorded Statement - Dan Conway Interview 3 3.4.2024
                      101. Subpoena - 2024-02-21_ Renee Rambo and Anthony Smith
                       Subpoena Service
                      102. Audio Recorded Statement - Dan Conway Interview 1 3.4.2024
                      103. Transcript - Combined Transcript, USA v. Householder et al.
                      104. Expert Report - Courtney Beckett Analysis; SFA of Ohio- Chase
                       Bank 9838 - 2016-2020
                      105. Expert Report - Courtney Beckett Analysis; Randazzo Personal-
                       Chase Bank 4786
                      106. Expert Report - Courtney Beckett Analysis; IEU-Ohio Admin
                       Company LLC – Chase Bank x0798 - 2016-2020
                      107. Expert Report - Courtney Beckett Analysis; FE Payments Summary
                       to Randazzo Accts
                      108. Expert Report - Courtney Beckett Analysis; Bank Records
                       Involved_Randazzo
                      109. Expert Report - Courtney Beckett Analysis; Industrial Energy Users-
                       Ohio Chase Acct 8267
                      110. Expert Report - Courtney Beckett Analysis; Industrial Energy Users-
                       Ohio Chase Acct 7715
                      111. Expert Report - Courtney Beckett Analysis; Industrial Energy Users-
                       Ohio Chase Acct 3571
                      112. Expert Report - Courtney Beckett Analysis; Industrial Energy Users-
                       Ohio Chase Acct 0785
                      113. Expert Report - Courtney Beckett Analysis; AEP Settlement Funds
                      114. Curriculum Vitae - C. Beckett- CV
                      115. Audio Recorded Statement - 2024-03-22 Willis Maureen Interview –
                       Audio Interview (Case Documents) (1010050)
                      116. Audio Recorded Statement - 2024-03-13 Rambo, Renee Interview –
                       Audio Interview (Case Documents) (1006028)
                      117. Court Filing - PUCO - OCC Set 17-INT-001-027 and 028-039
                      118. Court Filing - PUCO - OCC 1st Set Disc. Req. - 3rd Supp. Stip. - FE
                       14-1297-ELSSO - Final 12.2.15c
                      119. Court Filing - Federal Government Exhibit 204E, USA v.
                       Householder et al., Larry Householder Calendar




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                       120. Court Filing - Federal Government Exhibit 431G, USA v.
                        Householder et al., 3-16-19 Email Kiani to Griffing re Prep for Tuesday
                        Meeting
                       121. Email Copy - RE_ Eileen Mikkelson Subpoena
                       122. Investigative Report - 2023-06-27_ Bailey, Joel Subpoena Served

   April 11, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
              o The following documents were delivered to the defense:
                      1. Investigative Report - Matter 2023-1173 2024-02-06 Dawson, Michael
                        Interview - Investigative Report (Reports) (991023)
                      2. Audio Recorded Statement - Matter 2023-1173 2024-02-06 Dawson,
                        Michael Interview - Audio Interview (Case Documents) (990493)
                      3. Investigative Report - Matter 2023-1173 2024-02-01_ Chack, Dennis
                        Interview - Investigative Report (Reports) (991033)
                      4. Audio Recorded Statement - Matter 2023-1173 2024-02-01 Chack,
                        Dennis Interview - Audio Interview (Case Documents) (990867)
                      5. 2023-11-30 Asim Haque Interview Transcript - Transcripts (Case
                        Documents) (960648) * * * NOT VERBATIM, CONTAINS ERRORS *
                        *
                      6. Audio Recorded Statement - 2024-01-11 Brakey, Matt Interview Part 1
                      7. Transcript - Reffner, Robert Interview Part 4,
                        Transcript_for_Axon_Capture_Audio_2024-04-05_120444_333.m4a * *
                        * NOT VERBATIIM * * *
                      8. Transcript - Reffner, Robert Interview Part 3,
                        Transcript_for_Axon_Capture_Audio_2024-04-05_112824_333.m4a * *
                        * NOT VERBATIIM * * *
                      9. Transcript - Reffner, Robert Interview Part 2,
                        Transcript_for_Axon_Capture_Audio_2024-04-05_103732_333.m4a* * *
                        NOT VERBATIIM * * *
                      10. Transcript - Reffner, Robert Interview Part 1,
                        Transcript_for_Axon_Capture_Audio_2024-04-05_101820_333.m4a* * *
                        NOT VERBATIIM * * *
                      11. Audio Recorded Statement - Reffner, Robert Interview Part 3,
                        Axon_Capture_Audio_2024-04-05_112824_333
                      12. Audio Recorded Statement - Reffner, Robert Interview Part 4,
                        Axon_Capture_Audio_2024-04-05_120444_333
                      13. Audio Recorded Statement - Reffner, Robert Interview Part 2,
                        Axon_Capture_Audio_2024-04-05_103732_333
                      14. Audio Recorded Statement - Reffner, Robert Interview Part 1,
                        Axon_Capture_Audio_2024-04-05_101820_333
                      15. Audio Recorded Statement - 2024-03-21 DeMarco, Paul Interview –
                        Audio Interview (Case Documents) (1006030)
                      16. Audio Recorded Statement - 2024-03-08 Trombold M Beth Interview
                        Part 2 - Audio Interview



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                       17. Audio Recorded Statement - 2024-03-08 Trombold M Beth Interview
                        Part 1 - Audio Interview (Case Documents) (1011002)
                       18. Audio Recorded Statement - 2024-03-08 Fleck Kathie Interview Part 1
                        – Audio Interview (Case Documents) (1011004)
                       19. Audio Recorded Statement - 2024-03-08 Fleck Kathie Interview Part 2
                        – Audio Interview
                       20. Transcript - Debbie Ryan_Interview Transcription 1.24.2024
                       21. Correspondence - Chack -OH AG NPA
                       22. Audio Recorded Statement - 2024-03-06 Deters Dennis Interview -
                        Audio Interview (Case Documents) (1017681)
                       23. Audio Recorded Statement - 2024-03-04 Conway Dan Interview -
                        Audio Interview (Case Documents) (1017647)
                       24. Audio Recorded Statement - 2024-03-06 Friedman Larry Interview –
                        Audio Interview (Case Documents) (1017672)
                       25. Court Filing - Pine Immunity

   April 18, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
              o The following documents were delivered to the defense:
                      1. Correspondence - Reffner Proffer Letter 4.5.2024
                      2. Evidence List - Documents from Robert Reffner Interview 4.5.2024
                      3. Evidence List - Chack Documents
                      4. Email Copy - RE_ Subpoena for Ebony Yeboah-Amankwah
                      5. Email Attachment - Yeboah Documents
                      6. Email Attachment - Yeboah - Draft OH AG NPA
                      7. Email Copy - RE_ Interviews
                      8. Email Attachment - PUCO Commissioner Documents
                      9. Email Copy - Pine Documents
                      10. Email Attachment - Pine Documents (2)
                      11. Email Copy - Lisowski Documents
                      12. Email Attachment - Jason Lisowski Proffer Agreement
                      13. Email Attachment - Lisowski
                      14. Email Copy - Documents for follow up with Matt Brakey
                      15. Email Attachment - 2015 Workpapers (2)
                      16. Email Attachment - 2017 WPs - not used (2)
                      17. Email Attachment - 2018 AJE Workpapers (2)
                      18. Email Copy - Elisar Documents
                      19. Email Attachment - Elisar Documents (2)
                      20. Email Copy - RE_ Documents for follow up with Matt Brakey
                      21. Financial Records - File Memo - Meeting 08 15 2016
                      22. Email Copy - RE_ PUCO interviews
                      23. Email Attachment - Mahila Christopher Docs
                      24. Email Copy - RE_ PUCO interviews (2)
                      25. Email Attachment - Audit of the Legacy Generation Resource Rider of
                        AEP
                      26. Email Copy - RE_ PUCO interviews (3)

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                       27. Email Attachment - 8-21-23 Audit Report
                       28. Expert Report - 2024-04-15 - LT Matthew Meyer re Report of G.
                        Jonson
                       29. Curriculum Vitae - G Jonson CV - 2024
                       30. Evidence List - Bingaman Documents
                       31. Correspondence - Brad Bingaman Proffer Agreement-Version 2
                       32. Bank Records - SB1447888-F2 Extension Letter (2)
                       33. Bank Records - SB1447888-F25_SCD_1 (1) IEU OH ADMIN
                       34. Correspondence - FirstEnergy Document Requests

   May 17, 2024 – Supplemental Response to Request for Discovery
      Crim.R.16(B)(1)-(7); Crim.R.16(K)
             o The following documents were delivered to the defense:
                     1. Order - PUCO 502(D) ORDER
                     2. Correspondence - RE_ Documents for follow up with Matt Brakey (2)
                     3. Other Document - IEU1 Brochure
                     4. Other Document - IEU-Ohio Brocure EX100017083.pdf.pdf
                     5. Other Document - IEU2 Brochure
                     6. Correspondence - RE_ Request for limited waiver
                     7. Investigative Report - 2024-01-11 Brakey, Mathew Interview
                     8. Investigative Report - 2024-01-02 Mark Coffey Follow-Up Interview
                     9. Investigative Report - 2024-01-17 Summit Financial Interview; Mark
                       Coffey
                     10. Investigative Report - 2024-03-04 Conway, Daniel Interview
                     11. Investigative Report - 2024-01-12 Elisar, Scott Interview
                     12. Investigative Report - 2024-03-08 Interview with Katherine Fleck
                     13. Investigative Report - 2024-03-06 Larry Friedeman Interview
                     14. Investigative Report - 2023-09-06 James JB Hadden Interview
                     15. Investigative Report - 2024-02-05 Jason Lisowski Interview
                     16. Investigative Report - 2023-11-01 Gene Pierce Interview
                     17. Investigative Report - Ty Pine Atty Communication
                     18. Investigative Report - 2024-01-16 Jason Rafeld Interview
                     19. Investigative Report - 2024-01-05 Josh Rubin Interview
                     20. Investigative Report - 2024-03-08 M. Beth Trombold Interview
                     21. Investigative Report - 2024-03-04 Maureen Willis Subpoena Interview
                     22. Investigative Report - Maureen Willis communication
                     23. Email Attachment - OCIC 003-4 * * * Designated Confidential
                       Pursuant to Protective Order and Subject to Evid. R. 502(D) Order * * *
                     24. Audio Recorded Statement - 5.17.2024 Greg Price PUCO Interview 2
                       * * * Designated Confidential Pursuant to Protective Order and Subject to
                       Evid. R. 502 (D) Order * * *
                     25. Audio Recorded Statement - 5.17.2024 Greg Price PUCO Interview 1
                       * * * Designated Confidential Pursuant to Protective Order and Subject to
                       Evid. R. 502 (D) Order * * *
                     26. Email Attachment - OCIC 001-2 * * * Designated Confidential
                       Pursuant to Protective Order and Subject to Evid. R. 502(D) Order * * *

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                        27. Email Copy - RE_ Subpoena
                        28. Email Attachment - Questions for Maureen Willis.3.5.2024

   June 17, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
              o The following documents were delivered to the defense:
                      1. Subpoena Response - FE_OCIC_Privilege Update_PROD01
                      2. Email Attachment - FirstEnergy - OCIC - Privilege Log (2024.06.06)
                      3. Correspondence - FirstEnergy Subpoena (PDF COPY)
                      4. Email Copy - 2024.06.06 Letter to OCIC
                      5. Correspondence - FirstEnergy Subpoena (3)
                      6. Correspondence - Signed Reffner Proffer Letter 4.5.2024
                      7. Correspondence - IEU_OELC
                      8. Correspondence - 2021-08-26 Ohio Inspector General Complaint
                      9. Investigative Report - 2024-01-18 Bojko, Kimberly Interview
                      10. Investigative Report - 2024-05-23 Daniel, Matthew Interview
                      11. Audio Recorded Statement - 2024-05-30 Stover Tiffany Interview
                      12. Audio Recorded Statement - 2024-05-23 Daniel Matthew Interview
                      13. Audio Recorded Statement - 2023-10-24 Weinstein Casey Interview
                      14. Investigative Report - 2023-10-24 Weinstein, Casey Interview
                      15. Email Copy - RE_ Scott Elisar

   July 16, 2024 – Supplemental Response to Request for Discovery
        Crim.R.16(B)(1)-(7); Crim.R.16(K)
              o The following documents were delivered to the defense:
                      1. Other Document - Documents obtained from Search Warrant at E.
                         Mound & Noble St * * * Designated Confidential under terms of Agreed
                         Protective Order * * *
                      2. Investigative Report - 2024-04-12 Search Warrant of SFA * * *
                         Designated Confidential under terms of Agreed Protective Order * * *
                      3. Other Document - Randazzo taint records review-Special Agent
                         Barbeau * * * Designated Confidential under terms of Agreed Protective
                         Order * * *
                      4. Other Document - Exhibit 51 from Householder Criminal Trial
                      5. Other Document - Exhibit 325A from Householder Criminal Trial
                      6. Other Document - Exhibit 233 from Householder Criminal Trial
                      7. Investigative Report - 2024-03-21 De Marco, Paul Interview
                      8. Investigative Report - 2024-03-13 Smith, Anthony Interview
                      9. Audio Recorded Statement - 2024-03-13 Smith Anthony Interview
                      10. Other Document - 2024-06-26 Ryan John Interview Part 1 * * *
                         DESIGNATED CONFIDENTIAL PURSUANT TO PROTECTIVE
                         ORDER and subject to 502(d) Order * * *
                      11. Other Document - 2024-06-26 Ryan John Interview Part 2 * * *
                         DESIGNATED CONFIDENTIAL PURSUANT TO PROTECTIVE
                         ORDER and subject to 502(d) Order * * *


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                       12. Other Document - George Jonson related Emails and Documents * * *
                        Designated Confidential under terms of Agreed Protective Order * * *
                       13. Other Document - First Energy - Forensic Accounting Supervisor
                        Review
                       14. Email Attachment - Discovery response documents combined-Part-2
                       15. Correspondence - State v_ Dowling _ State v_ Jones CR-2024-02-
                        0473 (2)
                       16. Subpoena Response - OCC's Responses to Subpoena Duces Tecum -
                        Part 2 documents
                       17. Email Attachment - Discovery response documents combined-Part-1
                       18. Subpoena Response - OCC's Responses to Subpoena Duces Tecum -
                        Part 1 documents
                       19. Email Attachment - OCC Discovery responses to Dowling subpoena.
                        5.27.24c

   August 16, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
             o The following documents were delivered to the defense:
                     1. Other Document - First Energy Non Prosecution Agreement
                     2. Investigative Report - 2024-07-18 Larry Obhof Interview
                     3. Audio Recorded Statement - Larry Obhof Audio interview 7.18.2024
                     4. Audio Recorded Statement - Mark Clark Interview 8.8.2024
                     5. Audio Recorded Statement - Tom Froehle Interview 8.14.2024
                     6. Audio Recorded Statement - Mark Hayden Interview 1 7.30.2024
                     7. Audio Recorded Statement - Mark Hayden Interview 2 7.30.2024
                     8. Audio Recorded Statement - Mark Hayden Interview 3 7.30.2024
                     9. Investigative Report - Santino Fanelli Subpoena served 7.23.2024
                     10. Correspondence - Communication with Atty FE Board Members
                     11. Correspondence - Dan McCarthy response to invitation letter
                        7.22.2024
                     12. Investigative Report - Joel Bailey Subpoena served 7.22.2024
                     13. Investigative Report - Justin Biltz Subpoena served 7.23.2024
                     14. Other Document - 2024-07-17 Invitation Letter Deliveries
                     15. Other Document - 2024-07-23 Invitation Letter Deliveries
                     16. Other Document - Mark Hayden Interview Documents (provided for
                        purposes of 7.30.2024 Interview)

   September 16, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
             o The following documents were delivered to the defense:
                     1. Transcript - FirstEnergy Corp (FE) Q2 2020 Earnings Call Transcript
                     2. Other Document - Complaint SEC v Jones
                     3. Other Document - FE_OCIC_Privilege Update_PROD02 –
                        DESIGNATED CONFIDENTIAL PURSUANT TO AGREED
                        PROTECTIVE ORDER


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                       4. Other Document - FE_OCIC_Privilege Update_PROD02_zip_ file on
                        Box
                       5. Email Attachment - 2024.09.09 Letter to OCIC
                       6. Other Document - FirstEnergy Subpoena Response
                       7. Other Document - Randazzo Search Documents - 2nd Privilege Review
                        - DESIGNATED CONFIDENTIAL PURSUANT TO TERMS OF
                        AGREED PROTECTIVE ORDER
                       8. Correspondence - Randazzo Search Documents Requested by
                        McCaffrey
                       9. Investigative Report - 2024-08-21 Defense Atty BWC Review
                       10. Investigative Report - 2024-06-26 Ryan, John Interview
                       11. Other Document - Documents obtained from Brian Gray
                       12. Other Document - OCC Public Records Response
                       13. Other Document - Tony Alexander Interview Documents
                       14. Correspondence - FE_OAG Letter --- DESIGNATED
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
                       15. Correspondence - McCaffrey Israel Discovery Letter 9.10.2024
                       16. Audio Recorded Statement - 8.30.2024 Anthony Alexander Interview
                        1
                       17. Audio Recorded Statement - 8.30.2024 Anthony Alexander Interview
                        2
                       18. Other Document - January 2024 Presentation - CONFIDENTIAL
                        UNDER AGREED PROTECTIVE ORDER
                       19. Other Document - May 2024 Discussion Presentation -
                        CONFIDENTIAL UNDER AGREED PROTECTIVE ORDER
                       20. Other Document - May 2024 Resolution Discussion – DESIGNATED
                        CONFIDENTIAL UNDER TERMS OF AGREED PROTECTIVE
                        ORDER

   September 18, 2024 – Supplemental Response to Request for Discovery
       Crim.R.16(B)(1)-(7); Crim.R.16(K)
             o The following documents were delivered to the defense:
                     1. Opinion - Ohio Consumers Counsel v. PUCO, 2006-ohio-5789 -
                        Supreme Court Case Requiring Disclosure of Side Agreements
                     2. Correspondence - Docs Requested by Defense Outside Matrix –
                        DESIGNATED CONFIDENTIAL PURSUANT TO TERMS OF
                        AGREED PROTECTIVE ORDER
                     3. Correspondence - RE_ OMA
                     4. Investigative Report - 2023-12-04 Tully, Pat Interview IR
                     5. Investigative Report - 2024-03-06 Dennis Deters Interview
                     6. Investigative Report - 2024-01-16 DeAngelo, James Interview IR
                     7. Investigative Report - 2023-11-30 Haque, Asim Interview
                     8. Investigative Report - 2024-01-22 Kevin Murray Interview
                     9. Investigative Report - 2024-01-16 Terrence O'Donnell Interview
                     10. Investigative Report - 2024-01-08 Matt Pritchard Interview
                     11. Investigative Report - 2024-01-24 Debbie Ryan Interview

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                      12. Investigative Report - 2024-05-30 Stover, Tiffany Interview
                      13. Other Document - 2015 AEP-IEU Settlement Related Documents –
                       DESIGNATED CONFIDENTIAL PURSUANT TO AGREED
                       PROTECTIVE ORDER
                      14. Investigative Report - 2024-04-05 Interview with Robert Reffner




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                           EXHIBIT 12
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     From:            Jason Forge
     To:              zzext-crendon; zzext-john.mccaffrey; zzext-john.favret; Israel, Rachael L.; zzext-jdunnaback
     Subject:         Production of Documents Received from Ohio AG
     Date:            Friday, September 27, 2024 6:31:48 PM


    Hi all, as you know, your clients long ago agreed to produce all non-privileged non-duplicative
    documents related to the “HB6 bribery scheme” that they received from (or provided to), inter alia,
    any government agency or state law enforcement agency. See Jones/Dowling’s Responses to First
    RFP Request No. 2. This is an ongoing obligation.

    The Ohio AG’s criminal case against your clients (2024-02-0473-B/C) explicitly relates to the “HB6
    bribery scheme,” as both the Indictment and Supplemental Bill of Particulars expressly charge that
    Messrs. Jones and Dowling’s criminal activities included their involvement in the payment of money
    in connection with the “bribery” of Sam Randazzo for, inter alia, official “acts related to House Bill 6 .
    . . .”

    As such, please promptly produce all Discovery Material from Case No. 2024-02-0473-B/C that has
    not been designated as Confidential Discovery Material (we will seek a Court order for that).
    Because the Discovery Material has already been identified and transmitted, please confirm that you
    will produce it by no later than October 4, 2024. If not, we can discuss during Tuesday’s call and, if
    necessary, Thursday’s Status Conference.

    Have a great weekend,
    Jason


    Jason A. Forge | Robbins Geller Rudman & Dowd
    O 619 744 2645 | M 858 692 1117
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                           EXHIBIT 13
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                        UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

    In re FIRSTENERGY CORP.                           No. 2:20-cv-03785-ALM-KAJ
    SECURITIES LITIGATION                             CLASS ACTION

                                                      Judge Algenon L. Marbley
                                                      Magistrate Judge Kimberly
                                                      A. Jolson

        STATE OF OHIO’S LIMITED MOTION TO INTERVENE AND LIMITED
          MOTION TO STAY PORTIONS OF DISCOVERY PROCEEDINGS

          The State of Ohio seeks leave to intervene on a limited basis in the above-

   captioned matter under Federal Rule of Civil Procedure 24 and moves to stay limited

   portions of discovery proceedings in this case through the conclusion of the parallel

   state criminal prosecution, State of Ohio v. Dowling et al., Summit County Court of

   Common Pleas Case No. 2024-02-0473 B-E, which is currently pending. Specifically,

   if the State’s request for limited intervention is granted, the State seeks to stay (1)

   the Plaintiffs’ request that Jones and Dowling turn over state court criminal

   discovery items, and (2) Defendants Jones and Dowling’s depositions of prosecution

   witnesses Ebony Yeboah Amankwah, Robert Reffner, Josh Rubin, Brad Bingaman,

   Matthew Brakey, and Steven Staub.

      1. Factual and procedural background

          On February 9, 2024, an Ohio grand jury indicted two of the defendants in this

   case, Charles E. Jones and Michael J. Dowling, for various criminal violations of state




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   nearly all the state Crim.R.16 discovery materials that the two men obtained as a

   result of state criminal proceedings against them.

           During the September 30, 2024 meeting, counsel for Jones and Dowling stated

   that their obligation to provide a response to the Plaintiff’s Request for Production of

   Documents was imminent, based recent discussions they had during weekly status

   meetings with the Special Master in this case. Counsel for Jones and Dowling

   indicated that if the State retroactively designated the Discovery Materials as

   Confidential Discovery Materials under the terms of an April 24, 2024 Protective

   Order 3 in the state criminal case, that designation would allow them to refuse to turn

   over the discovery that they have received in the State criminal case. During a

   subsequent conversation on October 1, 2024, counsel for Jones stated her belief that

   providing the state criminal discovery to the parties in the civil case (along with the

   likelihood that those discovery materials would be made publicly available while the

   criminal case is pending) would affect the fairness and integrity of the state criminal

   proceeding.

           As a result of the September 30, 2024 meeting with counsel for Jones and

   Dowling, the State wrote a letter to counsel for all parties in the criminal case

   retroactively designating criminal discovery materials as Confidential Discovery

   Material under the terms of the state court protective order. (See Exhibit 2, attached).




   3 Available at:

   https://clerkweb.summitoh.net/PublicSite/DisplayImage.asp?gstrPDFOH=vola00000007%20%20%20
   %20%20%20%20%200000622C (last viewed October 2, 2024).

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                                                  October 1, 2024

   Sent via email to all counsel of record, State v. Dowling et al.,
   Summit County C.P. Case Nos. 2024-02-0473 B-E

                                                  Re:     Designation of Discovery Materials as Confidential
                                                          Pursuant to April 24, 2024 Protective Order
   Dear Counsel:

   This letter serves to notify you of changes to the State’s designation of Confidential Discovery
   Material under the terms of the April 24, 2024 Protective Order in this case.

   First, the Search Warrants, Affidavits, and Search Warrant Returns for 492 E. Mound Street and
   493-491 E. Noble Street, Columbus, Ohio 43215 should no longer be designated as Confidential
   Discovery Material. The seal order governing those documents that was issued by the Franklin
   County Municipal Court has lapsed, and therefore there is no longer any need for those
   documents to have a Confidential Discovery Material designation.

   Second, the State has elected to retroactively designate items as Confidential Discovery Material
   under the terms of the April 24, 2024 Protective Order. The following categories of items should
   be considered Confidential Discovery Material:

               1. All Investigative Reports;
               2. All recordings of witness interviews;
               3. Any items obtained by the State pursuant to a search warrant;
               4. All voluntarily provided Organized Crime Investigations Commission Task Force
                  (“Task Force”) work product, including but not limited to exhibit packets
                  (including compilations of documents shown to witnesses), investigator or
                  prosecutor notes, and internal Task Force correspondence between investigators
                  prosecutors, and expert witnesses;
               5. All documents obtained by the Task Force pursuant to an R.C. 177.03(A)
                  subpoena duces tecum issued by the Task Force (including but not limited to all
                  documents provided by FirstEnergy, IEU-Ohio, Chase Bank, Summit Financial
                  Strategies, Tim Mott, and The Public Utilities Commission of Ohio in response to
                  a Task Force subpoena);
               6. All voluntarily provided correspondence between counsel for the State of Ohio
                  and counsel for parties and/or witnesses;
               7. All proffer letters and/or proffer agreements extended to a witness by the State of
                  Ohio;
Case:
 Case:2:20-cv-04287-ALM-KAJ
       2:20-cv-03785-ALM-KAJDoc
                             Doc#:#:378-1
                                     691-12
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                                                                                    #: 9899




              8. All Immunity Orders or Non-Prosecution Agreements;
              9. All transcripts created by the Task Force, including AI-generated transcripts;
              10. Any expert reports or material relied upon by experts that have not already been
                  publicly filed on the docket of this case.

      This retroactive designation of materials as Confidential Discovery Material is not intended
      to impair your use of these items in defense of your client(s), and is instead intended to
      safeguard the integrity and fairness of this criminal case while it is pending. If you have any
      questions or concerns, or need any clarification regarding the State’s retroactive designation
      of Confidential Discovery Materials, please do not hesitate to contact me directly.

                                                   Very truly yours,




                                                   Matthew E. Meyer
                                                   Principal Assistant Attorney General
                                                   Ohio Attorney General’s Office

       cc:\   File
              Kamil Shields, Esq., and Elizabeth Storey, Esq., Counsel of Record for FirstEnergy
              Justin Withrow, Esq., and Paul Flannery, Esq., Counsel of Record for IEU-Ohio




                                                   2
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                           EXHIBIT 15
Case: 2:20-cv-04287-ALM-KAJ Doc #: 378-1 Filed: 10/30/24 Page: 356 of 399 PAGEID #: 9901


    From:              Rendon, Carole S.
    To:                Shawn Judge; Rachel Cocalis
    Cc:                "dennisc@sullcrom.com"; "giuffrar@sullcrom.com"; "Rein, David M.J."; Jason Forge; Joe Murray; Christina
                       Kopko; "McCaffrey, John F."; Israel, Rachael L.; "zzext-john.favret"
    Subject:           RE: In re FirstEnergy Corp. Sec. Litig., No. 2:20-cv-03785-ALM-KAJ - Dispute re 10/3 Status Conference
    Date:              Tuesday, October 1, 2024 12:21:55 PM
    Attachments:       image001.png
                       image002.png
                       image003.png


    EXTERNAL SENDER
    Special Master Judge:

    The discovery issue raised by the plaintiffs, which they indicated could not conceivably
    impact a deposition prior to the one scheduled on October 24th, does not justify holding a
    hearing on one of the two most important High Holy Days on the Jewish calendar. To confirm
    – as plaintiffs have requested – all three lead counsel for Mr. Jones will not be working in
    observance of Rosh Hashanah. Many other lawyers for other parties impacted by this issue
    also will not be working in observance of the holiday.

    In addition, as we mentioned during our meet and confer, while the High Holy Day of Rosh
    Hashanah does not technically begin until sundown tomorrow, most of us have family and
    friends arriving tomorrow from out of town and many of us are hosting large meals that
    traditionally begin in the early afternoon in order to conclude before sundown when many
    people attend the first service in celebration of the holiday. The Rosh Hashanah holiday
    continues through sundown on Friday, October 4. As a compromise, we suggested scheduling
    this conference for early next at your convenience. Plaintiffs refused.

    As we further explained, there are no non-confidential documents that relate to any of the
    upcoming depositions that could be produced without violating the existing Order issued by
    Summit County Common Pleas Judge Susan Baker Ross. Earlier today, defense counsel
    provided Plaintiffs with written confirmation from the State of Ohio that all of the materials
    Plaintiffs seek – other than a handful of publicly available documents – have been designated
    as Confidential under Judge Baker Ross’s Protective Order. That fact further undermines any
    urgency with respect to this matter.

    We are prepared to provide you with our position statement by COB tomorrow and
    respectfully request that you re-schedule the hearing on this issue next week at your
    convenience following the conclusion of Rosh Hashanah.

    Thank you,

    Carole

    Carole S. Rendon
    She | Her | Hers
    Partner


    Key Tower
    127 Public Square | Suite 2000
    Cleveland, OH 44114-1214
    T +1.216.861.7420
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    M +1.216.215.1621

    crendon@bakerlaw.com
    bakerlaw.com




    From: Shawn Judge <skj@classlawgroup.com>
    Sent: Tuesday, October 1, 2024 2:43 PM
    To: Rachel Cocalis <RCocalis@rgrdlaw.com>
    Cc: 'dennisc@sullcrom.com' <dennisc@sullcrom.com>; 'giuffrar@sullcrom.com'
    <giuffrar@sullcrom.com>; 'Rein, David M.J.' <reind@sullcrom.com>; Jason Forge
    <JForge@rgrdlaw.com>; Joe Murray <murray@mmmb.com>; Christina Kopko
    <CKopko@rgrdlaw.com>; 'McCaffrey, John F.' <john.mccaffrey@tuckerellis.com>; Rendon, Carole S.
    <crendon@bakerlaw.com>; Israel, Rachael L. <risrael@bakerlaw.com>; 'zzext-john.favret'
    <john.favret@tuckerellis.com>
    Subject: RE: In re FirstEnergy Corp. Sec. Litig., No. 2:20-cv-03785-ALM-KAJ - Dispute re 10/3 Status
    Conference


    [External Email: Use caution when clicking on links or opening attachments.]

    Each side to submit positions statements limited to three pages or less by close of business
    tomorrow.

    When is the first deposition that the unproduced documents might affect?

    We will be proceeding with the status conference scheduled for this Thursday unless a
    party requests that it be rescheduled and provides me with a good reason for doing so –
    and I grant the request. In other words, simply ignoring the status conference is declining
    the opportunity to be heard. No formal motion is required, but I urge any party seeking to
    adjust the schedule to act sooner rather than later and with good reason only.

    In the event we reschedule, the discovery matter would be taken up at a status conference
    to occur Monday.

    Shawn Judge

    From: Rachel Cocalis <RCocalis@rgrdlaw.com>
    Sent: Tuesday, October 1, 2024 2:31 PM
    To: Shawn Judge <skj@classlawgroup.com>
    Cc: 'dennisc@sullcrom.com' <dennisc@sullcrom.com>; 'giuffrar@sullcrom.com'
    <giuffrar@sullcrom.com>; 'Rein, David M.J.' <reind@sullcrom.com>; Jason Forge
    <JForge@rgrdlaw.com>; Joe Murray <murray@mmmb.com>; Christina Kopko
    <CKopko@rgrdlaw.com>; 'McCaffrey, John F.' <john.mccaffrey@tuckerellis.com>;
    'crendon@bakerlaw.com' <crendon@bakerlaw.com>; Israel, Rachael L. <risrael@bakerlaw.com>;
    'zzext-john.favret' <john.favret@tuckerellis.com>
    Subject: FW: In re FirstEnergy Corp. Sec. Litig., No. 2:20-cv-03785-ALM-KAJ - Dispute re 10/3 Status
Case: 2:20-cv-04287-ALM-KAJ Doc #: 378-1 Filed: 10/30/24 Page: 358 of 399 PAGEID #: 9903


    Conference

    Special Master Judge,

    There is an urgent discovery dispute between Plaintiffs’ and Defendants Jones and Dowling
    concerning documents Jones and Dowling are declining to produce that directly relate to multiple
    witnesses who will be deposed this month. Jones and Dowling refuse to address it at this week’s
    status conference because the conference occurs over Rosh Hashanah. Though no one objected
    when you told the parties last week that this week’s status would proceed as scheduled and Jones
    and Dowling have yet to confirm all of their counsel won’t be working Thursday, Plaintiffs are
    available for a conference Thursday or any time tomorrow before the holiday.

    Moreover, Plaintiffs would be happy to submit a position statement today that is no longer than
    three pages.

    Thank you,
    Rachel



    From: Shawn Judge <skj@classlawgroup.com>
    Sent: Wednesday, September 25, 2024 10:50 AM
    To: Dennis, Casey A. <dennisc@sullcrom.com>
    Cc: Giuffra Jr., Robert J. <giuffrar@sullcrom.com>; Rein, David M.J. <reind@sullcrom.com>; Jason
    Forge <JForge@rgrdlaw.com>; Joe Murray <murray@mmmb.com>; Christina Kopko
    <CKopko@rgrdlaw.com>
    Subject: RE: In re FirstEnergy Corp. Sec. Litig., No. 2:20-cv-03785-ALM-KAJ - Sept. 12 Conference
    Transcript

    EXTERNAL SENDER
    Given the apparent absence of any pending issues necessitating conference attention, the
    status conference set for 9/26/24 is cancelled. We will be having the conference the
    following week. If any issues requiring attention arise before then, please reach out and we
    will hold a conference.

    Shawn Judge

    From: Shawn Judge <skj@classlawgroup.com>
    Sent: Wednesday, September 18, 2024 2:30 PM
    To: Dennis, Casey A. <dennisc@sullcrom.com>
    Cc: Giuffra Jr., Robert J. <giuffrar@sullcrom.com>; Rein, David M.J. <reind@sullcrom.com>; Jason
    Forge <JForge@rgrdlaw.com>; Joe Murray <murray@mmmb.com>; Christina Kopko
    <CKopko@rgrdlaw.com>
    Subject: RE: In re FirstEnergy Corp. Sec. Litig., No. 2:20-cv-03785-ALM-KAJ - Sept. 12 Conference
    Transcript

    Please inform me by 4:00 pm EST if there is any issue that necessitates a status
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    conference tomorrow. Absent any such affirmative notice, I will send a cancellation for
    tomorrow’s conference and we will plan on a conference on September 26, 2024, as
    needed.

    Thank you.

    Shawn Judge


    From: Dennis, Casey A. <dennisc@sullcrom.com>
    Sent: Monday, September 16, 2024 3:58 PM
    To: Shawn Judge <skj@classlawgroup.com>
    Cc: Giuffra Jr., Robert J. <giuffrar@sullcrom.com>; Rein, David M.J. <reind@sullcrom.com>; Jason
    Forge <JForge@rgrdlaw.com>; Joe Murray <murray@mmmb.com>; Christina Kopko
    <CKopko@rgrdlaw.com>
    Subject: In re FirstEnergy Corp. Sec. Litig., No. 2:20-cv-03785-ALM-KAJ - Sept. 12 Conference
    Transcript

    Dear Special Master Judge,

    Attached please find the transcript for the conference held on Thursday, September 12.

    Respectfully,
    Casey

    Casey A. Dennis
    Sullivan & Cromwell LLP
    125 Broad Street | New York, NY 10004-2498
    +1 212 558 3728 (T)
    dennisc@sullcrom.com | www.sullcrom.com




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                           EXHIBIT 16
   Case: 2:20-cv-04287-ALM-KAJ Doc #: 378-1 Filed: 10/30/24 Page: 362 of 399 PAGEID #: 9907
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                              for the
                                                            SouthernDistrict
                                                         __________ Districtofof__________
                                                                                 Ohio

             In re FirstEnergy Corp. Sec. Litig.
                                                                                  )
                                Plaintiff                                         )
                                   v.                                             )        Civil Action No. 2:20-cv-03785-ALM-KAJ
                                                                                  )
                                                                                  )
                              Defendant                                           )

         6(&21' SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                  OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                Sustainability Funding Alliance of Ohio, Inc.
                                        c/o Roger P. Sugarman, 6025 Cranberry Ct., Columbus, OH 43213
                                                         (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Schedule A.



 Place: Murray Murphy Moul+ Basil LLP                                                       Date and Time:
          1114 Dublin Road                                                                                        10/11/2024 10:00 am
          Columbus, OH 43215

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                     Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        09/30/2024

                                   CLERK OF COURT
                                                                                                OR

                                            Signature of Clerk or Deputy Clerk                                              Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
/HDG3ODLQWLII/RV$QJHOHV&RXQW\(PSOR\HHV5HWLUHPHQW$VVRFLDWLRQDQG1DPHG3ODLQWLIIV$PDOJDPDWHG
%DQN&LW\RI,UYLQJ6XSSOHPHQWDO%HQHILW3ODQDQG:LVFRQVLQ/DERUHUV¶3HQVLRQ)XQG                 , who issues or requests this subpoena, are:
                5DFKHO$&RFDOLVUFRFDOLV#UJUGODZFRP5REELQV*HOOHU5XGPDQ 'RZG//3:HVW%URDGZD\6XLWH6DQ'LHJR&$  

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
   Case: 2:20-cv-04287-ALM-KAJ Doc #: 378-1 Filed: 10/30/24 Page: 363 of 399 PAGEID #: 9908
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:20-cv-03785-ALM-KAJ

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
   Case: 2:20-cv-04287-ALM-KAJ Doc #: 378-1 Filed: 10/30/24 Page: 364 of 399 PAGEID #: 9909
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                                SCHEDULE A
                                (Sustainability Funding Alliance of Ohio, Inc.)


   I.       DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.         “You” or “your” refers to Sustainability Funding Alliance of Ohio, Inc., any of its

   direct or indirect subsidiaries, divisions or affiliates (foreign and domestic), predecessors,

   successors, present and former officers, directors, employees, agents, and all other persons acting

   or purporting to act on its behalf.

            2.         “Action” refers to this lawsuit captioned In re FirstEnergy Corp. Sec. Litig., No.

   2:20-cv-03785-ALM-KAJ (S.D. Ohio).

            3.         “All,” “any,” and “each” shall each be construed as encompassing any and all.

            4.         “Communication” or “communications” means any transmittal of information (in

   the form of facts, ideas, inquiries, or otherwise) whether orally or by document, telephone,

   telecopier, mail, fax, email, voicemail, cellular phone text message, instant message, personal

   delivery, or by any other means, be they analog, electronic or otherwise.

            5.         “Concerning” means reflecting, relating to, referring to, describing, discussing,

   evidencing, addressing, or constituting in any way.

            6.         “Criminal Defendants” means, collectively or individually, Larry Householder,

   Jeffrey Longstreth, Neil Clark, Matthew Borges, Juan Cespedes, and Generation Now, Inc.

            7.         “Defendants” refers to FirstEnergy, the Individual Defendants, and the Underwriter

   Defendants (as each of those terms are defined below).

            8.         “Defense Team” refers to the defendant in Ohio v. Sustainability Funding Alliance

   of Ohio, Inc., No. CR-2024-02-0473-E (Summit Cnty. Ct. C.P.); defendant’s counsel of record;

   employees of defendant’s counsel of record (and its associated law firms, if any); and other

                                                      -1-
   4857-4570-5451.v1
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   personnel engaged or employed by defense counsel of record, including any consultants,

   investigators, experts, or interpreters.

            9.         “Discovery Material” shall include all documents and electronically stored

   information disclosed (defined below) by the Government (defined below) to the Defense Team,

   and all documents and electronically-stored information disclosed by the Defense Team to the

   Government pursuant to Ohio Rule of Criminal Procedure 16 in Ohio v. Sustainability Funding

   Alliance of Ohio, Inc., No. CR-2024-02-0473-E (Summit Cnty. Ct. C.P.).

            10.        “Document” or “documents” is defined to be synonymous in meaning and equal in

   scope to the usage of the term “documents or electronically stored information” in Federal Rule of

   Civil Procedure 34(a)(1)(A) and encompasses communications. A draft or non-identical copy is

   a separate document within the meaning of this term.

            11.        “Electronic data” refers to any original and any non-identical copies (whether non-

   identical because of notes made on copies or attached comments, annotations, marks, transmission

   notations or highlighting of any kind), mechanical, facsimile, electronic, magnetic, digital or other

   programs (whether private, commercial or work-in-progress), programming notes or instructions,

   activity listings of electronic mail receipts or transmittals, output resulting from the use of any

   software program, including word processing documents, spreadsheets, database files, charts,

   graphs and outlines, electronic mail or “email,” electronic messaging services, electronic forums

   or discussion services, operating systems, source code of all types, programming languages,

   linkers and compilers, peripheral drives, PDF files, PRF files, batch files, ASCII files, crosswalks,

   code keys, pull down tables, logs, file layouts or any miscellaneous files or file fragments,

   regardless of the media on which they reside and regardless of whether said electronic data consists

   of an active file, backup file, deleted file, or file fragment. “Electronic data” also includes, without

   limitation, any items stored on computer, smartphone or tablet memory or memories, hard drives,

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   zip drives, CD-ROM discs, or in any other vehicle for electronic or digital data storage or

   transmittal, files, folder tabs or containers and labels appended to or associated with any physical

   storage device associated with each original and each copy.

            12.        “Electronically stored information” or “ESI” refers to any original and non-

   identical copies (whether non-identical because of notes made on copies or attached comments,

   annotations, marks, transmission notations or highlighting of any kind), mechanical, facsimile,

   electronic, magnetic, digital or other programs, programming notes or instructions, activity listings

   of electronic mail receipts or transmittals, output resulting from the use of any software program,

   including word processing documents, spreadsheets, database files, charts, graphs and outlines,

   electronic mail or “email,” operating systems, source code of all types, programming languages,

   linkers and compilers, peripheral drives, PDF files, PRF files, batch files, ASCII files, crosswalks,

   code keys, pull-down tables, logs, file layouts or any miscellaneous files or file fragments,

   regardless of the media on which they reside and regardless of whether said electronic data consists

   of an active file, backup file, deleted file, or file fragment. “ESI” also includes, without limitation,

   any items stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in

   any other vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers

   and labels appended to or associated with any physical storage device associated with each original

   and each copy. “ESI” also includes, without limitation, any MMS or SMS text messages and any

   electronic instant messages, including, but not limited to, messages in an internal messaging

   system or external personal account on desktop, laptop, mobile phone, tablet, or other mobile

   device, concerning the topics in the following requests.

            13.        “ESP IV” refers to the Electric Security Plan IV filed with PUCO (defined below)

   in 2014, including, but not limited to, any subsequent stipulations, recommendations, purchase

   power agreements, and retail rate stability riders related thereto.

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            14.        “FirstEnergy” or the “Company” refers to FirstEnergy Corp., any of its direct or

   indirect subsidiaries, including FirstEnergy Solutions Corp. (“FES”), FirstEnergy Nuclear

   Operating Company (“FENOC”), FirstEnergy Service Corporation (“FESC”), and Energy Harbor

   LLC, Energy Harbor Corp. and Energy Harbor Nuclear Corp. (collectively, “Energy Harbor”),

   divisions or affiliates (foreign and domestic), predecessors, successors, present and former

   officers, directors, employees, agents, and all other persons acting or purporting to act on its behalf.

            15.        “Government” refers to the members of the Ohio Attorney General’s Office and

   the Summit County Prosecutor’s Office who are counsel of record in Ohio v. Sustainability

   Funding Alliance of Ohio, Inc., No. 2024-02-0473-E (Summit Cnty. Ct. C.P.); employees of the

   Ohio Attorney General’s Office and the Summit County Prosecutor’s Office; and other personnel

   engaged or employed by such counsel, including any consultants, investigators, experts, or

   interpreters.

            16.        “HB6” refers to Ohio House Bill 6, which was a purported “clean energy” bill

   designed to incentivize low carbon dioxide emitting power production, in particular nuclear power

   generation, and included a ratepayer-funded $1.3 billion bailout of the Nuclear Plants (defined

   below), as well as a ratepayer-funded decoupling provision worth some $700 million in subsidized

   revenues for FirstEnergy.

            17.        “Individual Defendants” refers to Charles E. Jones, James F. Pearson, Steven E.

   Strah, K. Jon Taylor, Michael J. Dowling, Dennis M. Chack, Robert Reffner, Leila L. Vespoli,

   John Judge, Donald R. Schneider, George M. Smart, Paul T. Addison, Michael J. Anderson,

   Steven J. Demetriou, Julia L. Johnson, Donald T. Misheff, Thomas N. Mitchell, James F. O’Neil

   III, Christopher D. Pappas, Sandra Pianalto, Luis A. Reyes, Jerry Sue Thornton, Leslie Turner,

   and Jason J. Lisowski.



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            18.        “Industrial Energy Users-Ohio” or “IEU-Ohio” refers to Industrial Energy Users-

   Ohio and any of their direct or indirect subsidiaries, divisions or affiliates (foreign and domestic),

   predecessors, successors, present and former officers, directors, employees, agents, and all other

   persons acting or purporting to act on its behalf.

            19.        “Nuclear Plants” refers to the Perry Nuclear Generating Station and the Davis-

   Besse Nuclear Power Station.

            20.        “Person” or “persons” means any natural person or any legal entity, including,

   without limitation, any business or government entity or association.

            21.        “PUCO” means the Public Utilities Commission of Ohio.

            22.        “Randazzo” means the individual named Samuel C. Randazzo, an attorney licensed

   in Ohio, who is a former chairman of the Public Utilities Commission of Ohio.

            23.        “Underwriter Defendants,” collectively and each individually an “Underwriter

   Defendant,” refers to Barclays Capital Inc., BofA Securities, Inc., Citigroup Global Markets Inc.,

   J.P. Morgan Securities LLC, Morgan Stanley & Co. LLC, Mizuho Securities USA LLC, PNC

   Capital Markets LLC, RBC Capital Markets, LLC, Santander Investment Securities Inc., Scotia

   Capital (USA) Inc., SMBC Nikko Securities America, Inc., CIBC World Markets Corp., KeyBanc

   Capital Markets Inc., TD Securities (USA) LLC, U.S. Bancorp Investments, Inc., and MUFG

   Securities Americas Inc., and any of their direct or indirect subsidiaries, divisions or affiliates

   (foreign and domestic), predecessors, successors, present and former officers, directors,

   employees, agents, and all other persons acting or purporting to act on their behalf

            24.        The connectives “and” and “or” shall be construed either disjunctively or

   conjunctively as necessary to bring within the scope of the discovery request all responses that

   might otherwise be construed to be outside of its scope.



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   II.      INSTRUCTIONS

            1.         In responding to these requests, you shall produce all responsive documents which

   are in your possession, custody, or control, or in the possession, custody, or control of your

   predecessors, successors, parents, subsidiaries, divisions or affiliates, or any of your respective

   directors, executives, officers, partners, managing agents, agents, employees, attorneys,

   accountants, or any other representative. A document shall be deemed to be within your control

   if you have the ability or right to secure the document or a copy of the document from another

   person having possession or custody of the document.

            2.         Pursuant to the Federal Rules of Civil Procedure, you are to produce for inspection

   and copying by Plaintiffs, original documents as they are kept in the usual course of business and

   you shall organize and label them to correspond with the categories in these requests.

            3.         In responding to these requests, you shall produce all responsive documents

   available at the time of production and you shall supplement your responses as required by Federal

   Rule of Civil Procedure 26(e).

            4.         If any responsive document was, but no longer is, in your possession or subject to

   your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

   voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

   the name and address of its current or last known custodian, and the circumstances surrounding

   such disposition.

            5.         If you claim any form of privilege or any other objection, whether based on statute,

   common law, or otherwise, as a ground for not producing any requested document or portion of a

   document, please furnish a list identifying each document for which the privilege or other objection

   is claimed together with the following information:

                       (a)    the privilege being asserted;

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                       (b)    the person on whose behalf the privilege is asserted;

                       (c)    a precise statement of the facts upon which the claim of privilege is based;

   and

                       (d)    identify the purported privileged document, including:

                       (e)    its nature (e.g., letter, memorandum, tape, etc.);

                       (f)    the date it was prepared;

                       (g)    the date the document bears;

                       (h)    the date the document was sent;

                       (i)    the date it was received;

                       (j)    the name(s) of the person(s) who prepared the document;

                       (k)    the name(s) of the person(s) who received the document;

                       (l)    the name of each person to whom it was sent or was intended to be sent,

   including all addresses and all recipients of copies; and

                       (m)    a statement of whom each identified person represented or purported to

   represent at all relevant times.

            6.         If a portion of any document responsive to these requests is withheld under a claim

   of privilege pursuant to Instruction No. 5, any non-privileged portion of such document must be

   produced with the portion claimed to be privileged redacted.

            7.         You are to produce each document requested herein in its entirety, without deletion

   or excision (except as qualified by Instruction Nos. 5 and 6 above) regardless of whether you

   consider the entire document to be relevant or responsive to the requests.

            8.         Provide a source list that clearly identifies who maintained the document and

   identifies the person or location it was collected from.



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   III.     PRODUCTION OF HARD COPY DOCUMENTS AND ESI – FORMAT

            Hard copy documents and ESI shall be produced according to the Joint Protocol For

   Production of Documents and Electronically Stored Information (ECF 204) (“Protocol”), filed on

   October 5, 2021 in this Action. A copy of the Protocol is attached hereto as Exhibit A.

   IV.      RELEVANT TIME PERIOD

            All requests herein refer to the period from January 1, 2009 through the present (“Relevant

   Time Period”), unless otherwise specifically indicated, and shall include all documents and

   information that relate to such period, even though prepared or published outside of the Relevant

   Time Period. If a document prepared before this period is necessary for a correct or complete

   understanding of any document covered by a request, you must produce the earlier or subsequent

   document as well. If any document is updated and the date of its preparation cannot be determined,

   the document shall be produced if otherwise responsive to the production request.

   V.       DOCUMENTS REQUESTED

   REQUEST NO. 3:

            All Discovery Material.

   REQUEST NO. 4:

            All Discovery Material concerning: (a) FirstEnergy; (b) IEU-Ohio; (c) ESP IV; (d) HB6;

   (e) PUCO; (f) Randazzo, including any entity created in whole or in part for the benefit of

   Randazzo, owned in whole or in part by Randazzo, or for which Randazzo had signature authority;

   (g) the Defendants in this Action; (h) the Criminal Defendants; (i) witnesses identified by the

   State; or (j) the bribery allegations charged in Ohio v. Dowling, No. CR-2024-02-0473-B (Summit

   Cnty. Ct. C.P.); Ohio v. Jones, No. CR-2024-02-0473-C (Summit Cnty. Ct. C.P.); Ohio v. IEU-

   Ohio Administration Co. LLC, No. CR-2024-02-0473-D (Summit Cnty. Ct. C.P.); and Ohio v.

   Sustainability Funding Alliance of Ohio, Inc., No. CR-2024-02-0473-E (Summit Cnty. Ct. C.P.).

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                                                                        TABLE 1: METADATA FIELDS

         Field Name          Example / Format                                                      Description
 BEGNO                       ABC0000001 (Unique ID)                                                The Document ID number associated with the first page of a document.

 ENDNO                       ABC0000003 (Unique ID)                                                The Document ID number associated with the last page of a document.

 BEGATTACH                   ABC0000001 (Unique ID Parent-Child Relationships)                     The Document ID number associated with the first page of the parent document.

 ENDATTACH                   ABC0000008 (Unique ID Parent-Child Relationships)                     The Document ID number associated with the last page of the last attachment.

 VOLUME                      VOL001                                                                The name of CD, DVD, or Hard Drive.

 RECORDTYPE                  eMail, Attachment, Scanned Doc, eFile, Chat/Text                      The record type of a document.

 SENTDATE                    MM/DD/YYYY                                                            The date the email or calendar entry was sent.

 SENTTIME                    HH:MM                                                                 The time the email or calendar entry was sent.

 RECEIVEDDATE                MM/DD/YYYY                                                            The date the document was received.

 RECEIVEDTIME                HH:MM                                                                 The time the document was received.

 CREATEDATE                  MM/DD/YYYY                                                            The date the document was created.

 CREATETIME                  HH:MM                                                                 The time the document was created.

 LASTMODDATE                 MM/DD/YYYY                                                            The date the document was last modified.

 LASTMODTIME                 HH:MM                                                                 The time the document was last modified.

 MEETING START DATE          MM/DD/YYYY                                                            Start date of calendar entry.

 MEETING START TIME          HH:MM                                                                 Start time of calendar entry.

 MEETING END DATE            MM/DD/YYYY                                                            End date of calendar entry.

 MEETING END TIME            HH:MM                                                                 End time of calendar entry.

 FILEPATH                    i.e. /JsmithPC/Users/Jsmith/Desktop                                   The file path from the location in which the document was stored in the usual course
                                                                                                   of business. This field should be populated for both email and e-files.
 FILEPATH-DUP                i.e. /JSmith.pst/Inbox                                                The file paths from the locations in which the duplicate documents were stored in the
                                  /Network Share/Accounting/…                                      usual course of business. This field should be populated for both email and e-files and
                                  /TJohnsonPC/Users/TJohnson/My Documents/...                      separated by semicolons.
 AUTHOR                      jsmith                                                                The author or owner of a document from extracted metadata.
 LASTEDITEDBY                jsmith                                                                The name of the last person to edit the document from extracted metadata.
 FROM                        Joe Smith <jsmith@email.com>                                          The display name and email address of the author of an email/calendar item.
                                                                                                   An email address should always be provided.

 TO                          Joe Smith <jsmith@email.com>; tjones@email.com                        The display name and email address of the recipient(s) of an email/calendar item.
                                                                                                   An email address should always be provided for every email if a recipient existed.
 CC                          Joe Smith <jsmith@email.com>; tjones@email.com                        The display name and email of the copyee(s) of an email/calendar item. An email
                                                                                                   address should always be provided for every email if a copyee existed.

 BCC                         Joe Smith <jsmith@email.com>; tjones@email.com                        The display name and email of the blind copyee(s) of an email or calendar item. An
                                                                                                   email address should always be provided for every email if a blind copyee existed.
 SUBJECT                                                                                           The subject line of the email/calendar item.

 MESSAGE TYPE                Appointment, Contact, Task, Distribution List, Message, etc.          An indication of the email system message type.


 IMPORTANCE                  Normal, Low, High                                                     Email Importance Flag

 TITLE                                                                                             The extracted document title of a document.

 CUSTODIAN-ALL               Smith, Joe; Doe, Jane                                                 All of the custodians of a document from which the document originated, separated
                                                                                                   by semicolons.
 SOURCE                      Computer, Mobile Phone, Email, Network Share, Slack, WhatsApp,        The source from which the document was collected.
                             Teams, Database Name, etc.
 ATTACH COUNT                Numeric                                                               The number of attachments to a document.

 FILEEXT                     XLS                                                                   The file extension of a document.
 FILENAME                    Document Name.xls                                                     The file name of a document.

 FILESIZE                    Numeric                                                               The file size of a document (including embedded attachments).

 TRACK CHANGES               Yes or No                                                             The yes/no indicator of whether tracked changes exist in the file.

 IS EMBEDDED                 Yes or No                                                             The yes/no indicator of whether a file is embedded in another document.

 HASH                                                                                              The MD5 or SHA-1 Hash value or "de-duplication key" assigned to a document. The
                                                                                                   same hash method (MD5 or SHA-1) should be used throughout production.
 CONVERSATION INDEX                                                                                ID used to tie together email threads.
 REDACTED                    Yes or Blank                                                          If a document contains a redaction, this field will display 'Yes'.
 TIMEZONE                    PST, CST, EST, etc                                                    The time zone the document was processed in. NOTE: This should be the time zone
 PROCESSED                                                                                         where the documents were located at time of collection.
                             D:\NATIVES\ABC000001.xls                                              The full path to a native copy of a document.
 NATIVELINK

                             D:\TEXT\ABC000001.txt                                                 The path to the full extracted text of the document. There should be a folder on the
                                                                                                   deliverable, containing a separate text file per document. These text files should be
                                                                                                   named with their corresponding Bates numbers. Note: Emails should include header
 FULLTEXT                                                                                          information: author, recipient, cc, bcc, date, subject, etc. If the attachment or e-file
                                                                                                   does not extract any text, then OCR for the document should be provided.


1
 For ESI other than email and e-docs that do not conform to the metadata listed here, such as text messages, Instant Bloomberg, iMessage, Google Chat, MS Teams, Slack, etc., the
parties will meet and confer as to the appropriate metadata fields to be produced.
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                           EXHIBIT 17
   Case: 2:20-cv-04287-ALM-KAJ Doc #: 378-1 Filed: 10/30/24 Page: 375 of 399 PAGEID #: 9920
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                              for the
                                                            SouthernDistrict
                                                         __________ Districtofof__________
                                                                                 Ohio

             In re FirstEnergy Corp. Sec. Litig.
                                                                                  )
                                Plaintiff                                         )
                                   v.                                             )        Civil Action No. 2:20-cv-03785-ALM-KAJ
                                                                                  )
                                                                                  )
                              Defendant                                           )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                    IEU - Ohio Administration Co. LLC
                                        c/o Roger P. Sugarman, 6025 Cranberry Ct., Columbus, OH 43213
                                                         (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Schedule A.



 Place: Murray Murphy Moul+ Basil LLP                                                       Date and Time:
          1114 Dublin Road                                                                                        10/11/2024 10:00 am
          Columbus, OH 43215

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                     Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        09/30/2024

                                   CLERK OF COURT
                                                                                                OR

                                            Signature of Clerk or Deputy Clerk                                              Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
/HDG3ODLQWLII/RV$QJHOHV&RXQW\(PSOR\HHV5HWLUHPHQW$VVRFLDWLRQDQG1DPHG3ODLQWLIIV$PDOJDPDWHG
%DQN&LW\RI,UYLQJ6XSSOHPHQWDO%HQHILW3ODQDQG:LVFRQVLQ/DERUHUV¶3HQVLRQ)XQG                 , who issues or requests this subpoena, are:
                5DFKHO$&RFDOLVUFRFDOLV#UJUGODZFRP5REELQV*HOOHU5XGPDQ 'RZG//3:HVW%URDGZD\6XLWH6DQ'LHJR&$  

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:20-cv-03785-ALM-KAJ

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                              SCHEDULE A
                                     (IEU-Ohio Administration Co. LLC)


   I.       DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.         “You” or “your” refers to IEU-Ohio Administration Co. LLC, any of its direct or

   indirect subsidiaries, divisions or affiliates (foreign and domestic), predecessors, successors,

   present and former officers, directors, employees, agents, and all other persons acting or purporting

   to act on its behalf.

            2.         “Action” refers to this lawsuit captioned In re FirstEnergy Corp. Sec. Litig., No.

   2:20-cv-03785-ALM-KAJ (S.D. Ohio).

            3.         “All,” “any,” and “each” shall each be construed as encompassing any and all.

            4.         “Communication” or “communications” means any transmittal of information (in

   the form of facts, ideas, inquiries, or otherwise) whether orally or by document, telephone,

   telecopier, mail, fax, email, voicemail, cellular phone text message, instant message, personal

   delivery, or by any other means, be they analog, electronic or otherwise.

            5.         “Concerning” means reflecting, relating to, referring to, describing, discussing,

   evidencing, addressing, or constituting in any way.

            6.         “Criminal Defendants” means, collectively or individually, Larry Householder,

   Jeffrey Longstreth, Neil Clark, Matthew Borges, Juan Cespedes, and Generation Now, Inc.

            7.         “Defendants” refers to FirstEnergy, the Individual Defendants, and the Underwriter

   Defendants (as each of those terms are defined below).

            8.         “Defense Team” refers to the defendant in Ohio v. IEU-Ohio Administration Co.

   LLC, No. CR-2024-02-0473-D (Summit Cnty. Ct. C.P.); defendant’s counsel of record; employees

   of defendant’s counsel of record (and its associated law firms, if any); and other personnel engaged

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   or employed by defense counsel of record, including any consultants, investigators, experts, or

   interpreters.

            9.         “Discovery Material” shall include all documents and electronically stored

   information disclosed (defined below) by the Government (defined below) to the Defense Team,

   and all documents and electronically-stored information disclosed by the Defense Team to the

   Government pursuant to Ohio Rule of Criminal Procedure 16 in Ohio v. IEU-Ohio Administration

   Co. LLC, No. CR-2024-02-0473-D (Summit Cnty. Ct. C.P.).

            10.        “Document” or “documents” is defined to be synonymous in meaning and equal in

   scope to the usage of the term “documents or electronically stored information” in Federal Rule of

   Civil Procedure 34(a)(1)(A) and encompasses communications. A draft or non-identical copy is

   a separate document within the meaning of this term.

            11.        “Electronic data” refers to any original and any non-identical copies (whether non-

   identical because of notes made on copies or attached comments, annotations, marks, transmission

   notations or highlighting of any kind), mechanical, facsimile, electronic, magnetic, digital or other

   programs (whether private, commercial or work-in-progress), programming notes or instructions,

   activity listings of electronic mail receipts or transmittals, output resulting from the use of any

   software program, including word processing documents, spreadsheets, database files, charts,

   graphs and outlines, electronic mail or “email,” electronic messaging services, electronic forums

   or discussion services, operating systems, source code of all types, programming languages,

   linkers and compilers, peripheral drives, PDF files, PRF files, batch files, ASCII files, crosswalks,

   code keys, pull down tables, logs, file layouts or any miscellaneous files or file fragments,

   regardless of the media on which they reside and regardless of whether said electronic data consists

   of an active file, backup file, deleted file, or file fragment. “Electronic data” also includes, without

   limitation, any items stored on computer, smartphone or tablet memory or memories, hard drives,

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   zip drives, CD-ROM discs, or in any other vehicle for electronic or digital data storage or

   transmittal, files, folder tabs or containers and labels appended to or associated with any physical

   storage device associated with each original and each copy.

            12.        “Electronically stored information” or “ESI” refers to any original and non-

   identical copies (whether non-identical because of notes made on copies or attached comments,

   annotations, marks, transmission notations or highlighting of any kind), mechanical, facsimile,

   electronic, magnetic, digital or other programs, programming notes or instructions, activity listings

   of electronic mail receipts or transmittals, output resulting from the use of any software program,

   including word processing documents, spreadsheets, database files, charts, graphs and outlines,

   electronic mail or “email,” operating systems, source code of all types, programming languages,

   linkers and compilers, peripheral drives, PDF files, PRF files, batch files, ASCII files, crosswalks,

   code keys, pull-down tables, logs, file layouts or any miscellaneous files or file fragments,

   regardless of the media on which they reside and regardless of whether said electronic data consists

   of an active file, backup file, deleted file, or file fragment. “ESI” also includes, without limitation,

   any items stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in

   any other vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers

   and labels appended to or associated with any physical storage device associated with each original

   and each copy. “ESI” also includes, without limitation, any MMS or SMS text messages and any

   electronic instant messages, including, but not limited to, messages in an internal messaging

   system or external personal account on desktop, laptop, mobile phone, tablet, or other mobile

   device, concerning the topics in the following requests.

            13.        “ESP IV” refers to the Electric Security Plan IV filed with PUCO (defined below)

   in 2014, including, but not limited to, any subsequent stipulations, recommendations, purchase

   power agreements, and retail rate stability riders related thereto.

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            14.        “FirstEnergy” or the “Company” refers to FirstEnergy Corp., any of its direct or

   indirect subsidiaries, including FirstEnergy Solutions Corp. (“FES”), FirstEnergy Nuclear

   Operating Company (“FENOC”), FirstEnergy Service Corporation (“FESC”), and Energy Harbor

   LLC, Energy Harbor Corp. and Energy Harbor Nuclear Corp. (collectively, “Energy Harbor”),

   divisions or affiliates (foreign and domestic), predecessors, successors, present and former

   officers, directors, employees, agents, and all other persons acting or purporting to act on its behalf.

            15.        “Government” refers to the members of the Ohio Attorney General’s Office and

   the Summit County Prosecutor’s Office who are counsel of record in Ohio v. IEU-Ohio

   Administration Co. LLC, No. 2024-02-0473-D (Summit Cnty. Ct. C.P.); employees of the Ohio

   Attorney General’s Office and the Summit County Prosecutor’s Office; and other personnel

   engaged or employed by such counsel, including any consultants, investigators, experts, or

   interpreters.

            16.        “HB6” refers to Ohio House Bill 6, which was a purported “clean energy” bill

   designed to incentivize low carbon dioxide emitting power production, in particular nuclear power

   generation, and included a ratepayer-funded $1.3 billion bailout of the Nuclear Plants (defined

   below), as well as a ratepayer-funded decoupling provision worth some $700 million in subsidized

   revenues for FirstEnergy.

            17.        “Individual Defendants” refers to Charles E. Jones, James F. Pearson, Steven E.

   Strah, K. Jon Taylor, Michael J. Dowling, Dennis M. Chack, Robert Reffner, Leila L. Vespoli,

   John Judge, Donald R. Schneider, George M. Smart, Paul T. Addison, Michael J. Anderson,

   Steven J. Demetriou, Julia L. Johnson, Donald T. Misheff, Thomas N. Mitchell, James F. O’Neil

   III, Christopher D. Pappas, Sandra Pianalto, Luis A. Reyes, Jerry Sue Thornton, Leslie Turner,

   and Jason J. Lisowski.



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            18.        “Industrial Energy Users-Ohio” or “IEU-Ohio” refers to Industrial Energy Users-

   Ohio and any of their direct or indirect subsidiaries, divisions or affiliates (foreign and domestic),

   predecessors, successors, present and former officers, directors, employees, agents, and all other

   persons acting or purporting to act on its behalf.

            19.        “Nuclear Plants” refers to the Perry Nuclear Generating Station and the Davis-

   Besse Nuclear Power Station.

            20.        “Person” or “persons” means any natural person or any legal entity, including,

   without limitation, any business or government entity or association.

            21.        “PUCO” means the Public Utilities Commission of Ohio.

            22.        “Randazzo” means the individual named Samuel C. Randazzo, an attorney licensed

   in Ohio, who is a former chairman of the Public Utilities Commission of Ohio.

            23.        “Underwriter Defendants,” collectively and each individually an “Underwriter

   Defendant,” refers to Barclays Capital Inc., BofA Securities, Inc., Citigroup Global Markets Inc.,

   J.P. Morgan Securities LLC, Morgan Stanley & Co. LLC, Mizuho Securities USA LLC, PNC

   Capital Markets LLC, RBC Capital Markets, LLC, Santander Investment Securities Inc., Scotia

   Capital (USA) Inc., SMBC Nikko Securities America, Inc., CIBC World Markets Corp., KeyBanc

   Capital Markets Inc., TD Securities (USA) LLC, U.S. Bancorp Investments, Inc., and MUFG

   Securities Americas Inc., and any of their direct or indirect subsidiaries, divisions or affiliates

   (foreign and domestic), predecessors, successors, present and former officers, directors,

   employees, agents, and all other persons acting or purporting to act on their behalf

            24.        The connectives “and” and “or” shall be construed either disjunctively or

   conjunctively as necessary to bring within the scope of the discovery request all responses that

   might otherwise be construed to be outside of its scope.



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   II.      INSTRUCTIONS

            1.         In responding to these requests, you shall produce all responsive documents which

   are in your possession, custody, or control, or in the possession, custody, or control of your

   predecessors, successors, parents, subsidiaries, divisions or affiliates, or any of your respective

   directors, executives, officers, partners, managing agents, agents, employees, attorneys,

   accountants, or any other representative. A document shall be deemed to be within your control

   if you have the ability or right to secure the document or a copy of the document from another

   person having possession or custody of the document.

            2.         Pursuant to the Federal Rules of Civil Procedure, you are to produce for inspection

   and copying by Plaintiffs, original documents as they are kept in the usual course of business and

   you shall organize and label them to correspond with the categories in these requests.

            3.         In responding to these requests, you shall produce all responsive documents

   available at the time of production and you shall supplement your responses as required by Federal

   Rule of Civil Procedure 26(e).

            4.         If any responsive document was, but no longer is, in your possession or subject to

   your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

   voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

   the name and address of its current or last known custodian, and the circumstances surrounding

   such disposition.

            5.         If you claim any form of privilege or any other objection, whether based on statute,

   common law, or otherwise, as a ground for not producing any requested document or portion of a

   document, please furnish a list identifying each document for which the privilege or other objection

   is claimed together with the following information:

                       (a)    the privilege being asserted;

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                       (b)    the person on whose behalf the privilege is asserted;

                       (c)    a precise statement of the facts upon which the claim of privilege is based;

   and

                       (d)    identify the purported privileged document, including:

                       (e)    its nature (e.g., letter, memorandum, tape, etc.);

                       (f)    the date it was prepared;

                       (g)    the date the document bears;

                       (h)    the date the document was sent;

                       (i)    the date it was received;

                       (j)    the name(s) of the person(s) who prepared the document;

                       (k)    the name(s) of the person(s) who received the document;

                       (l)    the name of each person to whom it was sent or was intended to be sent,

   including all addresses and all recipients of copies; and

                       (m)    a statement of whom each identified person represented or purported to

   represent at all relevant times.

            6.         If a portion of any document responsive to these requests is withheld under a claim

   of privilege pursuant to Instruction No. 5, any non-privileged portion of such document must be

   produced with the portion claimed to be privileged redacted.

            7.         You are to produce each document requested herein in its entirety, without deletion

   or excision (except as qualified by Instruction Nos. 5 and 6 above) regardless of whether you

   consider the entire document to be relevant or responsive to the requests.

            8.         Provide a source list that clearly identifies who maintained the document and

   identifies the person or location it was collected from.



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   III.     PRODUCTION OF HARD COPY DOCUMENTS AND ESI – FORMAT

            Hard copy documents and ESI shall be produced according to the Joint Protocol For

   Production of Documents and Electronically Stored Information (ECF 204) (“Protocol”), filed on

   October 5, 2021 in this Action. A copy of the Protocol is attached hereto as Exhibit A.

   IV.      RELEVANT TIME PERIOD

            All requests herein refer to the period from January 1, 2009 through the present (“Relevant

   Time Period”), unless otherwise specifically indicated, and shall include all documents and

   information that relate to such period, even though prepared or published outside of the Relevant

   Time Period. If a document prepared before this period is necessary for a correct or complete

   understanding of any document covered by a request, you must produce the earlier or subsequent

   document as well. If any document is updated and the date of its preparation cannot be determined,

   the document shall be produced if otherwise responsive to the production request.

   V.       DOCUMENTS REQUESTED

   REQUEST NO. 1:

            All Discovery Material.

   REQUEST NO. 2:

            All Discovery Material concerning: (a) FirstEnergy; (b) IEU-Ohio; (c) ESP IV; (d) HB6;

   (e) PUCO; (f) Randazzo, including any entity created in whole or in part for the benefit of

   Randazzo, owned in whole or in part by Randazzo, or for which Randazzo had signature authority;

   (g) the Defendants in this Action; (h) the Criminal Defendants; (i) witnesses identified by the

   State; or (j) the bribery allegations charged in Ohio v. Dowling, No. CR-2024-02-0473-B (Summit

   Cnty. Ct. C.P.); Ohio v. Jones, No. CR-2024-02-0473-C (Summit Cnty. Ct. C.P.); Ohio v. IEU-

   Ohio Administration Co. LLC, No. CR-2024-02-0473-D (Summit Cnty. Ct. C.P.); and Ohio v.

   Sustainability Funding Alliance of Ohio, Inc., No. CR-2024-02-0473-E (Summit Cnty. Ct. C.P.).

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                                                                        TABLE 1: METADATA FIELDS

         Field Name          Example / Format                                                      Description
 BEGNO                       ABC0000001 (Unique ID)                                                The Document ID number associated with the first page of a document.

 ENDNO                       ABC0000003 (Unique ID)                                                The Document ID number associated with the last page of a document.

 BEGATTACH                   ABC0000001 (Unique ID Parent-Child Relationships)                     The Document ID number associated with the first page of the parent document.

 ENDATTACH                   ABC0000008 (Unique ID Parent-Child Relationships)                     The Document ID number associated with the last page of the last attachment.

 VOLUME                      VOL001                                                                The name of CD, DVD, or Hard Drive.

 RECORDTYPE                  eMail, Attachment, Scanned Doc, eFile, Chat/Text                      The record type of a document.

 SENTDATE                    MM/DD/YYYY                                                            The date the email or calendar entry was sent.

 SENTTIME                    HH:MM                                                                 The time the email or calendar entry was sent.

 RECEIVEDDATE                MM/DD/YYYY                                                            The date the document was received.

 RECEIVEDTIME                HH:MM                                                                 The time the document was received.

 CREATEDATE                  MM/DD/YYYY                                                            The date the document was created.

 CREATETIME                  HH:MM                                                                 The time the document was created.

 LASTMODDATE                 MM/DD/YYYY                                                            The date the document was last modified.

 LASTMODTIME                 HH:MM                                                                 The time the document was last modified.

 MEETING START DATE          MM/DD/YYYY                                                            Start date of calendar entry.

 MEETING START TIME          HH:MM                                                                 Start time of calendar entry.

 MEETING END DATE            MM/DD/YYYY                                                            End date of calendar entry.

 MEETING END TIME            HH:MM                                                                 End time of calendar entry.

 FILEPATH                    i.e. /JsmithPC/Users/Jsmith/Desktop                                   The file path from the location in which the document was stored in the usual course
                                                                                                   of business. This field should be populated for both email and e-files.
 FILEPATH-DUP                i.e. /JSmith.pst/Inbox                                                The file paths from the locations in which the duplicate documents were stored in the
                                  /Network Share/Accounting/…                                      usual course of business. This field should be populated for both email and e-files and
                                  /TJohnsonPC/Users/TJohnson/My Documents/...                      separated by semicolons.
 AUTHOR                      jsmith                                                                The author or owner of a document from extracted metadata.
 LASTEDITEDBY                jsmith                                                                The name of the last person to edit the document from extracted metadata.
 FROM                        Joe Smith <jsmith@email.com>                                          The display name and email address of the author of an email/calendar item.
                                                                                                   An email address should always be provided.

 TO                          Joe Smith <jsmith@email.com>; tjones@email.com                        The display name and email address of the recipient(s) of an email/calendar item.
                                                                                                   An email address should always be provided for every email if a recipient existed.
 CC                          Joe Smith <jsmith@email.com>; tjones@email.com                        The display name and email of the copyee(s) of an email/calendar item. An email
                                                                                                   address should always be provided for every email if a copyee existed.

 BCC                         Joe Smith <jsmith@email.com>; tjones@email.com                        The display name and email of the blind copyee(s) of an email or calendar item. An
                                                                                                   email address should always be provided for every email if a blind copyee existed.
 SUBJECT                                                                                           The subject line of the email/calendar item.

 MESSAGE TYPE                Appointment, Contact, Task, Distribution List, Message, etc.          An indication of the email system message type.


 IMPORTANCE                  Normal, Low, High                                                     Email Importance Flag

 TITLE                                                                                             The extracted document title of a document.

 CUSTODIAN-ALL               Smith, Joe; Doe, Jane                                                 All of the custodians of a document from which the document originated, separated
                                                                                                   by semicolons.
 SOURCE                      Computer, Mobile Phone, Email, Network Share, Slack, WhatsApp,        The source from which the document was collected.
                             Teams, Database Name, etc.
 ATTACH COUNT                Numeric                                                               The number of attachments to a document.

 FILEEXT                     XLS                                                                   The file extension of a document.
 FILENAME                    Document Name.xls                                                     The file name of a document.

 FILESIZE                    Numeric                                                               The file size of a document (including embedded attachments).

 TRACK CHANGES               Yes or No                                                             The yes/no indicator of whether tracked changes exist in the file.

 IS EMBEDDED                 Yes or No                                                             The yes/no indicator of whether a file is embedded in another document.

 HASH                                                                                              The MD5 or SHA-1 Hash value or "de-duplication key" assigned to a document. The
                                                                                                   same hash method (MD5 or SHA-1) should be used throughout production.
 CONVERSATION INDEX                                                                                ID used to tie together email threads.
 REDACTED                    Yes or Blank                                                          If a document contains a redaction, this field will display 'Yes'.
 TIMEZONE                    PST, CST, EST, etc                                                    The time zone the document was processed in. NOTE: This should be the time zone
 PROCESSED                                                                                         where the documents were located at time of collection.
                             D:\NATIVES\ABC000001.xls                                              The full path to a native copy of a document.
 NATIVELINK

                             D:\TEXT\ABC000001.txt                                                 The path to the full extracted text of the document. There should be a folder on the
                                                                                                   deliverable, containing a separate text file per document. These text files should be
                                                                                                   named with their corresponding Bates numbers. Note: Emails should include header
 FULLTEXT                                                                                          information: author, recipient, cc, bcc, date, subject, etc. If the attachment or e-file
                                                                                                   does not extract any text, then OCR for the document should be provided.


1
 For ESI other than email and e-docs that do not conform to the metadata listed here, such as text messages, Instant Bloomberg, iMessage, Google Chat, MS Teams, Slack, etc., the
parties will meet and confer as to the appropriate metadata fields to be produced.
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                           EXHIBIT 18
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   -@<-6<1<1587;-;:-9=1:-5-6<;7*41/)<176;)6,,=<1-;*-A76,<07;-1587;-,*A<0--,-:)4

   %=4-;7.1>14$:7+-,=:-<0- 7+)4%=4-;7.<01;7=:<7:)6A)8841+)*4-#:,-:-6<-:-,*A<0-

   7=:<



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             &#7*2-+<;<7<0-&=*87-6)<7<0--@<-6<1<;--3;,1;+7>-:A7.5)<<-:;8:7<-+<-,

   .:75,1;+47;=:-*A<0-)<<7:6-A+41-6<8:1>14-/-<0-)<<7:6-A?7:38:7,=+<,7+<:16-<0-+75576

   16<-:-;<8:1>14-/-7:)6A7<0-:)8841+)*4-8:1>14-/-7:155=61<A


             &#7*2-+<;<7<0-&=*87-6)<7<0--@<-6<1<1;7>-:4A*:7),=6,=4A*=:,-6;75-

   8:-5)<=:-)6, 7:;--3;16.7:5)<176*-A76,<0-;+78-7.,1;+7>-:A=6,-:<0-)8841+)*4-:=4-;


            &#7*2-+<;<7<0-&=*87-6)<7<0--@<-6<1<1;=6:-);76)*4A+=5=4)<1>-)6, 7:

   ,=841+)<1>-7:;--3;16.7:5)<176<0)<1;67<:-4->)6<<7+4)15;)6, 7:,-.-6;-;)<1;;=-16<0-

   16;<)6<41<1/)<176


            &#7*2-+<;<7<0-&=*87-6)<7<0--@<-6<1<;--3;8:7,=+<1767.,7+=5-6<;16<0-

   87;;-;;176+=;<7,A7:+76<:747.7<0-:8-:;76;)6, 7:-6<1<1-;16+4=,16/8):<1-;<7<0-+);-

   &=+0,7+=5-6<;<7<0--@<-6<:-4->)6<<7<0-;=*2-+<5)<<-:16>74>-,16<01;)+<176+)6)6,

   ;07=4,*-7*<)16-,,1:-+<4A.:75<07;-7<0-:8-:;76;)6, 7:-6<1<1-;<0-:-*A8:7<-+<16/&#

   .:7516+=::16/-@8-6;-;:-;=4<16/.:75+75841)6+-


            &#7*2-+<;<7<0-&=*87-6)<7<0--@<-6<1<1;67<8:787:<176)4<7<0-6--,;7.<01;

   +);-


            &#7*2-+<;<7<0-&=*87-6)<7<0--@<-6<1<.)14;<71,-6<1.A<0-:-9=-;<-,,7+=5-6<;

   ?1<0:-);76)*4-8):<1+=4):1<A


                                  




                                                      
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                               4   

    

          6),,1<176<7<0-.7:-/716/-6-:)4#*2-+<176;&#7*2-+<;<7%-9=-;<"7 <7<0-

   -@<-6<1<;--3; 1::-4->)6<,7+=5-6<;)6, 7: ,7+=5-6<;<0)<):-16<0-87;;-;;176+=;<7,A

   7:+76<:747.8):<1-;<7<01;41<1/)<176

           &=*2-+< <7 )6, ?1<07=< ?)1>16/ <0- .7:-/716/ 7*2-+<176; &# 0); 67< ,1;+47;-, )6A

   ,7+=5-6<; 7: -4-+<:761+)44A ;<7:-, 16.7:5)<176 <7 <0- 7>-:65-6< 8=:;=)6< <7 #017 %=4- 7.

   :1516)4$:7+-,=:- 

          7+=5-6<; )6, -4-+<:761+)44A ;<7:-, 16.7:5)<176 ,1;+47;-, *A <0- 7>-:65-6< <7 <0-

   &#B-.-6;-'-)5C0)>-*--6,-;1/6)<-,*A<0-7>-:65-6<<7*-B76.1,-6<1)41;+7>-:A

   !)<-:1)4C =6,-: <0- 8:14        76.1,-6<1)41<A /:--5-6< )6, &<18=4)<-, $:7<-+<1>- #:,-:

   -6<-:-,*A<0-&=551<7=6<A7=:<7.75576$4-);16    

    );-"7%                 

           $-:<01;#:,-:B76.1,-6<1)41;+7>-:A!)<-:1)4C1;4151<-,<7<0--.-6;-'-)5)6,<0-

   7>-:65-6< )6, 5)A 67< *- +781-, ,1;;-516)<-, 7: ,1;<:1*=<-, )*;-6< .=:<0-: #:,-: 7. <0-

   &=551<7=6<A7=:<7.75576$4-);

   

    

          6),,1<176<7<0-.7:-/716/-6-:)4#*2-+<176;&#7*2-+<;<7%-9=-;<"7<7<0-

   -@<-6<1<;--3;,7+=5-6<;<0)<):-16<0-87;;-;;176+=;<7,A7:+76<:747.8):<1-;<7<01;41<1/)<176

   =:<0-:&#16+7:87:)<-;);1..=44A:-?:1<<-60-:-161<;:-;876;-<7%-9=-;<"7

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                                                                                     




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                                         %-;8-+<.=44A;=*51<<-,          

                                                                                 
                                         %7/-:$&=/):5)6                         
                                          :)6*-::A<
                                         74=5*=;#017                
                                         '-4-8076- 
                                         5)14               :7/-:8;=/):5)6/5)14+75
                                         
                                         6,
                                         
                                         -..:-A%7:+7:)6                      
                                         44-6&<7>)44"-=5)6;0<76 $
                                             (:7),&<:--<&=1<-  
                                         74=5*=;#017               
                                         '-4-8076-                  
                                         )+;1514-               
                                         5)14               +7:+7:)6);6)4)?+75
                                         
                                                    
                                             
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                                       !

         0-:-*A+-:<1.A<0)<<0-.7:-/716/          

                                  ,)<-,

   &-8<-5*-:        ?);;-:>-,*A-4-+<:761+5)14<01; <0,)A7.#+<7*-:        =876%)+0-4

   7+)41; ;9 :+7+)41;:/:,4)?+75 %7**16; -44-: %=,5)6  7?,                $  (

   :7),?)A&<-      &)61-/7      

                                    

                                                        
                                                     %7/-:$&=/):5)6           




                                                      
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                           EXHIBIT 19
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                                       !
                                              
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   +.')./0+'.(3,.-'%)0)(      #/', %2  
                                      
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                                               
                                                    
   
      "    "
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   

             &01:,8):<A '"017 ,5161;<:)<176 758)6A  B'"CC *A )6, <0:7=/0 1<;

   =6,-:;1/6-, )<<7:6-A; 0-:-*A 8:7>1,-; <0- .7447?16/ ?:1<<-6 :-;876;- <7 <0- %=*87-6) ,)<-,

   %-8<-5*-:           1;;=-, *A -), #4)16<1.. 7; 6/-4-; 7=6<A 5847A--; $-<1:-5-6<

   ;;7+1)<176)6,6)5-,#4)16<1..;)6,;-:>-,<0- ;<,)A7."+<7*-:      &01;$-;876;-1;5),-

   ;=*2-+<<7<0-5-6,-,%<18=4)<-,#:7<-+<1>-":,-:7+      )6,<0-%=884-5-6<)4#:7<-+<1>-

   ":,-:7+ )6,?1<07=<?)1>16/)6A)8841+)*4-7*2-+<1767:8:1>14-/-


                             

             &0-.7447?16/-6-:)4"*2-+<176;)884A<7<0-%=*87-6))6,):-0-:-*A16+7:87:)<-,*A

   :-.-:-6+-16<7-)+0%8-+1.1+$-;876;-;-<.7:<0*-47?&0-)*;-6+-7.):-.-:-6+-<7)6

   )8841+)*4--6-:)4"*2-+<176;07=4,67<*-+76;<:=-,);)?)1>-:7.<0-7*2-+<176);<7);8-+1.1+

   $-9=-;<


              '"7*2-+<;<7<0-%=*87-6)16+4=,16/<0-,-.161<176;+76<)16-,<0-:-16<7<0-

   -@<-6<1<1587;-;:-9=1:-5-6<;7*41/)<176;)6,,=<1-;*-A76,<07;-1587;-,*A<0--,-:)4

   $=4-;7.1>14#:7+-,=:-<0-7+)4$=4-;7.<01;7=:<7:)6A)8841+)*4-":,-:-6<-:-,*A<0-

   7=:<
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                '"7*2-+<;<7<0-%=*87-6)<7<0--@<-6<1<;--3;,1;+7>-:A7.5)<<-:;8:7<-+<-,

   .:75,1;+47;=:-*A<0-)<<7:6-A+41-6<8:1>14-/-<0-)<<7:6-A?7:38:7,=+<,7+<:16-<0-+75576

   16<-:-;<8:1>14-/-7:)6A7<0-:)8841+)*4-8:1>14-/-7:155=61<A


                '"7*2-+<;<7<0-%=*87-6)<7<0--@<-6<1<1;7>-:4A*:7),=6,=4A*=:,-6;75-

   8:-5)<=:-)6, 7:;--3;16.7:5)<176*-A76,<0-;+78-7.,1;+7>-:A=6,-:<0-)8841+)*4-:=4-;


            '"7*2-+<;<7<0-%=*87-6)<7<0--@<-6<1<1;=6:-);76)*4A+=5=4)<1>-)6, 7:

   ,=841+)<1>-7:;--3;16.7:5)<176<0)<1;67<:-4->)6<<7+4)15;)6, 7:,-.-6;-;)<1;;=-16<0-

   16;<)6<41<1/)<176


            '"7*2-+<;<7<0-%=*87-6)<7<0--@<-6<1<;--3;8:7,=+<1767.,7+=5-6<;16<0-

   87;;-;;176+=;<7,A7:+76<:747.7<0-:8-:;76;)6, 7:-6<1<1-;16+4=,16/8):<1-;<7<01;+);-

   %=+0,7+=5-6<;<7<0--@<-6<:-4->)6<<7<0-;=*2-+<5)<<-:16>74>-,16<01;)+<176+)6)6,

   ;07=4,*-7*<)16-,,1:-+<4A.:75<07;-8-:;76;)6, 7:-6<1<1-;<0-:-*A8:7<-+<16/'".:75

   16+=::16/-@8-6;-;:-;=4<16/.:75+75841)6+-


            '"7*2-+<;<7<0-%=*87-6)<7<0--@<-6<1<1;67<8:787:<176)4<7<0-6--,;7.<01;

   +);-


            '"7*2-+<;<7<0-%=*87-6)<7<0--@<-6<1<.)14;<71,-6<1.A<0-:-9=-;<-,

   ,7+=5-6<;?1<0:-);76)*4-8):<1+=4):1<A


            


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                                                       
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                               4   

    

           6),,1<176<7<0-.7:-/716/-6-:)4"*2-+<176;'"7*2-+<;<7$-9=-;<!7 <7<0-

   -@<-6<1<;--3; 1::-4->)6<,7+=5-6<;)6, 7: ,7+=5-6<;<0)<):-16<0-87;;-;;176+=;<7,A

   7:+76<:747.8):<1-;<7<01;41<1/)<176

            %=*2-+<<7)6,?1<07=<?)1>16/<0-.7:-/716/7*2-+<176;'"0);67<,1;+47;-,)6A

   ,7+=5-6<; 7: -4-+<:761+)44A ;<7:-, 16.7:5)<176 <7 <0- 7>-:65-6< 8=:;=)6< <7 "017 $=4- 7.

   :1516)4#:7+-,=:- 

           7+=5-6<; )6, -4-+<:761+)44A ;<7:-, 16.7:5)<176 ,1;+47;-, *A <0- 7>-:65-6< <7 <0-

   '"B-.-6;-&-)5CB1;+7>-:A )<-:1)4C0)>-*--6,-;1/6)<-,*A<0-7>-:65-6<<7*-

   B76.1,-6<1)4 1;+7>-:A      )<-:1)4C =6,-: <0- 8:14         76.1,-6<1)41<A /:--5-6< )6,

   %<18=4)<-,#:7<-+<1>-":,-:-6<-:-,*A<0-%=551<7=6<A7=:<7.75576#4-);16

                  );-!7$             

            #-:<01;":,-:B76.1,-6<1)41;+7>-:A )<-:1)4C1;4151<-,<7<0--.-6;-&-)5)6,<0-

   7>-:65-6< )6, 5)A 67< *- +781-, ,1;;-516)<-, 7: ,1;<:1*=<-, )*;-6< .=:<0-: ":,-: 7. <0-

   %=551<7=6<A7=:<7.75576#4-);

            

    

           6),,1<176<7<0-.7:-/716/-6-:)4"*2-+<176;'"7*2-+<;<7$-9=-;<!7 <7<0-

   -@<-6<1<;--3;,7+=5-6<;<0)<):-16<0-87;;-;;176+=;<7,A7:+76<:747.<0-8):<1-;<7<01;

   41<1/)<176=:<0-:'"16+7:87:)<-;);1..=44A:-?:1<<-60-:-161<;:-;876;-<7$-9=-;<!7

       

   
                                                                                      



                                                       
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                                        $-;8-+<.=44A;=*51<<-,     

                                                                        
                                        $7/-:#%=/):5)6                         
                                         :)6*-::A<
                                        74=5*=;"017                
                                        &-4-8076- 
                                        5)14               :7/-:8;=/):5)6/5)14+75
                                        
                                        6,
                                        
                                        -..:-A$7:+7:)6                      
                                        44-6%<7>)44!-=5)6;0<76#
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                           EXHIBIT 20
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                               UNITED STATES DISTRICT COURT

                                 SOUTHERN DISTRICT OF OHIO

                                      EASTERN DIVISION

   In re FIRSTENERGY CORP. SECURITIES        )     No. 2:20-cv-03785-ALM-KAJ
   LITIGATION                                )
                                             )     CLASS ACTION
                                             )
   This Document Relates To:                 )     Judge Algenon L. Marbley
                                             )     Magistrate Judge Kimberly A. Jolson
            ALL ACTIONS.                     )
                                             )


                       PLAINTIFFS’ RESPONSE TO STATE OF OHIO’S LIMITED
                        MOTION TO INTERVENE AND LIMITED MOTION TO
                          STAY PORTIONS OF DISCOVERY PROCEEDINGS

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   I.       INTRODUCTION

            Plaintiffs support the Ohio AG’s criminal prosecution and are concerned that defendants J-D

   are using this litigation to question the State’s witnesses. 1 There is no other explanation for what the

   Ohio AG’s motion and accompanying evidence have confirmed – that J-D violated their discovery

   obligations and misled the Court about this violation by convincing the Ohio AG to retroactively

   designate witness statements and other plainly relevant documents (the “Withheld Documents”) as

   confidential based on exactly what they denied to the Court just last week: that they had an

   “imminent” “obligation” to produce the Withheld Documents in response to RFP No. 2.

            That said, even though we are talking about only 6 depositions, the Ohio AG still doesn’t

   have a trial date after taking over 40 months to bring charges that reach only a portion of a fraud

   scheme that Plaintiffs have been trying to prosecute for over 4 years. Accordingly, rather than

   issuing a blank check, Plaintiffs respectfully request that the Court enter an Order granting the Ohio

   AG’s motion, subject to the Ohio AG: (1) getting the Ohio AG Criminal Cases to trial or otherwise

   resolved by February 1, 2025; and (2) submitting and appearing for monthly status reports and

   conferences, respectively, so the Court can reassess whether to maintain the stay in light of the Ohio

   AG’s and J-D’s efforts to get the Ohio AG Criminal Cases to trial. Such an order will incentivize

   the Ohio AG and J-D to be expeditious, show comity to the Summit County state court, and keep

   this litigation on schedule to complete fact discovery by June 30, 2025.




   1
       All terms not otherwise defined herein have the same meaning as set forth in Plaintiffs’ Position
   Statement Regarding Defendants Charles E. Jones and Michael J. Dowling’s Violations of Federal
   Rule of Civil Procedure 26(e) and Request to Postpone Certain Deposition (ECF 691). Additionally,
   unless otherwise noted, all emphasis is added and citations omitted.

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